                             UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                   HARRISBURG DIVISION

     In re:

     ROMAN CATHOLIC DIOCESE OF                              Chapter 11
     HARRISBURG,
                                                            Case No. 1:20-bk-00599 (HWV)
                                 Debtor.1


          MOTION FOR AN ORDER APPROVING SETTLEMENT AGREEMENTS
         WITH THE ROMAN CATHOLIC DIOCESE OF HARRISBURG’S INSURERS

              The Roman Catholic Diocese of Harrisburg (the “Debtor”), by and through its undersigned

 counsel, moves this Court for entry of an order, pursuant to 11 U.S.C. §§ 105(a) and 363 and

 Bankruptcy Rule 9019, approving certain settlement agreements (the “Settlement Agreements”)

 between the Debtor and the following insurers (collectively and as more specifically identified in

 the Settlement Agreements, the “Settling Insurers”): (a) Travelers Indemnity Company and

 certain of its affiliates (“Travelers”); The National Catholic Risk Retention Group (“TNCRRG”);

 The Catholic Mutual Relief Society of America (“Catholic Mutual”); Interstate Fire & Casualty

 Company (“Interstate”); Zurich American Insurance Company, as successor by merger to

 Maryland Casualty Company (“Zurich”); and certain Underwriters at Lloyd’s, London

 subscribing to Policies 74/16553, SL 3042, SL 3235, SL 3711, ISL 3108, ISL 3580, ISL 3869, 74-

 16553-2, SL 3238, ISL 3109, SL 3439, SL 3873, ISL 3110, ISL 3582, and all others issued prior

 to July 25, 1993, and Solvent London Market Companies: Catalina Worthing Insurance Ltd. f/k/a

 HFPI (as Part VII transferee of Excess Insurance Co Ltd.), RiverStone Insurance (UK) Limited

 (successor in interest to Terra Nova Insurance Company Limited), Sompo Japan Nipponkoa



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  The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
 business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.


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 Insurance Company of Europe Limited (formerly known as the Yasuda Fire & Marine Insurance

 Company (U.K.) Ltd.), Dominion Ins. Co. Ltd., St. Katherine Insurance Co., Assicurazioni

 Generali T.S., Taisho Marine & Fire Insurance Co., and Allianz International Insurance Co.

 (collectively, “LMI”).

          In support of this motion and foregoing relief sought, Debtor respectfully states as follows:

                                        JURISDICTION AND VENUE

          1.        This Court has jurisdiction to consider this motion pursuant to 28 U.S.C. §§ 157

 and 1334 and the Amended Standing Order of Reference from the United States District Court for

 the Middle District of Pennsylvania.

          2.        This is a core proceeding pursuant to 28 U.S.C. § 157(b), and the Debtor consents

 to the entry of a final judgment or order with respect to this motion if it is determined that the

 Court, absent consent of the parties, cannot enter final orders or judgments consistent with Article

 III of the United States Constitution.

          3.        Venue is proper in this Court pursuant to 28 U.S.C. § 1408 and 1409.

                                        GENERAL BACKGROUND

          4.        On February 19, 2020 (the “Petition Date”), the Debtor filed a voluntary petition

 for relief under chapter 11 of title 11 the United States Code (the “Bankruptcy Code”). The Debtor

 is operating its business and managing its property as debtor in possession, pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code.

          5.        General background about the Debtor is set forth in the Informational Brief of the

 Roman Catholic Diocese of Harrisburg (Dkt. No. 2) and Declaration of Christopher G. Linscott

 in Support of First Day Motions (Dkt. No. 15).

          6.        On March 6, 2020, the Office of the United States Trustee appointed three members

 to the Official Committee of Tort Claimants (the “Committee”).

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          7.        On December 21, 2022, the Debtor and Committee filed the Amended Joint

 Chapter 11 Plan of Reorganization for the Roman Catholic Diocese of Harrisburg (Dkt. No. 1470)

 (the “Plan”) and Disclosure Statement in Support of Amended Joint Chapter 11 Plan of

 Reorganization for the Roman Catholic Diocese of Harrisburg (Dkt. No. 1471) (the “Disclosure

 Statement”).2

          8.        On December 27, this Court entered the Order (I) Approving Disclosure Statement

 and Form and Manner of Notice; (II) Approving Plan Solicitation and Voting Procedures;

 (III) Approving Ballot Forms; (IV) Approving Form, Manner, and Scope of Confirmation Notices;

 (V) Establishing Certain Deadlines in Connection With Approval of the Disclosure Statement and

 Confirmation of the Plan; (VI) Approving Procedures for Vote Tabulation; and (VII) Granting

 Related Relief (Dkt. No. 1486) (the “Disclosure Statement Order”).

          9.        Pursuant to the Disclosure Statement Order, among other things, this Court

 approved the Disclosure Statement, the Debtor’s proposed solicitation of votes to accept or reject

 the Plan, and scheduled a hearing to consider confirmation of the Plan for February 15, 2023 at

 11:00 a.m. (prevailing Eastern time).

                                   RELEVANT BACKGROUND TO MOTION

          10.       One of the paramount goals of this bankruptcy proceeding, as more fully detailed

 in the Plan and Disclosure Statement, is to provide compensation for unresolved Survivor Claims

 while also preserving the ability of the Debtor to continue providing essential ministries and

 services within the Diocese.




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  Capitalized terms used in this motion and not otherwise defined shall have the meanings ascribed to them in the
 Plan or Disclosure Statement, as applicable.

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          11.       To that end, on the Petition Date, the Debtor caused to be filed a Complaint,

 commencing adversary proceeding number 1:20-ap-00018-HWV styled as Roman Catholic

 Diocese of Harrisburg v. The Travelers Companies Inc., et al. (the “Adversary Proceeding”).

          12.       As set forth in the Adversary Proceeding, the Debtor believes it owns or otherwise

 holds an interest in certain insurance policies and certificates of coverage provided by the Settling

 Insurers that would require the Settling Insurers to indemnify or otherwise reimburse the Debtor

 for any judgment or settlement of the Survivor Claims that occurred during the time periods

 covered by the Settling Insurer Policies. The Settling Insurers generally dispute that they are

 legally obligated to indemnify the Debtor under the Settling Insurer Policies.

          13.       In order to resolve the coverage disputes with the Settling Insurers, pursuant to

 order of this Court, the Debtor, Committee, and Settling Insurers engaged in multiple formal and

 informal mediation sessions.

          14.       As a result of the multiple mediation sessions and further settlement discussions,

 the Debtor, Committee, and Settling Insurers have conferred and reached agreements in principle

 that are formalized in final or near final forms of the Settlement Agreements. True and correct

 forms of the Settlement Agreements in final or near final form are attached to this motion as

 Exhibit A through Exhibit F and are incorporated in this paragraph by reference.

          15.       The Settlement Agreements have been heavily negotiated between the parties or

 are otherwise in the process of being finalized, and the Debtor anticipates that fully executed

 Settlement Agreements with each respective Settling Insurer will be filed with the Court prior to

 the hearing on this Motion.3



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  In the event that any Settlement Agreement is not finalized and fully executed prior to the hearing to consider this
 motion, the Debtor will not seek approval of that Settlement Agreement at that hearing, but reserves the right to
 continue the hearing with respect to any such Settlement Agreement to a later date.

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          16.       Pursuant to the Settlement Agreements, the Settling Insurers will, collectively (but

 not jointly and severally), pay to the Trust a total of Ten Million Seven Hundred Fifty Thousand

 Dollars ($10,750,000) for purposes of making distributions to Survivors pursuant to the Plan:

                         Settling Insurer                           Amount

                         Travelers                                  $750,000

                         LMI                                       $2,500,000

                         TNCRRG                                     $850,000

                         Catholic Mutual                            $200,000

                         Interstate                                $4,000,000

                         Zurich                                    $2,450,000

          17.       In addition to the contributions by the Settling Insurers, (a) the Debtor will make or

 cause to be made a contribution to the Trust in the amount of Five Million Five Hundred Thousand

 Dollars ($5,500,000),4 and (b) the Parishes, Schools, and Related Non-Debtor Entities will make

 or cause to be made contributions in the aggregate amount of Two Million Dollars ($2,000,000),

 resulting in total funding to the Trust in the amount of Eighteen Million Two Hundred Fifty

 Thousand Dollars ($18,250,000).

          18.       As more specifically set forth in the Settlement Agreements: (a) with respect to

 each of Travelers, Zurich, Interstate, and LMI, the Debtor will sell, convey, transfer and assign

 any and all interests the Debtor holds in the respective Settling Insurer Policies to the applicable

 Settling Insurer free and clear of all Liens, Claims and Interests of all Persons, pursuant to section

 363 of the Bankruptcy Code; and (b) with respect to TNCRRG and Catholic Mutual, each




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  The Debtor has also agreed to contribute up to Six Hundred Thousand Dollars ($600,000) with respect to Unknown
 Survivor Claims, all as more specifically set forth in the Plan.

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 Settlement Agreement provides for the amendment of the applicable certificates of insurance and

 retroactive dates of coverage provided to the Debtor, Parishes, Schools, and Related Non-Debtor

 Entities.

          19.       In addition, all Settling Insurers will be provided certain protections under the Plan,

 including, but not limited to, the Channeling Injunction, Supplemental Settling Insurer Injunction,

 exculpation, and certain releases, covenants not to sue, and indemnification rights, all as more

 specifically set forth in the Settlement Agreements and Plan.

          20.       The additional protections provided under and pursuant to the Plan are integral

 terms and conditions of each Settlement Agreement.

          21.       Upon approval of each Settlement Agreement and confirmation of the Plan, all

 claims asserted by the Debtor in the Adversary Proceeding will be dismissed.

          22.       Each settlement is contingent and conditioned upon: (a) entry of a Final Order

 confirming the Plan, as currently proposed or as revised, modified or amended in accordance with

 the Settlement Agreements; and (b) the payment of the settlement amount due from the applicable

 Settling Insurer in accordance with and pursuant to each applicable Settlement Agreement.

          23.       The consummation of the settlements set forth in each of the Settlement

 Agreements is a condition precedent to the occurrence of the Effective Date of the Plan.

                                            RELIEF REQUESTED

          24.       The Debtor requests that the court approve: (a) the Settlement Agreements; and

 (b) the sale of the Settling Insurer Policies relating to Travelers, Zurich, Interstate, and LMI free

 and clear of all Liens, Claims, and Interests pursuant to section 363 of the Bankruptcy Code, in

 accordance with the Settlement Agreements with those Settling Insurers.

          25.       In the Debtor’s business judgment, the Settlement Agreements are in the best

 interest of the Debtor, Debtor’s estate, and all other parties in interest.

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I.       The Settlement Agreements should be approved pursuant to Bankruptcy Rule 9019.

              26.       Bankruptcy Rule 9019(a) provides that “on motion by the trustee and after a

     hearing, the Court may approve a compromise or settlement.” The settlement of time-consuming

     and burdensome litigation, especially in the bankruptcy context, is encouraged. In re World Health

     Alternatives, Inc., 344 B.R. 291, 296 (Bankr. D. Del. 2006); see also In re Penn Cent. Transp. Co.,

     596 F.2d 1102 (3d Cir. 1979) (“‘administering reorganization proceedings in an economical and

     practical manner it will often be wise to arrange the settlement of claims . . . .’” (quoting In re

     Protective Comm. for Indep. Stockholders of TMT Ferry, Inc. v. Anderson, 390 U.S. 414, 424

     (1968)).

              27.       In determining the fairness and equity of a compromise in bankruptcy, the United

     States Court of Appeals for the Third Circuit has stated that it is important that the bankruptcy court

     apprise itself of all facts necessary to form an intelligent and objective opinion of the probabilities

     of ultimate success should the claims be litigated, and estimate the complexity, expense, and likely

     duration of such litigation, and other factors relevant to a full and fair assessment of the claims. In

     re Penn Cent. Transp. Co., 596 F.2d at 1114; see also In re Marvel Entm’t Group, Inc., 222 B.R.

     243 (D. Del. 1998) (describing “the ultimate inquiry to be whether ‘the compromise is fair,

     reasonable, and in the interest of the estate.’” (quoting In re Louise’s Inc., 211 B.R. 798, 801 (D.

     Del. 1997)).

              28.       The United States Court of Appeals for the Third Circuit Court has enumerated four

     factors that should be considered in determining whether a settlement should be approved: “(1) the

     probability of success in litigation; (2) the likely difficulties in collection; (3) the complexity of

     the litigation involved and the expense, inconvenience and delay necessarily attending it; and

     (4) the paramount interest of the creditors.” Myers v. Martin (In re Martin), 91 F.3d 389, 393 (3d

     Cir. 1996); accord Will v. Nw. Univ. (In re Nutraquest, Inc.), 434 F.3d 639, 644 (3d Cir. 2006).

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          29.       In analyzing the foregoing factors, the decision to approve a settlement “is within

 the sound discretion of the bankruptcy court.” World Health Alternatives, Inc., 344 B.R. at 296;

 see also In re Neshaminy Office Bldg. Assoc., 62 B.R. 798, 803 (E.D. Pa. 1986), cited with approval

 in In re Martin, 91 F.3d at 389. The bankruptcy court should not substitute its judgment for that of

 the trustee. See In re Neshaminy Office Bldg. Assoc., 62 B.R. at 803. The court is not to decide the

 numerous questions of law or fact raised by litigation, but rather should canvas the issues to see

 whether the settlement falls above the lowest point in the range of reasonableness. See In re W.T.

 Grant Co., 699 F.2d 599, 608 (2d Cir. 1983); see also World Health Alternatives, Inc., 344 B.R.

 at 296 (stating that “the court does not have to be convinced that the settlement is the best possible

 compromise. Rather, the court must conclude that the settlement is within the reasonable range of

 litigation possibilities.”) (internal citations and quotations omitted).

          30.       The Debtor believes each of the Settlement Agreements reflects a compromise of

 the various claims and disputes among the Debtor, on the one hand, and each respective Settling

 Insurer, on the other hand, that is fair and in the best interests of the Debtor and the Debtor’s estate.

          31.       Each of the Settlement Agreements is the result of multiple years of mediation and

 arm’s length negotiations and permits the global resolution of myriad factually intense disputes

 and claims relating to Survivor Claims, the Settling Insurers, and the Settling Insurer Policies.

          32.       Accordingly, the Settlement Agreements will: (a) permit the Debtor to avoid the

 uncertainty, delay, and cost involved in further litigation regarding Survivor Claims and

 applicability of coverage under the various Settling Insurer Policies; and (b) preserve the value of

 the Debtor’s estate and maximize the amounts available to Survivors and other parties in interest.




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          33.       For these reasons and as set forth in more particularity below, the Debtor believes

 each Settlement Agreement satisfies the standard for approval under Bankruptcy Rule 9019 and

 should be approved.

          A. The probability of success in litigation weighs in favor of approval.

          34.       While the Debtor believed and continues to believe in the merit of the Debtor’s

 position regarding coverage under the Settling Insurer Policies, any litigation with the Settling

 Insurers would have carried significant risk.

          35.       In all instances, questions would have been raised and burdens of proof and

 persuasion would have to have been met regarding, among other things, evidence of coverage,

 conduct underlying and related to each Survivor Claim, specific coverage terms, and damages.

          36.       In the case of each Survivor Claim, each Settling Insurer, each Settling Insurer

 Policy, and each policy period, opportunities for success and failure would be present to varying

 degrees.

          37.       Approval of the Settlement Agreements removes the uncertainty surrounding each

 and every Survivor Claim, Settling Insurer, and Settling Insurer Policy. Professionals for the

 Debtor and the Committee have exhaustively analyzed the coverage situation and believe that each

 Settlement Agreement yields a recovery for the Trust that is well within the range of potential

 litigation outcomes for the applicable Settling Insurer.

          38.       The certainty thus provided weighs in favor of approving each Settlement

 Agreement.

          B. The ability to collect favors approval.

          39.       While each of the Settling Insurers is seemingly solvent, to the extent the Debtor

 prevailed in litigation, there would undoubtedly follow years of very complex and factually distinct

 appeals.

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          40.       The sheer volume of potential appeals and time consuming nature of each would

 hinder the Debtor’s ability to efficiently and timely effect any recovery in favor of Survivors.

          41.       Approval of the Settlement Agreements removes any chance of appeals by the

 Debtor, Committee, and Settling Insurers and provides certainty in collection.

          42.       Equally important, the Settlement Agreements avoid the substantial cost to the

 estate of litigating coverage issues through trial and appeal. Those litigation expenses would erode

 the Debtor’s ability to make its agreed contributions to the Trust and, therefore, negatively affect

 the recovery to Survivors.

          43.       Therefore, this factor supports approval of the Settlement Agreements.

          C. Potential litigation would have been extremely complex, favoring approval.

          44.       As alluded to above, the litigation relating to the Settling Insurers and Settling

 Insurer Policies would have been overly complex, likely involving an individual trial with respect

 to each Survivor Claim for which coverage was sought.

          45.       The volume of litigation, factually sensitive nature of the claims, and complexity

 of the issues presented by the claims is all avoided by way of the Settlement Agreements.

          46.       Accordingly, this factor favors approval of the Settlement Agreements.

          D. Approval of the Settlements Agreements is in the best interests of creditors.

          47.       The Settlement Agreements provide significant value for Survivors and provide

 that significant value to Survivors in a timely manner.

          48.       The Settlement Agreements also enable the Debtor to bring this chapter 11

 proceeding to a conclusion, resulting in distributions of contributions from the Debtor, Parishes,

 Schools, and Related Non-Debtor Entities to be made to the Survivors, in addition to contributions

 resulting from the Settlement Agreements. The Survivors deserve compensation as soon as

 possible. They are aging and have waited years already. Further delay to accommodate litigation

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      instead of settlement with the Settling Insurers implicates the maxim “justice delayed is justice

      denied.” The Committee took the lead in negotiating the final settlement amounts and no doubt

      considered the human cost of the litigation alternative.

               49.       Moreover, with respect to other creditors and the Debtor, approval of the Settlement

      Agreements permits this chapter 11 proceeding to reach a conclusion, permitting distributions to

      other classes of creditors. Resolving this Chapter 11 Case also allows the Debtor to again focus on

      its religious and charitable missions without the financial and administrative burdens of being a

      debtor. Recent years have been challenging for the communities served by those missions and

      ongoing economic challenges and uncertainty will be better addressed without such burdens.

               50.       Therefore, approval of the Settlement Agreements is in the best interests of the

      Survivors and other parties in interest and should be granted.

II.       The sale of certain of the Settling Insurer Policies is a sound exercise of the Debtor’s
          business judgment and should be approved.

               51.       The Settlement Agreements with each of Travelers, Zurich, LMI, and Interstate

      propose to sell the applicable Settling Insurer Policies to each respective Settling Insurer, because

      such Settling Insurer Policies are occurrence based policies.

               52.       The sale of policies similar to the Settling Insurer Policies of Travelers, Zurich,

      LMI, and Interstate: (a) is customary in cases similar to this chapter 11 proceeding; and (b) was a

      required condition of any settlement with each of Travelers, Zurich, LMI, and Interstate, given the

      nature of the applicable Settling Insurer Policies.

               53.       Pursuant to section 363(b)(1) of the Bankruptcy Code, the Debtor is authorized to

      sell property of the estate outside the ordinary course of business. See 11 U.S.C. § 363(b)(1).

               54.       For a court to approve a sale outside the ordinary course of business under section

      363(b)(1) of the Bankruptcy Code, the Debtor must demonstrate a “sound business purpose” and


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 that the sale aids the debtor’s reorganization. See In re Encore Healthcare Assocs., 312 B.R. 52,

 55 (Bankr. E.D. Pa. 2004).

          55.       And, when a bankruptcy court authorizes a sale of assets pursuant to section

 363(b)(1), it is required to make a finding with respect to the “good faith” of the purchaser. In re

 Abbotts Dairies of Pa., Inc., 788 F.2d 143, 149-50 (3d Cir. 1986).

          56.       In assessing the “good faith” of the purchaser, the focus of the inquiry is upon the

 integrity of the purchaser’s conduct in the course of the sale proceeding—e.g., did the purchaser

 engage in fraud, collusion, or an attempt to take grossly unfair advantage of the process. See Id. at

 147-148.

          57.       Given consideration to (a) the reasons supporting approval of the Settlement

 Agreements under Bankruptcy Rule 9019 and (b) that the Settlement Agreements would not have

 been entered into without the proposed sale of the applicable Settling Insurer Policies, the Debtor

 has a sound business purpose for the sale of the Settling Insurer Policies relating to Travelers,

 Zurich, LMI, and Interstate, and such sale is an integral and material part of the Plan.

          58.       In addition, the Settlement Agreements with each of Travelers, Zurich, LMI, and

 Interstate is the product of extensive mediation and arms’ length negotiations involving each of

 the Settling Insurers, the Debtor, the Committee, and a mediator with extensive experience

 mediating these types of disputes.

          59.       At no time did the Debtor, Committee, or Settling Insurers collude or engage in any

 other similar conduct in connection with the Settlement Agreements with Travelers, Zurich, LMI,

 or Interstate.




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          60.       Accordingly, the Debtor submits that the sales contemplated by the Settlement

 Agreements with each of Travelers, Zurich, LMI, and Interstate should be approved pursuant to

 section 363(b)(1) of the Bankruptcy Code.

                                                   NOTICE

          61.       In accordance with Bankruptcy Rule 2002(b), notice of this motion was provided

 to: (a) the Office of the United States Trustee for the Middle District of Pennsylvania; (b) counsel

 to the Committee; (c) counsel to the Ad Hoc Committee; (d) the Unknown Claimants’

 Representative; and (e) any party that has requested notice pursuant to Bankruptcy Rule 2002.

          62.       The Debtor submits that no other or further notice need be given under the

 circumstances.

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                                               CONCLUSION

          63.       For the reasons set forth in this motion, the Debtor respectfully requests this Court

 enter an order, substantially in the form attached to this motion as Exhibit G, granting the relief

 requested in this motion and such other and further relief as this Court deems just and proper.

 Dated: January 13, 2023                          Respectfully submitted,
        Nashville, Tennessee

                                                   /s/ Blake D. Roth
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                                                  -and-

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                                                  Attorneys for the Debtor and Debtor in Possession




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                                   EXHIBIT A

                         TRAVELERS SETTLEMENT AGREEMENT




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                           SETTLEMENT AGREEMENT AND RELEASE

         This Settlement Agreement and Release (hereinafter the “Agreement”) is made this ____
 day of ____, 2023, by and between the Diocese of Harrisburg (“DOH”)1 and the other “DOH
 Entities”, on the one hand, and Travelers (as defined below). (The aforementioned parties are
 referred to hereinafter collectively as the “Parties” or individually as a “Party”).

                                     WITNESSETH THAT:

 WHEREAS, certain “Persons”, alleging injuries from “Abuse”, asserted “Survivor Claims”
 against certain DOH Entities;

 WHEREAS, certain DOH Entities incurred, and may incur in the future, liabilities, expenses, and
 losses arising out of the Survivor Claims;

 WHEREAS, Travelers issued or allegedly issued the “Subject Insurance Policies”, providing
 insurance to the DOH Entities;

 WHEREAS, the Subject Insurance Policies listed on Attachment A are property of DOH’s
 bankruptcy estate;

 WHEREAS, certain DOH Entities tendered “Coverage Claims” to Travelers to seek insurance
 coverage for the Survivor Claims;

 WHEREAS, Travelers disputes the Coverage Claims;

 WHEREAS, to address potential liabilities arising out of the Survivor Claims, on the “Petition
 Date,” DOH filed the “Bankruptcy Case” in the “Bankruptcy Court”;

 WHEREAS, on February 19, 2020, DOH filed the “Insurance Coverage Adversary
 Proceeding,” as an adversary proceeding in the Bankruptcy Court;

 WHEREAS, Travelers is a named defendant in the Insurance Coverage Adversary Proceeding,
 and disputes the substantive allegations and Coverage Claims asserted against Travelers in the
 Insurance Coverage Adversary Proceeding;

 WHEREAS, on April 2, 2020, DOH filed the “Mediation Request”;

 WHEREAS, the Bankruptcy Court (i) entered the “Mediation Order” approving the Mediation
 Request, appointing the “Mediator”; and (ii) ordered the “Mediation Parties” to mediate the
 Survivor Claims and the Coverage Claims;

 WHEREAS, pursuant to the Bankruptcy Court’s order, no defendant filed an Answer or otherwise
 responded in the Insurance Coverage Adversary Proceeding;



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         Terms in bold, inside quotation marks, are defined in Section 1, Definitions.


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 WHEREAS, whether or not they (i) were subject to the Survivor Claims; or (ii) asserted Coverage
 Claims against Travelers, the DOH Entities are settling with and releasing Travelers pursuant to
 this Agreement;

 WHEREAS, it is the intention of the Parties that the DOH Entities shall sell, assign, and transfer
 the Subject Insurance Policies to Travelers, and Travelers shall buy back the Subject Insurance
 Policies and pay the “Settlement Amount” to the “Trust”, which shall be administered and
 distributed as provided in the “Plan”, the “Trust Agreement”, and the “Trust Distribution
 Plan”, including to make payments to the “Channeled Claimants”;

 WHEREAS, upon the “Settlement Amount Payment Date”, Travelers shall pay the “Settlement
 Amount” to the Trust for the benefit of the “Channeled Claimants”;

 WHEREAS, it is the intention of the Parties that any and all “Interests” in or to the Subject
 Insurance Policies be extinguished, ended, and forever terminated;

 WHEREAS, it is the intention of the Parties that (i) the DOH Entities shall (a) not retain any right,
 title, or Interest in or to the “Subject Insurance Policies”; and (b) release Travelers from all
 “Released Claims”; and (ii) Travelers shall have no remaining duty or obligation of any nature
 whatsoever to any DOH Entity;

 WHEREAS, DOH agrees to use commercially reasonable efforts to obtain the Supplemental
 Settling Insurer Injunction for the benefit of the “Settling Insurers,” pursuant to the “Plan”; and

 WHEREAS, subject to the Court entering the orders contemplated by this Agreement, upon the
 Trust’s receipt of the Settlement Amount, Travelers will be protected by the “Supplemental
 Settling Insurer Injunction” and the “Channeling Injunction”;

 WHEREAS, by this Agreement, the Parties intend to adopt, by way of compromise, and without
 prejudice to or waiver of their respective positions in other matters, without further trial or
 adjudication of any issues of fact or law, and without Travelers’ admission of liability or
 responsibility under the Subject Insurance Policies, a full and final settlement that releases and
 terminates all Interests of Travelers, and the DOH Entities, with respect to the Subject Insurance
 Policies, including all rights, obligations, and liabilities relating to the “Barred Claims” and the
 “Enjoined Claims,” without prejudice to their respective positions on policy wordings or any
 other issues relating to the Insurance Coverage Adversary Proceeding, the Coverage Claims, or
 otherwise.

                                         AGREEMENTS:

 NOW, THEREFORE, in full consideration of the foregoing and of the mutual agreements herein
 contained, and intending to be legally bound, the Parties agree as follows:

 1.       Definitions

        The following definitions and the definitions used above apply to this Agreement as well
 as any exhibits or attachments hereto. Where the listed terms are further defined in the body of

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 this Agreement, the definitions listed here nonetheless apply and shall serve to further explain the
 meaning of those terms.

        a.      Each defined term stated in a singular form shall include the plural form, each
 defined term stated in plural form shall include the singular form, and each defined term stated in
 the masculine form or in the feminine form shall include the other.

        b.      The words “include,” “includes,” or “including” shall be deemed to be followed by
 the words “without limitation,” and the phrase “relating to” means “with regard to, by reason of,
 based on, arising out of, relating to, or in any way connected with.” (The words “include,”
 “includes,” and “including,” and the phrase “relating to” are not capitalized herein.)

         c.      This Agreement incorporates all attachments hereto to the same extent as if fully
 set forth herein.

        d.     All references to “Sections” are references to sections of this Agreement unless
 otherwise specified.

        e.      Unless the context of this Agreement otherwise requires: the terms “hereto,”
 “herein,” “hereby,” and derivatives of similar words refer to this entire Agreement.

        f.      References to statutes shall include all regulations promulgated thereunder and
 references to statutes or regulations shall be construed as including all statutory and regulatory
 provisions regardless of whether specifically referenced in this Agreement.

         g.       The use of the terms “intend,” “intended,” or “intent,” when describing the intention
 of the Parties, as the case may be, shall not be construed to create a breach of this Agreement when
 the stated intent is not achieved.

          h.        Abuse

         The term “Abuse” means any (i) actual, alleged, or threatened, sexual conduct,
 misbehavior, misconduct, abuse, or molestation, including “Sexual Abuse” as defined in 42
 Pa.C.S. § 5533(b)(2)(ii); (ii) any sexual offense as laid out in Chapter 31 of Title 18 of the
 Pennsylvania Statutes; (iii) any other sexually related act, contact, or interaction, indecent assault
 and/or battery, rape, indecent or lascivious behavior, undue familiarity, harassment, pedophilia, or
 ephebophilia; (iv) act that causes or allegedly causes sexually-related physical, psychological, or
 emotional harm, or any other contacts or interactions of a sexual nature, including any such
 contacts or interactions between a child and an adult, or a non-consenting adult and another adult;
 (v) contacts or interactions of a sexual nature; or (vi) assault, battery, corporal punishment, or any
 other act of physical, psychological, mental, or emotional abuse, humiliation, or intimidation.
 Abuse may occur whether or not this activity involves explicit force, whether or not it involves
 genital or other physical contact, and whether or not there is physical, psychological, or emotional
 harm to the person.




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          i.        Action

         The term “Action” means any lawsuit, proceeding, or other action in a court, or any
 arbitration.

          j.        Affiliates

        The term “Affiliates” means all past, present, and future Persons that control, are controlled
 by, or are under control with, another Person, including parents, subsidiaries, merged Persons,
 holding Persons, and acquired Persons, or any predecessor to such Person.

          k.        Agents

         The term “Agents” means all past and present employees; officers; directors; managing
 agents or other agents; shareholders; principals; teachers; staff; members; board members;
 administrators; priests; deacons; brothers, sisters, nuns, or other members of a religious order;
 clergy; Persons bound by a monastic vow; volunteers; attorneys; claims handling administrators;
 and representatives of a Person, in each case in their capacities as such.

          l.        Approval Order

        The term “Approval Order” means an order entered by the Court, upon a hearing
 following Bankruptcy Notice, containing all of the following provisions but no provision that is
 contrary to or inconsistent with the following provisions. The wording of the Approval Order shall
 be mutually acceptable to DOH and Travelers. The Approval Order shall contain provisions:

          (i)    finding that due and adequate notice of DOH’s request for approval of this
          Agreement has been provided to all creditors and parties in interest in the Bankruptcy Case,
          including by finding that the Bankruptcy Notice described in Section 1.p. of this Agreement
          is reasonable and provides due process to all potential known and unknown holders of
          Claims;

          (ii) approving this Agreement in its entirety, pursuant to Bankruptcy Code §§ 363(b),
          (f), and (m) and, if applicable, 105(a), and Bankruptcy Rules 6004 and 9019;

          (iii) authorizing, subject to the occurrence of the Settlement Payment Date, the sale of
          the Subject Insurance Policies to Travelers, free and clear of all Interests of all Persons,
          with all Interests in and to, and Claims against, the Subject Insurance Policies being fully
          extinguished without reservation as to the Settling Insurers;

          (iv) ordering that, as of the date the Trust receives the Settlement Amount, all Claims
          against, and Interests in and to, the Subject Insurance Policies be fully extinguished without
          reservation as to Travelers and the DOH Entities;

          (v) ordering that, as of the date the Trust receives the Settlement Amount, all Barred
          Claims and other Interests that any Person, including “CMS” (as defined herein), might
          have in, or against, the Subject Insurance Policies, attach to the Settlement Amount;

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           (vi) authorizing and directing the Parties to perform their respective obligations under
           this Agreement; and

           (vii) issuing the Bar Order, subject to, and effective upon, the occurrence of the
           Settlement Payment Date.

        The Approval Order shall be accompanied by the separately entered Settlement Approval
 Findings and Conclusions.

           m.       Bankruptcy Case

        The term “Bankruptcy Case” means the bankruptcy case filed by DOH in the Bankruptcy
 Court, entitled In re Roman Catholic Diocese of Harrisburg, Case Number 20-00599-HWV.

           n.       Bankruptcy Code

           The term “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. § 101,
 et seq.

           o.       Bankruptcy Court

         The term “Bankruptcy Court” means the United States Bankruptcy Court for the Middle
 District of Pennsylvania or such other court of competent jurisdiction that properly exercises
 jurisdiction over part or all of the Bankruptcy Case, to the extent that the reference of part or all of
 the Bankruptcy Case is withdrawn.

           p.       Bankruptcy Notice

          The term “Bankruptcy Notice” means notice as required under Bankruptcy Rules 2002,
 6004(a), and (c), and applicable local rules, sent to (i) all holders of Claims against the DOH
 Entities, including Survivor Claims, or their attorneys, if any, who are known to the DOH Entities;
 (ii) the Official Committee of Unsecured Creditors; (iii) the “Unknown Claims Representative”
 (once appointed by the Court); (iv) all insurers of the DOH Entities that provide coverage for or
 are alleged to provide coverage for Survivor Claims; (v) the Secretary of the Department of Health
 and Human Services; (vi) CMS; (vii) the United States Attorney for the Middle District of
 Pennsylvania; (viii) all Persons who, in the opinion of any Party to this Agreement, might
 reasonably be expected to be affected by the transactions contemplated herein; and (ix) all other
 Persons as directed by the Court. Notice shall also be given by publication (a) in the national
 editions of (i) USA Today; (ii) National Catholic Reporter; and (iii) The National Catholic
 Register; and (b) locally in (i) The Catholic Witness (ii) Gettysburg Times; (iii) Press Enterprise;
 (iv) The Sentinel; (v) Patriot-News; (vi) Public Opinion; (vii) LNP-Lancaster Online; (viii)
 Lebanon Daily News; (ix) The Sentinel; (x) The Daily Item; (xi) Perry County Times; and (xiv)
 York Daily Record, or as the Court may otherwise direct.

           q.       Bankruptcy Rules

       The term “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as may
 be amended from time to time.
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          r.        Bar Order

         The term “Bar Order” means an order, which shall automatically become effective on the
 Settlement Payment Date, barring, estopping, and permanently enjoining all Persons from
 asserting any Barred Claims against Travelers.

          s.        Business Day

         The term “Business Day” means any day that is not a Saturday, Sunday, or legal holiday
 in the United States or the Commonwealth of Pennsylvania.

          t.        Channeling Injunction

        The term “Channeling Injunction” means an order of the Court, effective as of the date
 the Trust receives the Settlement Amount, requiring all Channeled Claimants to assert their
 Channeled Claims against the Trust, and barring and permanently enjoining such claims against
 the DOH Entities and the Settling Insurers, pursuant to § 105 of the Bankruptcy Code, which states,
 verbatim.

                Channeling Injunction Preventing Prosecution of Channeled Claims
          Against Protected Parties and Settling Insurers.

                 (a)     In consideration of the undertakings of the Protected Parties
          and the Settling Insurers under the Plan, their contributions to the Trust, and
          other consideration, and pursuant to their respective settlements with the
          Debtor, and to further preserve and promote the agreements between and
          among the Protected Parties and Settling Insurers, and to supplement where
          necessary the injunctive effect of the discharge as provided in sections 524 and
          1141 of the Bankruptcy Code, and pursuant to sections 105 and 363 of the
          Bankruptcy Code:

                    1.     any and all Channeled Claims are channeled into the Trust and
                    shall be treated, administered, determined, and resolved under the
                    procedures and protocols and in the amounts established under the
                    Plan and the Trust Agreement as the sole and exclusive remedy for all
                    holders of Channeled Claims;

                    2.     any and all Persons who have held or asserted, hold or assert, or
                    may in the future hold or assert any Channeled Claims are hereby
                    permanently stayed, enjoined, barred, and restrained from taking any
                    action, directly or indirectly, for the purposes of asserting, enforcing,
                    or attempting to assert or enforce any Channeled Claim against the
                    Protected Parties or Settling Insurers, including:

                           (i).   commencing or continuing in any manner any action or
                    other proceeding of any kind with respect to any Channeled Claim
                    against any of the Protected Parties or the Settling Insurers or against
                    the property of any of the Protected Parties or Settling Insurers;
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                           (ii).  enforcing, attaching, collecting or recovering, or seeking
                    to accomplish any of the preceding, by any manner or means, from any
                    of the Protected Parties or Settling Insurers, or the property of any of
                    the Protected Parties or Settling Insurers, any judgment, award,
                    decree, or order with respect to any Channeled Claim against any of
                    the Protected Parties or the Settling Insurers;

                          (iii). creating, perfecting, or enforcing, or seeking to
                    accomplish any of the preceding, any lien of any kind relating to any
                    Channeled Claim against any of the Protected Parties or Settling
                    Insurers, or the property of the Protected Parties or Settling Insurers;

                           (iv). asserting, implementing, or effectuating, any Channeled
                    Claim of any kind against: (A) any obligation due any of the Protected
                    Parties or Settling Insurers; (B) any of the Protected Parties or Settling
                    Insurers; or (C) the property of any of the Protected Parties or Settling
                    Insurers;

                           (v).    taking any act, in any manner, in any place whatsoever,
                    that does not conform to, or comply with, the provisions of the Plan; or

                           (vi). asserting or accomplishing any setoff, right of indemnity,
                    subrogation, contribution, or recoupment of any kind against an
                    obligation due to any of the Protected Parties, the Settling Insurers, or
                    the property of the Protected Parties or Settling Insurers.

                  The Channeling Injunction is an integral part of the Plan and is
          essential to the Plan’s consummation and implementation. It is intended that
          the channeling of the Channeled Claims provided in this section shall inure to
          the benefit of the Protected Parties and Settling Insurers. The Channeling
          Injunction will become effective with respect to each applicable Settling
          Insurer as of the date that the Trust receives the Settlement Amount pursuant
          to the terms of the applicable Insurance Settlement Agreement. In a successful
          Action to enforce the injunctive provisions of this Section 12.3 in response to a
          willful violation thereof, the moving party shall be entitled to recover all costs
          and expenses incurred, including reasonable attorneys’ fees, from the non-
          moving party, and such other legal or equitable remedies as are just and
          proper, after notice and a hearing.

          u.        Claim

        The term “Claim” (a) has the meaning ascribed in § 101(5) of the Bankruptcy Code; and
 also means any past, present or future (b) claim, Action, Cause of Action, suit, debt, dues, sum of
 money, account, reckonings, bond, bill, specialty, assertion of right, complaint, cross-complaint,
 counterclaim, liability, obligation, right, request, allegation, mediation, litigation, direct action,
 administrative proceeding, lien, encumbrance, indemnity, equitable indemnity, right of
 subrogation, equitable subrogation, defense, injunctive relief, controversy, contribution,

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 exoneration, covenant, agreement, promise, act, omission, trespass, variance, damages, judgment,
 compensation, set-off, reimbursement, restitution, cost, expense, loss, exposure, execution,
 attorneys’ fee, obligation, order, affirmative defense, writ, demand, inquiry, request, directive,
 obligation, proof of claim in a bankruptcy proceeding or submitted to a trust established pursuant
 to the Bankruptcy Code, government claim or Action, settlement, and/or any liability whatsoever,
 known or unknown, asserted or unasserted, foreseen or unforeseen, fixed or contingent, matured
 or unmatured, liquidated or unliquidated, direct, indirect, derivative or otherwise consequential,
 whether in law, equity, admiralty or otherwise, whether compromised, settled or reduced to a
 consent judgment, that may exist now or hereinafter for property damages, compensatory damages
 (such as loss of consortium, wrongful death, survivorship, proximate, consequential, general and
 special damages), punitive damages, bodily injury, personal injury, public and private claims, or
 any other right to relief whether sounding in tort, contract, extra-contractual or bad faith, statute,
 strict liability, equity, nuisance, trespass, statutory violation, wrongful entry or eviction or other
 eviction or other invasion of the right of private occupancy, and any amounts paid in respect of
 any judgment, order, decree, settlement, contract, or otherwise. A Person who alleges or alleged
 a Claim is a “Claimant”. The term “Claim” includes all of the following:

          (i)       Barred Claims

                  The term “Barred Claims” means all Claims enjoined by the Bar Order, which
          shall include all Direct Action, Indirect, Medicare, Released, and Survivor Claims.

          (ii)      Channeled Claims

                 The term “Channeled Claims” means all of the Claims that shall be channeled to
          the Trust, including: (a) Survivor Claims; (b) Indirect Claims; (c) Direct Action Claims;
          (d) Contribution Claims; (e) Medicare Claims; and (f) Extra-Contractual Claims relating
          to the Claims listed in subsection (a)–(e) of this sentence; provided, however, that
          “Channeled Claims” shall not include (i) a Claim against an individual who perpetrated
          an act of Abuse; or (ii) a Claim against any religious order, diocese (other than the
          Reorganized Debtor), or archdiocese.

          (iii)     Contribution Claims

                  The term “Contribution Claims” means all Claims, most commonly expressed in
          terms of contribution, indemnity, equitable indemnity, subrogation, or equitable
          subrogation, or reimbursement, or any other indirect or derivative recovery, by an Insurer
          against any Settling Insurer for the payment of money where such Insurer contends that it
          has paid more than its equitable or proportionate share of a Survivor Claim.

          (iv)      Coverage Claims

                  The term “Coverage Claims” means all Claims against Travelers under or relating
          to the Subject Insurance Policies or the rights and obligations thereunder, or the breach
          thereof, including Claims seeking insurance coverage.



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          (v)       Direct Action Claims

                  The term “Direct Action Claims” means the same as Survivor Claims, except that
          they are asserted against any Settling Insurer, instead of any DOH Entity or the Trust, for
          the recovery of insurance proceeds.

          (vi)      Enjoined Claims

                  The term “Enjoined Claims” means all Claims enjoined by the Supplemental
          Settling Insurer Injunction, which shall include all Direct Action, Indirect, Released,
          Survivor, Contribution Claims, and Extra Contractual Claims that are not Channeled
          Claims.

          (vii) Extra-Contractual Claims

                  The term “Extra-Contractual Claims” means all Claims against Travelers, in its
          capacity as Insurer, seeking any type of relief other than coverage or benefits under the
          Subject Insurance Policies.           “Extra-Contractual Claims” include Claims for
          compensatory, exemplary, or punitive damages, or attorneys’ fees, interest, costs, or any
          other type of relief, alleging, with respect to (i) any of the Subject Insurance Policies; (ii)
          any Claim allegedly or actually covered under the Subject Insurance Policies; or (iii) the
          conduct of Travelers with respect to (i) and/or (ii) any of the following: (a) bad faith; (b)
          failure to provide insurance coverage under any Subject Insurance Policy; (c) failure or
          refusal to compromise and settle any Claim insured under any Subject Insurance Policy;
          (d) failure to act in good faith; (e) violation of any covenant or duty of good faith and fair
          dealing; (f) violation of any state insurance codes, state surplus lines statutes or similar
          codes or statutes; (g) violation of any unfair claims practices act or similar statute,
          regulation or code; (h) any type of misconduct; or (i) any other act or omission of any type
          for which the Claimant seeks relief other than coverage or benefits under a Subject
          Insurance Policy. The term “Extra-Contractual Claims” includes all Claims relating to
          Travelers’ (i) handling of any Coverage Claim under the Subject Insurance Policies; (ii)
          conduct relating to the negotiation of this Agreement and the Plan; or (iii) conduct relating
          to the settlement of any Coverage Claim.

          (viii) Indirect Claims

                  The term “Indirect Claims” means Claims against a DOH Entity or a Settling
          Insurer, asserted by any Person that is not an Insurer (an “Indirect Claim Claimant”), for
          contribution, indemnity, equitable indemnity, subrogation, equitable subrogation,
          reimbursement, or any other indirect or derivative recovery, on account of, or with respect
          to, any actual or alleged liability for any Claim relating to Abuse that took place in whole
          or in part prior to the Plan Effective Date that a DOH Entity would have had, but for the
          entry of the bankruptcy discharge, the Channeling Injunction or the Supplemental Settling
          Insurer Injunction.

          (ix)      Medicare Claims


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                  The term “Medicare Claims” means any and all Claims against the Trust, any
          Settling Insurer, or any DOH Entity, brought or asserted by CMS, and/or any other agent
          or successor Person charged with responsibility for monitoring, assessing, or receiving
          reports made under MMSEA and pursuing Claims under MSP, relating to any payments in
          respect of any Survivor Claims, including Claims for reimbursement of payments made to
          Survivor Claimants, who recover or receive any distribution from the Trust, and Claims
          relating to reporting obligations.

          (x)       Released Claims

                 The term “Released Claims” means any and all of the DOH Entities’ Coverage
          Claims and Extra-Contractual Claims.

          (xi)      Survivor Claims

                  (A) The term “Survivor Claims” means all Claims, allowed or disallowed, for
          which any of the DOH Entities is or may be liable, relating to, in whole or in part, directly
          or indirectly, Abuse that took place in whole or in part prior to the Plan Effective Date. For
          the avoidance of doubt, the term “Survivor Claims” includes any Known Survivor Claim,
          Unknown Survivor Claim, and Late-Filed Survivor Claim, regardless of whether such
          Survivor Claim is barred by any applicable statute of limitations as of the Filing Date or
          Effective Date, but does not include Contribution Claims, Indirect Claims, or Medicare
          Claims.

                  (B) The term “Unknown Survivor Claim” means any Survivor Claim relating to,
          in whole or in part, directly or indirectly, Abuse that took place in whole or in part prior to
          the Plan Effective Date, but neither filed nor deemed filed in the Bankruptcy Case, nor
          otherwise allowed by the Court by the Plan Effective Date, and is held by an individual
          who was at the time of the Filing Date under a disability or other condition recognized by
          Pennsylvania law, or other applicable law suspending the running of the statute of
          limitation period, that would toll the statute of limitations on such Survivor Claim.

          v.        CMS

         The term “CMS” means the Centers for Medicare and Medicaid Services of the United
 States Department of Health and Human Services, located at 7500 Security Boulevard, Baltimore,
 MD 21244-1850 and/or any other Agent or successor Person responsible for monitoring, assessing,
 or receiving reports made under MMSEA for reimbursement of Medicare Claims.

          w.        Committee

       The term “Committee” means the Official Committee of Tort Claimants appointed in the
 Bankruptcy Case, as such committee may be constituted from time to time.

          x.        Confirmation Findings and Conclusions

        The term “Confirmation Findings and Conclusions” means the findings of fact and
 conclusions of law required under §§ 1129(a), and, if applicable, 105(a) and 1129(b), of the
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 Bankruptcy Code, which are to be entered concurrently with the Confirmation Order, as necessary
 to confirm the Plan, including the following:

          (i)   This Agreement is the fruit of long-term negotiations amongst the Parties, which
          began in July 2020, following the Bankruptcy Court’s entry of the Mediation Order;

          (ii) The Settlement Amount provides good and valuable consideration to DOH’s
          bankruptcy estate, and enables distributions to the Channeled Claimants;

          (iii) Potential liability for the Survivor Claims precipitated the filing of the Bankruptcy
          Case;

          (iv) This Agreement is therefore necessary to the Plan because it provides significant
          funding for the Plan;

          (v) The Subject Insurance Policies are property of DOH’s bankruptcy estate and are
          therefore subject to the in rem jurisdiction of the Court;

          (vi) The Channeled Claims are within the jurisdiction of the Court because they seek
          property of DOH’s bankruptcy estate;

          (vii) Because it would be impractical to divide the Subject Insurance Policies amongst
          DOH and the other DOH Entities, it was necessary for DOH to obtain the participation of
          the other DOH Entities in this Agreement;

          (viii) The DOH Entities, other than DOH, would not release their Interests in the Subject
          Insurance Policies unless they obtained the benefits of the Channeling Injunction, because
          to do so would have left them exposed to Survivor Claims, whether or not such Claims be
          valid, and whether or not coverage exists under the Subject Insurance Policies for such
          Claims;

          (ix)      Therefore, the Channeling Injunction is necessary to this Agreement;

          (x) The Channeling Injunction is narrowly tailored because it only requires Channeled
          Claims to be brought against the Trust;

          (xi) The Settlement Amount is reasonable and fair consideration for the injunction of the
          Enjoined Claims, and for Travelers’ liability for Survivor Claims;

          (xii) The Coverage Claims are within the jurisdiction of the Bankruptcy Court because
          such Claims could enhance the estate;

          (xiii) Travelers required that DOH obtain the benefits of the Supplemental Settling Insurer
          Injunction, as a condition of entering into this Agreement and contributing the Settlement
          Amount;

          (xiv) Therefore, the Supplemental Settling Insurer Injunction is necessary to this
          Agreement and the Plan; and

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          (xv) The Supplemental Settling Insurer Injunction is narrowly tailored because it only
          enjoins the Enjoined Claims against the Settling Insurers;

          y.        Confirmation Order

         The term “Confirmation Order” means an order entered by the Bankruptcy Court after a
 confirmation hearing upon Bankruptcy Notice confirming the Plan, in a form and substance as
 required by this Agreement, which order is a Final Order. The wording of the Confirmation Order
 shall be mutually acceptable to DOH and Travelers. The Confirmation Order shall contain all of
 the following provisions but no provision that is contrary to or inconsistent with this Agreement:

          (i)       confirming the Plan;

          (ii) specifically, and individually, ordering all Persons, as set forth in the Plan, to act or
          refrain from acting as specified in the Plan;

          (iii) incorporating, as of the date the Trust receives the Settlement Amount, the terms and
          provisions of the Bar Order as though fully set forth therein;

          (iv) ordering the Trustee to perform the obligations, if any, imposed upon the Trustee by
          this Agreement;

          (v)       issuing the Channeling Injunction and the Supplemental Settling Insurer Injunction;

          (vi)      discharging DOH from all Claims, including all Channeled Claims;

          (vii) ordering all Channeled Claimants with pending state court Actions against any DOH
          Entity to dismiss such Actions and assert them against the Trust for resolution pursuant to
          the Trust Agreement; and

          (viii) including the Reduction Clause set forth in Section 7, below.

        The Confirmation Order shall be accompanied by the separately entered Confirmation
 Findings and Conclusions.

          z.        DOH

        “DOH” means The Diocese of Harrisburg, which is the diocesan corporation formed
 pursuant to 15 Pa. Stat. and Cons. Stat. Ann. § 5301, together with the public juridic person of the
 Roman Catholic Diocese of Harrisburg, as now constituted or as it may have been constituted.
 The term “DOH” also applies anywhere the term “Reorganized Debtor” is used, and
 “Reorganized Debtor” applies anywhere the term “DOH” is used, as is necessary to effectuate
 the terms of the Agreement. Furthermore, in the event of any Action naming any Affiliate or
 Agent of DOH, such Action shall be considered an Action against DOH, the insurance coverage
 for which is released pursuant to Section 3 hereof.




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          aa.       DOH Entities

          The term “DOH Entities” means, in their capacity as such, DOH and its Entities.

        The “DOH Entities” include each of the Persons set forth on Attachment B to this
 Agreement. An individual who perpetrated an act of Abuse that forms the basis for a Survivor
 Claim is not a DOH Entity with respect to that Survivor Claim.

          bb.       DOH Entity Insurer Policy

         The term “DOH Entity Insurer Policy” means any known or unknown contract, binder,
 certificate, or policy of insurance, in effect on or before the Plan Effective Date, which actually,
 allegedly, or potentially, insures any DOH Entity, or any of their predecessors in interest,
 successors, or assigns, with respect to any Survivor Claim.

          cc.       DOH Parishes

        The term “DOH Parishes” means all past and present parishes of or in DOH, in their
 capacity as public juridic persons, together with each corresponding parish corporation formed
 pursuant to 15 Pa. Stat. and Cons. Stat. Ann. § 5511.

          dd.       Effective Date

         The term “Effective Date” means the day following the date on which all of the following
 have occurred: (i) all Parties have executed this Agreement; (ii) the Court has issued the Approval
 Order and the Settlement Approval Findings and Conclusions, and the Approval Order has become
 a Final Order; and (iv) the Court has issued the Confirmation Order and the Confirmation Findings
 and Conclusions, and the Confirmation Order has become a Final Order

          ee.       Entities

         The term “Entities” means with respect to a specified Person: (i) its Affiliates; (ii) each of
 the foregoing Person’s Agents; and (iii) each of the foregoing Persons’ respective predecessors,
 successors, assignors, and assigns, whether known or unknown, administrators, and all Persons
 acting on behalf of, by, through, or in concert with them, in their capacities as such.

          ff.       Entities’ Release

         The term “Entities’ Release” means the following: The remising, release, covenant not to
 sue, and permanent discharge by the DOH Entities and any subsequently appointed trustee or
 representative acting for any DOH Entity, without further act by any Person, from and against all
 Released Claims that any DOH Entity ever had, now has, or hereafter may have, from the
 beginning of time to the Effective Date, of: (1) Travelers; and (2) the respective heirs, executors,
 administrators, and reinsurers (as such) of any of the Persons identified in clause (1) hereof, in
 their capacities as such.




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          gg.       Filing Date

          The term “Filing Date” means February 19, 2020.

          hh.       Final Order

          The term “Final Order” means an order or judgment of the Bankruptcy Court that has not
 been reversed, vacated or stayed and as to which (a) the time to appeal, petition for certiorari, or
 move for a new trial, reargument or rehearing has expired and as to which no appeal, petition for
 certiorari or other proceedings for a new trial, reargument or rehearing shall then be pending, or
 as to which any right to appeal, petition for certiorari, review, reargue, or rehear shall have been
 waived in writing in form and substance satisfactory to DOH and Travelers, and their counsel or,
 (b) in the event that an appeal, writ of certiorari, new trial, or reargument or rehearing thereof has
 been sought, such order or judgment of the Bankruptcy Court shall have been affirmed by the
 highest court to which such order was appealed, or certiorari shall have been denied or a new trial,
 reargument or rehearing shall have been denied or resulted in no modification of such order, and
 the time to take any further appeal, petition for certiorari, or move for a new trial, reargument or
 rehearing shall have expired; provided, however, that the possibility that a motion pursuant to
 section 502(j) or 1144 of the Bankruptcy Code or under Rule 59 or Rule 60 of the Federal Rules
 of Civil Procedure or any analogous rule under the Bankruptcy Rules, may be filed with respect to
 such order shall not cause such order not to be a Final Order. For the avoidance of doubt, if the
 Plan is substantially consummated as defined in § 1101(2) of the Bankruptcy Code (“Substantial
 Consummation”), and any appeal of the Confirmation Order becomes equitably moot due to
 Substantial Consummation, the Confirmation Order shall be considered a Final Order as of the
 date that the order determining such appeal to be moot has become a Final Order.

          ii.       Insurance Coverage Adversary Proceeding

        The term “Insurance Coverage Adversary Proceeding” means the case entitled The
 Roman Catholic Diocese of Harrisburg v. The Travelers Companies, et al., filed in the Bankruptcy
 Court, as Adversary Proceeding Number 20-00018.

          jj.       Insurer

          The term “Insurer” means a Person (including all of its predecessors in interest, successors,
 and assigns) that has, or is alleged to have, issued, subscribed any interest in, assumed any liability
 for, or underwritten any risk in, a DOH Entity Insurer Policy, whether or not a regulated insurance
 company.

          kk.       Interests

         The term “Interests” means all Claims, including any “interests” as that term is used in 11
 U.S.C. § 363, and other rights of any nature, whether at law or in equity, including all interests or
 other rights under Pennsylvania or other applicable law.




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          ll.       Mediation

       The term “Mediation” means the mediation by the Mediation Parties, as ordered by the
 Bankruptcy Court.

          mm.       Mediation Parties

         The term “Mediation Parties” means, collectively: (a) DOH; (b) each insurer named as a
 Defendant in the Insurance Coverage Adversary Proceeding; (c) the Committee; (d) state court
 counsel for Survivor Claimants; and (e) the ad hoc committee of parishes and other parties-in-
 interest, including schools or other non-debtor Catholic entities located within the territorial area
 decreed by the Roman Catholic Church as the “Diocese of Harrisburg,” to the extent permitted or
 required by the Mediator.

          nn.       Mediation Order

        The term “Mediation Order” means the Agreed Order Referring Adversary Proceeding
 to Mediation, entered by the Bankruptcy Court in the Insurance Coverage Adversary Proceeding,
 on July 10, 2020, Doc. No. 84.

          oo.       Mediation Request

        The term “Mediation Request” means the Request for Mediation filed by the DOH in the
 Insurance Coverage Adversary Proceeding.

          pp.       Mediator

          The term “Mediator” means the Honorable Gregg W. Zive, United States Bankruptcy
 Judge.

          qq.       Medicare

         The term “Medicare” means Title XVIII of the Social Security Act, 42 U.S.C. § 1395, et
 seq., enacted July 1, 1966, including all subsequent amendments thereto.

          rr.       Medicare Beneficiary

        The term “Medicare Beneficiary” means any individual who has received or is eligible to
 receive benefits under Medicare and is the holder of a Channeled Claim.

          ss.       Medicare Secondary Payor Act

        The term “Medicare Secondary Payor Act” or “MSP” means 42 U.S.C. § 1395y et seq.,
 or any other similar statute or regulation, and any related rules, regulations or guidance issued in
 connection therewith or amendments thereto.




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          tt.       MMSEA

         The term “MMSEA” means § 111 of the Medicare, Medicaid, and SCHIP Extension Act
 of 2007 (P.L.110-173), which imposes reporting obligations on those Persons with payment
 obligations under the MSP.

          uu.       Non-Settling Insurer

        The term “Non-Settling Insurer” means any Insurer that is not a Settling Insurer by the
 Plan Effective Date.

          vv.       Person

          The term “Person” means any individual or entity, including any corporation, limited
 liability company, partnership, general partnership, limited partnership, limited liability
 partnership, limited liability limited partnership, proprietorship, association, joint stock company,
 joint venture, estate, trust, trustee, personal executor or personal representative, unincorporated
 association, or other entity, including any federal, international, foreign, state, or local
 governmental or quasi-governmental entity, body, or political subdivision or any agency or
 instrumentality thereof; and any other individual or entity within the definitions of (i) “person” in
 Section 101(41) of the Bankruptcy Code or (ii) “entity” in Section 101(15) of the Bankruptcy
 Code.

          ww.       Petition Date

          The term “Petition Date” means February 19, 2020.

          xx.       Plan

          The term “Plan” means a plan of reorganization proposed by DOH, after good-faith
 consultation with Travelers, which (a) contains all of the following provisions, but no provision
 that is contrary to or inconsistent with this Agreement; (b) allows all of the acts and transactions
 under, and envisioned by, this Agreement to occur with binding legal effect; (c) does not materially
 and adversely affect the rights, duties, or interests of the DOH Entities or Travelers under this
 Agreement; (d) includes all papers, exhibits, attachments, appendices, or other documents filed
 with or in support of the Plan and necessary for its implementation, and any documents relating to
 the establishment and operation of the Trust; and (e) shall include the following provisions:

          (i)    specifying the terms of this Agreement shall control in the event of any conflict with
          the Plan or the Confirmation Order;

          (ii) prohibiting DOH or the Trust from continuing to pursue the Insurance Coverage
          Adversary Proceeding against Travelers, requiring DOH and the Trust to dismiss all Claims
          against Travelers, in the Insurance Coverage Adversary Proceeding, with prejudice, within
          fourteen (14) days after the Plan Effective Date, and prohibiting any DOH Entity from
          asserting any Coverage Claims against Travelers;


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          (iii) specifying that, as of the date the Trust receives the Settlement Amount, the
          Channeling Injunction and the Supplemental Settling Insurer Injunction shall be effective;

          (iv) establishing the Trust, appointing the Trustee, and binding both of them to perform
          those requirements imposed upon them by this Agreement;

          (v) describing the role of the Unknown Claims Representative and seeking the
          continued appointment of the Unknown Claims Representative to continue in his duties;

          (vi) specifying that, as of the date the Trust receives the Settlement Amount, the
          Channeled Claims shall be channeled to the Trust;

          (vii) denominating, as of the date the Trust receives the Settlement Amount, Travelers as
          a Settling Insurer;

          (viii) requiring, as of the date the Trust receives the Settlement Amount, each Channeled
          Claimant receiving a payment from the Trust to sign a release of all Claims against
          Travelers and the DOH Entities;

          (ix)      and providing, verbatim:

                    (A)     It is the position of DOH that none of DOH Entities, the Trust, or the
                    Settling Insurers will have any reporting obligations in respect of their contributions
                    to the Trust, or in respect of any payments, settlements, resolutions, awards, or other
                    Claim liquidations by the Trust, under the reporting provisions of MSP or MMSEA.
                    Prior to making any payments to any claimants, the Trust shall seek a statement or
                    ruling from the United States Department of Health and Human Services (“HHS”)
                    that none of the Trust, DOH Entities, or Settling Insurers has any reporting
                    obligations under MMSEA with respect to payments to the Trust by the DOH
                    Entities or Settling Insurers or payments by the Trust to Claimants. Unless and
                    until there is definitive regulatory, legislative, or judicial authority (as embodied in
                    a final non-appealable decision from the United States Court of Appeals for the
                    Third Circuit or the United States Supreme Court), or written confirmation from
                    HHS that none of the DOH Entities or the Settling Insurers has any reporting
                    obligations under MMSEA with respect to any settlements, payments, or other
                    awards made by the Trust or with respect to the contributions the DOH Entities and
                    the Settling Insurers have made or will make to the Trust, the Trust shall, at its sole
                    expense, in connection with the implementation of the Plan, act as a reporting agent
                    for the DOH Entities and Settling Insurers, and shall timely submit all reports that
                    would be required to be made by any DOH Entity or Settling Insurer under
                    MMSEA on account of any Claims settled, resolved, paid, or otherwise liquidated
                    by the Trust or with respect to contributions to the Trust, including reports that
                    would be required if the payments to the Trust by a DOH Entity or Settling Insurer
                    were determined to be made pursuant to “applicable plans” for purposes of
                    MMSEA, or any DOH Entity or Settling Insurer were otherwise found to have
                    MMSEA reporting requirements. The Trust, in its role as reporting agent for the
                    DOH Entities and Settling Insurers, shall follow all applicable guidance published

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                    by CMS to determine whether or not, and, if so, how, to report to CMS pursuant to
                    MMSEA.

                    (B)     If the Trust is required to act as a reporting agent for any DOH Entity or
                    Settling Insurer pursuant to Section 1.xx.(ix)(A), the Trust shall provide a written
                    certification to each DOH Entity and Settling Insurer within twenty-one (21) days
                    following the end of each calendar quarter, confirming that all reports to CMS
                    required by Section 1.xx.(ix)(A) have been submitted in a timely fashion, and
                    identifying (a) any reports that were rejected or otherwise identified as
                    noncompliant by CMS, along with the basis for such rejection or noncompliance;
                    and (b) any payments to Medicare Beneficiaries that the Trust did not report to
                    CMS.

                    (C)     With respect to any reports rejected or otherwise identified as noncompliant
                    by CMS, the Trust shall, upon request by any DOH Entity or Settling Insurer,
                    promptly provide copies of the original reports submitted to CMS, as well as any
                    response received from CMS with respect to such reports; provided, however, that
                    the Trust may redact from such copies the Redacted Information. With respect to
                    any such reports, the Trust shall reasonably undertake to remedy any issues of
                    noncompliance identified by CMS, resubmit such reports to CMS, and, upon
                    request by any DOH Entity or Settling Insurer, provide each DOH Entity and
                    Settling Insurer copies of such resubmissions; provided, however, that the Trust
                    may redact the Redacted Information. If the Trust is unable to remedy its
                    noncompliance, the provisions of Section 1.xx.(ix)(G) shall apply.

                    (D)     If the Trust is required to act as a reporting agent for a DOH Entity or
                    Settling Insurer pursuant to the provisions of Section 1.xx.(ix)(A), with respect to
                    each Channeled Claim of a Medicare Beneficiary paid by the Trust and not
                    disclosed to CMS, the Trust shall, upon request by any DOH Entity or Settling
                    Insurer, promptly provide the last four digits of the claimant’s Social Security
                    number, the year of the claimant’s birth and any other information in the possession
                    or control of the Trust that may be necessary in the reasonable judgment of any
                    DOH Entity or Settling Insurer to satisfy their obligations, if any, under MMSEA,
                    as well as the basis for the Trust’s failure to report the payment. In the event any
                    DOH Entity or Settling Insurer informs the Trust that it disagrees with the Trust’s
                    decision not to report a Claim paid by the Trust, the Trust shall promptly report the
                    payment to CMS. All documentation relied upon by the Trust in making a
                    determination that a payment did not have to be reported to CMS shall be
                    maintained for a minimum of six (6) years following such determination.

                    (E)     If the Trust is required to act as a reporting agent for any DOH Entity, or
                    Settling Insurer pursuant to the provisions of Section 1.xx.(ix)(A), the Trust shall
                    make the reports and provide the certifications required by Sections 1.xx.(ix)(A)
                    and (B) until such time as such DOH Entity or Settling Insurer determines, in its
                    reasonable judgment, that it has no further legal obligation under MMSEA or
                    otherwise to report any settlements, resolutions, payments, or liquidation
                    determinations made by the Trust or contributions to the Trust. Furthermore,
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                    following any permitted cessation of reporting, or if reporting has not previously
                    commenced due to the satisfaction of one or more of the conditions set forth in
                    Section 1.xx.(ix)(A), and if any DOH Entity or Settling Insurer reasonably
                    determines, based on subsequent legislative, administrative, regulatory, or judicial
                    developments, that reporting is required, then the Trust shall promptly perform its
                    obligations under Sections 1.xx.(ix)(A) and (B).

                    (F)     Section 1.xx.(ix)(A) is intended to be purely prophylactic in nature, and
                    does not imply, and shall not constitute an admission, that the DOH Entities and/or
                    Settling Insurers have made payments pursuant to “applicable plans” within the
                    meaning of MMSEA, or that they have any legal obligation to report any acts
                    undertaken by the Trust or contributions to the Trust under MMSEA or any other
                    statute or regulation.

                    (G)     If CMS concludes that reporting done by the Trust in accordance with
                    Section 1.xx.(ix)(A) is or may be deficient in any way, and has not been corrected
                    to the satisfaction of CMS in a timely manner, or if CMS communicates to the
                    Trust, any DOH Entity or Settling Insurer a concern with respect to the sufficiency
                    or timeliness of such reporting, or there appears to any DOH Entity or Settling
                    Insurer a reasonable basis for a concern with respect to the sufficiency or timeliness
                    of such reporting or non-reporting based upon the information received pursuant to
                    Section 1.xx.(ix)(B), (C) or (D), or other credible information, then each DOH
                    Entity and Settling Insurer shall have the right to submit its own reports to CMS
                    under MMSEA, and the Trust shall provide to any Entity that elects to file its own
                    reports such information in its possession or control as the electing party may
                    reasonably require in order to comply with MMSEA, including the full reports filed
                    by the Trust pursuant to Section 1.xx.(ix)(A), without any redactions. The DOH
                    Entities and Settling Insurers shall keep any information they receive from the Trust
                    pursuant to this Section 1.xx.(ix) confidential and shall not use such information
                    for any purpose other than meeting obligations under MMSEA.

                    (H)     Notwithstanding any other provisions hereof, the Trust shall not be required
                    to report as required by this Section 1. xx.(ix) until the Person on whose behalf the
                    Trust is required to report shall have provided its Medicare Reporting Number, if
                    one exists. Moreover, the Trust shall have no indemnification obligation under this
                    Section 1. xx.(ix) to such Person for any penalty, interest, or sanction with respect
                    to a Claim that may arise on account of such Person’s failure timely to provide its
                    Medicare Reporting Number, if one exists, to the Trust in response to a timely
                    request by the Trust for such Medicare Reporting Number. However, nothing
                    relieves the Trust from its reporting obligations with respect to each Person who
                    provides the Trust with its Medicare Reporting Number. The Trust shall indemnify
                    each DOH Entity and Settling Insurer for any failure to report payments to
                    Medicare eligible Survivor Claimants on behalf of Persons who have timely
                    supplied Medicare Reporting Numbers, if any exists.

                    (I)    Prior to remittance of funds to any Channeled Claimant or counsel therefor,
                    the Trustee shall obtain in respect of any Channeled Claim a certification from the
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                    Claimant that said Claimant has or will provide for the payment and/or resolution
                    of any obligations owing or potentially owing under MSP relating to such
                    Channeled Claim. If the Trust receives no such certification, the Trust may
                    withhold payment from any Claimant the funds sufficient to assure that all
                    obligations owing or potentially owing under MSP relating to such Survivor Claim
                    are paid to CMS. The Trust shall provide a quarterly certification of its compliance
                    with this Section 1. xx.(ix) to each DOH Entity and Settling Insurer, and permit
                    reasonable audits by such Persons, no more often than annually, to confirm the
                    Trust’s compliance with this Section 1. xx.(ix). For the avoidance of doubt, the
                    Trust shall be obligated to comply with the requirements of this Section 1. xx.(ix)
                    regardless of whether any DOH Entity or Settling Insurer elects to file its own
                    reports under MMSEA pursuant to Section 1. xx.(ix)(G).

                    (J)     Compliance with the provisions of this Section 1. xx.(ix) shall be a material
                    obligation of the Trust under the Plan, in favor of the DOH Entities and Settling
                    Insurers under the Plan.

                    (K)     The Trust shall defend, indemnify, and hold harmless the DOH Entities and
                    Settling Insurers from any Medicare Claims reporting and payment obligations
                    relating to its payment of Channeled Claims, including any obligations owing or
                    potentially owing under MMSEA or MSP, and any Claims related to the Trust’s
                    obligations under Section 1. xx.(ix).

          (x) The Social Security Administration may change (or may have already changed) its
          processes and/or procedures in a manner that is inconsistent with the foregoing. The
          Trustee shall make best efforts to comply meaningfully with the foregoing while adhering
          to the Social Security Administration’s most recent processes, procedures, and
          requirements.

          yy.       Plan Effective Date

       The term “Plan Effective Date” means the effective date of the Plan, as noticed on the
 Bankruptcy Case docket.

          zz.       Redacted Information

         The term “Redacted Information” means names, Social Security numbers other than the
 last four digits, health insurance claim numbers, taxpayer identification numbers, employer
 identification numbers, mailing addresses, telephone numbers, and dates of birth of the Survivor
 Claimants, and the names of the guardians, conservators, and/or other personal representatives, as
 applicable.

          aaa.      Reorganized Debtor

          The term “Reorganized Debtor” means DOH, on and after the Plan Effective Date.



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          bbb.      Settlement Amount

         The term “Settlement Amount” means the net sum of Seven Hundred and Fifty Thousand
 Dollars ($ 750,000.00). Travelers shall pay the Travelers Settlement Amount pursuant to the terms
 of Section 2.

          ccc.      Settlement Approval Findings and Conclusions

        The term “Settlement Approval Findings and Conclusions” means findings of fact and
 conclusions of law pursuant to 11 U.S.C. §§ 363(b), (f), and (m) and Bankruptcy Rule 9019,
 entered concurrently with, but separately from,[BB1] the Approval Order, as necessary for the Court
 to approve this Agreement, including the following:

          (i)    DOH demonstrated sound business reasons for the settlement of its Claims against
          Travelers in the Insurance Coverage Adversary Proceeding and the implementation of such
          settlement through the sale of the Subject Insurance Policies to Travelers;

          (ii) The Parties mediated their disputes over the Survivor Claims and the Coverage
          Claims pursuant to the Mediation Order, beginning in July 2020;

          (iii) In the Mediation, the Parties negotiated extensively, at arms-length, and in good
          faith. Travelers is a purchaser in good faith of the Subject Insurance Policies, within the
          meaning of Bankruptcy Code § 363(m), and is entitled to all of the protections of that
          statute;

          (iv) Travelers is a bona fide good faith purchaser of the Subject Insurance Policies, for
          value;

          (v) The terms of the transactions contemplated by this Agreement, as well as the genesis
          and background of this Agreement, have been adequately disclosed to the Court;

          (vi) The terms and conditions of this Agreement (including the consideration to be
          realized by DOH’s bankruptcy estate) are fair and reasonable;

          (vii) The transactions contemplated by this Agreement are in the best interests of the
          DOH’s bankruptcy estate, its creditors and other stakeholders;

          (viii) The only potential holders of Interests in or against the Subject Insurance Policies
          are the DOH Entities and Persons who hold Claims against the DOH Entities, whose
          Claims might be covered by the Subject Insurance Policies;

          (ix) The DOH Entities are parties to this Agreement, and hence are deemed to have
          consented to the sale within the meaning of Bankruptcy Code § 363(f)(2);

          (x) The Barred Claims are subject to bona fide dispute, hence the Subject Insurance
          Policies may be sold free and clear of such Claims pursuant to § 363(f)(4);



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          (xi) All holders of Claims against the Subject Insurance Policies could be compelled, in
          a legal or equitable Action, to accept a money satisfaction of such Claims, therefore the
          Subject Insurance Policies may be sold free and clear of such Claims pursuant to
          § 363(f)(5);

          (xii) The compromises and settlements embodied in the Agreement have been negotiated
          in good faith, and are reasonable, fair, and equitable;

          (xiii) In light of:

                    (A)    the probability of success in litigation;

                    (B)    the likely difficulties in collection;

                    (C)    the complexity of the litigation involved, and the expense, inconvenience
                           and delay necessarily attending it; and

                    (D)    the paramount interest of the creditors;

          this Agreement is fair and equitable and within the range of reasonable settlement terms;

          (xiv) The Settlement Amount is fair, adequate, and reasonable consideration for (a) the
          sale by the DOH Entities and the buy-back by Travelers of the Subject Insurance Policies;
          (b) the Entities’ Release; and (c) the Supplemental Settling Insurer Injunction;

          (xv) This Agreement is intended to be and is a compromise between the Parties and shall
          not be construed as an admission of coverage under the Subject Insurance Policies, an
          admission concerning the amount of a reasonable settlement of any claim, an admission
          concerning the liability or damages caused by the DOH entities with respect to any
          Survivor Claim (including the reasonableness of any such damages, nor shall this
          Agreement or any provision hereof be construed as a waiver, modification, or retraction of
          the positions with respect to the interpretation and application of the Subject Insurance
          Policies. This Agreement does not reflect to upon the Parties’ views as to rights and
          obligations with respect to matters or Persons outside the scope of this Agreement. This
          Agreement is without prejudice to the positions taken by Travelers with regard to other
          insureds, and without prejudice with regard to positions taken by any DOH Entity with
          regard to other insurers;

          (xvi) DOH provided due and adequate notice of the (a) sale of the Subject Insurance
          Policies; (b) terms and conditions of this Agreement; and (c) the hearing before the Court
          to approve this Agreement and the sale of the Subject Insurance Policies, in accordance
          with Bankruptcy Rules 2002 and 6004 to all known and unknown Claimants, including by
          providing notice by publication to any Unknown Survivor Claimants;

          (xvii) It would be impractical to divide the Subject Insurance Policies amongst the DOH
          Entities and the Survivor Claimants, therefore, to realize the value of the Subject Insurance
          Policies for DOH’s bankruptcy estate and the Survivor Claimants requires the sale of the
          Subject Insurance Policies;
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          (xviii) The sale of the Subject Insurance Policies outside the ordinary course of business
          satisfies the requirements of Bankruptcy Code § 363(b);

          (xix) The sale of the Subject Insurance Policies free and clear of the Interests of all
          Persons satisfies the requirements of Bankruptcy Code § 363(f);

          (xx) Travelers is repurchasing the Subject Insurance Policies, pursuant to this Agreement.
          Travelers is not purchasing any other assets of the DOH Entities and is not a continuation
          of the DOH Entities, nor engaging in a continuation of the DOH Entities’ businesses.
          Travelers shall not have any responsibility or liability with respect to any of the DOH
          Entities’ other assets;

          (xxi) Travelers is not, and shall not be deemed to be, a successor to the DOH Entities, or
          any of them, by reason of any theory of law or equity or as a result of the consummation
          of the transactions contemplated in this Agreement, the Plan, or otherwise. Travelers shall
          not assume, or be deemed to have assumed, any liabilities or other obligations of the DOH
          Entities.

          (xxii) To the extent any Claimant may have any legal or equitable right to assert a Claim
          either directly against the Subject Insurance Policies, which policies are being acquired by
          Travelers pursuant to this Agreement, or indirectly by asserting such Claim against any
          DOH Entity, such Claims are deemed to be (a) “interests” as that term is used in
          Bankruptcy Code § 363(f); and (b) “Interests” herein; and

          (xxiii) The Agreement may be approved pursuant to Bankruptcy Rule 9019(a).

          ddd.      Settlement Payment Date

         The term “Settlement Payment Date” means the day that is the later of (a) the Plan
 Effective Date; and (b) sixty (60) days after the Confirmation Order becomes a Final Order,
 provided, however, that if such date is not a Business Day, the Settlement Payment Date shall be
 the next Business Day.

          eee.      Supplemental Settling Insurer Injunction

        The term “Supplemental Settling Insurer Injunction” means an order of the Bankruptcy
 Court, effective as of the date the Trust receives the Settlement Amount, which states, verbatim:

                 Supplemental Settling Insurer Injunction. Pursuant to sections 105(a) and 363
          of the Bankruptcy Code, and in consideration of the undertakings of the Settling
          Insurers pursuant to the Insurance Settlement Agreements, including certain Settling
          Insurers’ purchase of the applicable Settling Insurer Policies free and clear of all
          Claims and Interests pursuant to section 363(f) of the Bankruptcy Code, any and all
          Persons who have held, now hold, or who may in the future hold any Claims or
          Interests (including all debt holders, all equity holders, all Persons holding a Claim,
          governmental, tax and regulatory authorities, lenders, trade and other creditors,
          Survivor Claimants, perpetrators, and all others holding Interests of any kind or
          nature whatsoever, including those Claims released or to be released pursuant to the
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          Insurance Settlement Agreements) against any of the Settling Insurers, including
          (i) Claims relating to the Settling Insurer Policies, including Survivor Claims, Direct
          Action Claims, Indirect Claims, and Released Claims, (ii) the payment of any of the
          Claims identified in (i), including Contribution Claims and Medicare Claims, and
          (iii) Extra-Contractual Claims are hereby permanently stayed, enjoined, barred, and
          restrained from taking any action, directly or indirectly, to assert, enforce or attempt
          to assert or enforce any such Claim or Interest against the Settling Insurers or Settling
          Insurer Policies, including:

                a.      commencing or continuing in any manner any action or other
          proceeding, whether legal, equitable or otherwise, against the Settling Insurers or the
          property of the Settling Insurers;

                    b.     enforcing, attaching, collecting, or recovering, or seeking to do any of
                    the preceding, by any manner or means, any judgment, award, decree or order
                    against the Settling Insurers or the property of the Settling Insurers;

                    c.     creating, perfecting, or enforcing, or seeking to do any of the preceding,
                    any lien of any kind against the Settling Insurers or the property of the Settling
                    Insurers;

                    d.     asserting or accomplishing any setoff, right of indemnity, subrogation,
                    contribution, or recoupment of any kind against any obligation due to the
                    Settling Insurers or the property of the Settling Insurers; and

                    e.    taking any act, in any manner, in any place whatsoever, that does not
                    conform to, or comply with, the provisions of the Plan.

                  The Supplemental Settling Insurer Injunction will be effective with respect to
          a Settling Insurer only as of the date that the Trust receives the Insurance Settlement
          Amount pursuant to the terms of the applicable Insurance Settlement Agreement.
          The Supplemental Settling Insurer Injunction bars the above-referenced actions
          against the Settling Insurers and the Settling Insurer Policies, but against no other
          person or thing; provided, however, nothing in this Supplemental Settling Insurer
          Injunction shall limit, or be deemed or otherwise interpreted to limit, the scope of the
          discharge or Channeling Injunction in favor of the Protected Parties. The foregoing
          injunctive provisions are an integral part of this Plan and are essential to its
          implementation.

          fff.      Settling Insurers

        The term “Settling Insurers” means, collectively, Travelers, and all other insurers of the
 DOH Entities, which, after the Petition Date, settled Claims for insurance coverage brought against
 them by DOH, and which obtain the protection of the Supplemental Settling Insurer Injunction.




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          ggg.      Subject Insurance Policies

         The term “Subject Insurance Policies” means, collectively, (i) all insurance policies listed
 in Attachment A hereto; and (ii) all known and unknown insurance policies to the extent issued by
 Travelers on or before _______, and providing insurance to any DOH Entity; provided, however,
 if a Subject Insurance Policy that is not listed in Attachment A was not issued to a DOH Entity (or
 such Person’s Affiliates) but provides coverage to a DOH Entity, then it is a Subject Insurance
 Policy only to the extent it insures the DOH Entity.

          hhh.      Termination Event

          The term “Termination Event” means

          (i)       the Court has not entered the Approval Order by [DATE];

          (ii)      the Court has not entered the Confirmation Order by [DATE];

          (iii)     the Court has not entered the Bar Order by [DATE];

          (iv) the Approval Order, the Confirmation Order or the Bar Order fails to become a Final
          Order by [DATE];

          (v)       the Court denies approval of this Agreement;

          (vi) the Court enters an order or grants such other relief that is inconsistent with this
          Agreement;

          (vii) the DOH files any plan of reorganization other than the Plan;

          (viii) the appointment of a trustee under section 1104 of the Bankruptcy Code or an
          examiner with expanded powers in the Bankruptcy Case; or

        (ix)  the Plan is amended in any manner that is inconsistent with the terms of this
 Agreement; provided, however, the deadlines set forth in (i) through (iv) of the foregoing may be
 extended by mutual written consent of the Parties.

          iii.      Travelers

         The term “Travelers” means Travelers Indemnity Company and each of its past, present,
 and future parents, subsidiaries, Affiliates, and divisions; each of the foregoing Persons’ or
 Entities’ respective past, present, and future parents, subsidiaries, Affiliates, holding companies,
 merged companies, related companies, divisions, and acquired companies; each of the foregoing
 Persons’ or Entities’ respective past, present, and future directors, officers, shareholders,
 employees, partners, principals, managers, agents, attorneys, joint ventures, joint venturers,
 representatives, and claims handling administrators; and each of the foregoing Persons’ or Entities’
 respective predecessors, successors, assignors, and assigns, whether known or unknown, and all
 Persons or Entities acting on behalf of, by, through, or in concert with them.


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          jjj.      Travelers Bill of Sale

         The term “Travelers Bill of Sale” means a fully executed bill of sale evidencing the sale,
 assignment, and transfer of the Subject Insurance Policies to Travelers free and clear of all Interests
 of all Persons, including the Abuse Claimants and the DOH Entities.

          kkk.      Trust

          The term “Trust” means the trust to be established under the Plan, which will assume
 liability for, and be established, pursuant to the Plan and, if applicable, Bankruptcy Code § 105, to
 make distributions pursuant to the Plan, the Trust Agreement, and the Trust Distribution Plan,
 including payments to Survivor Claimants.

          lll.      Trust Agreement

        The term “Trust Agreement” means any agreement establishing the Trust and the
 requirements for its administration.

          mmm. Trust Distribution Plan[BB2]

        The term “Trust Distribution Plan” means the Trust Distribution Plan established under
 the Trust Agreement and attached to the Plan, which governs the payment of Trust Distributions.

          nnn.      Trustee

        The term “Trustee” means the Person appointed as Trustee to administer the Trust, in
 accordance with the terms of the Plan, the Confirmation Order, and the Trust Agreement, or any
 successor appointed in accordance with the terms of the Plan, Confirmation Order, and the Trust
 Agreement.

          ooo.      Unknown Claims Representative

        The term “Unknown Claims Representative” means Michael R. Hogan, who has been
 appointed by the Court to represent the interests of Unknown Survivor Claimants.

 2.       Payment of the Settlement Amount

        a.     This Agreement is effective on the Effective Date. The occurrence of the
 Settlement Payment Date is a condition precedent to Travelers’ obligation to pay the Settlement
 Amount.

         b.     On the Settlement Payment Date, in full and final settlement of all obligations under
 and relating to the Subject Insurance Policies, and in consideration of the sale of the Subject
 Insurance Policies to Travelers, free and clear of all Interests of any Person, and the releases
 provided herein, Travelers shall pay the Settlement Amounts in accordance with the payment
 instructions provided by the Trust.



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         c.      Upon the Trust’s receipt of Travelers’ Settlement Amount, the sale, assignment,
 and transfer of the Subject Insurance Policies to Travelers, shall be effective and binding, with the
 intent that no Person shall retain anything whatsoever with respect to the Subject Insurance
 Policies.

         d.      If, before the occurrence of the Settlement Payment Date, a DOH Entity other than
 DOH becomes a debtor in a bankruptcy case or insolvency Action, under the Bankruptcy Code or
 otherwise, and Travelers has not satisfied its payment obligation arising hereunder, then Travelers
 shall be excused from performance under this Agreement until such time as either (i) such DOH
 Entity obtains, subject to the limitations imposed by the Bankruptcy Code, and subject to the
 equitable powers of the court in which such Action is pending, an order from such court approving
 this Agreement under Bankruptcy Code § 363(b), (f), and (m), and Bankruptcy Rule 9019,
 authorizing the assumption by such DOH Entity (or any successor thereto) of this Agreement under
 Bankruptcy Code § 365 (“Assumption”), or in the event the insolvency case is proceeding under
 other law, shall obtain a similar order from the court overseeing the insolvency case approving this
 Agreement and confirming the binding effect thereof; (ii) DOH obtains an order in the Action
 compelling the Assumption; or (iii) DOH obtains an order from the Court determining the
 equitable portion of the Settlement Amount allocable to any interest the DOH Entity subject to
 such bankruptcy case or insolvency Action may have in the Subject Insurance Policies. Each DOH
 Entity agrees that in the event it files a bankruptcy or other insolvency Action, it will not present
 any Claim for payment under this Agreement or the Subject Insurance Policies to Travelers, until
 the Assumption has been approved by an order of the applicable court and such order has become
 a Final Order or until its equitable share in the Settlement Amount has been established by order
 of the Court pursuant to clause (iii) above, and such order has become a Final Order. Travelers
 agrees to cooperate fully and provide commercially reasonable assistance to DOH and any DOH
 Entity in obtaining any of the orders contemplated in this Section 2(d).

 3.       Mutual Releases

          a.        By DOH Entities

          (i)    Upon the Trust’s receipt of the Settlement Amount, the Entities’ Release shall
          become immediately effective. Those Travelers Affiliates entitled to the Entities’ Release
          but not identified on Attachment […] to this Agreement, namely, those Travelers Affiliates
          that subscribed a Travelers Policy either not presently known, or known but to which the
          identity of the subscribers is not presently known, shall be entitled to all of the terms of the
          Entities’ Release and to the Indemnity set forth in Section 4 upon the Trust’s receipt of the
          Settlement Amount.[BB3]

          (ii) It is the intention of the DOH Entities to reserve no rights or benefits whatsoever
          under or in connection with the Subject Insurance Policies and to assure Travelers its peace
          and freedom from such Interests and from all assertions of rights in connection with such
          Interests, provided, however, the Entities’ Release does not release, and nothing in this
          Agreement shall affect the right of the DOH Entities, or the Trust, as applicable, to assert
          and pursue, Claims against and to collect from Insurers other than those released under the
          Entities Release, and no Claims are released with respect to such Persons.


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          (iii) Upon the Trust’s receipt of the Settlement Amount, any and all rights, duties,
          responsibilities, and obligations of Travelers created by or in connection with the Subject
          Insurance Policies, are terminated. As of the Settlement Payment Date, the DOH Entities
          shall have no insurance coverage under the Subject Insurance Policies. The Entities’
          Release shall operate as though Travelers had never issued the Subject Insurance Policies.

          (iv) Each DOH Entity signing this Agreement, is, among other things, (a) releasing all
          Released Claims, including Claims that it does not know or suspect to exist in its favor,
          which, if known by such DOH Entity, might have materially affected its settlement with
          Travelers, and (b) expressly waiving all rights it might have under any federal, state, local,
          or other law or statute that would in any way limit, restrict, or prohibit such general release.

          (v) Except with respect to any material breach of any representation, warranty or
          covenant by Travelers set forth in this Agreement, each DOH Entity expressly assumes the
          risk that acts, omissions, matters, causes, or things may have occurred, which it does not
          know or does not suspect to exist. To the fullest extent permitted by applicable law, each
          DOH Entity hereby waives the terms and provisions of any statute, rule or doctrine of
          common law which either: (a) narrowly construes releases purporting by their terms to
          release Claims in whole or in part based upon, arising from, or related to such acts,
          omissions, matters, causes or things; or (b) which restricts or prohibits the releasing of such
          Claims.

          (vi) Nothing in the foregoing shall release Travelers from its obligations under this
          Agreement, including the obligation to pay the Settlement Amount.

          b.        By Travelers

          (i)   At the same time the Entities’ Release becomes effective, Travelers, and any
          subsequently appointed trustee or representative acting for Travelers, shall be deemed to
          remise, release, covenant not to sue, and forever discharge each DOH Entity from and
          against all Claims relating to the Subject Insurance Policies, which Travelers ever had, now
          have or hereinafter may have, from the beginning of time to the Settlement Payment Date.

          (ii) Each Person released under the Entities’ Release shall reserve no rights or benefits
          whatsoever under or in connection with the Subject Insurance Policies.

          (iii) Except with respect to any material breach of any representation, warranty or
          covenant by any DOH Entity set forth in this Agreement, Travelers expressly assumes the
          risk that acts, omissions, matters, causes, or things may have occurred, which it does not
          know or does not suspect to exist. To the fullest extent permitted by applicable law,
          Travelers hereby waives the terms and provisions of any statute, rule or doctrine of
          common law which either: (a) narrowly construes releases purporting by their terms to
          release Claims in whole or in part based upon, arising from, or related to such acts,
          omissions, matters, causes or things; or (b) which restricts or prohibits the releasing of such
          Claims.



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 4.       Indemnification

         a.      This Section 4 is effective upon the Trust’s receipt of the Settlement Amount. The
 Trust shall indemnify and hold harmless Travelers from and against any and all Channeled Claims;
 and the Reorganized Debtor shall indemnify Travelers from and against all Enjoined Claims except
 for the Channeled Claims. These indemnifications include Claims made by Persons over whom
 the Trust and/or the Reorganized Debtor does not have control, including the DOH Entities, former
 subsidiaries, predecessors in interest, sellers or purchasers of assets, or any other Person who holds
 a Claim that the Trust and/or the Reorganized Debtor is indemnifying.

         b.     Travelers shall have the right to defend, with counsel of their choice, all Claims
 identified under Section 4.a. Travelers may begin the defense of any Claim upon receipt of such
 a Claim. Travelers agrees to notify the Trust and/or the Reorganized Debtor, as applicable,
 promptly of Claims identified under Section 4.a. and of its choice of counsel.

         c.      The Trust and/or Reorganized Debtor, as applicable, shall reimburse all reasonable
 and necessary attorneys’ fees, expenses, costs, and amounts incurred by Travelers in defending
 such Claims identified under Section 4.a. Travelers shall defend any such Claim in good faith.
 The indemnity obligations set forth in Section 4.a, hereof, to indemnify Travelers shall not exceed
 the Settlement Amount actually paid by Travelers. In defense of any such Claim, Travelers may
 settle or otherwise resolve a Claim with the prior consent of the Trust and/or Reorganized Debtor,
 as applicable, which consent shall not be unreasonably withheld.

 5.       Bankruptcy Obligations

          a.      DOH shall provide to Travelers an initial draft of the proposed form of Approval
 Order, Settlement Approval Findings and Conclusions, and Bar Order at least fourteen (14) days
 before DOH submits the foregoing for approval of this Agreement to the Court, so that Travelers
 may provide comments and suggestions. In the event that DOH makes material revisions to any
 of the foregoing documents, then, as soon as possible, DOH shall provide a copy of such material
 revisions to Travelers. Travelers reserves the right to object to, inter alia, (i) any proposed order
 that does not satisfy all of the requirements of the definition of Approval Order set forth in Section
 1.l, or (ii) any proposed findings and conclusions that do not satisfy all of the requirements of the
 definition of Settlement Approval Findings and Conclusions set forth in Section 1.ccc, or the
 definition of Bar Order set forth in Section 1.r.

        b.       DOH shall provide to Travelers an initial draft of the proposed form of
 Confirmation Order, and Confirmation Findings and Conclusions, at least fourteen (14) days
 before DOH submits the foregoing to the Court, so that Travelers may provide comments and
 suggestions. In the event that DOH makes material revisions to any of the foregoing documents,
 then, as soon as possible, DOH shall provide a copy of such material revisions to Travelers.
 Travelers reserves the right to object to, inter alia, any proposed order that does not satisfy all of
 the requirements of the definition of Confirmation Order set forth in Section 1.y, or any proposed
 findings of fact and conclusions of law that do not satisfy all the requirements of the definition of
 Confirmation Findings and Conclusions in Section 1.x.



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         c.      DOH provided Travelers a copy of the Joint Chapter 11 Plan of Reorganization
 for the Diocese of Harrisburg (the “Joint Plan”) upon the filing of the Joint Plan. To the extent
 that the Joint Plan does not meet the requirements set forth in the definition of “Plan” set forth in
 Section 1.xx above, DOH shall modify such Joint Plan to assure that the filed plan of
 reorganization submitted to Court for confirmation comports with such definition, and Travelers
 shall have the right to approve all modifications that affects its rights or obligations under this
 Agreement. In the event that DOH makes material revisions to the filed plan of reorganization,
 then, as soon as possible, DOH shall provide a copy of such material revisions to Travelers.
 Travelers reserves the right to object to, inter alia, any proposed plan of reorganization that does
 not satisfy all of the requirements of the definition of Plan set forth in Section 1.xx. (a “Non-
 Compliant Plan”). If DOH proposes a Non-Compliant Plan, then Travelers may contest such
 plan, and DOH shall not request a hearing date on confirmation of a Non-Compliant Plan less than
 thirty (30) days after the date such plan is filed in the Court.

        d.      DOH will seek entry of the Confirmation Order, as set forth in Section 1.y., together
 with the Confirmation Findings and Conclusions, as set forth in Section 1.x., including any
 required findings and conclusions under the Bankruptcy Code.

         e.     DOH shall serve Bankruptcy Notice of the initial hearing to approve this
 Agreement and on confirmation of the Plan and the time for filing objections thereto. The
 proposed form of notice shall be submitted to Travelers for its review and comment no later than
 seven (7) days prior to the actual service of notice. If the initial hearing to approve this Agreement
 or to confirm the Plan is adjourned, DOH shall not be required to provide Bankruptcy Notice of
 such adjourned hearing and shall only be required to file a notice of such adjournment on the
 docket in the Bankruptcy Case and provide such other and further notice as the Court may direct.

          f.    In the event that any Person attempts to prosecute a Barred Claim, before the
 Effective Date, against Travelers, then promptly following notice from Travelers, DOH shall file
 a motion and supporting papers to obtain an order from the Bankruptcy Court, pursuant to
 Bankruptcy Code §§ 105(a) and/or 362(b), as applicable, staying such Claims until the date that
 the Approval Order and Confirmation Order have each become a Final Order, or, alternatively,
 this Agreement is terminated under Section 8. However, if DOH is unable to obtain a stay of such
 Claim then Travelers may, to the extent feasible, and subject to the terms, conditions, and any
 applicable limits and retentions of the Subject Insurance Policies, defend such Claims and either
 settle them or litigate them to judgment, and the applicable DOH Entities shall fully assist and
 cooperate with Travelers in such defense. If after such a Claim is brought, and if:

          (i)    the Effective Date occurs, then any payment by Travelers to resolve such Barred
          Claim, including defense costs paid to an insured’s counsel, shall be deducted from the
          Settlement Amount, and Travelers shall pay the balance of the Settlement Amount; if the
          payments by Travelers to resolve such Barred Claim equal or exceed the Settlement
          Amount, then Travelers shall automatically, and without further action by any Person, be
          relieved of any further obligations under this Agreement and entitled to all the benefits
          hereunder, including the Entities Release; or, alternatively,




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          (ii) the Effective Date does not occur, before this Agreement is terminated under Section
          8, then any amounts paid by Travelers shall be credited against its obligations, if any exist,
          under the Subject Insurance Policies.

 6.       Representations and Warranties

         a.     DOH represents and warrants that the notice required under the definition of
 Bankruptcy Notice includes all Claimants whose names and addresses are known to, or are readily
 ascertainable by any Party.

       b.       Each DOH Entity represents and warrants that it has the authority to execute this
 Agreement as its binding and legal obligation, subject in the case of DOH, to receiving Court
 approval of this Agreement.

          c.      Travelers represents and warrants to DOH that (i) it has, and at all times prior to
 payment in full of the Settlement Amount will have, sufficient assets to pay the Settlement Amount
 in full; and (ii) it is not now, nor has it ever been, the subject of any bankruptcy or insolvency
 proceeding in any jurisdiction.

         d.     Each Party represents and warrants that the Persons signing this Agreement on its
 behalf are authorized to execute this Agreement.

         e.     Each individual signing this Agreement on behalf of a Party represents and warrants
 that he or she has the right, power, legal capacity, and authority to enter into this Agreement on
 behalf of such Party and bind such Party to perform each of the obligations specified herein.

 7.       Reduction Clause.

          The Confirmation Order shall provide include the following, verbatim:

       a.      Litigation/Settlement Between an Alleged Insured or Abuse Claimant and
 Non-Settling Insurers

          (i)       The Channeling Injunction shall channel all Contribution Claims to the Trust.

          (ii)    If, for any reason any court does not recognize the channeling of the Contribution
          Claims of Non-Settling Insurers to the Trust, or such Claims are not channeled for any
          reason, then the following shall apply:

                    (A)    Travelers shall retain its Contribution Claims, subject to the following
                    provisions; provided, however, that:

                           (I)     Travelers shall not pursue any Contribution Claims against any
                           Non-Settling Insurer: (A) that asserts a Contribution Claim solely against
                           the Trust; (B) whose Contribution Claim is satisfied and extinguished
                           entirely by the application of this paragraph 7.a.(ii)(A); or (C) that does not
                           assert a Contribution Claim against them;


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                           (II)    If a Non-Settling Insurer asserts its Contribution Claim only against
                           the Trust, then Travelers shall assign any Contribution Claims it may hold
                           against such Non-Settling Insurer to the Trust, and the Trust shall be free to
                           assert such Contribution Claims against such Non-Settling Insurer;

                           (III) If a Non-Settling Insurer releases its Contribution Claims, if any
                           such exist, that it may have against Travelers, then Travelers shall release
                           its Contribution Claims against such releasing Non-Settling Insurer.

                           (IV) If a Non-Settling Insurer asserts a Contribution Claim against
                           Travelers, and

                                   (1)     the Trust fully indemnifies Travelers, then Travelers shall
                                   assign its Contribution Claims to the Trust; or

                                   (2)     the Trust partially, but not fully, indemnifies Travelers for
                                   such Claim, then Travelers shall retain its Contribution Claims and
                                   may assert them against the Non-Settling Insurer asserting the
                                   Contribution Claim against Travelers. Any recovery by Travelers
                                   exceeding the amount necessary to satisfy the Trust's full indemnity
                                   obligation plus litigation costs shall be turned over to the Trust.

                    (B)     In any Action, including the Insurance Coverage Adversary Proceeding,
                    involving a DOH Entity, the Reorganized Debtor, or the Trust (collectively,
                    “Alleged Insured”) or an Abuse Claimant, as applicable, and one or more Non-
                    Settling Insurers, where a Non-Settling Insurer has asserted, asserts, or could assert
                    any Contribution Claim against Travelers, then any judgment or award obtained by
                    such Alleged Insured or Abuse Claimant against such Non-Settling Insurer shall be
                    automatically reduced by the amount, if any, that Travelers is liable to pay such
                    Non-Settling Insurer as a result of its Contribution Claim, so that the Contribution
                    Claim is thereby satisfied and extinguished entirely (“Reduction Amount”). In
                    any Action involving an Alleged Insured or Abuse Claimant against a Non-Settling
                    Insurer, where Travelers is not a party, such Alleged Insured or Abuse Claimant
                    shall obtain a finding from that court or arbitrator(s), as applicable, of the Reduction
                    Amount before entry of judgment against such Non-Settling Insurer. In the event
                    that such a reduction is not made as described above, then any Contribution Claim
                    by any Non-Settling Insurer against Travelers shall be reduced by the Reduction
                    Amount, as determined by the court or arbitrator(s) in which such Contribution
                    Claim is filed. Travelers shall be required to cooperate in good faith with DOH
                    and/or the Trust to take commercially reasonable steps to defend against any
                    Contribution Claim. In the event that application of the Reduction Amount
                    eliminates the Non-Settling Insurer’s Contribution Claim, then such Non-Settling
                    Insurer shall fully reimburse Travelers its costs and expenses, including legal fees,
                    incurred in responding to the Contribution Claim Action, including all costs,
                    expenses and fees incurred in seeking relief from the Court.



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                    (C)     If an Alleged Insured or Abuse Claimant and a Non-Settling Insurer enter
                    into an agreement settling one or more Claims relating to Abuse, such agreement
                    shall provide that such Non-Settling Insurer releases Contribution Claims against
                    Travelers so long as Travelers releases its Contribution Claims against such Non-
                    Settling Insurer. If such settlement agreement fails to include such a release
                    provision, and the Non-Settling Insurer has asserted, asserts, or could assert a
                    Contribution Claim against Travelers, then any settlement amount in such
                    settlement agreement shall be deemed automatically reduced by the Reduction
                    Amount. In such event, the settling parties shall obtain a finding from the
                    applicable court or arbitrator(s) of the Reduction Amount. If (a) the settlement
                    agreement was entered into without litigation or arbitration such that no judge or
                    arbitrator can determine the Reduction Amount, or (b) such a reduction is not
                    otherwise made as described above, then any Contribution Claim by any Non-
                    Settling Insurer against Travelers shall be reduced by the Reduction Amount, as
                    determined by the court or arbitrator(s) in which such Contribution Claim is filed.
                    Travelers shall be required to cooperate in good faith with DOH and/or the Trust to
                    take commercially reasonable steps to defend against any Contribution Claim by a
                    Non-Settling Insurer. In the event that the reduction eliminates the Non-Settling
                    Insurer’s Contribution Claim, then such Non-Settling Insurer shall fully reimburse
                    Travelers its costs and expenses, including legal fees, incurred in responding to the
                    Contribution Claim Action, including all costs, expenses and fees incurred in
                    seeking relief from the Court.

          b.        Application of the Reduction

          (i)     To ensure that the reduction contemplated in this Section 7 is accomplished,
          Travelers shall be entitled to: (i) notice, pursuant to Section 19, within a reasonable time
          of the initiation of any future Action against or future settlement negotiations with any
          Non-Settling Insurer that could give rise to the possibility of a Contribution Claim against
          Travelers, and periodic notices thereafter on at least an annual basis of the status of such
          Action or negotiations; (ii) the opportunity to participate in the Action or settlement
          negotiations without objection by any party thereto, but only to the extent necessary to
          accomplish the reduction contemplated in this Section 7; (iii) the cooperation of the
          applicable Alleged Insured so that Travelers can assert this Section as a defense in any
          Action against any of them for any Contribution Claim; and (iv) have the court or
          appropriate tribunal issue such orders as are necessary to effectuate the judgment, award,
          or settlement reduction in order to protect Travelers from any Contribution Claim. The
          notice required above shall be given by (A) the Alleged Insured that is a party to such
          Action or settlement negotiations; or (B) if no Alleged Insured is such a party, the Non-
          Settling Insurer that is a party to such Action or settlement negotiations; or (C) if no Alleged
          Insured or Non-Settling Insurer is a party to such Action or settlement negotiations, the
          Survivor Claimant bound by the Plan.

          (ii)   The Trust shall use commercially reasonable efforts to obtain, from all Settling
          Insurers, agreements similar to those contained in Section 7(a)(ii)(A)(III).


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 8.       Termination of Agreement

          a.        The Parties may terminate this Agreement in writing upon mutual assent.

        b.     Any Party may terminate this Agreement upon thirty (30) days’ notice, pursuant to
 Section 19 hereof, to the other Parties if a Termination Event occurs.

         c.      In the event of termination pursuant to this Section 8, unless the Parties agree
 otherwise in writing, this Agreement shall be void ab initio and all Parties shall retain all of their
 Interests relating to the Subject Insurance Policies as if this Agreement never existed; provided,
 however, that any amounts expended by Travelers pursuant to Section 5.f. of this Agreement shall
 be credited against their obligations, if any, under the Subject Insurance Policies pursuant to their
 terms.

          d.      If Travelers does not pay the Settlement Amount, DOH, at its option, may by
 written notice, in accordance with Section 19 hereof, to other parties to this Agreement, terminate
 this Agreement in its entirety. In the event of a termination, (i) Travelers shall not be a Settling
 Insurer; (ii) Travelers shall not receive the benefit of the Entities’ Release, the Channeling
 Injunction, or the Supplemental Settling Insurer Injunction; (iii) this Agreement shall be void ab
 initio; and (v) the Parties shall retain all of their Interests relating to that portion of any insurance
 policies to the extent issued or subscribed by Travelers, as if this Agreement never existed.

 9.       Treatment of Perpetrators

        Nothing in this Agreement overrides the treatment in the Plan of individuals who
 perpetrated an act of Abuse that forms the basis for a Survivor Claim.

 10.      Reasonably Equivalent Value

        a.      This Agreement was bargained for and entered into in good faith and as the result
 of arms-length negotiations;

        b.      Based on their respective independent assessments, with the assistance and advice
 of counsel, of the probability of success, the complexity, the delay in obtaining relief, and the
 expense of maintaining the Insurance Coverage Adversary Proceeding, the payments received by
 the DOH Entities pursuant to this Agreement constitute a fair and reasonable settlement of the
 Released Claims;

         c.      The payments and other benefits received under this Agreement by the DOH
 Entities constitute reasonably equivalent value for the Entities’ Release, indemnity, and other
 benefits received by Travelers under this Agreement; and

         d.       Subject to the Trust’s receipt of the Settlement Amount, this Agreement constitutes
 a full and final resolution of all issues in the Insurance Coverage Adversary Proceeding.




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 11.      Confidentiality

          a.     Except as necessary to obtain approval of this Agreement in the Court, the Parties
 agree that all matters relating to the negotiation of this Agreement shall be confidential and are not
 to be disclosed except by order of court, or written agreement of the Parties, except that, provided
 recipients agree to keep such information confidential, this Agreement may be disclosed to: (i)
 reinsurers of Travelers directly or through intermediaries; (ii) outside auditors or accountants of
 any Party; (iii) representatives of a non-party insurer subscribing or allegedly subscribing one or
 more of the Subject Insurance Policies, which insurer is, has been or may become insolvent in the
 future, including any liquidators, provisional liquidators, scheme administrators, trustees, or
 similarly empowered Persons acting for such insurer. This Agreement may also be disclosed, as
 required, to the Inland Revenue, the Internal Revenue Service or other U.S. or U.K. governmental
 authority that properly requires disclosure, or as otherwise required by law. The Parties
 acknowledge and agree that a copy of this Agreement will be publicly filed on the docket and
 provided to parties in interest in the Bankruptcy Case, without obligation of confidentiality or
 restrictions on further disclosure.

          b.    In the event a private litigant, by way of document request, interrogatory, subpoena,
 or questioning at deposition or trial, attempts to compel disclosure of anything protected by this
 section from a Party, such Party shall decline to provide the requested information on the ground
 that this Agreement restricts such disclosure. In the event such private litigant seeks an order from
 any court or governmental body to compel such disclosure, or in the event that a court, government
 official, or governmental body (other than the Inland Revenue or Internal Revenue Service)
 requests or requires disclosure of anything protected by this paragraph, the Party from whom
 disclosure is sought shall promptly give written notice to the other Parties, and shall promptly
 provide copies of all notice papers, orders, requests, or other documents in order to allow each
 Party to take such protective steps as may be appropriate. Notice shall be made under this
 paragraph to the persons identified in Section 19.

        c.      Material protected by this section shall be deemed to fall within the protection
 afforded compromises and offers to compromise by Rule 408 of the Federal Rules of Evidence
 and similar provisions of state law or state rules of court.

 12.      Co-operation

         a.    The DOH Entities will undertake all reasonable actions to co-operate with Travelers
 in connection with their respective reinsurers, including responding to reasonable requests for
 information and meeting with representatives of reinsurers. Furthermore, the Parties shall use their
 commercially reasonable efforts and cooperate as necessary or appropriate to effect the objectives
 of this Agreement.

         b.     If any action or proceeding of any type whatsoever is commenced or prosecuted by
 any person not a Party to this Agreement to invalidate, interpret, or prevent the validation or
 enforcement, or carrying out, of all or any of the provisions of this Agreement, the Parties mutually
 agree, represent, warrant, and covenant to cooperate fully in opposing such action or proceeding.



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 13.      Non-Prejudice and Construction of Agreement

         a.      This Agreement is intended to be and is a compromise between the Parties and
 neither this Agreement nor any provision hereof shall be construed as (i) an admission of coverage
 under the Subject Insurance Policies; (ii) an admission concerning the amount of a reasonable
 settlement of any Claim; (iii) an admission concerning the liability of or damages caused by the
 DOH entities with respect to any Survivor Claim (including the reasonableness of any such
 damages); or (iv) a waiver, modification, or retraction of the positions of the Parties with respect
 to the interpretation and application of the Subject Insurance Policies.

         b.       This Agreement is the product of informed negotiations and involves compromises
 of the Parties’ previously stated legal positions. Accordingly, this Agreement does not reflect upon
 the Parties’ views as to rights and obligations with respect to matters or Persons outside the scope
 of this Agreement. This Agreement is without prejudice to positions taken by Travelers with
 regard to other insureds, and without prejudice with regard to positions taken by any DOH Entity
 with regard to other insurers. The Parties specifically disavow any intention to create rights in
 third parties under or in relation to this Agreement.

         c.     This Agreement is the jointly drafted product of arms’-length negotiations between
 the Parties with the benefit of advice from counsel, and the Parties agree that it shall be so
 construed. As such, no Party will assert that any ambiguity in this Agreement shall be construed
 against another Party.

         d.     If any provision of the Plan, the Trust Agreement, or trust distribution procedures
 proposed thereunder conflicts with or is inconsistent with this Agreement in any way whatsoever,
 then the provisions of this Agreement shall control and take precedence. Neither the Plan nor the
 Trust Agreement shall be construed or interpreted to modify or affect any rights or obligations of
 Travelers under this Agreement.

 14.      No Modification

         No change or modification of this Agreement shall be valid unless it is made in writing and
 signed by the Parties. Any change or modification of this Agreement that affects the rights of the
 Survivor Claimants or Trust shall require the consent of the Committee or Trustee, as applicable,
 which consent shall not be unreasonably withheld. Any attempted change or modification in
 violation of this Section shall be void ab initio.

 15.      Waiver

         No waiver of any provision of this Agreement or of a breach thereof shall be valid unless
 it is made in writing and signed by the Parties. The waiver by any Party of any of the provisions




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 of this Agreement or of the breach thereof shall not operate or be construed as a waiver of any
 other provision or breach.

 16.      Non-Assignment

        Neither this Agreement nor the rights and obligations set forth in this Agreement shall be
 assigned without the prior written consent of the other Parties.

 17.      Execution

          There will be three signed originals of this Agreement.

 18.      Governing Law

        This Agreement shall be governed by and shall be construed in accordance with the laws
 of Pennsylvania.

 19.      Notices

         Unless another person is designated, in writing, for receipt of notices hereunder, notices to
 the respective Parties shall be sent in writing to the Persons listed on Attachment F.

 20.      Integration

        This Agreement, including the attachments, constitutes the entire Agreement amongst
 Travelers and the DOH Entities, with respect to the subject matter hereof, and supersedes all
 discussions, agreements and understandings, both written and oral, amongst the Parties with
 respect thereto. The Parties intend that this Agreement and the Plan shall be consistent in all
 respects, with no conflict or discrepancies between them.

        IN WITNESS WHEREOF, the Parties have executed this Agreement by their duly
 authorized representatives.



                                      [Signature Pages Follow]




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 Signed:

 The Roman Catholic Diocese of Harrisburg

 Name Printed:

 Title:

 Date:                                      2023




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 Signed:

 Travelers Indemity Company

 Name Printed:

 Title:

 Date:                                     2023




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                              SCHEDULE OF ATTACHMENTS TO

                           SETTLEMENT AGREEMENT AND RELEASE


  Attachment A                                List of Subject Insurance Policies

  Attachment B                                List of DOH Entities
  Attachment C                                Notice Names and Addresses




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                                  ATTACHMENT A

                           Known Subject Insurance Policies




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                                  ATTACHMENT B

                              LIST OF DOH ENTITIES




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                                   ATTACHMENT C

                            NOTICE NAMES AND ADDRESSES

          DOH:




          With copies to:



                                          -and-




          DOH Parishes:

          TRAVELERS


          For Company Leader:




          With copies to:




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                                   EXHIBIT B

                         TNCRRG SETTLEMENT AGREEMENT




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                        SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (this “Settlement Agreement”) is hereby made by,
 between, and among the Diocese, the Diocesan Associated Parties, and The National Catholic Risk
 Retention Group Inc. (“National Catholic”).

                                           RECITALS

        WHEREAS, numerous individuals have asserted certain Survivor Claims against the
 Diocese and the Diocesan Associated Parties;

        WHEREAS, National Catholic issued, allegedly issued, or may have issued certain policies
 providing coverage to the Dioceseand the Diocesan Associated Parties;

        WHEREAS, certain Coverage Disputes exist between the Diocese and the Diocesan
 Associated Partieson the one hand, and National Catholic, on the other hand;

       WHEREAS, the Diocese filed a voluntary petition for relief under Chapter 11 of the
 Bankruptcy Code on the Filing Date, commencing the Chapter 11 Case;

        WHEREAS, the Diocese commenced the Insurance Coverage Adversary Proceeding on
 February 19, 2020, seeking a judicial determination to resolve the Coverage Disputes among the
 Diocese, National Catholic, and certain other insurers;

         WHEREAS, the Diocese, the Diocesan Associated Parties, and National Catholic, without
 any admission of liability or concession of the validity of the positions or arguments advanced by
 each other, now wish to compromise and resolve fully and finally any and all Coverage Disputes
 and all other disputes between and among them;

         WHEREAS, through this Settlement Agreement, the Diocese and the Diocesan Associated
 Parties intend to provide National Catholic with the broadest possible release of all Survivor
 Claims, including all Unknown Survivor Claims and Late-Filed Survivor Claims, that arose prior
 to the Plan Effective Date; and

         NOW, THEREFORE, in consideration of the foregoing recitals and of the mutual
 covenants contained in this Settlement Agreement, the sufficiency of which is hereby
 acknowledged, and intending to be legally bound subject to the approval of the Bankruptcy Court,
 the Parties hereby agree as follows:




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                                            ARTICLE I
                                           DEFINITIONS

         As used in this Settlement Agreement, the following terms shall have the meanings set
 forth below. Capitalized terms not defined below or in this Settlement Agreement shall have the
 meanings stated in Plan to the extent defined therein, or in the Bankruptcy Code.

        1.1    The following terms shall have the meaning ascribed to them in the Plan: “Abuse”,
 “Bankruptcy Code”, “Bankruptcy Court”, “Channeled Claim”, “Channeling Injunction”, “Chapter
 11 Case”, “Claim”, “Claim Filing Deadline”, “Committee”, “Confirmation Order”, “Contribution
 Claim”, “Debtor”, “Diocese”, “Direct Action Claim”, “Disclosure Statement”, “Effective Date”,
 “Extra-Contractual Claim”, “Filing Date”, “Final Order”, “Indirect Claim”, “Insurance Coverage
 Adversary Proceeding”, “Insurance Settlement Agreement”, “Insurer”, “Interest”, “Joint
 Tortfeasor”, “Known Survivor Claim”, “Late-Filed Survivor Claim”, “Medicare Claim”,
 “MMSEA”, “MSPA”, “Other Insured Entities”, “Parishes”, “Person”, “Proof of Claim”,
 “Protected Parties”, “Related Non-Debtor Entities”, “Released Claims”, “Reorganized Debtor”,
 “Schools”, “Settling Insurer”, “Supplemental Settling Insurer Injunction”, “Survivor Claim”,
 “Survivor Claimant”, “Survivor Claimant Release”, “Trust”, “Trust Agreement”, “Trustee”,
 “Unknown Survivor Claim”.

         1.2    “Approval Motion” means the motion filed in the Chapter 11 Case seeking approval
 of this Settlement Agreement and authorization for the Parties to enter into, and perform pursuant
 to, this Settlement Agreement, including the transactions contemplated in this Settlement
 Agreement.

       1.3    “Approval Order” means an order of the Bankruptcy Court granting the Approval
 Motion and approving this Settlement Agreement.

        1.4     “Bankruptcy Orders” means, collectively, the Approval Order, the Procedures
 Order, and the Confirmation Order.

         1.5     “National Catholic” means, collectively, The National Catholic Risk Retention
 Group Inc. (a) each of its past, present, and future parents, subsidiaries, affiliates, and divisions,
 (b) each of such Persons’ respective past, present, and future parents, subsidiaries, affiliates,
 reinsurers, retrocessionaires, holding companies, merged companies, related companies, divisions,
 and acquired companies, (c) each of such Persons’ respective past, present, and future directors,
 trustees, officers, shareholders, employees, subrogees, partners, principals, agents, attorneys, joint
 ventures, joint venturers, representatives, and claim handling administrators, and (d) each of such
 Persons’ respective predecessors, successors, assignors, and assigns, whether known or unknown,
 and all Persons acting on behalf of, by, though, or in concert with them.




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         1.6     “National Catholic Policies” means all known and unknown binders and policies in
 effect before this Settlement Agreement Effective Date that were issued, or allegedly issued, by
 National Catholic to the Diocese that actually, allegedly, or might afford coverage with respect to
 any Survivor Claim, including, without limitation all policies listed on Exhibit A attached to this
 Settlement Agreement. The term “National Catholic Policies” does not include any binder or
 policy that was issued to any archdiocese, any diocese (other than the Diocese), any religious order,
 or other Person besides the Diocese, as the policy holder and that also provides coverage to the
 Diocese and the Diocesan Associated Parties or other “Protected Persons” as defined and identified
 therein as covered parties.

        1.7      “Coverage Disputes” means certain disputes that have arisen and/or may arise in
 the future concerning National Catholic’s position regarding the nature and scope of its
 responsibilities, if any, to provide coverage (indemnity and defense) to the Diocese and Diocesan
 Associated Parties under the National Catholic Policies in connection with the Survivor Claims.

        1.8     “Diocesan Associated Parties” means the Parishes, the Schools, the Related Non-
 Debtor Entities and the Other Insured Entities. For the avoidance of doubt, any such Person is only
 a Diocesan Associated Party to the extent of, and in the capacity in which, they satisfy the
 corresponding definitions in the Plan.

         1.9    “Exculpation” means the exculpation and limitation on the liability of National
 Catholic as a Settling Insurer (as defined in the Plan) in substantially the form contained in Section
 12.6 of the Plan, with only such modifications as are acceptable to the Parties, pursuant to Section
 105 of the Bankruptcy Code.

        1.10     “Known Survivor Claimant” means the holder of a Known Survivor Claim.

        1.11    “Parties” means the Diocese, the Diocesan Associated Parties and National
 Catholic.

        1.12 “Plan” means the Joint Chapter 11 Plan of Reorganization for the Roman Catholic
 Diocese of Harrisburg filed as D.I. 1470 on December 21, 2022, as it may be revised, modified, or
 amended.

         1.13 “Plan Effective Date” means the date on which the conditions to the occurrence of
 the Effective Date have been satisfied as set forth in the Plan.

         1.14 “Preserved Coverage” means the coverage of the Diocese and the Protected Parties
 referred to in the National Catholic Policies, subject to the limits, declarations, terms and
 conditions of the National Catholic Policies, as amended hereby; provided, however, that
 Preserved Coverage shall not include coverage for (i) any and all Direct Action Claims or Survivor



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 Claims, or (ii) any and all other Channelled Claims, which coverage is settled, extinguished and
 excluded by this Settlement Agreement.

        1.15 “Procedures Order” means one or more orders approving certain solicitation
 procedures for voting on the Plan and providing the relief described in Section 2.5 of this
 Settlement Agreement in form and substance acceptable to the Parties.

        1.16 “Retroactive Date” means the provision found in Endorsement No 2 of the National
 Catholic Policies which sets forth a retroactive date of 7/25/1988 for Sexual Misconduct claims.

        1.17    “Settlement Agreement” means this Settlement Agreement and Release, as
 revised, modified, or amended.

        1.18 “Settlement Agreement Effective Date” means the date on which all conditions
 precedent to this Settlement Agreement identified in Section 3.1 are satisfied.

        1.19 “Settlement Amount” means the sum of $850,000 to be paid to the Trust by
 National Catholic after this Settlement Agreement Effective Date pursuant to Section 3.3.

        1.20   “Solicitation Procedures Motion” means the motion filed in the Chapter 11 Case
 seeking approval of certain solicitation procedures in connection with voting on the Plan.

        1.21   “Unknown Survivor Claimant” means the holder of an Unknown Survivor Claim.

        The Exhibits to this Settlement Agreement include the following:

               Exhibit A      National Catholic Policies
               Exhibit B      Form of Survivor Claimant Release

                                        ARTICLE II
                               THE CHAPTER 11 CASE AND PLAN

          2.1 Approval Motion. Not later than 15 days after the last Party signs this Settlement
 Agreement, the Diocese shall file the Approval Motion in form and substance acceptable to the
 Parties.

           2.1.1       The Diocese shall provide written notice of the Approval Motion to (a) all
        Known Survivor Claimants, (b) counsel for the Committee, (c) all Persons who have filed
        notices of appearance in the Chapter 11 Case, and (d) all Persons known to have provided
        general or professional liability insurance or coverage to the Diocese, the Diocesan
        Associated Parties or the other Protected Parties. The Diocese shall serve the Approval
        Motion on all Persons identified above at the address shown on their proofs of claim or to
        their counsel of record or, if no proof of claim was filed, then at the address on the
        Diocese’s schedules. The Diocese shall also serve the Approval Motion on the attorney

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        for each Known Survivor Claimant (to the extent applicable). To the extent the Diocese
        knows of, or may ascertain after reasonable investigation, the identity of Survivor
        Claimants that are not Known Survivor Claimants, including Unknown Survivor
        Claimants, the Diocese shall serve the Approval Motion on those Survivor Claimants and
        their counsel of record (to the extent applicable). The Diocese shall also serve the Approval
        Motion on any and all co-defendants and their counsel (to the extent of record) in any pre-
        petition litigation brought by Survivor Claimants at the last address shown on any filed
        appearance or, if such co-defendant is proceeding pro se, then to the last address of record
        for such pro se co-defendant.

           2.1.2       If any Person files an objection to the Approval Motion, the Diocese shall
        consult and cooperate with National Catholic and take all reasonable steps to respond to
        the objection and argue in favor of the Approval Motion before the Bankruptcy Court.

          2.1.3        The Diocese shall take all reasonable steps to defend against any appeal,
        petition, motion, or other challenge to the Bankruptcy Court’s entry of the Approval Order.

           2.1.4       National Catholic and the Diocesan Associated Parties shall cooperate with
        the Diocese with respect to the Approval Motion and any proceedings on appeal from entry
        of the Approval Order, including making all appropriate submissions.

         2.2     Plan. The Diocese shall diligently prosecute the confirmation of the Plan, and the
 approval of all exhibits, schedules, and related documents, which shall be in all respects consistent
 with this Settlement Agreement and shall not be amended to deprive National Catholic of any right
 or benefit under this Settlement Agreement or otherwise adversely affect the Interests of National
 Catholic under this Settlement Agreement. The Plan shall include, without limitation, the
 following provisions:

           2.2.1        The Plan shall create a Trust which shall be responsible for making any and
        all payments to Survivor Claimants entitled to receive payments under the Plan. The
        Settlement Amount shall be contributed to the Trust pursuant to the conditions of Sections
        3.1 and 3.3 of this Settlement Agreement.

           2.2.2       The Plan shall provide that, on the Plan Effective Date, the Trust shall
        assume all liability, if any, of the Protected Parties and National Catholic for Channeled
        Claims. The Trust shall (a) have the right and obligation to defend, resolve, and satisfy the
        Survivor Claims with respect to any liability of the Protected Parties and National Catholic,
        and (b) assume any obligations relating to Medicare Claims. All payment obligations to a
        Survivor Claimant shall be funded from the assets of the Trust, and the Trustee shall be the
        fiduciary and/or administrator as that term is defined in the MMSEA.




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         2.2.3         The Plan shall provide that the Trust shall defend, indemnify, and hold
       harmless the Protected Parties and National Catholic from any Medicare Claims, including
       any reporting and payment obligations and obligations owing or potentially owing under
       MMSEA or MSPA, and any other Medicare Claims arising from the Plan, the Trust
       Documents (as defined in the Plan), and the Plan Documents (as defined in the Plan). The
       Trust shall not be obligated to create a reserve for this potential obligation.

         2.2.4        The Plan shall include the Channeling Injunction in substantially the form
       and substance set forth in Section 12.3 of the Plan, with only such modifications that are
       acceptable to the Parties.

          2.2.5        The Plan shall include that the Trust shall defend, indemnify, and hold
       harmless National Catholic with respect to all Channeled Claims, subject to any limitations
       contained in Section 7.2 of this Settlement Agreement. The Reorganized Debtor shall
       defend, indemnify, and hold harmless National Catholic with respect to any Survivor
       Claims and other claims released under Section 4.1 of this Settlement Agreement, subject
       to any limitations contained in Section 7.2 of this Settlement Agreement.

         2.2.6         The Plan shall include the Supplemental Settling Insurer Injunction in
       substantially the form and substance set forth in Section 12.4 of the Plan, with only such
       modifications that are acceptable to the Parties.

          2.2.7        The Plan shall include Exculpation in substantially the form and substance
       set forth in Section 12.6 of the Plan, with only such modifications that are acceptable to the
       Parties.

          2.2.8       The Plan and Trust agreement shall require each holder of a Survivor Claim
       (including each holder of an Unknown Survivor Claim who subsequently becomes known)
       to execute and deliver a Survivor Claimant Release in the form of Exhibit B, with only
       such modifications that are acceptable to the Parties.

          2.2.9       The Plan shall provide for Charles v. Giant Eagle Markets releases in favor
       of the Diocese, the Diocesan Associated Parties, and National Catholic from all holders of
       Survivor Claims as a condition for receiving a payment from the Trust, in form and
       substance satisfactory to the Parties.

        2.2.10         The Plan shall incorporate this Settlement Agreement and the release
       contained in Section 4.1 of this Settlement Agreement by reference and make this
       Settlement Agreement part of the Plan as if set forth fully within the Plan, and shall provide
       that this Settlement Agreement is binding on National Catholic, the Trust, the Diocese, the
       Diocesan Associated Parties, the other Protected Parties, the Reorganized Debtor, the
       parties in interest in the Chapter 11 Case (including, but not limited to, any holder of a

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          Surviror Claim or an Unknown Survivor Claim), and any of the foregoing Persons’
          successors and assigns.

          2.3    Confirmation Order. The Diocese shall seek and obtain entry of the Confirmation
 Order.

             2.3.1        The Confirmation Order shall: (a) approve the Plan pursuant to section 1129
          of the Bankruptcy Code and any other applicable provision of the Bankruptcy Code, (b)
          contain the Channeling Injunction, (c) contain the Supplemental Settling Insurer
          Injunction, (d) approve the Exculpation of National Catholic as a Settling Insurer, (e)
          approve the form of release to be provided by holders of Survivor Claims, and (f) provide
          that this Settlement Agreement is binding on National Catholic, the Trust, the Diocese, the
          Reorganized Debtor, the Diocesan Associated Parties, the other Protected Parties, the
          parties in interest in the Chapter 11 Case (including, but not limited to, any holder of a
          Survivor Claim or an Unknown Survivor Claim), and any of the foregoing Persons’
          successors and assigns.

             2.3.2       The Plan and the Confirmation Order shall be in all respects consistent with
          this Settlement Agreement and contain no provisions that diminish or impair the benefit of
          this Settlement Agreement to National Catholic.

             2.3.3        In seeking to obtain the Confirmation Order, the Diocese shall (a) seek a
          confirmation hearing on an appropriately timely basis, (b) urge the Bankruptcy Court to
          overrule any objections that would affect the rights and benefits afforded National Catholic
          under this Settlement Agreement and to confirm the Plan, and (c) take all reasonable steps
          to defend against any appeal, petition, motion, or other challenge to the Bankruptcy Court’s
          entry of the Confirmation Order.

             2.3.4        Prior to entry of the Confirmation Order, the Diocese shall oppose any
          motion to lift any stay pursuant to section 362 of the Bankruptcy Code as to any Survivor
          Claim. If the Bankruptcy Court lifts the stay as to any Survivor Claim prior to entry of the
          Confirmation Order, the Diocese shall defend itself against the Survivor Claim and comply
          with the terms of the stay relief order. If the Diocese fails to defend that Survivor Claim,
          then National Catholic shall have the right, but not the duty, to defend and/or indemnify
          the Diocese and its Protected Parties against the Survivor Claim and any fees, expenses
          and costs incurred by National Catholic in such defense and/or indemnity shall be deducted
          from the Settlement Amount. In such event, the Diocese shall cooperate with National
          Catholic in the defense and/or indemnification of such Survivor Claims.

          2.4    Insurance Coverage Adversary Proceeding. The Parties shall cease all litigation
 activities against each other in the Insurance Coverage Adversary Proceeding; provided, however,


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 that each Party may take whatever steps that, in its sole judgment, are necessary to defend its
 interests as long as it remains a party in the Insurance Coverage Adversary Proceeding.

          2.4.1        The Diocese shall use its reasonable efforts to obtain the dismissal of other
        Claims, if any, against National Catholic by any other Insurer in the Insurance Coverage
        Adversary Proceeding.

          2.4.2          The Parties covenant not to sue each other until (a) the Bankruptcy Orders
        become Final Orders, at which time this covenant is superseded by the releases provided
        in Article IV of this Settlement Agreement or (b) the date on which this Settlement
        Agreement is terminated. As of this Settlement Agreement Effective Date, the Protected
        Parties (a) shall withdraw all outstanding tenders of Claims to National Catholic for defense
        and indemnity, (b) shall not tender any Claims to National Catholic, and (c) shall not
        request that National Catholic fund any judgments, settlements, or defense costs.

         2.5     Solicitation Procedures Order. In connection with the filing of the Plan and the
 Disclosure Statement, the Diocese shall file the Solicitation Procedures Motion seeking the entry
 of a Procedures Order that approves (a) the adequacy of the Disclosure Statement, (b) the content
 and form of the confirmation hearing notice, (c) the content and form of the ballots for classes
 eligible to vote under the Plan, (d) the procedures for voting to accept or reject the Plan, (e) the
 voting deadline, (f) the tabulation procedures, and (g) the publication notice and publication
 procedures, in each case in form and substance reasonably satisfactory to National Catholic.

         2.6     Claim Treatment. National Catholic shall have no obligation to pay, handle, object
 to, or otherwise respond to any Claim, unless this Settlement Agreement is terminated under
 Article V. Prior to the entry of the Confirmation Order, the Diocese shall object to any Proof of
 Claim alleged to be covered by a National Catholic Policy that the Diocese determines to be subject
 to objection under the Bankruptcy Code or applicable law. National Catholic may, but shall not
 be required to join in any such objection by the Diocese or file its own objection to any such Claim.

                                      ARTICLE III
            PAYMENT OF THE SETTLEMENT AMOUNT, AMENDMENT OF CURRENT
              POLICY, AND DISMISSAL OF INSURANCE COVERAGE ADVERSARY
                                     PROCEEDING

         3.1     Conditions Precedent. This Settlement Agreement shall become effective and
 binding on the Parties and National Catholic shall pay the Settlement Amount to the Trust only
 after the following conditions have first been satisfied:

          3.1.1       This Settlement Agreement has been executed by all Parties in form and
        substance acceptable to the Parties;



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          3.1.2      The Bankruptcy Court has entered the Approval Order, granting the
        Approval Motion in its entirety, and the Approval Order becomes a Final Order;

          3.1.3       The Bankruptcy Court has entered the Procedures Order, and the
        Procedures Order becomes a Final Order; and

           3.1.4      The Bankruptcy Court has entered the Confirmation Order, approving the
        Plan consistent with the terms of this Settlement Agreement, including approving the
        Channeling Injunction, Supplemental Settling Insurer Injunction, the Exculpation and the
        form of Survivor Claimant releases in favor of the Protected Parties and National Catholic,
        and the Confirmation Order becomes a Final Order.

         3.2     Notice of this Settlement Agreement Effective Date. Within three days after all of
 the conditions precedent contained in Section 3.1 are satisfied, the Diocese or Reorganized Debtor
 (as applicable) shall provide the Parties with notice of this Settlement Agreement Effective Date.

         3.3     Payment of Settlement Amount. In full and final settlement of all responsibilities
 for any and all Survivor Claims and Direct Action Claims, National Catholic shall pay the
 Settlement Amount to the Trust within 10 days after receiving (i) notice from the Diocese that all
 conditions to the Plan Effective Date other than the payment of the Settlement Amount have been
 satisfied or waived and (ii) directions as to transmission of the payment. National Catholic shall
 have the option to pay the Settlement Amount by check, ACH or wire transfer.

           3.3.1        The Parties agree that the Settlement Amount is the total amount National
        Catholic is obligated to pay on account of (a) any and all Direct Action Claims, Survivor
        Claims and other Channeled Claims that directly or indirectly arise under, arise out of,
        relate to, or are in connection with the National Catholic Policies, and (b) any and all
        Claims and Interests, whether known or unknown, past, present, or future, that directly or
        indirectly arise under, arise out of, relate to, or are in connection with the National Catholic
        Policies; provided, however, that this section shall not affect the Preserved Coverage and
        any Claim that directly or indirectly arises out of, relates to, or is in connection with the
        Preserved Coverage.

           3.3.2        The Parties further agree that (a) under no circumstance will National
        Catholic ever be obligated to make any additional payments in excess of the Settlement
        Amount to, or on behalf of, anyone in connection with any and all Direct Action Claims,
        Survivor Claims and other Channeled Claims, and (b) under no circumstance shall National
        Catholic ever be obligated to make any additional payments to, or on behalf of, the Diocese
        or any Diocesan Associated Parties on account of any and all Direct Action Claims,
        Survivor Claims and other Channeled Claims in connection with any coverage under any
        of the National Catholic Policies, regardless of how the National Catholic Policies identify
        or describe the limits of liability under the National Catholic Policies, all such limits,

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        including all per person, per occurrence, per claim, and aggregate limits, shall be deemed
        fully and properly exhausted.

           3.3.3        The Parties agree and jointly represent that (a) the consideration to be
        provided by National Catholic pursuant to this Settlement Agreement (including the
        Settlement Amount and the releases set forth below) constitutes fair and reasonable
        exchanges for consideration granted to National Catholic in this Settlement Agreement and
        (b) the consideration to be provided by the Diocese, the Diocesan Associated Parties and
        their respective Protected Parties pursuant to this Settlement Agreement (including the
        releases set forth below) constitutes a fair and reasonable exchange for the consideration
        granted to the Diocese, the Diocesan Associated Parties and their respective Protected
        Parties in this Settlement Agreement (including the Settlement Amount). National
        Catholic is not acting as a volunteer in paying the Settlement Amount, and National
        Catholic’s payment of the Settlement Amount reflects potential liabilities and obligations
        to the Diocese, the Diocesan Associated Parties and their respective Protected Parties of
        amounts National Catholic allegedly is obligated to pay on account of any and all Claims.

         3.4    Amendment of Current Policy and Preserved Coverage. Upon the Settlement
 Agreement Effective Date with no further action being required, the Retroactive Date in National
 Catholic policy RRG 10209-23and all renewals thereof is hereby further amended to be the Plan
 Effective Date.

         3.5    Insurance Coverage Adversary Proceeding. Within 10 days after National Catholic
 pays the Settlement Amount to the Trust, the Diocese shall sign and file any necessary papers to
 dismiss the Insurance Coverage Adversary Proceeding as to National Catholic with prejudice and
 with each party to bear its own costs. To the extent any other pending action exists between the
 Parties in connection with the Coverage Disputes, the Diocese shall dismiss those pending actions
 with prejudice and with each party to bear its own costs within 10 days after National Catholic
 pays the Settlement Amount to the Trust.

                                            ARTICLE IV
                                            RELEASES

          4.1    Diocese’s and Diocesan Associated Parties’ Release of National Catholic. Upon
 payment by National Catholic of the Settlement Amount to the Trust, the Diocese and all of the
 Diocesan Associated Parties, for themselves and their respective Protected Parties, hereby fully,
 finally, and completely release, remise, acquit, and forever discharge National Catholic and any of
 its reinsurers or retrocessionaires from any and all past, present, future, known and unknown
 Claims that occurred or may have arisen prior to the Plan Effective Date and that directly or
 indirectly arise out of, relate to, or are in connection with: (a) any and all Direct Action Claims or
 Survivor Claims, or (b) any and all other Channeled Claims; provided, however, that this release


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 shall not affect the Preserved Coverage and any Claim that directly or indirectly arises out of,
 relates to, or is in connection with the Preserved Coverage.

          4.2    National Catholic Release of Diocese and Diocesan Associated Parties. Upon
 payment by National Catholic of the Settlement Amount, National Catholic hereby fully, finally,
 and completely remises, releases, acquits, and forever discharges the Diocese and the Diocesan
 Associated Parties, and their respective Protected Parties, from any and all past, present, future,
 known and unknown Claims that occurred or may have arisen prior to the Plan Effective Date that
 directly or indirectly arise out of, relate to, or are in connection with: (a) any and all Direct Action
 Claims or Survivor Claims, or (b) any and all other Channeled Claims; provided, however, that
 this release shall not affect the obligations of the Diocese and Diocesan Associated Parties under
 any National Catholic Policy with respect to the Preserved Coverage and any Claim that directly
 or indirectly arises out of, relates to, or is in connection with the Preserved Coverage.

        4.3     General Release Provisions.

           4.3.1       Unless otherwise provided in the Plan, the releases contained in this Article
        IV shall be pursuant to the principles set forth in pursuant to the principles set forth in 42
        Pa. C.S. § 8326 and Charles v. Giant Eagle Markets, 522 A.2d 1, 10 (Pa. 1987). This
        Settlement Agreement in no way releases any Claims held by Survivor Claimants against
        religious orders and all Persons who are not Protected Parties, who will remain severally
        liable on any Claims.

           4.3.2        From and after this Settlement Agreement Effective Date, the Diocese and
        its Protected Parties shall not assert any Claim against National Catholic that directly or
        indirectly arises from, relates to or in connection with the National Catholic Policies and
        acts, omissions or events occurring prior to the Plan Effective Date, including (a) any and
        all Direct Action Claims or Survivor Claims, or (b) any and all other Channeled Claims;
        provided, however, that this release shall not affect the Preserved Coverage and any Claim
        that directly or indirectly arises out of, relates to, or is in connection with the Preserved
        Coverage.

           4.3.3        From and after this Settlement Agreement Effective Date, the Diocesan
        Associated Parties and their respective Protected Parties shall not assert any Claim against
        National Catholic that directly or indirectly arises from, relates to or in connection with the
        National Catholic Policies and acts, omissions or events occurring prior to the Plan
        Effective Date, including (a) any and all Direct Action Claims or Survivor Claims, or (b)
        any and all other Channeled Claims; provided, however, that this release shall not affect
        the Preserved Coverage and any Claim that directly or indirectly arises out of, relates to,
        or is in connection with the Preserved Coverage.

        4.4    Waiver of Surviving Claims. If, contrary to the intent of the Parties, any Claims
 released pursuant to this Article IV of this Settlement Agreement are deemed to survive this

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 Settlement Agreement, even though they are encompassed by the terms of the releases set forth in
 this Article IV of this Settlement Agreement, the Parties hereby forever, expressly, and irrevocably
 waive entitlement to and agree not to assert any and all such Claims; provided, however, that such
 waiver shall not affect the Preserved Coverage and any Claim that directly or indirectly arises out
 of, relates to, or is in connection with the Preserved Coverage.

         4.5     Comparative Releases. All of the releases and other benefits provided in this
 Settlement Agreement by the Diocese, the Diocesan Associated Parties and their respective
 Protected Parties to National Catholic are at least as favorable as the releases and other benefits
 that the Diocese has provided to any other one of the Diocese’s insurers in the Chapter 11 Case.
 If the Diocese or the Diocesan Associated Parties enter into any Insurance Settlement Agreement
 with any other Settling Insurer in the Chapter 11 Case that provides that Settling Insurer with
 releases or other benefits that are more favorable than those contained in this Settlement
 Agreement, then this Settlement Agreement shall be deemed to be modified to provide National
 Catholic with those more favorable releases and/or benefits. However, the provision at Section
 7.2.1 of this Settlement Agreement that the duty to defend, indemnify, and hold harmless National
 Catholic does not extend to, and does not include, claims that are, or may be, made against National
 Catholic by other Insurers shall not be modified. The Diocese shall notify National Catholic
 promptly of the existence of such more favorable releases or benefits.

        4.6     Reinsurance. Neither the releases set forth in this Article IV nor any other
 provisions in this Settlement Agreement are intended to apply to, or have any effect on, National
 Catholic’s right to seek or obtain reinsurance recoveries under any reinsurance treaties, certificates,
 or contracts that cover losses arising under or in connection with the National Catholic Policies,
 or any other binder, certificate, or policy of insurance issued, or allegedly issued, by National
 Catholic. The Diocese and the Diocesan Associated Parties shall undertake all reasonable actions
 and cooperate with National Catholic in connection with its reinsurers.

         4.7     No Release of Settlement Agreement Obligations. This Article IV is not intended
 to, and shall not be construed to, release, waive, relinquish, or otherwise affect the Parties’ rights
 and obligations under this Settlement Agreement.

                                    ARTICLE V
                    TERMINATION OF THIS SETTLEMENT AGREEMENT

        5.1    Termination Conditions. Any of the Parties may terminate its participation in this
 Settlement Agreement prior to this Settlement Agreement Effective Date if any of the following
 conditions occur:

                5.1.1 The Bankruptcy Orders do not become Final Orders within one year after
        the date on which this Settlement Agreement is executed by all the Parties;



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                 5.1.2 The Diocese files a chapter 11 plan that is inconsistent with this Settlement
        Agreement or fails to object to the confirmation of a chapter 11 plan by another Person,
        that is inconsistent with the terms of this Settlement Agreement or the provisions of the
        Plan referenced herein; or

                 5.1.3 The Bankruptcy Court confirms a plan of reorganization for the Diocese in
        lieu of the Plan that is inconsistent with this Settlement Agreement without the consent of
        National Catholic.

               5.1.4 The Chapter 11 Case is dismissed or converted to a case under Chapter 7 of
        the Bankruptcy Code.

         5.2     Effect of Termination. Upon termination of this Settlement Agreement by any
 party, this Settlement Agreement shall be null and void and of no force or effect, including the
 obligation to pay the Settlement Amount and the releases provided in Article IV of this Settlement
 Agreement, and the Parties shall retain all of their rights, defenses, and obligations with respect to
 the National Catholic Policies as if this Settlement Agreement never existed. In the event of such
 termination after National Catholic shall have paid the Settlement Amount to the Trust, the Trust
 shall return the Settlement Amount to National Catholic, with accrued interest thereon, within 10
 days of the termination.

                                   ARTICLE VI
                  REPRESENTATION AND WARRANTIES OF THE PARTIES

        6.1     Representations of All Parties. The Parties separately represent and warrant as
 follows:

               6.1.1 Each of the Parties has the requisite power and authority to enter into this
        Settlement Agreement and to perform the obligations contemplated by this Settlement
        Agreement, subject only to approval of the Bankruptcy Court in the Chapter 11 Case.

               6.1.2 This Settlement Agreement has been thoroughly negotiated and analyzed
        by counsel to the Parties and executed and delivered in good faith, pursuant to arm’s length
        negotiations and for value and valuable consideration.

                6.1.3 The Parties have completed a reasonable search for evidence of any policies
        issued by National Catholic to the Diocese or the Diocesan Associated Parties that would
        afford coverage with respect to any Survivor Claim. Other than the National Catholic
        Policies identified in Exhibit A, no such policies and acknowledgements of coverage have
        been identified. Notwithstanding the foregoing, nothing in this Settlement Agreement,
        including the schedules or exhibits thereto, shall be construed as, or deemed to be, an
        admission or evidence that any binder, certificate, or policy was in fact issued and/or
        affords coverage in connection with the Survivor Claims.


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        6.2   Representations of Diocese and Diocesan Associated Parties. The Diocese and the
 Diocesan Associated Parties each represent and warrant as follows:

                6.2.1 The Diocese and the Diocesan Associated Parties have not assigned, and
        shall not assign, any Interests in the National Catholic Policies or any other binder or
        policy issued by National Catholic.

                6.2.2 The Diocese and the Diocesan Associated Parties have not in any way
        assisted, and shall not in any way assist, any Person in the establishment of any Claim
        against National Catholic.

               6.2.3 The Diocese is the owner of the National Catholic Policies and no other
        Person has legal title to the National Catholic Policies.

                                      ARTICLE VII
                            ACTIONS INVOLVING THIRD PARTIES

      7.1       Other Insurer Claims. For purposes of supporting the releases granted in Article
 IV and the extinguishment of any and all rights under the National Catholic Policies, the Diocese
 and Diocesan Associated Parties hereby agree as follows:

              7.1.1     After this Settlement Agreement Effective Date, if any other Insurer of the
        Diocese, the Diocesan Associated Parties or their respective Protected Parties obtains a
        judicial determination or binding arbitration award that it is entitled to obtain a sum certain
        from National Catholic as a result of a claim for contribution, subrogation, indemnification,
        or other similar Claim for National Catholic’s alleged share or equitable share, or to enforce
        subrogation rights, if any, with respect to the defense and/or indemnity obligation of
        National Catholic for any Claims released or resolved pursuant to this Settlement
        Agreement, the Diocese, Diocesan Associated Parties, or Trust, as applicable, shall
        voluntarily reduce its judgment or Claim against, or settlement with, such other insurers to
        the extent necessary to satisfy such contribution, subrogation, indemnification, or other
        Claims against National Catholic. To ensure that such a reduction is accomplished,
        National Catholic shall be entitled to assert this Article VII as a defense to any action or
        Claim against it brought by any other Insurer for any such portion of the judgment or Claim
        and shall be entitled to request that the court or appropriate tribunal issue such orders as
        are necessary to effectuate the reduction to protect National Catholic from any liability for
        the judgment or Claim. Moreover, if an Insurer asserts that it has a Claim for contribution,
        indemnity, subrogation, or similar relief against National Catholic, such Claim may be
        asserted as a defense against a Claim by the Diocese, the Diocesan Associated Parties, or
        Trust, as applicable, in any coverage litigation, and the Diocese, the Diocesan Associated
        Parties, or Trust, as applicable, may assert the legal and equitable rights of National
        Catholic in response thereto. To the extent such a Claim is determined to be valid by the
        court or appropriate tribunal presiding over such action, the liability of such other Insurer

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        to the Diocese, the Diocesan Associated Parties, or Trust, as applicable, shall be reduced
        dollar for dollar by the amount so determined.

             7.1.2       National Catholic shall not seek reimbursement (other than from a reinsurer
        or retrocessionaire, as such) for any payments it was obligated to make under this
        Settlement Agreement under theories of contribution, subrogation, indemnification, or
        similar relief from any other Insurer of the Diocese or Diocesan Associated Parties unless
        that other Insurer first seeks contribution, subrogation, indemnification, or similar relief
        from National Catholic. The Diocese and Diocesan Associated Parties shall use their
        respective reasonable best efforts to obtain from all insurers with which it settles
        agreements similar to those contained in this Article VII.

       7.2      Indemnification. After this Settlement Agreement Effective Date and the Plan
 Effective Date, pursuant to the terms of the Plan, the Trust shall defend, indemnify, and hold
 harmless National Catholic with respect to any and all Channeled Claims. The Reorganized
 Debtor shall defend, indemnify, and hold harmless National Catholic with respect to any and all
 Channeled Claims and Claims released under Section 4.1 of this Settlement Agreement.

                7.2.1 These indemnification obligations of the Trust and the Reorganized Debtor
        to National Catholic include Survivor Claims made by Persons over whom the Diocese or
        Diocesan Associated Parties do not have control, including any other Person who asserts
        Survivor Claims against or rights to coverage under the National Catholic Policies. The
        obligation of the Trust or Reorganized Debtor to indemnify National Catholic shall not
        exceed the Settlement Amount. The duty to defend, indemnify, and hold harmless National
        Catholic does not extend to, or include Contribution Claims that are, or may be, made
        against National Catholic by other Insurers.

                7.2.2 National Catholic may, but is not obligated to, undertake the defense of any
        Claim upon receipt of such Claim without affecting such indemnification obligations.
        National Catholic agrees to notify the Trust or Reorganized Debtor, as applicable, as soon
        as practicable of any Claims identified in Section 7.2 of this Settlement Agreement and of
        their choice of counsel. National Catholic’s defense of any Claims shall have no effect on
        the obligation of the Trust, the Reorganized Debtor or the Diocesan Associated Parties, as
        applicable, to indemnify National Catholic for such Claims and defense fees, costs and
        expenses, as set forth in Section 7.2 of this Settlement Agreement.

                7.2.3 The Trust or Reorganized Debtor, as applicable, subject to the limitations
        above regarding the maximum amounts the Trust or Reorganized Debtor must pay, shall
        reimburse all reasonable attorneys’ fees, expenses, costs, and amounts incurred by National
        Catholic in defending such Claims. In defense of any such Claims, National Catholic may
        settle or otherwise resolve a Claim only with the prior consent of the Trust or Reorganized
        Debtor, as applicable, which consent shall not be unreasonably withheld. To the extent

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        Section 7.2 of this Settlement Agreement may give rise to pre-Plan Effective Date
        administrative claims which have not been provided for in the Plan, such claims shall pass
        through the Plan unimpaired.

      7.3       Stay of Prosecution of Channeled Claim. If any Person attempts to prosecute a
 Channeled Claim against National Catholic before this Settlement Agreement Effective Date, then
 promptly following notice to do so from National Catholic, the Diocese shall file a motion and
 supporting papers to obtain an order from the Bankruptcy Court, pursuant to sections 362 and
 105(a) of the Bankruptcy Code, protecting National Catholic from any such Claims until the
 Bankruptcy Orders become Final Orders or, alternatively, this Settlement Agreement is terminated
 under Article V of this Settlement Agreement.

                                          ARTICLE VIII
                                        MISCELLANEOUS

         8.1     If any proceedings are commenced to invalidate or prevent the enforcement or
 implementation of any of the provisions of this Settlement Agreement, the Parties agree to
 cooperate fully to oppose such proceedings. In the event that any action or proceeding of any type
 whatsoever is commenced or prosecuted, by any Person not a Party to this Settlement Agreement,
 to invalidate, interpret, or prevent the validation or enforcement of all or any of the provisions of
 this Settlement Agreement, the Parties mutually agree, represent, warrant, and covenant to
 cooperate fully in opposing such action or proceeding.

        8.2      The Parties shall take such steps and execute any documents as may be reasonably
 necessary or proper to effectuate the purpose and intent of this Settlement Agreement and to
 preserve its validity and enforceability.

        8.3     The Parties shall cooperate with each other in connection with the Approval
 Motion, the Approval Order, the Plan, the Confirmation Order, the Procedures Order, and the
 Chapter 11 Case. Such cooperation shall include consulting with each other upon reasonable
 request concerning the status of proceedings and providing each other with copies of reasonably
 requested pleadings, notices, proposed orders, and other documents relating to such proceedings
 as soon as reasonably practicable prior to any submission thereof to the Bankruptcy Court.

        8.4     This Settlement Agreement constitutes a single integrated written contract that
 expresses the entire agreement and understanding between and among the Parties.

         8.5     This Settlement Agreement may be modified only by written amendment signed by
 the Parties, and no waiver of any provision of this Settlement Agreement or of a breach thereof
 shall be effective unless expressed in a writing signed by the waiving Party. The waiver by any
 Party of any of the provisions of this Settlement Agreement or of the breach thereof shall not
 operate or be construed as a waiver of any other provision or breach.


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         8.6     By entering into this Settlement Agreement, none of the Parties has waived or shall
 be deemed to have waived any rights, obligations, or positions they have asserted or may in the
 future assert in connection with any matter outside the scope of this Settlement Agreement. No
 part of this Settlement Agreement, its negotiation, or its performance may be used in any manner
 in any action, suit, or proceeding as evidence of the rights, duties, or obligations of the Parties with
 respect to matters outside the scope of this Settlement Agreement. All actions taken and statements
 made by the Parties or by their representatives relating to this Settlement Agreement or
 participation in this Settlement Agreement, including its development and implementation, shall
 be without prejudice or value as precedent and shall not be used as a standard by which other
 matters may be judged.

          8.7     This Settlement Agreement represents a compromise of disputed Claims and shall
 not be deemed an admission or concession of liability, culpability, wrongdoing, or coverage. All
 related discussions, negotiations, and all prior drafts of this Settlement Agreement shall be deemed
 to fall within the protection afforded to compromises and to offers to compromise by Rule 408 of
 the Federal Rules of Evidence and any parallel state law provisions. Any evidence of the
 negotiations or discussions associated with this Settlement Agreement shall be inadmissible in any
 action or proceeding for purposes of establishing any rights, duties, or obligations of the Parties,
 except that they shall be admissible to the extent they would have otherwise been admissible,
 absent this Section 8.7, in (a) an action or proceeding to enforce the terms of this Settlement
 Agreement, including any use as set forth in Article VII or (b) any possible action or proceeding
 between National Catholic and any of its reinsurers. This Settlement Agreement shall not be used
 as evidence or in any other manner, in any court or dispute resolution proceeding, to create, prove,
 or interpret National Catholic’s obligations under any of the National Catholic Policies or any
 other binder or policy of coverage or any acknowledgement of coverage issued by National
 Catholic with respect to any Claims against National Catholic.

         8.8     None of the Parties shall make any public statements or disclosures (a) regarding
 each other’s rationale or motivation for negotiating or entering into this Settlement Agreement or
 (b) asserting or implying in any way that the Parties acted improperly or in violation of any duty
 or obligation, express or implied, in connection with any matter arising out of, relating to, or in
 connection with the National Catholic Policies or any other binder or policy of coverage issued
 by National Catholic, including handling of, or involvement in connection with, the Survivor
 Claims or Direct Action Claims or the resolution of the Survivor Claims or Direct Action Claims.

        8.9    Neither this Settlement Agreement nor the rights and obligations set forth in this
 Settlement Agreement shall be assigned without the prior written consent of the other Parties.

        8.10 The Parties have received the advice of counsel in the preparation, drafting, and
 execution of this Settlement Agreement, which was negotiated at arm’s length.




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        8.11 Section titles and/or headings contained in this Settlement Agreement are included
 only for ease of reference and shall have no substantive effect.

        8.12 All notices, demands, or other communication to be provided pursuant to this
 Settlement Agreement shall be in writing and sent by e-mail and Federal Express or other overnight
 delivery service, costs prepaid, to the Parties at the addresses set forth below, or to such other
 person or address as any of them may designate in writing from time to time:

        If to the Diocese or the Reorganized Debtor (as applicable) or the Diocesan Associated
        Parties:

        Roman Catholic Diocese of Harrisburg
        Attn: Vicar General
        4800 Union Deposit Road
        Harrisburg, Pennsylvania 17111

        with a copy to:

        Waller Lansden Dortch & Davis, LLP
        Attn: Blake D. Roth & Tyler N. Layne
        511 Union Street, Suite 2700
        Nashville, Tennessee 37219
        blake.roth@wallerlaw.com
        tyler.layne@wallerlaw.com

        -and-

        Kleinbard LLC
        Attn: Matthew H. Haverstick & Joshua J. Voss
        Three Logan Square
        1717 Arch Street, 5th Floor
        Philadelphia, Pennsylvania 19103
        mhaverstick@kleinbard.com
        jvoss@kleinbard.com

        If to National Catholic:

        Tony McLaughlin
        VP, Claims & Shareholder Initiatives
        801 Warrenville Road, Suite 620
        Lisle, IL 60532
        tmclaughlin@tncrrg.org

        With a copy to:


                                                18

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        Johnson & Bell
        Attn: Glenn F. Fencl
        33 West Monroe Street, Suite 2700
        Chicago, Illinois 60603-5404
        fenclg@jbltd.com

        8.13 This Settlement Agreement may be executed in multiple counterparts, all of which
 together shall constitute one and the same instrument. This Settlement Agreement may be
 executed and delivered by facsimile or other electronic image, which facsimile or other electronic
 image counterparts shall be deemed to be originals.

         8.14 Nothing contained in this Settlement Agreement shall be deemed or construed to
 constitute (a) an admission by National Catholic that the Diocese, Diocesan Associated Parties, or
 any other Person was or is entitled to any coverage under the National Catholic Policies or any
 other binder or policy of coverage issued or allegedly issued by National Catholic or as to the
 validity of any of the positions that have been or could have been asserted by the Diocese or
 Diocesan Associated Parties, (b) an admission by the Diocese or Diocesan Associated Parties as
 to the validity of any of the positions or defenses to coverage that have been or could have been
 asserted by National Catholic or any Claims that have been or could have been asserted by the
 Diocese or Diocesan Associated Parties against National Catholic, or (c) an admission by the
 Diocese, Diocesan Associated Parties, or National Catholic of any liability whatsoever with
 respect to any of the Survivor Claims.

         8.15 All of the Persons included in the definition of National Catholic, Protected Parties,
 and the Trust and Trustee are intended beneficiaries of this Settlement Agreement. Except as set
 forth in the preceding sentence or otherwise set forth in this Settlement Agreement, there are no
 third-party beneficiaries of this Settlement Agreement.

        8.16 The Diocese, Diocesan Associated Parties, and National Catholic shall be
 responsible for their own fees and costs incurred in connection with the Chapter 11 Case, this
 Settlement Agreement, and the implementation of this Settlement Agreement.

        8.17    The following rules of construction shall apply to this Settlement Agreement:

         8.17.1        Unless the context of this Settlement Agreement otherwise requires: (a)
        words of any gender include each gender, (b) words using the singular or plural number
        also include the plural or singular number, respectively, (c) the terms “hereof,” “herein,”
        “hereby,” and derivative or similar words refer to this entire Settlement Agreement, and
        (d) the words “include”, “includes,” or “including” shall be deemed to be followed by the
        words “without limitation.”


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         8.17.2       References to statutes shall include all regulations promulgated thereunder
        and references to statutes or regulations shall be construed as including all statutory and
        regulatory provisions regardless of whether specifically referenced in this Settlement
        Agreement.

         8.17.3         The wording of this Settlement Agreement was reviewed by legal counsel
        for each of the Parties and each of them had sufficient opportunity to propose and negotiate
        changes prior to its execution. The wording of this Settlement Agreement shall not be
        construed in favor of or against any Party.

         8.17.4         The use of the terms “intend”, “intended,” or “intent,” when describing the
        intention of the Parties, as the case may be, shall not be construed to create a breach of this
        Settlement Agreement when the stated intent is not achieved.

         8.17.5        Requirements that the form of motions, orders, and other pleadings be
        acceptable to all or some of the Parties shall include the requirement that such acceptances
        shall not be unreasonably withheld.

        8.18 The Bankruptcy Court in the Chapter 11 Case shall retain jurisdiction to interpret
 and enforce the provisions of this Settlement Agreement, which shall be construed in accordance
 with Pennsylvania law.

         8.19 This Settlement Agreement and the obligations under this Settlement Agreement
 shall be binding on the Parties and shall survive the entry of the Confirmation Order unless this
 Settlement Agreement is terminated pursuant to Article V of this Settlement Agreement.

         8.20 This Settlement Agreement shall be effective on this Settlement Agreement
 Effective Date.




                                      [Signature Pages Follow]




                                                  20

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       IN WITNESS WHEREOF, the undersigned Party has duly executed this Settlement
 Agreement as of the date indicated below.

                                The The National Catholic Risk Retention Group Inc.



                                By:

                                Its:

                                Date:



                                Witness:




                     [Signature Pages Continue on Following Pages]




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       IN WITNESS WHEREOF, the undersigned Party has duly executed this Settlement
 Agreement as of the date indicated below.

                                The Roman Catholic Diocese of Harrisburg



                                By:

                                Its:

                                Date:



                                Witness:




                     [Signature Pages Continue on Following Pages]




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       IN WITNESS WHEREOF, the undersigned Party has duly executed this Settlement
 Agreement as of the date indicated below.

                                [Diocesan Associated Party Name]



                                By:

                                Its:

                                Date:



                                Witness:




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               Exhibit A– National Catholic Policies



    1. RRG 10209-23      (7/25/2018 - 7/25/2019)
    2. RRG 10209-23      (7/25/2019 - 7/25/2020)
    3. RRG 10209-23      (7/25/2020 - 7/25/2021)




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                         Exhibit B - Survivor Claimant Release




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                                       Survivor Claimant Release

         This Survivor Claimant Release (the “Release”) is executed this ___ day of
 _________________, 20__, by ___________________________________________ in connection
 with the Joint Chapter 11 Plan of Reorganization for the Roman Catholic Diocese of Harrisburg,
 dated [__], 2022 (the “Plan”), filed by the Roman Catholic Diocese of Harrisburg (the “Debtor”) and
 Official Committee of Tort Claimants in the Debtor’s chapter 11 case pending before the United
 States Bankruptcy Court for the Middle District of Pennsylvania (the “Bankruptcy Court”), which is
 docketed as case number 1:20-bk-00599 (HWV) (the “Chapter 11 Case”), and the receipt of
 distributions from the Settlement Trust, which is known as the Roman Catholic Diocese of
 Harrisburg Settlement Trust, as compensation for Survivor Claims.



         1.      All capitalized terms in this Release are defined in the Plan and have the meanings
 stated in the Plan.

        2.      In consideration of the treatment under the Plan and the Trust Distribution Plan,
 and other valuable consideration, I, for myself and my heirs, successors, assigns, agents, and
 representatives:

                  a.      fully, finally, and completely release, remise, acquit, and forever discharge
          the Settling Insurers from any and all past, present and future Claims that, directly or
          indirectly, arise out of, relate to, or are connected with the (i) Survivor Claims; (ii)
          Contribution Claims; (iii) Direct Action Claims; (iv) Extra-Contractual Claims; (v) Settling
          Insurer Policies; (vi) Indirect Claims, and (vii) all Claims that, directly or indirectly, arise
          from, relate to, or are connected with the Debtor’s Chapter 11 case.

                  b.     fully, finally, and completely release, remise, acquit, and forever discharge
          the Protected Parties with respect to their portion or share of liability for my Claims.

                  c.       With respect to any Claims that are released under paragraph 2(a) or
          paragraph 2(b) of this release, I covenant (i) not to sue or seek recovery or relief of any
          kind from the Protected Parties or Settling Insurers; (ii) to forever and irrevocably
          discharge that fraction, portion or percentage of damages I claim to have suffered in
          connection with the Abuse which is by trial or other disposition determined to be the causal
          fault or responsibility, if any, of any Protected Party with respect to released Survivor
          Claims; (iii) to voluntarily reduce any judgment that I may ever obtain against any Person
          relating to the same Abuse at issue in the released Survivor Claims and Direct Action
          Claims in an amount reflecting that fraction, portion or percentage of damage or injury that
          I suffered due to the causal fault or responsibility, if any, of any Protected Party; (iv) that
          filing of this Release with any court by any Protected Party will satisfy that fraction, portion
          or percentage of any judgment that may be rendered in my favor attributable to any
          Protected Party’s causal fault or responsibility relating to the Abuse at issue in the released
          Survivor Claims and Direct Action Claims; (v) that I will not seek a reallocation of the
          causal fault or causal responsibility of any Protected Party to any other Person, whether
          assessed by reason of judgment or settlement, relating to the Abuse at issue in the released
          Survivor Claims and Direct Action Claims; and (vi) I understand the Plan extinguishes any

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          potential liability of any Protected Party for contribution or indemnity to any Person who
          may be held liable to me for any released Survivor Claim or Direct Action Claim.

         3.      I have been provided with copies of the Disclosure Statement, the Plan, and the
 exhibits thereto and have been given an opportunity to review such documents and to consult
 with counsel of my choice regarding those documents and this Release.

         4.      I expressly reserve and retain my rights to recover from any Person for liability
 for any Abuse except as provided in this Release and do not intend that payment by the Trust
 constitutes full compensation for the damage alleged in my Survivor Claim(s) and Direct
 Action Claim(s).

        5.      I understand and agree that any payment by the Trust to me does not constitute
 an admission of liability of any kind or nature by the Trust, any Settling Insurer, or any
 Protected Party.

        6.      I consent to, and agree to be bound by, the injunctions set forth in the Plan,
 including those injunctions contained in Article XII for the benefit of the Settling Insurers and
 Protected Parties. I also approve of the Insurance Settlement Agreements referenced in and
 incorporated into the Plan.

        7.      I understand that payment from the Trust constitutes damages on account of
 personal physical injuries or sickness arising from an occurrence within the meaning of section
 104(a)(2) of the Internal Revenue Code of 1986, as amended.

         8.     I represent and warrant that I have not assigned or otherwise transferred any
 interest in my Survivor Claim(s) and Direct Action Claim(s).

         9.     I hereby authorize the Center for Medicare & Medicaid Services (“CMS”) and
 its agents and/or contractors to release, upon request, information related to my injury/illness
 and/or settlement since my date of birth to the Trust and/or its agents. I understand that I may
 revoke this “consent to release information” at any time, in writing. I consent to the release of
 information relating to my lifetime Medicare entitlement from the Social Security
 Administration and CMS to the Trustee and all other professionals retained by the Trust, and
 further authorize the Trustee and other Trust professionals to execute on my behalf any
 requests, including consents for release of information, for information relating to my
 Medicare entitlement and any obligations owing or potentially owing under the Medicare
 Secondary Payer Statute relating to my Survivor Claim(s), from the Social Security
 Administration and CMS. I affirm that I am the individual to whom the requested information
 or record applies or the authorized representative of the individual’s estate. I declare under
 penalty of perjury (28 CFR § 16.41(d)(2004)) that I have examined all the information on this
 form and it is true and correct to the best of my knowledge. I understand that anyone who
 knowingly or willfully seeks or obtains access to records about another person under false
 pretenses is punishable by a fine of up to $5,000.

        10.     This Release shall be binding upon my successors, heirs, assigns, agents, and
 representatives.


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                     TO BE COMPLETED BY SURVIVOR CLAIMANT OR
                     AUTHORIZED REPRESENTATIVE OF SURVIVOR
                     CLAIMANT’S ESTATE:



                     Name of Survivor Claimant:
                     By:
                     Signature:
                     Dated:
                     Claim Number(s):
                     Social Security Number:
                     Date of Birth:




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                                   EXHIBIT C

                   CATHOLIC MUTUAL SETTLEMENT AGREEMENT




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                         SETTLEMENT AGREEMENT AND RELEASE

       This Settlement Agreement and Release (this “Settlement Agreement”) is hereby made by,
 between, and among the Diocese, the Diocesan Associated Parties, and Catholic Mutual.

                                            RECITALS

       WHEREAS, numerous individuals have asserted certain Survivor Claims against the
 Diocese and the Diocesan Associated Parties;

        WHEREAS, Catholic Mutual issued, allegedly issued, or may have issued the Catholic
 Mutual Certificates providing certain coverage to the Diocese and the Diocesan Associated Parties;

        WHEREAS, certain Coverage Disputes exist between the Diocese and the Diocesan
 Associated Parties, on the one hand, and Catholic Mutual, on the other hand;

       WHEREAS, the Diocese filed a voluntary petition for relief under Chapter 11 of the
 Bankruptcy Code on the Filing Date, commencing the Chapter 11 Case;

        WHEREAS, the Diocese commenced the Insurance Coverage Adversary Proceeding on
 February 19, 2020, seeking a judicial determination to resolve the Coverage Disputes among the
 Diocese, Catholic Mutual, and certain other insurers;

         WHEREAS, the Diocese, the Diocesan Associated Parties, and Catholic Mutual, without
 any admission of liability or concession of the validity of the positions or arguments advanced by
 each other, now wish to compromise and resolve fully and finally any and all Coverage Disputes
 and all other disputes between and among them;

         WHEREAS, through this Settlement Agreement, the Diocese and the Diocesan Associated
 Parties intend to provide Catholic Mutual with the broadest possible release of all Survivor Claims,
 including all Unknown Survivor Claims and Late-Filed Survivor Claims, that arose prior to the
 Plan Effective Date; and

         NOW, THEREFORE, in consideration of the foregoing recitals and of the mutual
 covenants contained in this Settlement Agreement, the sufficiency of which is hereby
 acknowledged, and intending to be legally bound subject to the approval of the Bankruptcy Court,
 the Parties hereby agree as follows:




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                                             ARTICLE I
                                            DEFINITIONS

         As used in this Settlement Agreement, the following terms shall have the meanings set
 forth below. Capitalized terms not defined below or in this Settlement Agreement shall have the
 meanings stated in Plan to the extent defined therein, or in the Bankruptcy Code.

        1.1    The following terms shall have the meaning ascribed to them in the Plan: “Abuse”,
 “Bankruptcy Code”, “Bankruptcy Court”, “Channeled Claim”, “Channeling Injunction”, “Chapter
 11 Case”, “Claim”, “Claim Filing Deadline”, “Committee”, “Confirmation Order”, “Contribution
 Claim”, “Debtor”, “Diocese”, “Direct Action Claim”, “Disclosure Statement”, “Effective Date”,
 “Extra-Contractual Claim”, “Filing Date”, “Final Order”, “Indirect Claim”, “Insurance Coverage
 Adversary Proceeding”, “Insurance Settlement Agreement”, “Insurer”, “Interest”, “Joint
 Tortfeasor”, “Known Survivor Claim”, “Late-Filed Survivor Claim”, “Medicare Claim”,
 “MMSEA”, “MSPA”, “Other Insured Entities”, “Parishes”, “Person”, “Proof of Claim”,
 “Protected Parties”, “Related Non-Debtor Entities”, “Released Claims”, “Reorganized Debtor”,
 “Schools”, “Settling Insurer”, “Supplemental Settling Insurer Injunction”, “Survivor Claim”,
 “Survivor Claimant”, “Survivor Claimant Release”, “Trust”, “Trust Agreement”, “Trustee”,
 “Unknown Survivor Claim”.

         1.2    “Approval Motion” means the motion filed in the Chapter 11 Case seeking approval
 of this Settlement Agreement and authorization for the Parties to enter into, and perform pursuant
 to, this Settlement Agreement, including the transactions contemplated in this Settlement
 Agreement.

         1.3     “Approval Order” means the order granting the Approval Motion and providing the
 relief described in Section 2.1 of this Settlement Agreement in form and substance acceptable to
 the Parties.

        1.4     “Bankruptcy Orders” means, collectively, the Approval Order, the Procedures
 Order, and the Confirmation Order.

         1.5     “Catholic Mutual” means, collectively, The Catholic Mutual Relief Society of
 America and (a) each of its past, present, and future parents, subsidiaries, affiliates, and divisions,
 (b) each of such Persons’ respective past, present, and future parents, subsidiaries, affiliates,
 reinsurers, retrocessionaires, holding companies, merged companies, related companies, divisions,
 and acquired companies, (c) each of such Persons’ respective past, present, and future directors,
 trustees, officers, shareholders, employees, subrogees, partners, principals, agents, attorneys, joint
 ventures, joint venturers, representatives, and claim handling administrators, and (d) each of such
 Persons’ respective predecessors, successors, assignors, and assigns, whether known or unknown,
 and all Persons acting on behalf of, by, though, or in concert with them.

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         1.6      “Catholic Mutual Certificates” means all known and unknown binders, policies and
 certificates in effect before this Settlement Agreement Effective Date that were issued, or allegedly
 issued, by Catholic Mutual to the Diocese that actually, allegedly, or might afford coverage with
 respect to any Survivor Claim, including, without limitation all certificates listed on Exhibit A
 attached to this Settlement Agreement. The term “Catholic Mutual Certificates” does not include
 any binder, policy or certificate that was issued to any archdiocese, any diocese (other than the
 Diocese), any religious order, or other Person besides the Diocese, as the certificate holder and
 that also provides coverage to the Diocese and the Diocesan Associated Parties or other “Protected
 Persons” as defined and identified therein as covered parties.

        1.7      “Coverage Disputes” means certain disputes that have arisen and/or may arise in
 the future concerning Catholic Mutual’s position regarding the nature and scope of its
 responsibilities, if any, to provide coverage (indemnity and defense) to the Diocese and Diocesan
 Associated Parties under the Catholic Mutual Certificates in connection with the Survivor Claims.

        1.8     “Diocesan Associated Parties” means the Parishes, the Schools, the Related Non-
 Debtor Entities and the Other Insured Entities. For the avoidance of doubt, any such Person is only
 a Diocesan Associated Party to the extent of, and in the capacity in which, they satisfy the
 corresponding definitions in the Plan.

         1.9    “Exculpation” means the exculpation and limitation on the liability of Catholic
 Mutual as a Settling Insurer (as defined in the Plan) in substantially the form contained in Section
 12.6 of the Plan, with only such modifications as are acceptable to the Parties, pursuant to Section
 105 of the Bankruptcy Code.

          1.10      “Known Survivor Claimant” means the holder of a Known Survivor Claim.

          1.11      “Parties” means the Diocese, the Diocesan Associated Parties and Catholic Mutual.

        1.12 “Plan” means the Joint Chapter 11 Plan of Reorganization for the Roman Catholic
 Diocese of Harrisburg filed as D.I. 1470 on December 21, 2022, as revised, modified, or amended
 in accordance with this Settlement Agreement.

         1.13 “Plan Effective Date” means the date on which the conditions to the occurrence of
 the Effective Date have been satisfied as set forth in the Plan.

         1.14 “Preserved Coverage” means the coverage of the Diocese and the Protected Parties
 referred to in the Catholic Mutual Certificates, subject to the limits, declarations, terms and
 conditions of the Catholic Mutual Certificates, as amended hereby; provided, however, that
 Preserved Coverage shall not include coverage for (i) any and all Direct Action Claims or Survivor
 Claims, or (ii) any and all other Channeled Claims, which coverage is settled, extinguished and
 excluded by this Settlement Agreement.
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        1.15 “Procedures Order” means one or more orders approving certain solicitation
 procedures for voting on the Plan and providing the relief described in Section 2.5 of this
 Settlement Agreement in form and substance acceptable to the Parties.

         1.16 “Retroactive Date” means the provision found in Section XI (Sexual Misconduct)
 claims-made coverage of Catholic Mutual Certificate No. 9095 in effect on the Settlement
 Agreement Effective Date and any renewal thereof that eliminates coverage for “Sexual
 Misconduct Claims” and “Interrelated Sexual Misconduct Claims” produced by “Incidents”, as
 those terms are defined in such certificate, which took place in whole or in part prior to a specified
 date, even if the Claim is first made during the certificate period.

        1.17    “Settlement Agreement” means this Settlement Agreement and Release, as
 revised, modified, or amended.

        1.18 “Settlement Agreement Effective Date” means the date on which all conditions
 precedent to this Settlement Agreement identified in Section 3.1 are satisfied.

        1.19 “Settlement Amount” means the sum of $200,000 to be paid to the Trust by
 Catholic Mutual after this Settlement Agreement Effective Date pursuant to Section 3.3.

        1.20   “Solicitation Procedures Motion” means the motion filed in the Chapter 11 Case
 seeking approval of certain solicitation procedures in connection with voting on the Plan.

          1.21      “Unknown Survivor Claimant” means the holder of an Unknown Survivor Claim.

          The Exhibits to this Settlement Agreement include the following:

                    Exhibit A    Catholic Mutual Certificates
                    Exhibit B    Form of Confirmation Order
                    Exhibit C    Form of Survivor Claimant Release

                                           ARTICLE II
                                  THE CHAPTER 11 CASE AND PLAN

          2.1 Approval Motion. Not later than 15 days after the last Party signs this Settlement
 Agreement, the Diocese shall file the Approval Motion in form and substance acceptable to the
 Parties.

            2.1.1        The Diocese shall provide written notice of the Approval Motion to (a) all
          Known Survivor Claimants, (b) counsel for the Committee, (c) all Persons who have filed
          notices of appearance in the Chapter 11 Case, and (d) all Persons known to have provided
          general or professional liability insurance or coverage to the Diocese, the Diocesan
          Associated Parties or the other Protected Parties. The Diocese shall serve the Approval
          Motion on all Persons identified above at the address shown on their proofs of claim or to
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          their counsel of record or, if no proof of claim was filed, then at the address on the
          Diocese’s schedules. The Diocese shall also serve the Approval Motion on the attorney
          for each Known Survivor Claimant (to the extent applicable). To the extent the Diocese
          knows of, or may ascertain after reasonable investigation, the identity of Survivor
          Claimants that are not Known Survivor Claimants, including Unknown Survivor
          Claimants, the Diocese shall serve the Approval Motion on those Survivor Claimants and
          their counsel of record (to the extent applicable). The Diocese shall also serve the Approval
          Motion on any and all co-defendants and their counsel (to the extent of record) in any pre-
          petition litigation brought by Survivor Claimants at the last address shown on any filed
          appearance or, if such co-defendant is proceeding pro se, then to the last address of record
          for such pro se co-defendant.

            2.1.2        If any Person files an objection to the Approval Motion, the Diocese shall
          consult and cooperate with Catholic Mutual and take all reasonable steps to respond to the
          objection and argue in favor of the Approval Motion before the Bankruptcy Court.

            2.1.3        The Diocese shall take all reasonable steps to defend against any appeal,
          petition, motion, or other challenge to the Bankruptcy Court’s entry of the Approval Order.

             2.1.4       Catholic Mutual and the Diocesan Associated Parties shall cooperate with
          the Diocese with respect to the Approval Motion and any proceedings on appeal from entry
          of the Approval Order, including making all appropriate submissions.

         2.2     Plan. The Diocese shall diligently prosecute the confirmation of the Plan, and the
 approval of all exhibits, schedules, and related documents, which shall be in all respects consistent
 with this Settlement Agreement and shall not be amended to deprive Catholic Mutual of any right
 or benefit under this Settlement Agreement or otherwise adversely affect the Interests of Catholic
 Mutual under this Settlement Agreement. The Plan shall include, without limitation, the following
 provisions:

             2.2.1        The Plan shall create a Trust which shall be responsible for making any and
          all payments to Survivor Claimants entitled to receive payments under the Plan. The
          Settlement Amount shall be contributed to the Trust pursuant to the conditions of Sections
          3.1 and 3.3 of this Settlement Agreement.

             2.2.2       The Plan shall provide that, on the Plan Effective Date, the Trust shall
          assume all liability, if any, of the Protected Parties and Catholic Mutual for Channeled
          Claims. The Trust shall have the right and obligation to defend, resolve, and satisfy the
          Survivor Claims with respect to any liability of the Protected Parties and Catholic Mutual
          and shall assume any obligations relating to Medicare Claims. All payment obligations to
          a Survivor Claimant shall be funded from the assets of the Trust, and the Trustee shall be
          the fiduciary and/or administrator as that term is defined in the MMSEA.
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            2.2.3         The Plan shall provide that the Trust shall defend, indemnify, and hold
          harmless the Protected Parties and Catholic Mutual from any Medicare Claims, including
          any reporting and payment obligations and obligations owing or potentially owing under
          MMSEA or MSPA, and any other Medicare Claims arising from the Plan, the Trust
          Documents (as defined in the Plan), and the Plan Documents (as defined in the Plan). The
          Trust shall not be obligated to create a reserve for this potential obligation.

            2.2.4        The Plan shall include the Channeling Injunction in substantially the form
          and substance set forth in Section 12.3 of the Plan, with only such modifications that are
          acceptable to the Parties.

             2.2.5       The Plan shall include that the Trust shall defend, indemnify, and hold
          harmless Catholic Mutual with respect to all Channeled Claims, subject to any limitations
          contained in Section 7.2 of this Settlement Agreement. The Reorganized Debtor shall
          defend, indemnify, and hold harmless Catholic Mutual with respect to any Survivor Claims
          and other claims released under Section 4.1 of this Settlement Agreement, subject to any
          limitations contained in Section 7.2 of this Settlement Agreement.

            2.2.6         The Plan shall include the Supplemental Settling Insurer Injunction in
          substantially the form and substance set forth in Section 12.4 of the Plan, with only such
          modifications that are acceptable to the Parties.

             2.2.7        The Plan shall include Exculpation in substantially the form and substance
          set forth in Section 12.6 of the Plan, with only such modifications that are acceptable to the
          Parties.

             2.2.8       The Plan and Trust agreement shall require each holder of a Survivor Claim
          (including an Unknown Survivor Claim) to execute and deliver a Survivor Claimant
          Release in the form of Exhibit C, with only such modifications that are acceptable to the
          Parties.

             2.2.9       The Plan shall provide for Charles v. Giant Eagle Markets releases in favor
          of the Diocese, the Diocesan Associated Parties, and Catholic Mutual from all holders of
          Survivor Claims as a condition for receiving a payment from the Trust, in form and
          substance satisfactory to the Parties.

           2.2.10         The Plan shall incorporate this Settlement Agreement and the release
          contained in Section 4.1 of this Settlement Agreement by reference and make this
          Settlement Agreement part of the Plan as if set forth fully within the Plan, and shall provide
          that this Settlement Agreement is binding on Catholic Mutual, the Trust, the Diocese, the
          Diocesan Associated Parties, the other Protected Parties, the Reorganized Debtor, the

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          parties in interest in the Chapter 11 Case, and any of the foregoing Persons’ successors and
          assigns.

          2.3       Confirmation Order. The Diocese shall seek and obtain entry of the Confirmation
 Order.

             2.3.1         The Confirmation Order shall be substantially in form and substance as the
          Confirmation Order attached as Exhibit B attached to this Settlement Agreement. For the
          avoidance of doubt, the Confirmation Order shall: (a) approve the Plan pursuant to section
          1129 of the Bankruptcy Code and any other applicable provision of the Bankruptcy Code,
          (b) contain the Channeling Injunction, (c) contain the Supplemental Settling Insurer
          Injunction, (d) approve the Exculpation of Catholic Mutual as a Settling Insurer, (e)
          approve the form of release to be provided by holders of Survivor Claims, and (f) provide
          that this Settlement Agreement is binding on Catholic Mutual, the Trust, the Diocese, the
          Reorganized Debtor, the Diocesan Associated Parties, the other Protected Parties, the
          parties in interest in the Chapter 11 Case, and any of the foregoing Persons’ successors and
          assigns.

             2.3.2       The Plan and the Confirmation Order shall be in all respects consistent with
          this Settlement Agreement and contain no provisions that diminish or impair the benefit of
          this Settlement Agreement to Catholic Mutual.

             2.3.3        In seeking to obtain the Confirmation Order, the Diocese shall (a) seek a
          confirmation hearing on an appropriately timely basis, (b) urge the Bankruptcy Court to
          overrule any objections that would affect the rights and benefits afforded Catholic Mutual
          under this Settlement Agreement and to confirm the Plan, and (c) take all reasonable steps
          to defend against any appeal, petition, motion, or other challenge to the Bankruptcy Court’s
          entry of the Confirmation Order.

             2.3.4        Prior to entry of the Confirmation Order, the Diocese shall oppose any
          motion to lift any stay pursuant to section 362 of the Bankruptcy Code as to any Survivor
          Claim. If the Bankruptcy Court lifts the stay as to any Survivor Claim prior to entry of the
          Confirmation Order, the Diocese shall defend itself against the Survivor Claim and comply
          with the terms of the stay relief order. If the Diocese fails to defend that Survivor Claim,
          then Catholic Mutual shall have the right, but not the duty, to defend and/or indemnify the
          Diocese and its Protected Parties against the Survivor Claim and any fees, expenses and
          costs incurred by Catholic Mutual in such defense and/or indemnity shall be deducted from
          the Settlement Amount. In such event, the Diocese shall cooperate with Catholic Mutual
          in the defense and/or indemnification of such Survivor Claims.

          2.4    Insurance Coverage Adversary Proceeding. The Parties shall cease all litigation
 activities against each other in the Insurance Coverage Adversary Proceeding; provided, however,
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 that each Party may take whatever steps that, in its sole judgment, are necessary to defend its
 interests as long as it remains a party in the Insurance Coverage Adversary Proceeding.

            2.4.1        The Diocese shall use its reasonable efforts to obtain the dismissal of other
          Claims, if any, against Catholic Mutual by any other Insurer in the Insurance Coverage
          Adversary Proceeding.

            2.4.2         The Parties covenant not to sue each other until (a) the Bankruptcy Orders
          become Final Orders, at which time this covenant is superseded by the releases provided
          in Article IV of this Settlement Agreement or (b) the date on which this Settlement
          Agreement is terminated. As of this Settlement Agreement Effective Date, the Protected
          Parties (a) shall withdraw all outstanding tenders of Claims to Catholic Mutual for defense
          and indemnity, (b) shall not tender any Claims to Catholic Mutual, and (c) shall not request
          that Catholic Mutual fund any judgments, settlements, or defense costs.

         2.5     Solicitation Procedures Order. In connection with the filing of the Plan and the
 Disclosure Statement, the Diocese shall file the Solicitation Procedures Motion seeking the entry
 of a Procedures Order that approves (a) the adequacy of the Disclosure Statement, (b) the content
 and form of the confirmation hearing notice, (c) the content and form of the ballots for classes
 eligible to vote under the Plan, (d) the procedures for voting to accept or reject the Plan, (e) the
 voting deadline, (f) the tabulation procedures, and (g) the publication notice and publication
 procedures, in each case in form and substance reasonably satisfactory to Catholic Mutual.

         2.6    Claim Treatment. Catholic Mutual shall have no obligation to pay, handle, object
 to, or otherwise respond to any Claim, unless this Settlement Agreement is terminated under
 Article V. Prior to the entry of the Confirmation Order, the Diocese shall object to any Proof of
 Claim alleged to be covered by a Catholic Mutual Certificate that the Diocese determines to be
 subject to objection under the Bankruptcy Code or applicable law. Catholic Mutual may, but shall
 not be required to join in any such objection by the Diocese or file its own objection to any such
 Claim.

                                    ARTICLE III
           PAYMENT OF THE SETTLEMENT AMOUNT, AMENDMENT OF CERTIFICATE,
            AND DISMISSAL OF INSURANCE COVERAGE ADVERSARY PROCEEDING

         3.1    Conditions Precedent. This Settlement Agreement shall become effective and
 binding on the Parties and Catholic Mutual shall pay the Settlement Amount to the Trust only after
 the following conditions have first been satisfied:

            3.1.1       This Settlement Agreement has been executed by all Parties in form and
          substance acceptable to the Parties;


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            3.1.2      The Bankruptcy Court has entered the Approval Order, granting the
          Approval Motion in its entirety, and the Approval Order becomes a Final Order;

            3.1.3      The Bankruptcy Court has entered the Procedures Order, and the
          Procedures Order becomes a Final Order; and

            3.1.4       The Bankruptcy Court has entered the Confirmation Order, approving the
          Plan consistent with the terms of this Settlement Agreement, including approving the
          Channeling Injunction, Supplemental Settling Insurer Injunction, the Exculpation and the
          form of Survivor Claimant releases in favor of the Protected Parties and Catholic Mutual,
          and the Confirmation Order becomes a Final Order.

        3.2      Notice of this Settlement Agreement Effective Date. Within three days after all of
 the conditions precedent contained in Section 3.1 are satisfied, the Diocese or Reorganized Debtor
 (as applicable) shall provide the Parties with notice of this Settlement Agreement Effective Date.

         3.3     Payment of Settlement Amount. In full and final settlement of all responsibilities
 for any and all Survivor Claims and Direct Action Claims, Catholic Mutual shall pay the
 Settlement Amount to the Trust within 10 days after receiving (i) notice from the Diocese that all
 conditions to the Plan Effective Date other than the payment of the Settlement Amount have been
 satisfied or waived and (ii) directions as to transmission of the payment. Catholic Mutual shall
 have the option to pay the Settlement Amount by check, ACH or wire transfer.

             3.3.1        The Parties agree that the Settlement Amount is the total amount Catholic
          Mutual is obligated to pay on account of (a) any and all Direct Action Claims, Survivor
          Claims and other Channeled Claims that directly or indirectly arise under, arise out of,
          relate to, or are in connection with the Catholic Mutual Certificates, and (b) any and all
          Claims and Interests, whether known or unknown, past, present, or future, that directly or
          indirectly arise under, arise out of, relate to, or are in connection with the Catholic Mutual
          Certificates; provided, however, that this section shall not affect the Preserved Coverage
          and any Claim that directly or indirectly arises out of, relates to, or is in connection with
          the Preserved Coverage.

            3.3.2        The Parties further agree that (a) under no circumstance will Catholic
          Mutual ever be obligated to make any additional payments in excess of the Settlement
          Amount to, or on behalf of, anyone in connection with any and all Direct Action Claims,
          Survivor Claims and other Channeled Claims, and (b) under no circumstance shall Catholic
          Mutual ever be obligated to make any additional payments to, or on behalf of, the Diocese
          or any Diocesan Associated Parties on account of any and all Direct Action Claims,
          Survivor Claims and other Channeled Claims in connection with any coverage under any
          of the Catholic Mutual Certificates, regardless of how the Catholic Mutual Certificates
          identify or describe the limits of liability under the Catholic Mutual Certificates, all such
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          limits, including all per person, per occurrence, per claim, and aggregate limits, shall be
          deemed fully and properly exhausted.

             3.3.3         The Parties agree and jointly represent that (a) the consideration to be
          provided by Catholic Mutual pursuant to this Settlement Agreement (including the
          Settlement Amount and the releases set forth below) constitutes fair and reasonable
          exchanges for consideration granted to Catholic Mutual in this Settlement Agreement and
          (b) the consideration to be provided by the Diocese, the Diocesan Associated Parties and
          their respective Protected Parties pursuant to this Settlement Agreement (including the
          releases set forth below) constitutes a fair and reasonable exchange for the consideration
          granted to the Diocese, the Diocesan Associated Parties and their respective Protected
          Parties in this Settlement Agreement (including the Settlement Amount). Catholic Mutual
          is not acting as a volunteer in paying the Settlement Amount, and Catholic Mutual’s
          payment of the Settlement Amount reflects potential liabilities and obligations to the
          Diocese, the Diocesan Associated Parties and their respective Protected Parties of amounts
          Catholic Mutual allegedly is obligated to pay on account of any and all Claims.

         3.4    Amendment of Current Certificate and Preserved Coverage. Upon the Settlement
 Agreement Effective Date with no further action being required, the Retroactive Date in Catholic
 Mutual Certificate No. 9095 and all renewals thereof is hereby further amended to be the Plan
 Effective Date.

         3.5    Insurance Coverage Adversary Proceeding. Within 10 days after Catholic Mutual
 pays the Settlement Amount to the Trust, the Diocese shall sign and file any necessary papers to
 dismiss the Insurance Coverage Adversary Proceeding as to Catholic Mutual with prejudice and
 with each party to bear its own costs. To the extent any other pending action exists between the
 Parties in connection with the Coverage Disputes, the Diocese shall dismiss those pending actions
 with prejudice and with each party to bear its own costs within 10 days after Catholic Mutual pays
 the Settlement Amount to the Trust.

                                            ARTICLE IV
                                            RELEASES

          4.1    Diocese’s and Diocesan Associated Parties’ Release of Catholic Mutual. Upon
 payment by Catholic Mutual of the Settlement Amount to the Trust, the Diocese and all of the
 Diocesan Associated Parties, for themselves and their respective Protected Parties, hereby fully,
 finally, and completely release, remise, acquit, and forever discharge Catholic Mutual and any of
 its reinsurers or retrocessionaires from any and all past, present, future, known and unknown
 Claims that occurred or may have arisen prior to the Plan Effective Date and that directly or
 indirectly arise out of, relate to, or are in connection with: (a) any and all Direct Action Claims or
 Survivor Claims, or (b) any and all other Channeled Claims; provided, however, that this release

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 shall not affect the Preserved Coverage and any Claim that directly or indirectly arises out of,
 relates to, or is in connection with the Preserved Coverage.

         4.2      Catholic Mutual Release of Diocese and Diocesan Associated Parties. Upon
 payment by Catholic Mutual of the Settlement Amount, Catholic Mutual hereby fully, finally, and
 completely remises, releases, acquits, and forever discharges the Diocese and the Diocesan
 Associated Parties, and their respective Protected Parties, from any and all past, present, future,
 known and unknown Claims that occurred or may have arisen prior to the Plan Effective Date that
 directly or indirectly arise out of, relate to, or are in connection with any of the Catholic Mutual
 Certificates or any other binder, certificate, or policy of insurance issued or allegedly issued by
 Catholic Mutual to the Diocese, and any of the following: (a) any and all Direct Action Claims or
 Survivor Claims, or (b) any and all other Channeled Claims; provided, however, that this release
 shall not affect the obligations of the Diocese and Diocesan Associated Parties under any Catholic
 Mutual Certificate with respect to the Preserved Coverage and any Claim that directly or indirectly
 arises out of, relates to, or is in connection with the Preserved Coverage.

          4.3       General Release Provisions.

             4.3.1       Unless otherwise provided in the Plan, the releases contained in this Article
          IV shall be pursuant to the principles set forth in pursuant to the principles set forth in 42
          Pa. C.S. § 8326 and Charles v. Giant Eagle Markets, 522 A.2d 1, 10 (Pa. 1987). This
          Settlement Agreement in no way releases any Claims held by Survivor Claimants against
          religious orders and all Persons who are not Protected Parties, who will remain severally
          liable on any Claims.

             4.3.2        From and after this Settlement Agreement Effective Date, the Diocese and
          its Protected Parties shall not assert any Claim against Catholic Mutual that directly or
          indirectly arises from, relates to or in connection with the Catholic Mutual Certificates and
          acts, omissions or events occurring prior to the Plan Effective Date, including (a) any and
          all Direct Action Claims or Survivor Claims, or (b) any and all other Channeled Claims;
          provided, however, that this release shall not affect the Preserved Coverage and any Claim
          that directly or indirectly arises out of, relates to, or is in connection with the Preserved
          Coverage.

             4.3.3        From and after this Settlement Agreement Effective Date, the Diocesan
          Associated Parties and their respective Protected Parties shall not assert any Claim against
          Catholic Mutual that directly or indirectly arises from, relates to or in connection with the
          Catholic Mutual Certificates and acts, omissions or events occurring prior to the Plan
          Effective Date, including (a) any and all Direct Action Claims or Survivor Claims, or
          (b) any and all other Channeled Claims; provided, however, that this release shall not affect
          the Preserved Coverage and any Claim that directly or indirectly arises out of, relates to,
          or is in connection with the Preserved Coverage.
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          4.4     Waiver of Surviving Claims. If, contrary to the intent of the Parties, any Claims
 released pursuant to this Article IV of this Settlement Agreement are deemed to survive this
 Settlement Agreement, even though they are encompassed by the terms of the releases set forth in
 this Article IV of this Settlement Agreement, the Parties hereby forever, expressly, and irrevocably
 waive entitlement to and agree not to assert any and all such Claims; provided, however, that such
 waiver shall not affect the Preserved Coverage and any Claim that directly or indirectly arises out
 of, relates to, or is in connection with the Preserved Coverage.

         4.5    Comparative Releases. All of the releases and other benefits provided in this
 Settlement Agreement by the Diocese, the Diocesan Associated Parties and their respective
 Protected Parties to Catholic Mutual are at least as favorable as the releases and other benefits that
 the Diocese has provided to any other one of the Diocese’s insurers in the Chapter 11 Case. If the
 Diocese or the Diocesan Associated Parties enter into any Insurance Settlement Agreement with
 any other Settling Insurer in the Chapter 11 Case that provides that Settling Insurer with releases
 or other benefits that are more favorable than those contained in this Settlement Agreement, then
 this Settlement Agreement shall be deemed to be modified to provide Catholic Mutual with those
 more favorable releases and/or benefits. However, the provision at Section 7.2.1 of this Settlement
 Agreement that the duty to defend, indemnify, and hold harmless Catholic Mutual does not extend
 to, and does not include, claims that are, or may be, made against Catholic Mutual by other Insurers
 shall not be modified. The Diocese shall notify Catholic Mutual promptly of the existence of such
 more favorable releases or benefits.

         4.6     Reinsurance. Neither the releases set forth in this Article IV nor any other
 provisions in this Settlement Agreement are intended to apply to, or have any effect on, Catholic
 Mutual’s right to seek or obtain reinsurance recoveries under any reinsurance treaties, certificates,
 or contracts that cover losses arising under or in connection with the Catholic Mutual Certificates
 or any other binder, certificate, or policy of insurance issued, or allegedly issued, by Catholic
 Mutual. The Diocese and the Diocesan Associated Parties shall undertake all reasonable actions
 and cooperate with Catholic Mutual in connection with its reinsurers.

         4.7     No Release of Settlement Agreement Obligations. This Article IV is not intended
 to, and shall not be construed to, release, waive, relinquish, or otherwise affect the Parties’ rights
 and obligations under this Settlement Agreement.

                                    ARTICLE V
                    TERMINATION OF THIS SETTLEMENT AGREEMENT

        5.1    Termination Conditions. Any of the Parties may terminate its participation in this
 Settlement Agreement prior to this Settlement Agreement Effective Date if any of the following
 conditions occur:

                  5.1.1 The Bankruptcy Orders do not become Final Orders within one year after
          the date on which this Settlement Agreement is executed by all the Parties;
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                   5.1.2 The Diocese files a chapter 11 plan that is inconsistent with this Settlement
          Agreement or fails to object to the confirmation of a chapter 11 plan by another Person,
          that is inconsistent with the terms of this Settlement Agreement or the provisions of the
          Plan referenced herein; or

                   5.1.3 The Bankruptcy Court confirms a plan of reorganization for the Diocese in
          lieu of the Plan that is inconsistent with this Settlement Agreement without the consent of
          Catholic Mutual.

                 5.1.4 The Chapter 11 Case is dismissed or converted to a case under Chapter 7 of
          the Bankruptcy Code.

         5.2     Effect of Termination. Upon termination of this Settlement Agreement by any
 party, this Settlement Agreement shall be null and void and of no force or effect, including the
 releases provided in Article IV of this Settlement Agreement, and the Parties shall retain all of
 their rights, defenses, and obligations with respect to the Catholic Mutual Certificates as if this
 Settlement Agreement never existed. In the event of such termination after Catholic Mutual shall
 have paid the Settlement Amount to the Trust, the Trust shall return the Settlement Amount to
 Catholic Mutual, with accrued interest thereon.

                                      ARTICLE VI
                     REPRESENTATION AND WARRANTIES OF THE PARTIES

        6.1         Representations of All Parties. The Parties separately represent and warrant as
 follows:

                 6.1.1 Each of the Parties has the requisite power and authority to enter into this
          Settlement Agreement and to perform the obligations contemplated by this Settlement
          Agreement, subject only to approval of the Bankruptcy Court in the Chapter 11 Case.

                 6.1.2 This Settlement Agreement has been thoroughly negotiated and analyzed
          by counsel to the Parties and executed and delivered in good faith, pursuant to arm’s length
          negotiations and for value and valuable consideration.

                  6.1.3 The Parties have completed a reasonable search for evidence of any policies
          or certificates issued by Catholic Mutual to the Diocese or the Diocesan Associated Parties
          that would afford coverage with respect to any Survivor Claim. Other than the Catholic
          Mutual Certificates identified in Exhibit A, no such policies or certificates and
          acknowledgements of coverage have been identified. Notwithstanding the foregoing,
          nothing in this Settlement Agreement, including the schedules or exhibits thereto, shall be
          construed as, or deemed to be, an admission or evidence that any binder, certificate, or
          policy was in fact issued and/or affords coverage in connection with the Survivor Claims.


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        6.2   Representations of Diocese and Diocesan Associated Parties. The Diocese and the
 Diocesan Associated Parties each represent and warrant as follows:

                  6.2.1 The Diocese and the Diocesan Associated Parties have not assigned, and
          shall not assign, any Interests in the Catholic Mutual Certificates or any other binder or
          certificate issued by Catholic Mutual.

                  6.2.2 The Diocese and the Diocesan Associated Parties have not in any way
          assisted, and shall not in any way assist, any Person in the establishment of any Claim
          against Catholic Mutual.

                 6.2.3 The Diocese is the owner of the Catholic Mutual Certificates and no other
          Person has legal title to the Catholic Mutual Certificates.

                                        ARTICLE VII
                              ACTIONS INVOLVING THIRD PARTIES

      7.1       Other Insurer Claims. For purposes of supporting the releases granted in Article
 IV and the extinguishment of any and all rights under the Catholic Mutual Certificates, the Diocese
 and Diocesan Associated Parties hereby agree as follows:

                7.1.1     After this Settlement Agreement Effective Date, if any other Insurer of the
          Diocese, the Diocesan Associated Parties or their respective Protected Parties obtains a
          judicial determination or binding arbitration award that it is entitled to obtain a sum certain
          from Catholic Mutual as a result of a claim for contribution, subrogation, indemnification,
          or other similar Claim for Catholic Mutual’s alleged share or equitable share, or to enforce
          subrogation rights, if any, with respect to the defense and/or indemnity obligation of
          Catholic Mutual for any Claims released or resolved pursuant to this Settlement
          Agreement, the Diocese, Diocesan Associated Parties, or Trust, as applicable, shall
          voluntarily reduce its judgment or Claim against, or settlement with, such other insurers to
          the extent necessary to satisfy such contribution, subrogation, indemnification, or other
          Claims against Catholic Mutual. To ensure that such a reduction is accomplished, Catholic
          Mutual shall be entitled to assert this Article VII as a defense to any action or Claim against
          it brought by any other Insurer for any such portion of the judgment or Claim and shall be
          entitled to request that the court or appropriate tribunal issue such orders as are necessary
          to effectuate the reduction to protect Catholic Mutual from any liability for the judgment
          or Claim. Moreover, if an Insurer asserts that it has a Claim for contribution, indemnity,
          subrogation, or similar relief against Catholic Mutual, such Claim may be asserted as a
          defense against a Claim by the Diocese, the Diocesan Associated Parties, or Trust, as
          applicable, in any coverage litigation, and the Diocese, the Diocesan Associated Parties, or
          Trust, as applicable, may assert the legal and equitable rights of Catholic Mutual in
          response thereto. To the extent such a Claim is determined to be valid by the court or
          appropriate tribunal presiding over such action, the liability of such other Insurer to the
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          Diocese, the Diocesan Associated Parties, or Trust, as applicable, shall be reduced dollar
          for dollar by the amount so determined.

               7.1.2       Catholic Mutual shall not seek reimbursement (other than from a reinsurer
          or retrocessionaire, as such) for any payments it was obligated to make under this
          Settlement Agreement under theories of contribution, subrogation, indemnification, or
          similar relief from any other Insurer of the Diocese or Diocesan Associated Parties unless
          that other Insurer first seeks contribution, subrogation, indemnification, or similar relief
          from Catholic Mutual. The Diocese and Diocesan Associated Parties shall use their
          respective reasonable best efforts to obtain from all insurers with which it settles
          agreements similar to those contained in this Article VII.

        7.2      Indemnification. After this Settlement Agreement Effective Date and the Plan
 Effective Date, pursuant to the terms of the Plan, the Trust shall defend, indemnify, and hold
 harmless Catholic Mutual with respect to any and all Channeled Claims. The Reorganized Debtor
 shall defend, indemnify, and hold harmless Catholic Mutual with respect to any and all Channeled
 Claims and Claims released under Section 4.1 of this Settlement Agreement.

                  7.2.1 These indemnification obligations of the Trust and the Reorganized Debtor
          to Catholic Mutual include Survivor Claims made by Persons over whom the Diocese or
          Diocesan Associated Parties do not have control, including any other Person who asserts
          Survivor Claims against or rights to coverage under the Catholic Mutual Certificates. The
          obligation of the Trust or Reorganized Debtor to indemnify Catholic Mutual shall not
          exceed the Settlement Amount. The duty to defend, indemnify, and hold harmless Catholic
          Mutual does not extend to, or include Contribution Claims that are, or may be, made against
          Catholic Mutual by other Insurers.

                  7.2.2 Catholic Mutual may, but is not obligated to, undertake the defense of any
          Claim upon receipt of such Claim without affecting such indemnification obligations.
          Catholic Mutual agrees to notify the Trust or Reorganized Debtor, as applicable, as soon
          as practicable of any Claims identified in Section 7.2 of this Settlement Agreement and of
          their choice of counsel. Catholic Mutual’s defense of any Claims shall have no effect on
          the obligation of the Trust, the Reorganized Debtor or the Diocesan Associated Parties, as
          applicable, to indemnify Catholic Mutual for such Claims and defense fees, costs and
          expenses, as set forth in Section 7.2 of this Settlement Agreement.

                  7.2.3 The Trust or Reorganized Debtor, as applicable, subject to the limitations
          above regarding the maximum amounts the Trust or Reorganized Debtor must pay, shall
          reimburse all reasonable attorneys’ fees, expenses, costs, and amounts incurred by Catholic
          Mutual in defending such Claims. In defense of any such Claims, Catholic Mutual may
          settle or otherwise resolve a Claim only with the prior consent of the Trust or Reorganized
          Debtor, as applicable, which consent shall not be unreasonably withheld. To the extent
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          Section 7.2 of this Settlement Agreement may give rise to pre-Plan Effective Date
          administrative claims which have not been provided for in the Plan, such claims shall pass
          through the Plan unimpaired.

      7.3       Stay of Prosecution of Channeled Claim. If any Person attempts to prosecute a
 Channeled Claim against Catholic Mutual before this Settlement Agreement Effective Date, then
 promptly following notice to do so from Catholic Mutual, the Diocese shall file a motion and
 supporting papers to obtain an order from the Bankruptcy Court, pursuant to sections 362 and
 105(a) of the Bankruptcy Code, protecting Catholic Mutual from any such Claims until the
 Bankruptcy Orders become Final Orders or, alternatively, this Settlement Agreement is terminated
 under Article V of this Settlement Agreement.

                                          ARTICLE VIII
                                        MISCELLANEOUS

         8.1     If any proceedings are commenced to invalidate or prevent the enforcement or
 implementation of any of the provisions of this Settlement Agreement, the Parties agree to
 cooperate fully to oppose such proceedings. In the event that any action or proceeding of any type
 whatsoever is commenced or prosecuted, by any Person not a Party to this Settlement Agreement,
 to invalidate, interpret, or prevent the validation or enforcement of all or any of the provisions of
 this Settlement Agreement, the Parties mutually agree, represent, warrant, and covenant to
 cooperate fully in opposing such action or proceeding.

        8.2      The Parties shall take such steps and execute any documents as may be reasonably
 necessary or proper to effectuate the purpose and intent of this Settlement Agreement and to
 preserve its validity and enforceability.

        8.3     The Parties shall cooperate with each other in connection with the Approval
 Motion, the Approval Order, the Plan, the Confirmation Order, the Procedures Order, and the
 Chapter 11 Case. Such cooperation shall include consulting with each other upon reasonable
 request concerning the status of proceedings and providing each other with copies of reasonably
 requested pleadings, notices, proposed orders, and other documents relating to such proceedings
 as soon as reasonably practicable prior to any submission thereof to the Bankruptcy Court.

        8.4     This Settlement Agreement constitutes a single integrated written contract that
 expresses the entire agreement and understanding between and among the Parties.

         8.5     This Settlement Agreement may be modified only by written amendment signed by
 the Parties, and no waiver of any provision of this Settlement Agreement or of a breach thereof
 shall be effective unless expressed in a writing signed by the waiving Party. The waiver by any
 Party of any of the provisions of this Settlement Agreement or of the breach thereof shall not
 operate or be construed as a waiver of any other provision or breach.

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         8.6     By entering into this Settlement Agreement, none of the Parties has waived or shall
 be deemed to have waived any rights, obligations, or positions they have asserted or may in the
 future assert in connection with any matter outside the scope of this Settlement Agreement. No
 part of this Settlement Agreement, its negotiation, or its performance may be used in any manner
 in any action, suit, or proceeding as evidence of the rights, duties, or obligations of the Parties with
 respect to matters outside the scope of this Settlement Agreement. All actions taken and statements
 made by the Parties or by their representatives relating to this Settlement Agreement or
 participation in this Settlement Agreement, including its development and implementation, shall
 be without prejudice or value as precedent and shall not be used as a standard by which other
 matters may be judged.

          8.7     This Settlement Agreement represents a compromise of disputed Claims and shall
 not be deemed an admission or concession of liability, culpability, wrongdoing, or coverage. All
 related discussions, negotiations, and all prior drafts of this Settlement Agreement shall be deemed
 to fall within the protection afforded to compromises and to offers to compromise by Rule 408 of
 the Federal Rules of Evidence and any parallel state law provisions. Any evidence of the
 negotiations or discussions associated with this Settlement Agreement shall be inadmissible in any
 action or proceeding for purposes of establishing any rights, duties, or obligations of the Parties,
 except that they shall be admissible to the extent they would have otherwise been admissible,
 absent this Section 8.7, in (a) an action or proceeding to enforce the terms of this Settlement
 Agreement, including any use as set forth in Article VII or (b) any possible action or proceeding
 between Catholic Mutual and any of its reinsurers. This Settlement Agreement shall not be used
 as evidence or in any other manner, in any court or dispute resolution proceeding, to create, prove,
 or interpret Catholic Mutual’s obligations under any of the Catholic Mutual Certificates or any
 other binder or certificate of coverage or any acknowledgement of coverage issued by Catholic
 Mutual with respect to any Claims against Catholic Mutual.

         8.8     None of the Parties shall make any public statements or disclosures (a) regarding
 each other’s rationale or motivation for negotiating or entering into this Settlement Agreement or
 (b) asserting or implying in any way that the Parties acted improperly or in violation of any duty
 or obligation, express or implied, in connection with any matter arising out of, relating to, or in
 connection with the Catholic Mutual Certificates or any other binder or certificate of coverage
 issued by Catholic Mutual, including handling of, or involvement in connection with, the Survivor
 Claims or Direct Action Claims or the resolution of the Survivor Claims or Direct Action Claims.

        8.9    Neither this Settlement Agreement nor the rights and obligations set forth in this
 Settlement Agreement shall be assigned without the prior written consent of the other Parties.

        8.10 The Parties have received the advice of counsel in the preparation, drafting, and
 execution of this Settlement Agreement, which was negotiated at arm’s length.


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        8.11 Section titles and/or headings contained in this Settlement Agreement are included
 only for ease of reference and shall have no substantive effect.

        8.12 All notices, demands, or other communication to be provided pursuant to this
 Settlement Agreement shall be in writing and sent by e-mail and Federal Express or other overnight
 delivery service, costs prepaid, to the Parties at the addresses set forth below, or to such other
 person or address as any of them may designate in writing from time to time:

          If to the Diocese or the Reorganized Debtor (as applicable) or the Diocesan Associated
          Parties:

          Roman Catholic Diocese of Harrisburg
          Attn: Vicar General
          4800 Union Deposit Road
          Harrisburg, Pennsylvania 17111

          with a copy to:

          Waller Lansden Dortch & Davis, LLP
          Attn: Blake D. Roth & Tyler N. Layne
          511 Union Street, Suite 2700
          Nashville, Tennessee 37219
          blake.roth@wallerlaw.com
          tyler.layne@wallerlaw.com

          -and-

          Kleinbard LLC
          Attn: Matthew H. Haverstick & Joshua J. Voss
          Three Logan Square
          1717 Arch Street, 5th Floor
          Philadelphia, Pennsylvania 19103
          mhaverstick@kleinbard.com
          jvoss@kleinbard.com

          If to Catholic Mutual:

          Michael Lee
          Catholic Mutual Group
          Director of Specialty Claims
          10843 Old Mill Road
          Omaha, NE 68154
          mlee@catholicmutual.org

          with a copy to:

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          Everett J. Cygal
          Schiff Hardin LLP
          233 S. Wacker Drive, Suite 6600
          Chicago, IL 60606
          ecygal@schiffhardin.com

        8.13 This Settlement Agreement may be executed in multiple counterparts, all of which
 together shall constitute one and the same instrument. This Settlement Agreement may be
 executed and delivered by facsimile or other electronic image, which facsimile or other electronic
 image counterparts shall be deemed to be originals.

         8.14 Nothing contained in this Settlement Agreement shall be deemed or construed to
 constitute (a) an admission by Catholic Mutual that the Diocese, Diocesan Associated Parties, or
 any other Person was or is entitled to any coverage under the Catholic Mutual Certificates or any
 other binder or certificate of coverage issued or allegedly issued by Catholic Mutual or as to the
 validity of any of the positions that have been or could have been asserted by the Diocese or
 Diocesan Associated Parties, (b) an admission by the Diocese or Diocesan Associated Parties as
 to the validity of any of the positions or defenses to coverage that have been or could have been
 asserted by Catholic Mutual or any Claims that have been or could have been asserted by the
 Diocese or Diocesan Associated Parties against Catholic Mutual, or (c) an admission by the
 Diocese, Diocesan Associated Parties, or Catholic Mutual of any liability whatsoever with respect
 to any of the Survivor Claims.

         8.15 All of the Persons included in the definition of Catholic Mutual, Protected Parties,
 and the Trust and Trustee are intended beneficiaries of this Settlement Agreement. Except as set
 forth in the preceding sentence or otherwise set forth in this Settlement Agreement, there are no
 third-party beneficiaries of this Settlement Agreement.

        8.16 The Diocese, Diocesan Associated Parties, and Catholic Mutual shall be
 responsible for their own fees and costs incurred in connection with the Chapter 11 Case, this
 Settlement Agreement, and the implementation of this Settlement Agreement.

          8.17      The following rules of construction shall apply to this Settlement Agreement:

           8.17.1        Unless the context of this Settlement Agreement otherwise requires: (a)
          words of any gender include each gender, (b) words using the singular or plural number
          also include the plural or singular number, respectively, (c) the terms “hereof,” “herein,”
          “hereby,” and derivative or similar words refer to this entire Settlement Agreement, and
          (d) the words “include”, “includes,” or “including” shall be deemed to be followed by the
          words “without limitation.”

           8.17.2       References to statutes shall include all regulations promulgated thereunder
          and references to statutes or regulations shall be construed as including all statutory and

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          regulatory provisions regardless of whether specifically referenced in this Settlement
          Agreement.

           8.17.3         The wording of this Settlement Agreement was reviewed by legal counsel
          for each of the Parties and each of them had sufficient opportunity to propose and negotiate
          changes prior to its execution. The wording of this Settlement Agreement shall not be
          construed in favor of or against any Party.

           8.17.4         The use of the terms “intend”, “intended,” or “intent,” when describing the
          intention of the Parties, as the case may be, shall not be construed to create a breach of this
          Settlement Agreement when the stated intent is not achieved.

           8.17.5        Requirements that the form of motions, orders, and other pleadings be
          acceptable to all or some of the Parties shall include the requirement that such acceptances
          shall not be unreasonably withheld.

        8.18 The Bankruptcy Court in the Chapter 11 Case shall retain jurisdiction to interpret
 and enforce the provisions of this Settlement Agreement, which shall be construed in accordance
 with Pennsylvania law.

         8.19 This Settlement Agreement and the obligations under this Settlement Agreement
 shall be binding on the Parties and shall survive the entry of the Confirmation Order unless this
 Settlement Agreement is terminated pursuant to Article V of this Settlement Agreement.

         8.20 This Settlement Agreement shall be effective on this Settlement Agreement
 Effective Date.




                                        [Signature Pages Follow]




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       IN WITNESS WHEREOF, the undersigned Party has duly executed this Settlement
 Agreement as of the date indicated below.

                                                   The Catholic Mutual Relief Society of America



                                                   By:

                                                   Its:

                                                   Date:



                                                   Witness:




                                 [Signature Pages Continue on Following Pages]




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       IN WITNESS WHEREOF, the undersigned Party has duly executed this Settlement
 Agreement as of the date indicated below.

                                       The Roman Catholic Diocese of Harrisburg



                                       By:

                                       Its:

                                       Date:



                                       Witness:




                     [Signature Pages Continue on Following Pages]




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       IN WITNESS WHEREOF, the undersigned Party has duly executed this Settlement
 Agreement as of the date indicated below.

                                      [Diocesan Associated Party Name]



                                      By:

                                      Its:

                                      Date:



                                      Witness:




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                          Exhibit A– Catholic Mutual Certificate

 Certficiate No. 9095, commencing July 25, 2011 with annual renewals thereafter




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                     Exhibit B – Form of Confirmation Order




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                                              Exhibit C
                                       Survivor Claimant Release

         This Survivor Claimant Release (the “Release”) is executed this ___ day of
 _________________, 20__, by ___________________________________________ in connection
 with the Joint Chapter 11 Plan of Reorganization for the Roman Catholic Diocese of Harrisburg,
 dated [__], 2022 (the “Plan”), filed by the Roman Catholic Diocese of Harrisburg (the “Debtor”) and
 Official Committee of Tort Claimants in the Debtor’s chapter 11 case pending before the United
 States Bankruptcy Court for the Middle District of Pennsylvania (the “Bankruptcy Court”), which is
 docketed as case number 1:20-bk-00599 (HWV) (the “Chapter 11 Case”), and the receipt of
 distributions from the Settlement Trust, which is known as the Roman Catholic Diocese of
 Harrisburg Settlement Trust, as compensation for Survivor Claims.

       TO BE ENTITLED TO RECEIVE ANY COMPENSATION UNDER THE PLAN,
                   YOU MUST EXECUTE AND DELIVER THIS RELEASE.

         1.      All capitalized terms in this Release are defined in the Plan and have the meanings
 stated in the Plan.

        2.      In consideration of the treatment under the Plan and the Trust Distribution Plan,
 and other valuable consideration, I, for myself and my heirs, successors, assigns, agents, and
 representatives:

                  a.      fully, finally, and completely release, remise, acquit, and forever discharge
          the Settling Insurers from any and all past, present and future Claims that, directly or
          indirectly, arise out of, relate to, or are connected with the (i) Survivor Claims; (ii)
          Contribution Claims; (iii) Direct Action Claims; (iv) Extra-Contractual Claims; (v) Settling
          Insurer Policies; (vi) Indirect Claims, and (vii) all Claims that, directly or indirectly, arise
          from, relate to, or are connected with the Debtor’s Chapter 11 case.

                 b.      fully, finally, and completely release, remise, acquit, and forever discharge
          the Protected Parties with respect to their portion or share of liability for my Claims.

                  c.       With respect to any Claims that are released under paragraph 2(a) or
          paragraph 2(b) of this release, I covenant (i) not to sue or seek recovery or relief of any
          kind from the Protected Parties or Settling Insurers; (ii) to forever and irrevocably
          discharge that fraction, portion or percentage of damages I claim to have suffered in
          connection with the Abuse which is by trial or other disposition determined to be the causal
          fault or responsibility, if any, of any Protected Party with respect to released Survivor
          Claims; (iii) to voluntarily reduce any judgment that I may ever obtain against any Person
          relating to the same Abuse at issue in the released Survivor Claims and Direct Action
          Claims in an amount reflecting that fraction, portion or percentage of damage or injury that
          I suffered due to the causal fault or responsibility, if any, of any Protected Party; (iv) that
          filing of this Release with any court by any Protected Party will satisfy that fraction, portion
          or percentage of any judgment that may be rendered in my favor attributable to any
          Protected Party’s causal fault or responsibility relating to the Abuse at issue in the released
          Survivor Claims and Direct Action Claims; (v) that I will not seek a reallocation of the



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          causal fault or causal responsibility of any Protected Party to any other Person, whether
          assessed by reason of judgment or settlement, relating to the Abuse at issue in the released
          Survivor Claims and Direct Action Claims; and (vi) I understand the Plan extinguishes any
          potential liability of any Protected Party for contribution or indemnity to any Person who
          may be held liable to me for any released Survivor Claim or Direct Action Claim.

         3.      I have been provided with copies of the Disclosure Statement, the Plan, and the
 exhibits thereto and have been given an opportunity to review such documents and to consult
 with counsel of my choice regarding those documents and this Release.

         4.      I expressly reserve and retain my rights to recover from any Person for liability
 for any Abuse except as provided in this Release and do not intend that payment by the Trust
 constitutes full compensation for the damage alleged in my Survivor Claim(s) and Direct
 Action Claim(s).

        5.      I understand and agree that any payment by the Trust to me does not constitute
 an admission of liability of any kind or nature by the Trust, any Settling Insurer, or any
 Protected Party.

        6.      I consent to, and agree to be bound by, the injunctions set forth in the Plan,
 including those injunctions contained in Article XII for the benefit of the Settling Insurers and
 Protected Parties. I also approve of the Insurance Settlement Agreements referenced in and
 incorporated into the Plan.

        7.      I understand that payment from the Trust constitutes damages on account of
 personal physical injuries or sickness arising from an occurrence within the meaning of section
 104(a)(2) of the Internal Revenue Code of 1986, as amended.

         8.     I represent and warrant that I have not assigned or otherwise transferred any
 interest in my Survivor Claim(s) and Direct Action Claim(s).

         9.     I hereby authorize the Center for Medicare & Medicaid Services (“CMS”) and
 its agents and/or contractors to release, upon request, information related to my injury/illness
 and/or settlement since my date of birth to the Trust and/or its agents. I understand that I may
 revoke this “consent to release information” at any time, in writing. I consent to the release of
 information relating to my lifetime Medicare entitlement from the Social Security
 Administration and CMS to the Trustee and all other professionals retained by the Trust, and
 further authorize the Trustee and other Trust professionals to execute on my behalf any
 requests, including consents for release of information, for information relating to my
 Medicare entitlement and any obligations owing or potentially owing under the Medicare
 Secondary Payer Statute relating to my Survivor Claim(s), from the Social Security
 Administration and CMS. I affirm that I am the individual to whom the requested information
 or record applies or the authorized representative of the individual’s estate. I declare under
 penalty of perjury (28 CFR § 16.41(d)(2004)) that I have examined all the information on this
 form and it is true and correct to the best of my knowledge. I understand that anyone who
 knowingly or willfully seeks or obtains access to records about another person under false
 pretenses is punishable by a fine of up to $5,000.


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        10.     This Release shall be binding upon my successors, heirs, assigns, agents, and
 representatives.

                                   TO BE COMPLETED BY SURVIVOR CLAIMANT OR
                                   AUTHORIZED REPRESENTATIVE OF SURVIVOR
                                   CLAIMANT’S ESTATE:



                                   Name of Survivor Claimant:
                                   By:
                                   Signature:
                                   Dated:
                                   Claim Number(s):
                                   Social Security Number:
                                   Date of Birth:



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                                   EXHIBIT D

                         INTERSTATE SETTLEMENT AGREEMENT




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                         SETTLEMENT AGREEMENT AND RELEASE

         This Settlement Agreement and Release (hereinafter the “Agreement”) is made this ____
 day of ____, 2023, by and between the Diocese of Harrisburg (“DOH”)1 and the other “DOH
 Entities” and Interstate Fire & Casualty Company (“Interstate”). (The aforementioned parties
 are referred to hereinafter collectively as the “Parties” or individually as a “Party”).

                                      WITNESSETH THAT:

 WHEREAS, certain “Persons”, alleging injuries from “Abuse”, asserted “Survivor Claims”
 against certain DOH Entities;

 WHEREAS, certain DOH Entities incurred, and may incur in the future, liabilities, expenses, and
 losses arising out of the Survivor Claims;

 WHEREAS, Interstate issued several “Subject Insurance Policies”, allegedly providing
 insurance to the DOH Entities;

 WHEREAS, the Subject Insurance Policies listed on Attachment A are property of DOH’s
 bankruptcy estate;

 WHEREAS, certain DOH Entities tendered “Coverage Claims” to Interstate to seek insurance
 coverage for the Survivor Claims;

 WHEREAS, Interstate disputes the Coverage Claims;

 WHEREAS, to address potential liabilities arising out of the Survivor Claims, on the “Petition
 Date,” DOH filed the “Bankruptcy Case” in the “Bankruptcy Court”;

 WHEREAS, on February 19, 2020, DOH filed the “Insurance Coverage Adversary
 Proceeding,” as an adversary proceeding in the Bankruptcy Court, and thereafter on February 27,
 2020, DOH filed an amended complaint in the Insurance Coverage Adversary Proceeding;

 WHEREAS, Interstate, which DOH named as a defendant in the amended complaint in the
 Insurance Coverage Adversary Proceeding, disputes the substantive allegations and Coverage
 Claims DOH asserted against them in the Insurance Coverage Adversary Proceeding;

 WHEREAS, on April 2, 2020, DOH filed the “Mediation Request”;

 WHEREAS, the Bankruptcy Court (i) entered the “Mediation Order” approving the Mediation
 Request, appointing the “Mediator”; and (ii) ordered the “Mediation Parties” to mediate the
 Survivor Claims and the Coverage Claims;

 WHEREAS, pursuant to the Bankruptcy Court’s order, no defendant filed an Answer or otherwise
 responded in the Insurance Coverage Adversary Proceeding;

 1
          Terms in bold, inside quotation marks, are defined in Section 1, Definitions.



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 WHEREAS, whether or not it (i) was subject to the Survivor Claims; or (ii) asserted Coverage
 Claims against Interstate, the DOH Entities are settling with and releasing “Interstate” pursuant
 to this Agreement;

 WHEREAS, it is the intention of the Parties that the DOH Entities shall sell, assign, and transfer
 the Subject Insurance Policies to Interstate, and Interstate shall buy back the Subject Insurance
 Policies and pay the “Settlement Amount” to the “Trust”, which shall be administered and
 distributed as provided in the “Plan”, the “Trust Agreement”, and the “Trust Distribution
 Plan”, including to make payments to the “Channeled Claimants”;

 WHEREAS, it is the intention of the Parties that any and all “Interests” in or to the Subject
 Insurance Policies be extinguished, ended, and forever terminated;

 WHEREAS, it is the intention of the Parties that (i) the DOH Entities shall (a) not retain any right,
 title, or Interest in or to the “Subject Insurance Policies”; and (b) release Interstate from all
 “Released Claims”; and (ii) Interstate shall not have any remaining duty or obligation of any
 nature whatsoever to any DOH Entity;

 WHEREAS, DOH agrees to use commercially reasonable efforts to obtain the Supplemental
 Settling Insurer Injunction for the benefit of the “Settling Insurers,” pursuant to the “Plan”; and

 WHEREAS, subject to the Court entering the orders contemplated by this Agreement, upon the
 Trust’s receipt of the Settlement Amount, Interstate will be protected by the “Supplemental
 Settling Insurer Injunction” and the “Channeling Injunction”;

 WHEREAS, by this Agreement, the Parties intend to adopt, by way of compromise, and without
 prejudice to or waiver of their respective positions in other matters, without further trial or
 adjudication of any issues of fact or law, and without Interstate’s admission of liability or
 responsibility under the Subject Insurance Policies, a full and final settlement that releases and
 terminates all Interests of Interstate and the DOH Entities, with respect to the Subject Insurance
 Policies, including all rights, obligations, and liabilities relating to the “Barred Claims” and the
 “Enjoined Claims,” without prejudice to their respective positions on policy wordings or any
 other issues relating to the Insurance Coverage Adversary Proceeding, the Coverage Claims, or
 otherwise.

                                         AGREEMENTS:

 NOW, THEREFORE, in full consideration of the foregoing and of the mutual agreements herein
 contained, and intending to be legally bound, the Parties agree as follows:

 1.       Definitions

         The following definitions and the definitions used above apply to this Agreement as well
 as any exhibits or attachments hereto. Where the listed terms are further defined in the body of
 this Agreement, the definitions listed here nonetheless apply and shall serve to further explain the
 meaning of those terms. Each defined term stated in a singular form shall include the plural form,
 each defined term stated in plural form shall include the singular form, and each defined term
 stated in the masculine form or in the feminine form shall include the other. The words “include,”
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 “includes,” or “including” shall be deemed to be followed by the words “without limitation,” and
 the phrase “relating to” means “with regard to, by reason of, based on, arising out of, relating to,
 or in any way connected with.” (The words “include,” “includes,” and “including,” and the phrase
 “relating to” are not capitalized herein.) This Agreement incorporates all attachments hereto to
 the same extent as if fully set forth herein. All references to “Sections” are references to sections
 of this Agreement unless otherwise specified.

          a.        Abuse

         The term “Abuse” means any (i) actual, alleged, or threatened, sexual conduct,
 misbehavior, misconduct, abuse, or molestation, including “Sexual Abuse” as defined in 42
 Pa.C.S. § 5533(b)(2)(ii); (ii) any sexual offense as laid out in Chapter 31 of Title 18 of the
 Pennsylvania Statutes; (iii) any other sexually related act, contact, or interaction, indecent assault
 and/or battery, rape, indecent or lascivious behavior, undue familiarity, harassment, pedophilia, or
 ephebophilia; (iv) act that causes or allegedly causes sexually-related physical, psychological, or
 emotional harm, or any other contacts or interactions of a sexual nature, including any such
 contacts or interactions between a child and an adult, or a non-consenting adult and another adult;
 (v) contacts or interactions of a sexual nature; or (vi) assault, battery, corporal punishment, or other
 act of physical, psychological, or emotional abuse, humiliation, or intimidation.. Abuse may occur
 whether or not this activity involves explicit force, whether or not it involves genital or other
 physical contact, and whether or not there is physical, psychological, or emotional harm to the
 person.

          b.        Action

         The term “Action” means any lawsuit, proceeding, or other action in a court, or any
 arbitration.

          c.        Affiliates

        The term “Affiliates” means all past, present, and future Persons that control, are controlled
 by, or are under control with, another Person, including parents, subsidiaries, merged Persons,
 holding Persons, and acquired Persons, or any predecessor to such Person.

          d.        Agents

        The term “Agents” means all past and present employees, officers, directors, agents,
 shareholders, principals, teachers, staff, members, boards, administrators, priests, deacons,
 brothers, sisters, nuns, other clergy, Persons bound by monastic vows, volunteers, attorneys, claims
 handling administrators, and representatives of a Person, in their capacities as such.

          e.        Approval Order

        The term “Approval Order” means an order entered by the Court, upon a hearing
 following Bankruptcy Notice, containing all of the following provisions but no provision that is
 contrary to or inconsistent with the following provisions. The wording of the Approval Order shall
 be mutually acceptable to DOH and Interstate. The Approval Order shall contain provisions:

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           (i)    finding that due and adequate notice of DOH’s request for approval of this
           Agreement has been provided to all creditors and parties in interest in the Bankruptcy Case,
           including by finding that the Bankruptcy Notice described in Section 1.i. of this Agreement
           is reasonable and provides due process to all potential known and unknown holders of
           Claims;

           (ii) approving this Agreement in its entirety, pursuant to Bankruptcy Code §§ 363(b),
           (f), and (m) and, if applicable, 105(a), and Bankruptcy Rules 6004 and 9019;

           (iii) authorizing, subject to the occurrence of the Settlement Payment Date, the sale of
           the Subject Insurance Policies to Interstate, free and clear of all Interests of all Persons,
           with all Interests in and to, and Claims against, the Subject Insurance Policies being fully
           extinguished without reservation as to the Settling Insurers;

           (iv) ordering that, as of the date the Trust receives the Settlement Amount, all Claims
           against, and Interests in and to, the Subject Insurance Policies be fully extinguished without
           reservation as to Interstate and the DOH Entities;

           (v) ordering that, as of the date the Trust receives the Settlement Amount, all Barred
           Claims and other Interests that any Person, including CMS (as defined herein), might have
           in, or against, the Subject Insurance Policies, attach to the Settlement Amount;

           (vi) authorizing and directing the Parties to perform their respective obligations under
           this Agreement; and

           (vii) issuing the Bar Order, subject to, and effective upon, the occurrence of the
           Settlement Payment Date.

        The Approval Order shall be accompanied by the separately entered Settlement Approval
 Findings and Conclusions.

           f.       Bankruptcy Case

        The term “Bankruptcy Case” means the bankruptcy case filed by DOH in the Bankruptcy
 Court, entitled In re the Diocese of Harrisburg, Case Number 20-00599-HWV.

           g.       Bankruptcy Code

           The term “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. § 101,
 et seq.

           h.       Bankruptcy Court

         The term “Bankruptcy Court” means the United States Bankruptcy Court for the Middle
 District of Pennsylvania.




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          i.        Bankruptcy Notice

          The term “Bankruptcy Notice” means notice as required under Bankruptcy Rules 2002,
 6004(a), and (c), and applicable local rules, sent to (i) all holders of Claims against the DOH
 Entities, including Survivor Claims, or their attorneys, if any, who are known to the DOH Entities;
 (ii) the Official Committee of Unsecured Creditors; (iii) the “Unknown Claims Representative”
 (once appointed by the Court); (iv) all insurers of the DOH Entities that provide coverage for or
 are alleged to provide coverage for Survivor Claims; (v) the Secretary of the Department of Health
 and Human Services; (vi) CMS; (vii) the United States Attorney for the Middle District of
 Pennsylvania; (viii) all Persons who, in the opinion of any Party to this Agreement, might
 reasonably be expected to be affected by the transactions contemplated herein; and (ix) all other
 Persons as directed by the Court. Notice shall also be given by publication (a) in the national
 editions of (i) USA Today; (ii) National Catholic Reporter; and (iii) The National Catholic
 Register; and (b) locally in (i) The Catholic Witness; (ii) Gettysburg Times; (iii) Press Enterprise;
 (iv) The Sentinel; (v) Patriot-News; (vi) Public Opinion; (vii) LNP-Lancaster Online; (viii)
 Lebanon Daily News; (ix) The Sentinel; (x) The Daily Item; (xi) Perry County Times; and (xiv)
 York Daily Record, or as the Court may otherwise direct.

          j.        Bankruptcy Rules

       The term “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as may
 be amended from time to time.

          k.        Bar Order

         The term “Bar Order” means an order, which shall automatically become effective on the
 Settlement Payment Date, barring, estopping, and permanently enjoining all Persons from
 asserting any Barred Claims against Interstate.

          l.        Business Day

         The term “Business Day” means any day that is not a Saturday, Sunday, or legal holiday
 in the State of Pennsylvania.

          m.        Channeling Injunction

        The term “Channeling Injunction” means an order of the Court, effective as of the date
 the Trust receives the Settlement Amount, requiring all Channeled Claimants to assert their
 Channeled Claims against the Trust, which states, verbatim:

                 Channeling Injunction Preventing Prosecution of Channeled Claims Against
          Protected Parties and Settling Insurers.

                 In consideration of the undertakings of the Protected Parties and the Settling
          Insurers under the Plan, their contributions to the Trust, and other consideration,
          and pursuant to their respective settlements with the Debtor, and to further preserve
          and promote the agreements between and among the Protected Parties and Settling
          Insurers, and to supplement where necessary the injunctive effect of the discharge as
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          provided in sections 524 and 1141 of the Bankruptcy Code, and pursuant to sections
          105 and 363 of the Bankruptcy Code:

                 a. any and all Channeled Claims are channeled into the Trust and shall be
          treated, administered, determined, and resolved under the procedures and protocols
          and in the amounts established under the Plan and the Trust Agreement as the sole
          and exclusive remedy for all holders of Channeled Claims;

                 b. any and all Persons who have held or asserted, hold or assert, or may in the
          future hold or assert any Channeled Claims are hereby permanently stayed, enjoined,
          barred, and restrained from taking any action, directly or indirectly, for the purposes
          of asserting, enforcing, or attempting to assert or enforce any Channeled Claim
          against the Protected Parties or Settling Insurers, including:

                           (i). commencing or continuing in any manner any action or other
                    proceeding of any kind with respect to any Channeled Claim against any of
                    the Protected Parties or the Settling Insurers or against the property of any of
                    the Protected Parties or Settling Insurers;

                           (ii). enforcing, attaching, collecting or recovering, or seeking to
                    accomplish any of the preceding, by any manner or means, from any of the
                    Protected Parties or Settling Insurers, or the property of any of the Protected
                    Parties or Settling Insurers, any judgment, award, decree, or order with
                    respect to any Channeled Claim against any of the Protected Parties or the
                    Settling Insurers;

                           (iii). creating, perfecting, or enforcing, or seeking to accomplish any of
                    the preceding, any lien of any kind relating to any Channeled Claim against
                    any of the Protected Parties or Settling Insurers, or the property of the
                    Protected Parties or Settling Insurers;

                           (iv). asserting, implementing, or effectuating, any Channeled Claim of
                    any kind against: (A) any obligation due any of the Protected Parties or
                    Settling Insurers; (B) any of the Protected Parties or Settling Insurers; or (c)
                    the property of any of the Protected Parties or Settling Insurers;

                           (v). taking any act, in any manner, in any place whatsoever, that does
                    not conform to, or comply with, the provisions of the Plan; or

                           (vi). asserting or accomplishing any setoff, right of indemnity,
                    subrogation, contribution, or recoupment of any kind against an obligation
                    due to any of the Protected Parties, the Settling Insurers, or the property of
                    the Protected Parties or Settling Insurers.

                 The Channeling Injunction is an integral part of the Plan and is essential to
          the Plan’s consummation and implementation. It is intended that the channeling of
          the Channeled Claims provided in this section shall inure to the benefit of the
          Protected Parties and Settling Insurers. The Channeling Injunction will become
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          effective with respect to each applicable Settling Insurer as of the date that the Trust
          receives the Settlement Amount pursuant to the terms of the applicable Insurance
          Settlement Agreement. In a successful Action to enforce the injunctive provisions of
          this Section 12.3 in response to a willful violation thereof, the moving party shall be
          entitled to recover all costs and expenses incurred, including reasonable attorneys’
          fees, from the non-moving party, and such other legal or equitable remedies as are
          just and proper, after notice and a hearing.

          n.        Claim

         The term “Claim” means (a) a claim as that term is defined in § 101(5) of the Bankruptcy
 Code; or (b) any claim, interest, Action, assertion of right, complaint, cross-complaint,
 counterclaim, liabilities, obligations, rights, request, allegation, mediation, litigation, direct action,
 administrative proceeding, cause of action, lien, encumbrances, indemnity, equitable indemnity,
 right of subrogation, equitable subrogation, defense, injunctive relief, controversy, contribution,
 exoneration, covenant, agreement, promise, act, omission, trespass, variance, damages, judgment,
 compensation, set-off, reimbursement, restitution, cost, expense, loss, exposure, execution,
 attorneys’ fee, obligation, order, affirmative defense, writ, demand, inquiry, request, directive,
 obligation, proof of claim in a bankruptcy proceeding or submitted to a trust established pursuant
 to the Bankruptcy Code, government claim or Action, settlement, and/or any liability whatsoever,
 whether past, present or (to the extent it arises prior to the Effective Date) future, known or
 unknown, asserted or unasserted, foreseen or unforeseen, fixed or contingent, matured or
 unmatured, liquidated or unliquidated, direct, indirect or otherwise consequential, whether in law,
 equity, admiralty or otherwise, whether currently known or unknown, whether compromised,
 settled or reduced to a consent judgment, that may exist now or hereinafter for property damages,
 compensatory damages (such as loss of consortium, wrongful death, survivorship, proximate,
 consequential, general and special damages), punitive damages, bodily injury, personal injury,
 public and private claims, or any other right to relief whether sounding in tort, contract, extra-
 contractual or bad faith, statute, strict liability, equity, nuisance, trespass, statutory violation,
 wrongful entry or eviction or other eviction or other invasion of the right of private occupancy,
 and any amounts paid in respect of any judgment, order, decree, settlement, contract, or otherwise.
 A Person who alleges or alleged a Claim is a “Claimant”. The term “Claim” includes all of the
 following:

          (i)       Barred Claims

                  The term “Barred Claims” means all Claims enjoined by the Bar Order, which
          shall include all Direct Action, Indirect, Medicare, Released, and Survivor Claims.

          (ii)      Channeled Claims

                  The term “Channeled Claims” means all of the Claims that shall be channeled to
          the Trust, including: (a) Survivor Claims; (b) Indirect Claims; (c) Direct Action Claims;
          (d) Contribution Claims; (e) Medicare Claims; and (f) Extra-Contractual Claims related to
          the Claims listed in subsection (a)-(e) of this sentence; provided however, that “Channeled
          Claims” shall not include: (i) a Claim against an individual who perpetrated an act of


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          Abuse; or (ii) a Claim against any religious order, diocese (other than the Reorganized
          Debtor), or archdiocese.

          (iii)     Contribution Claims

                  The term “Contribution Claims” means all Claims, most commonly expressed in
          terms of contribution, indemnity, equitable indemnity, subrogation, equitable subrogation,
          or reimbursement, or any other indirect or derivative recovery, by an Insurer against
          Interstate for the payment of money where such Insurer contends that it has paid more than
          its equitable or proportionate share of a Claim.

          (iv)      Coverage Claims

                  The term “Coverage Claims” means all Claims against Interstate under or relating
          to the Subject Insurance Policies or the rights and obligations thereunder, or the breach
          thereof, including Claims seeking insurance coverage.

          (v)       Direct Action Claims

                  The term “Direct Action Claims” means the same as Survivor Claims, except that
          they are asserted against Interstate, instead of any DOH Entity or the Trust, for the recovery
          of insurance proceeds.

          (vi)      Enjoined Claims

                  The term “Enjoined Claims” means all Claims enjoined by the Supplemental
          Settling Insurer Injunction, which shall include all Direct Action, Indirect, Released,
          Survivor, and Contribution Claims.

          (vii) Extra-Contractual Claims

                   The term “Extra-Contractual Claims” means all Claims against Interstate, in its
          capacity as Insurer, seeking any type of relief other than coverage or benefits under the
          Subject Insurance Policies. “Extra-Contractual Claims” include Claims for
          compensatory, exemplary, or punitive damages, or attorneys’ fees, interest, costs, or any
          other type of relief, alleging, with respect to (i) any of the Subject Insurance Policies; (ii)
          any Claim allegedly or actually covered under the Subject Insurance Policies; or (iii) the
          conduct of Interstate with respect (i) and/or (ii): bad faith; failure to provide insurance
          coverage under any Subject Insurance Policy; failure or refusal to compromise and settle
          any Claim alleged to be insured under any Subject Insurance Policy; failure to act in good
          faith; violation of any covenant or duty of good faith and fair dealing; violation of any state
          insurance codes, state surplus lines statutes or similar codes or statutes; violation of any
          unfair claims practices act or similar statute, regulation or code; any type of misconduct or
          any other act or omission of any type. The term “Extra-Contractual Claims” includes all
          Claims relating to Interstate’s (i) handling of any request for insurance coverage for any
          Claim; (ii) conduct relating to the negotiation of this Agreement; or (iii) conduct relating
          to the settlement of any Coverage Claim.

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          (viii) Indirect Claims

                  The term “Indirect Claims” means Claims against a DOH Entity or a Settling
          Insurer, asserted by any Person that is not a DOH Entity or Insurer, for contribution,
          indemnity, equitable indemnity, subrogation, equitable subrogation, or reimbursement, or
          any other indirect or derivative recovery, on account of, or with respect to, any DOH
          Entity’s actual or alleged liability, for any Claim alleging Abuse that is not a Survivor
          Claim.

          (ix)      Medicare Claims

                  The term “Medicare Claims” means any and all Claims by CMS, and/or any other
          agent or successor Person charged with responsibility for monitoring, assessing, or
          receiving reports made under MMSEA and pursuing Claims under MSP, relating to any
          payments in respect of any Survivor Claims, including Claims for reimbursement of
          payments made to Survivor Claimants who recover or receive any distribution from the
          Trust, and Claims relating to reporting obligations.

          (x)       Released Claims

                 The term “Released Claims” means Coverage Claims and Extra-Contractual
          Claims.

          (xi)      Survivor Claims

                 (A) The term “Survivor Claims” means all Claims, allowed or disallowed, relating
          to Abuse that occurred before the Plan Effective Date, for which a DOH Entity is allegedly
          responsible, including any such Claim asserted against any DOH Entity in connection with
          the Bankruptcy Case. The term “Survivor Claims” includes Unknown Survivor Claims.

                  (B) The term “Unknown Survivor Claim” means any Survivor Claim that was (i)
          neither filed, nor deemed filed, in the Bankruptcy Case, by the Claims Filing Deadline, nor
          otherwise allowed by the Court prior to the Plan Effective Date; and (ii) is held by an
          individual who, at the time of the Claims Filing Deadline, was under a disability recognized
          by Pennsylvania law, or other applicable law suspending the running of the limitation
          period, if any.

          o.        CMS

         The term “CMS” means the Centers for Medicare and Medicaid Services of the United
 States Department of Health and Human Services, located at 7500 Security Boulevard, Baltimore,
 MD 21244-1850 and/or any other Agent or successor Person responsible for monitoring, assessing,
 or receiving reports made under MMSEA for reimbursement of Medicare Claims.

          p.        Committee

       The term “Committee” means the Official Committee of Tort Claimants appointed in the
 Bankruptcy Case.
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          q.        Confirmation Findings and Conclusions

        The term “Confirmation Findings and Conclusions” means the findings of fact and
 conclusions of law required under §§ 1129(a), and, if applicable, 105(a) and 1129(b), of the
 Bankruptcy Code, which are to be entered concurrently with, but separately from, the
 Confirmation Order, as necessary to confirm the Plan, including the following:

          (i)   This Agreement is the fruit of long-term negotiations amongst the Parties, which
          began in July 2020, following the Bankruptcy Court’s entry of the Mediation Order;

          (ii) The Settlement Amount provides good and valuable consideration to DOH’s
          bankruptcy estate, and enables distributions to the Channeled Claimants;

          (iii) Potential liability for the Survivor Claims precipitated the filing of the Bankruptcy
          Case;

          (iv) This Agreement is therefore necessary to the Plan because it provides significant
          funding for the Plan;

          (v) The Subject Insurance Policies are property of DOH’s bankruptcy estate and are
          therefore subject to the in rem jurisdiction of the Court;

          (vi) The Channeled Claims are within the jurisdiction of the Court because they seek
          property of DOH’s bankruptcy estate;

          (vii) Because it would be impractical to divide the Subject Insurance Policies amongst
          DOH and the other DOH Entities, it was necessary for DOH to obtain the participation of
          the other DOH Entities in this Agreement;

          (viii) The DOH Entities, other than DOH, would not release their Interests in the Subject
          Insurance Policies unless they obtained the benefits of the Channeling Injunction, because
          to do so would have left them exposed to Survivor Claims, whether or not such Claims be
          valid, and whether or not coverage exists under the Subject Insurance Policies for such
          Claims;

          (ix)      Therefore, the Channeling Injunction is necessary to this Agreement;

          (x) The Channeling Injunction is narrowly tailored because it only requires Channeled
          Claims to be brought against the Trust;

          (xi) The Settlement Amount is reasonable and fair consideration for the injunction of the
          Enjoined Claims, and for Interstate’s liability for Survivor Claims;

          (xii) The Coverage Claims are within the jurisdiction of the Bankruptcy Court because
          such Claims could enhance the estate;




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          (xiii) Interstate required that DOH obtain the benefits of the Supplemental Settling Insurer
          Injunction, as a condition of entering into this Agreement and contributing the Settlement
          Amount;

          (xiv) Therefore, the Supplemental Settling Insurer Injunction is necessary to this
          Agreement and the Plan; and

          (xv) The Supplemental Settling Insurer Injunction is narrowly tailored because it only
          enjoins the Enjoined Claims against the Settling Insurers;

          r.        Confirmation Order

         The term “Confirmation Order” means an order entered by the Bankruptcy Court after a
 confirmation hearing upon Bankruptcy Notice confirming the Plan, in a form and substance as
 required by this Agreement, which order is a Final Order. The wording of the Confirmation Order
 shall be mutually acceptable to DOH and Interstate. The Confirmation Order shall contain all of
 the following provisions but no provision that is contrary to or inconsistent with this Agreement:

          (i)       confirming the Plan;

          (ii) specifically, and individually, ordering all Persons, as set forth in the Plan, to act or
          refrain from acting as specified in the Plan;

          (iii) incorporating, as of the date the Trust receives the Settlement Amount, the terms and
          provisions of the Bar Order as though fully set forth therein;

          (iv) ordering the Trustee to perform the obligations, if any, imposed upon the Trustee by
          this Agreement;

          (v)       issuing the Channeling Injunction and the Supplemental Settling Insurer Injunction;

          (vi)      discharging DOH from all Claims, including all Channeled Claims; and

          (vii) ordering all Channeled Claimants with pending state court Actions against any DOH
          entity to dismiss such Actions and assert them against the Trust for resolution pursuant to
          the Trust Agreement

          (viii) including the Reduction Clause set forth in Section 7, below.

        The Confirmation Order shall be accompanied by the separately entered Confirmation
 Findings and Conclusions.

          s.        DOH

          (i)   The term “DOH” means The Diocese of Harrisburg, which is the diocesan
          corporation formed pursuant to 15 Pa. Stat. and Cons. Stat. Ann. § 5301, together with the
          public juridic person of the Roman Catholic Diocese of Harrisburg, as now constituted or
          as it may have been constituted. The term “DOH” also applies anywhere the term

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          “Reorganized Debtor” is used, and “Reorganized Debtor” applies anywhere the term
          “DOH” is used, as is necessary to effectuate the terms of the Agreement. Furthermore, in
          the event of any Action naming any Affiliate or Agent of DOH, such Action shall be
          considered an Action against DOH, the insurance coverage for which is released pursuant
          to Section 3 hereof.

          t.        DOH Entities

          The term “DOH Entities” means, in their capacity as such, DOH and its Entities.

        The “DOH Entities” include each of the Persons set forth on Attachment B to this
 Agreement. An individual who perpetrated an act of Abuse that forms the basis for a Survivor
 Claim is not a DOH Entity with respect to that Survivor Claim.

          u.        DOH Entity Insurer Policy

         The term “DOH Entity Insurer Policy” means any known or unknown contract, binder,
 certificate, or policy of insurance, in effect on or before the Plan Effective Date, which actually,
 allegedly, or potentially, insures any DOH Entity, or any of their predecessors in interest,
 successors, or assigns, with respect to any Survivor Claim.

          v.        DOH Parishes

        The term “DOH Parishes” means all past and present parishes of or in DOH, in their
 capacity as public juridic persons, together with each corresponding parish corporation formed
 pursuant to 15 Pa. Stat. and Cons. Stat. Ann. § 5511.

          w.        Effective Date

         The term “Effective Date” means the day following the date on which all of the following
 have occurred: (i) all Parties have executed this Agreement; (ii) the Court has issued the Approval
 Order and the Settlement Approval Findings and Conclusions, and the Approval Order has become
 a Final Order; and (iv) the Court has issued the Confirmation Order and the Confirmation Findings
 and Conclusions, and the Confirmation Order has become a Final Order

          x.        Entities

         The term “Entities” means with respect to a specified Person: (i) its Affiliates; (ii) each of
 the foregoing Person’s Agents; and (iii) each of the foregoing Persons’ respective predecessors,
 successors, assignors, and assigns, whether known or unknown, administrators, and all Persons
 acting on behalf of, by, through, or in concert with them, in their capacities as such.

          y.        Entities’ Release

        The term “Entities’ Release” means the following: The remising, release, covenant not to
 sue, and permanent discharge by the DOH Entities and any subsequently appointed trustee or
 representative acting for any DOH Entity, without further act by any Person, from and against all
 Released Claims that any DOH Entity ever had, now has, or hereafter may have, from the
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 beginning of time to the Effective Date, of: (1) Interstate; and (2) the respective heirs, executors,
 administrators, and reinsurers (as such) of any of the Persons identified in clause (1) hereof, in
 their capacities as such.

          z.        Filing Date

          The term “Filing Date” means February 19, 2020.

          aa.       Final Order

          The term “Final Order” means an order or judgment of the Bankruptcy Court that has not
 been reversed, vacated or stayed and as to which (a) the time to appeal, petition for certiorari, or
 move for a new trial, reargument or rehearing has expired and as to which no appeal, petition for
 certiorari, or other proceedings for a new trial, certiorari, review, reargue, or rehear shall have
 been waived in writing in form and substance satisfactory to DOH and Interstate, and their counsel
 or, (b) in the event that an appeal, writ of certiorari, new trial, or reargument or rehearing thereof
 has been sought, such order or judgment of the Bankruptcy Court shall have been affirmed by the
 highest court to which such order was appealed, or certiorari shall have been denied or a new trial,
 reargument or rehearing shall have been denied or resulted in no modification of such order, and
 the time to take any further appeal, petition for certiorari or move for a new trial, reargument or
 rehearing shall have expired; provided, however, that the possibility that a motion pursuant to
 section 502(j) or 1144 of the Bankruptcy Code or under Rule 59 or Rule 60 of the Federal Rules
 of Civil Procedure or any analogous rule under the Bankruptcy Rules, may be filed with respect to
 such order shall not cause such order not to be a Final Order. For the avoidance of doubt, if the
 Plan is substantially consummated as defined in § 1101(2) of the Bankruptcy Code (“Substantial
 Consummation”), and any appeal of the Confirmation Order becomes equitably moot due to
 Substantial Consummation, the Confirmation Order shall be considered a Final Order as of the
 date that the order determining such appeal to be moot has become a Final Order.

          bb.       Insurance Coverage Adversary Proceeding

        The term “Insurance Coverage Adversary Proceeding” means the case entitled The
 Roman Catholic Diocese of Harrisburg v. The Travelers Companies, et al., filed in the Bankruptcy
 Court, as Adversary Proceeding Number 20-00018.

          cc.       Insurer

        The term “Insurer” means a Person (including all of its Affiliates, successors, and assigns)
 that has, or is alleged to have, issued, subscribed any interest in, assumed any liability for, or
 underwritten any risk in, a DOH Entity Insurer Policy.

          dd.       Interests

         The term “Interests” means all Claims, including any “interests” as that terms is used in
 11 U.S.C. § 363, and other rights of any nature, whether at law or in equity, including all interests
 or other rights under Pennsylvania or other applicable law.


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          ee.       Interstate

          The term “Interstate” means:

          (i)       Interstate Fire & Casualty Company;

          (ii) All of the Agents of the Persons set forth in Section 1.gg.(i), and their respective
          predecessors and successors, if any, solely in such capacity; and

          (iii) All the respective heirs, executors, successors identified in Section 1.gg.(i) with
          respect to the subject matter of this Agreement), assigns (including any administrator,
          receiver, trustee, personal representative, or equivalent appointee(s) under relevant
          insolvency law), reinsurers, and retrocessionaires (as such), of any of the Persons identified
          in Section 1.gg.(i), if any, solely in their capacity as such.

          ff.       Mediation

       The term “Mediation” means the mediation by the Mediation Parties, as ordered by the
 Bankruptcy Court.

          gg.       Mediation Parties

         The term “Mediation Parties” means, collectively: (a) DOH; (b) each insurer named as a
 Defendant in the Insurance Coverage Adversary Proceeding; (c) the Committee; (d) state court
 counsel for Survivor Claimants; and (e) the ad hoc committee of parishes and other parties-in-
 interest, including schools or other non-debtor Catholic entities located within the territorial area
 decreed by the Roman Catholic Church as the “Diocese of Harrisburg”, to the extent permitted or
 required by the Mediator.

          hh.       Mediation Order

        The term “Mediation Order” means the Agreed Order Referring Adversary Proceeding
 to Mediation, entered by the Bankruptcy Court in the Insurance Coverage Adversary Proceeding,
 on July 10, 2020, Doc. No. 84.

          ii.       Mediation Request

        The term “Mediation Request” means the Request for Mediation filed by the DOH in the
 Insurance Coverage Adversary Proceeding.

          jj.       Mediator

          The term “Mediator” means the Honorable Gregg W. Zive, United States Bankruptcy
 Judge.

          kk.       Medicare

         The term “Medicare” means Title XVIII of the Social Security Act, 42 U.S.C. § 1395, et
 seq., enacted July 1, 1966, including all subsequent amendments thereto.
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          ll.       Medicare Beneficiary

        The term “Medicare Beneficiary” means any individual who has received or is eligible to
 receive benefits under Medicare and is the holder of a Channeled Claim.

          mm.       Medicare Secondary Payor Act

        The term “Medicare Secondary Payor Act” or “MSP” means 42 U.S.C. § 1395y et seq.,
 or any other similar statute or regulation, and any related rules, regulations or guidance issued in
 connection therewith or amendments thereto.

          nn.       MMSEA

         The term “MMSEA” means § 111 of the Medicare, Medicaid, and SCHIP Extension Act
 of 2007 (P.L.110-173), which imposes reporting obligations on those Persons with payment
 obligations under the MSP.

          oo.       Non-Settling Insurer

         The term “Non-Settling Insurer” means any Insurer that is not a Settling Insurer by the Plan
 Effective Date.

          pp.       Person

          The term “Person” means any individual or entity, including any corporation, limited
 liability company, partnership, general partnership, limited partnership, limited liability
 partnership, limited liability limited partnership, proprietorship, association, joint stock company,
 joint venture, estate, trust, trustee, personal executor or personal representative, unincorporated
 association, or other entity, including any federal, international, foreign, state, or local
 governmental or quasi-governmental entity, body, or political subdivision or any agency or
 instrumentality thereof; and any other individual or entity within the definitions of (i) “person” in
 Section 101(41) of the Bankruptcy Code or (ii) “entity” in Section 101(15) of the Bankruptcy
 Code.

          qq.       Petition Date

          The term “Petition Date” means February 19, 2020.

          rr.       Plan

          The term “Plan” means a plan of reorganization proposed by DOH, after good-faith
 consultation with Interstate, which (a) contains all of the following provisions, but no provision
 that is contrary to or inconsistent with this Agreement; (b) allows all of the acts and transactions
 under, and envisioned by, this Agreement to occur with binding legal effect; (c) does not materially
 and adversely affect the rights, duties, or interests of the DOH Entities or Interstate under this
 Agreement; (d) includes all papers, exhibits, attachments, appendices, or other documents filed
 with or in support of the Plan and necessary for its implementation, and any documents relating to
 the establishment and operation of the Trust; and (e) shall include the following provisions:
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          (i)    specifying the terms of this Agreement shall control in the event of any conflict with
          the Plan or the Confirmation Order;

          (ii) prohibiting DOH or the Trust from continuing to pursue the Insurance Coverage
          Adversary Proceeding against Interstate, requiring DOH and the Trust to dismiss all Claims
          against Interstate in the Insurance Coverage Adversary Proceeding, with prejudice, within
          fourteen (14) days after the Plan Effective Date, and prohibiting any DOH Entity from
          asserting any Coverage Claims against Interstate;

          (iii) specifying that, as of the date the Trust receives the Settlement Amount, the
          Channeling Injunction and the Supplemental Settling Insurer Injunction shall be effective;

          (iv) establishing the Trust, appointing the Trustee, and binding both of them to perform
          those requirements imposed upon them by this Agreement;

          (v) describing the role of the Unknown Claims Representative and seeking the
          continued appointment of the Unknown Claims Representative to continue in his duties;

          (vi) specifying that, as of the date the Trust receives the Settlement Amount, the
          Channeled Claims shall be channeled to the Trust;

          (vii) denominating, as of the date the Trust receives the Settlement Amount, Interstate as
          one of the Settling Insurers;

          (viii) requiring, as of the date the Trust receives the Settlement Amount, each Channeled
          Claimant receiving a payment from the Trust to sign a release of all Claims against
          Interstate and the DOH Entities;

          (ix)      and providing, verbatim:

                    (A)     It is the position of DOH that none of DOH Entities, the Trust, or the
                    Settling Insurers will have any reporting obligations in respect of their contributions
                    to the Trust, or in respect of any payments, settlements, resolutions, awards, or other
                    Claim liquidations by the Trust, under the reporting provisions of MSP or MMSEA.
                    Prior to making any payments to any claimants, the Trust shall seek a statement or
                    ruling from the United States Department of Health and Human Services (“HHS”)
                    that none of the Trust, DOH Entities, or Settling Insurers has any reporting
                    obligations under MMSEA with respect to payments to the Trust by the DOH
                    Entities or Settling Insurers or payments by the Trust to Claimants. Unless and
                    until there is definitive regulatory, legislative, or judicial authority (as embodied in
                    a final non-appealable decision from the United States Court of Appeals for the
                    Third Circuit or the United States Supreme Court), or written confirmation from
                    HHS that none of the DOH Entities or the Settling Insurers has any reporting
                    obligations under MMSEA with respect to any settlements, payments, or other
                    awards made by the Trust or with respect to the contributions the DOH Entities and
                    the Settling Insurers have made or will make to the Trust, the Trust shall, at its sole
                    expense, in connection with the implementation of the Plan, act as a reporting agent
                    for the DOH Entities and Settling Insurers, and shall timely submit all reports that
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                    would be required to be made by any DOH Entity or Settling Insurer under
                    MMSEA on account of any Claims settled, resolved, paid, or otherwise liquidated
                    by the Trust or with respect to contributions to the Trust, including reports that
                    would be required if the payments to the Trust by a DOH Entity or Settling Insurer
                    were determined to be made pursuant to “applicable plans” for purposes of
                    MMSEA, or any DOH Entity or Settling Insurer were otherwise found to have
                    MMSEA reporting requirements. The Trust, in its role as reporting agent for the
                    DOH Entities and Settling Insurers, shall follow all applicable guidance published
                    by CMS to determine whether or not, and, if so, how, to report to CMS pursuant to
                    MMSEA.

                    (B)     If the Trust is required to act as a reporting agent for any DOH Entity or
                    Settling Insurer pursuant to Section 1.tt.(ix)(A), the Trust shall provide a written
                    certification to each DOH Entity and Settling Insurer within twenty-one (21) days
                    following the end of each calendar quarter, confirming that all reports to CMS
                    required by Section 1.tt.(ix)(A). have been submitted in a timely fashion, and
                    identifying (a) any reports that were rejected or otherwise identified as
                    noncompliant by CMS, along with the basis for such rejection or noncompliance;
                    and (b) any payments to Medicare Beneficiaries that the Trust did not report to
                    CMS.

                    (C)     With respect to any reports rejected or otherwise identified as noncompliant
                    by CMS, the Trust shall, upon request by any DOH Entity or Settling Insurer,
                    promptly provide copies of the original reports submitted to CMS, as well as any
                    response received from CMS with respect to such reports; provided, however, that
                    the Trust may redact from such copies the Redacted Information. With respect to
                    any such reports, the Trust shall reasonably undertake to remedy any issues of
                    noncompliance identified by CMS, resubmit such reports to CMS, and, upon
                    request by any DOH Entity or Settling Insurer, provide each DOH Entity and
                    Settling Insurer copies of such resubmissions; provided, however, that the Trust
                    may redact the Redacted Information. If the Trust is unable to remedy its
                    noncompliance, the provisions of Section 1.tt.(ix)(G) shall apply.

                    (D)     If the Trust is required to act as a reporting agent for a DOH Entity or
                    Settling Insurer pursuant to the provisions of Section 1.tt.(ix)(A), with respect to
                    each Channeled Claim of a Medicare Beneficiary paid by the Trust and not
                    disclosed to CMS, the Trust shall, upon request by any DOH Entity or Settling
                    Insurer, promptly provide the last four digits of the claimant’s Social Security
                    number, the year of the claimant’s birth and any other information in the possession
                    or control of the Trust that may be necessary in the reasonable judgment of any
                    DOH Entity or Settling Insurer to satisfy their obligations, if any, under MMSEA,
                    as well as the basis for the Trust’s failure to report the payment. In the event any
                    DOH Entity or Settling Insurer informs the Trust that it disagrees with the Trust’s
                    decision not to report a Claim paid by the Trust, the Trust shall promptly report the
                    payment to CMS. All documentation relied upon by the Trust in making a
                    determination that a payment did not have to be reported to CMS shall be
                    maintained for a minimum of six (6) years following such determination.
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                    (E)     If the Trust is required to act as a reporting agent for any DOH Entity, or
                    Settling Insurer pursuant to the provisions of Section 1.tt.(ix)(A), the Trust shall
                    make the reports and provide the certifications required by Sections 1.tt.(ix)(A) and
                    (B) until such time as such DOH Entity or Settling Insurer determines, in its
                    reasonable judgment, that it has no further legal obligation under MMSEA or
                    otherwise to report any settlements, resolutions, payments, or liquidation
                    determinations made by the Trust or contributions to the Trust. Furthermore,
                    following any permitted cessation of reporting, or if reporting has not previously
                    commenced due to the satisfaction of one or more of the conditions set forth in
                    Section 1.tt.(ix)(A), and if any DOH Entity or Settling Insurer reasonably
                    determines, based on subsequent legislative, administrative, regulatory, or judicial
                    developments, that reporting is required, then the Trust shall promptly perform its
                    obligations under Sections 1.tt.(ix)(A) and (B).

                    (F)     Section 1.tt.(ix)(A) is intended to be purely prophylactic in nature, and does
                    not imply, and shall not constitute an admission, that the DOH Entities and/or
                    Settling Insurers have made payments pursuant to “applicable plans” within the
                    meaning of MMSEA, or that they have any legal obligation to report any acts
                    undertaken by the Trust or contributions to the Trust under MMSEA or any other
                    statute or regulation.

                    (G)     If CMS concludes that reporting done by the Trust in accordance with
                    Section 1.tt.(ix)(A) is or may be deficient in any way, and has not been corrected
                    to the satisfaction of CMS in a timely manner, or if CMS communicates to the
                    Trust, any DOH Entity or Settling Insurer a concern with respect to the sufficiency
                    or timeliness of such reporting, or there appears to any DOH Entity or Settling
                    Insurer a reasonable basis for a concern with respect to the sufficiency or timeliness
                    of such reporting or non-reporting based upon the information received pursuant to
                    Section 1.tt.(ix)(B), (C) or (D), or other credible information, then each DOH Entity
                    and Settling Insurer shall have the right to submit its own reports to CMS under
                    MMSEA, and the Trust shall provide to any Entity that elects to file its own reports
                    such information in its possession or control as the electing party may reasonably
                    require in order to comply with MMSEA, including the full reports filed by the
                    Trust pursuant to Section 1.tt.(ix)(A), without any redactions. The DOH Entities
                    and Settling Insurers shall keep any information they receive from the Trust
                    pursuant to this Section 1.tt.(ix) confidential and shall not use such information for
                    any purpose other than meeting obligations under MMSEA.

                    (H)     Notwithstanding any other provisions hereof, the Trust shall not be required
                    to report as required by this Section 1.tt.(ix) until the Person on whose behalf the
                    Trust is required to report shall have provided its Medicare Reporting Number, if
                    one exists. Moreover, the Trust shall have no indemnification obligation under this
                    Section 1.tt.(ix) to such Person for any penalty, interest, or sanction with respect to
                    a Claim that may arise on account of such Person’s failure timely to provide its
                    Medicare Reporting Number, if one exists, to the Trust in response to a timely
                    request by the Trust for such Medicare Reporting Number. However, nothing
                    relieves the Trust from its reporting obligations with respect to each Person who
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                    provides the Trust with its Medicare Reporting Number. The Trust shall indemnify
                    each DOH Entity and Settling Insurer for any failure to report payments to
                    Medicare eligible Survivor Claimants on behalf of Persons who have timely
                    supplied Medicare Reporting Numbers, if any exists.

                    (I)     Prior to remittance of funds to any Channeled Claimant or counsel therefor,
                    the Trustee shall obtain in respect of any Channeled Claim a certification from the
                    Claimant that said Claimant has or will provide for the payment and/or resolution
                    of any obligations owing or potentially owing under MSP relating to such
                    Channeled Claim. If the Trust receives no such certification, the Trust may
                    withhold payment from any Claimant the funds sufficient to assure that all
                    obligations owing or potentially owing under MSP relating to such Survivor Claim
                    are paid to CMS. The Trust shall provide a quarterly certification of its compliance
                    with this Section 1.tt.(ix) to each DOH Entity and Settling Insurer, and permit
                    reasonable audits by such Persons, no more often than annually, to confirm the
                    Trust’s compliance with this Section 1.tt.(ix). For the avoidance of doubt, the Trust
                    shall be obligated to comply with the requirements of this Section 1.tt.(ix)
                    regardless of whether any DOH Entity or Settling Insurer elects to file its own
                    reports under MMSEA pursuant to Section 1.tt.(ix)(G).

                    (J)     Compliance with the provisions of this Section 1.t.(ix) shall be a material
                    obligation of the Trust under the Plan, in favor of the DOH Entities and Settling
                    Insurers under the Plan.

                    (K)     The Trust shall defend, indemnify, and hold harmless the DOH Entities and
                    Settling Insurers from any Medicare Claims reporting and payment obligations
                    relating to its payment of Channeled Claims, including any obligations owing or
                    potentially owing under MMSEA or MSP, and any Claims related to the Trust’s
                    obligations under Section 1.tt.(ix).

          (x) The Social Security Administration may change (or may have already changed) its
          processes and/or procedures in a manner that is inconsistent with the foregoing. The
          Trustee shall make best efforts to comply meaningfully with the foregoing while adhering
          to the Social Security Administration’s most recent processes, procedures, and
          requirements.

          ss.       Plan Effective Date

       The term “Plan Effective Date” means the effective date of the Plan, as noticed on the
 Bankruptcy Case docket.

          tt.       Redacted Information

         The term “Redacted Information” means names, Social Security numbers other than the
 last four digits, health insurance claim numbers, taxpayer identification numbers, employer
 identification numbers, mailing addresses, telephone numbers, and dates of birth of the Survivor
 Claimants, and the names of the guardians, conservators, and/or other personal representatives, as
 applicable.
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          uu.       Reorganized Debtor

          The term “Reorganized Debtor” means DOH, on and after the Plan Effective Date.

          vv.       Settlement Amount

               The term “Settlement Amount” means the net sum of Four Million Dollars
 ($4,000,000.00).

          yy.       Settlement Approval Findings and Conclusions

        The term “Settlement Approval Findings and Conclusions” means findings of fact and
 conclusions of law pursuant to 11 U.S.C. §§ 363(b), (f), and (m) and Bankruptcy Rule 9019,
 entered concurrently with, the Approval Order, as necessary for the Court to approve this
 Agreement, including the following:

          (i)    DOH demonstrated sound business reasons for the settlement of its Claims against
          Interstate in the Insurance Coverage Adversary Proceeding and the implementation of such
          settlement through the sale of the Subject Insurance Policies to Interstate;

          (ii) The Parties mediated their disputes over the Survivor Claims and the Coverage
          Claims pursuant to the Mediation Order, beginning in July 2020;

          (iii) In the Mediation, the Parties negotiated extensively, at arms-length, and in good
          faith. Interstate is a purchaser in good faith of the Subject Insurance Policies, within the
          meaning of Bankruptcy Code § 363(m), and it is entitled to all of the protections of that
          statute;

          (iv) Interstate is a bona fide good faith purchaser of the Subject Insurance Policies, for
          value;

          (v) The terms of the transactions contemplated by this Agreement, as well as the genesis
          and background of this Agreement, have been adequately disclosed to the Court;

          (vi) The terms and conditions of this Agreement (including the consideration to be
          realized by DOH’s bankruptcy estate) are fair and reasonable;

          (vii) The transactions contemplated by this Agreement are in the best interests of the
          DOH’s bankruptcy estate, its creditors and other stakeholders;

          (viii) The only potential holders of Interests in or against the Subject Insurance Policies
          are the DOH Entities and Persons who hold Claims against the DOH Entities, whose
          Claims might be covered by the Subject Insurance Policies;

          (ix) The DOH Entities are parties to this Agreement, and hence are deemed to have
          consented to the sale within the meaning of Bankruptcy Code § 363(f)(2);



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          (x) The Barred Claims are subject to bona fide dispute, hence the Subject Insurance
          Policies may be sold free and clear of such Claims pursuant to § 363(f)(4);

          (xi) All holders of Claims against the Subject Insurance Policies could be compelled, in
          a legal or equitable Action, to accept a money satisfaction of such Claims, therefore the
          Subject Insurance Policies may be sold free and clear of such Claims pursuant to §
          363(f)(5);

          (xii) The compromises and settlements embodied in the Agreement have been negotiated
          in good faith, and are reasonable, fair, and equitable;

          (xiii) In light of:

                    (A)   the probability of success in litigation;

                    (B)   the likely difficulties in collection;

                    (C)   the complexity of the litigation involved, and the expense, inconvenience
                          and delay necessarily attending it; and

                    (D)   the paramount interest of the creditors;

          this Agreement is fair and equitable and within the range of reasonable settlement terms;

          (xiv) The Settlement Amount is fair, adequate, and reasonable consideration for (a) the
          sale by the DOH Entities and the buy-back by Interstate of the Subject Insurance Policies;
          (b) the Entities’ Release; and (c) the Supplemental Settling Insurer Injunction;

          (xv) This Agreement is intended to be and is a compromise between the Parties and shall
          not be construed as an admission of coverage under the Subject Insurance Policies, an
          admission concerning the amount of a reasonable settlement of any claim, an admission
          concerning the liability or damages caused by the DOH entities with respect to any
          Survivor Claim (including the reasonableness of any such damages, nor shall this
          Agreement or any provision hereof be construed as a waiver, modification, or retraction of
          the positions with respect to the interpretation and application of the Subject Insurance
          Policies. This Agreement does not reflect to upon the Parties’ views as to rights and
          obligations with respect to matters or Persons outside the scope of this Agreement. This
          Agreement is without prejudice to the positions taken by Interstate with regard to other
          insureds, and without prejudice with regard to positions taken by any DOH Entity with
          regard to other insurers;

          (xvi) DOH provided due and adequate notice of the (a) sale of the Subject Insurance
          Policies; (b) terms and conditions of this Agreement; and (c) the hearing before the Court
          to approve this Agreement and the sale of the Subject Insurance Policies, in accordance
          with Bankruptcy Rules 2002 and 6004 to all known and unknown Claimants, including by
          providing notice by publication to any Unknown Survivor Claimants;


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          (xvii) It would be impractical to divide the Subject Insurance Policies amongst the DOH
          Entities and the Survivor Claimants, therefore, to realize the value of the Subject Insurance
          Policies for DOH’s bankruptcy estate and the Survivor Claimants requires the sale of the
          Subject Insurance Policies;

          (xviii) The sale of the Subject Insurance Policies outside the ordinary course of business
          satisfies the requirements of Bankruptcy Code § 363(b) and (f);

          (xix) Interstate is repurchasing the Subject Insurance Policies, pursuant to this Agreement.
          Interstate is not purchasing any other assets of the DOH Entities and is not a continuation
          of the DOH Entities, nor engaging in a continuation of the DOH Entities’ businesses.
          Interstate shall not have any responsibility or liability with respect to any of the DOH
          Entities’ other assets;

          (xx) Interstate is not, and shall not be deemed to be, successors to the DOH Entities, or
          any of them, by reason of any theory of law or equity or as a result of the consummation
          of the transactions contemplated in this Agreement, the Plan, or otherwise. Interstate shall
          not assume, or be deemed to have assumed, any liabilities or other obligations of the DOH
          Entities.

          (xxi) To the extent any Claimant may have any legal or equitable right to assert a Claim
          either directly against the Subject Insurance Policies, which policies are being acquired by
          Interstate pursuant to this Agreement, or indirectly by asserting such Claim against any
          DOH Entity, such Claims are deemed to be (a) “interests” as that term is used in
          Bankruptcy Code § 363(f); and (b) “Interests” herein; and

          (xxii) The Agreement may be approved pursuant to Bankruptcy Rule 9019(a).

          zz.       Settlement Payment Date

         The term “Settlement Payment Date” means the day that is the later of (a) the Plan
 Effective Date; and (b) sixty (60) days after the Confirmation Order becomes a Final Order,
 provided, however, that if such date is not a Business Day, the Settlement Payment Date shall be
 the next Business Day.

          aaa.      Supplemental Settling Insurer Injunction

        The term “Supplemental Settling Insurer Injunction” means an order of the Bankruptcy
 Court, effective as of the date the Trust receives the Settlement Amount, which states, verbatim:

                    Supplemental Settling Insurer Injunction.

                  Pursuant to sections 105(a) and 363 of the Bankruptcy Code, and in
          consideration of the undertakings of the Settling Insurers pursuant to the Insurance
          Settlement Agreements, including certain Settling Insurers’ purchase of the
          applicable Settling Insurer Policies free and clear of all Interests pursuant to section
          363(f) of the Bankruptcy Code, any and all Persons who have held, now hold, or who
          may in the future hold any Interests (including all debt holders, all equity holders, all
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          Claimants, governmental, tax and regulatory authorities, lenders, trade and other
          creditors, Survivor Claimants, perpetrators and all other Persons holding Interests
          of any kind or nature whatsoever, including those Claims released or to be released
          pursuant to the Insurance Settlement Agreements) against any of the Settling
          Insurers, including (i) Claims relating to the Settling Insurer Policies, including
          Survivor Claims, Direct Action Claims, Indirect Claims, and Released Claims, (ii) the
          payment of any of the Claims identified in (i), including Contribution Claims and
          Medicare Claims, and (iii) Extra-Contractual Claims are hereby permanently stayed,
          enjoined, barred, and restrained from taking any Action, directly or indirectly, to
          assert, enforce or attempt to assert or enforce any such Interest against the Settling
          Insurers or Settling Insurer Policies, including:

                a. commencing or continuing in any manner any Action against the Settling
          Insurers or the property of the Settling Insurers;

                 b. enforcing, attaching, collecting, or recovering, or seeking to do any of the
          preceding, by any manner or means, any judgment, award, decree or order against
          the Settling Insurers or the property of the Settling Insurers;

                  c. creating, perfecting, or enforcing, or seeking to do any of the preceding, any
          lien of any kind against the Settling Insurers or the property of the Settling Insurers;

                 d. asserting or accomplishing any setoff, right of indemnity, subrogation,
          contribution, or recoupment of any kind against any obligation due to the Settling
          Insurers or the property of the Settling Insurers; and

                e. taking any act, in any manner, in any place whatsoever, that does not
          conform to, or comply with, the provisions of the Plan.

                  The Supplemental Settling Insurer Injunction will be effective with respect to
          a Settling Insurer only as of the date that the Trust receives the Insurance Settlement
          Amount pursuant to the terms of the applicable Insurance Settlement Agreement.
          The Supplemental Settling Insurer Injunction bars the above-referenced actions
          against the Settling Insurers and the Settling Insurer Policies, but against no other
          Person or thing; provided, however, nothing in this Supplemental Settling Insurer
          Injunction shall limit, or be deemed or otherwise interpreted to limit, the scope of the
          discharge or Channeling Injunction in favor of the Protected Parties. The foregoing
          injunctive provisions are an integral part of this Plan and are essential to its
          implementation.

          bbb.      Settling Insurers

        The term “Settling Insurers” means, collectively, Interstate, and all other insurers of the
 DOH Entities, which, after the Petition Date, settled Claims for insurance coverage brought against
 them by DOH, and which obtain the protection of the Supplemental Settling Insurer Injunction.



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          ccc.      Subject Insurance Policies

        The term “Subject Insurance Policies” means, collectively (i) all insurance policies listed
 in Attachment A hereto; and (ii) all known and unknown insurance policies issued on or before
 July 25, 1987, and providing insurance to any DOH Entity; provided, however, if a Subject
 Insurance Policy that is not listed in Attachment A was not issued on behalf of a DOH Entity (or
 such Person’s Affiliates) but provides coverage to a DOH Entity, then it is a Subject Insurance
 Policy only to the extent it insures the DOH Entity.

          ddd.      Termination Event

          The term “Termination Event” means

          (i)       the Court has not entered the Approval Order by [DATE];

          (ii)      the Court has not entered the Confirmation Order by [DATE];

          (iii)     the Court has not entered the Bar Order by [DATE];

          (iv) the Approval Order, the Confirmation Order or the Bar Order fails to become a Final
          Order by [DATE];

          (v)       the Court denies approval of this Agreement;

          (vi) the Court enters an order or grants such other relief that is inconsistent with this
          Agreement;

          (vii) the DOH files any plan of reorganization other than the Plan;

          (viii) the appointment of a trustee under section 1104 of the Bankruptcy Code or an
          examiner with expanded powers in the Bankruptcy Case; or

        (ix)  the Plan is amended in any manner that is inconsistent with the terms of this
 Agreement; provided, however, the deadlines set forth in (i) through (iv) of the foregoing may be
 extended by mutual written consent of the Parties.

          eee.      Trust

          The term “Trust” means the trust to be established under the Plan, which will assume
 liability for, and be established, pursuant to the Plan and, if applicable, Bankruptcy Code § 105, to
 make distributions pursuant to the Plan, the Trust Agreement, and the Trust Distribution Plan,
 including payments to Survivor Claimants.

          fff.      Trust Agreement

         The term “Trust Agreement” means, collectively, any agreement establishing the Trust
 and the requirements for its administration, and any agreement setting forth procedures for the
 Trust to make distributions pursuant to the Plan and Trust Distribution Plan, including payments
 to Survivor Claimants.
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          ggg.      Trust Distribution Plan

        The term “Trust Distribution Plan” means the Trust Distribution Plan established under
 the Trust Agreement and the Plan, which governs the payment of Distributions.

          hhh.      Trustee

        The term “Trustee” means the Person appointed to administer the Trust, in accordance
 with the terms of the Plan.

          iii.      Unknown Claims Representative

        The term “Unknown Claims Representative” means Michael R. Hogan, who has been
 appointed by the Court to represent the interests of Unknown Survivor Claimants.

 2.       Payment of the Settlement Amount

        a.     This Agreement is effective on the Effective Date. The occurrence of the
 Settlement Payment Date is a condition precedent to Interstate’s payment of the Settlement
 Amount.

         b.     On the Settlement Payment Date, in full and final settlement of all obligations under
 and relating to the Subject Insurance Policies, and in consideration of the sale of the Subject
 Insurance Policies to Interstate free and clear of all Interests of any Person, and the releases
 provided herein, Interstate shall pay the Settlement Amount in accordance with the payment
 instructions provided by the Trust.

        c.      Upon the Trust’s receipt of Interstate’s payment of the Settlement Amount, the sale,
 assignment, and transfer of the Subject Insurance Policies to Interstate, shall be effective and
 binding, with the intent that no Person shall retain anything whatsoever with respect to the Subject
 Insurance Policies.

         d.      If, before the occurrence of the Settlement Payment Date, a DOH Entity other than
 DOH becomes a debtor in a bankruptcy case or insolvency Action, under the Bankruptcy Code or
 otherwise, and Interstate has not satisfied its payment obligation arising hereunder, then Interstate
 shall be excused from performance under this Agreement until such time as either (i) such DOH
 Entity obtains, subject to the limitations imposed by the Bankruptcy Code, and subject to the
 equitable powers of the court in which such Action is pending, an order from such court approving
 this Agreement under Bankruptcy Code § 363(b), (f), and (m), and Bankruptcy Rule 9019,
 authorizing the assumption by such DOH Entity (or any successor thereto) of this Agreement under
 Bankruptcy Code § 365 (“Assumption”), or in the event the insolvency case is proceeding under
 other law, shall obtain a similar order from the court overseeing the insolvency case approving this
 Agreement and confirming the binding effect thereof; (ii) DOH obtains an order in the Action
 compelling the Assumption; or (iii) DOH obtains an order from the Court determining the
 equitable portion of the Settlement Amount allocable to any interest the DOH Entity subject to
 such bankruptcy case or insolvency Action may have in the Subject Insurance Policies. Each DOH
 Entity agrees that in the event it files a bankruptcy or other insolvency Action, it will not present
 any Claim for payment under this Agreement or the Subject Insurance Policies to Interstate, until
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 the Assumption has been approved by an order of the applicable court and such order has become
 a Final Order or until its equitable share in the Settlement Amount has been established by order
 of the Court pursuant to clause (iii) above, and such order has become a Final Order. Interstate
 agrees to cooperate fully and provide commercially reasonable assistance to DOH and any DOH
 Entity in obtaining any of the orders contemplated in this Section 2(d).

 3.       Mutual Releases

          a.        By DOH Entities

          (i)  Upon the Trust’s receipt of the Settlement Amount, the Entities’ Release shall
          become immediately effective.

          (ii) It is the intention of the DOH Entities to reserve no rights or benefits whatsoever
          under or in connection with the Subject Insurance Policies and to assure Interstate its peace
          and freedom from such Interests and from all assertions of rights in connection with such
          Interests, provided, however, the Entities’ Release does not release, and nothing in this
          Agreement shall affect, the right of the DOH Entities, or the Trust, as applicable, to assert
          and pursue Claims against and to collect from Insurers other than those released under the
          Entities Release, and no Claims are released with respect to such Persons.

          (iii) Upon the Trust’s receipt of the Settlement Amount, any and all rights, duties,
          responsibilities, and obligations of Interstate created by or in connection with the Subject
          Insurance Policies, are terminated. As of the Settlement Payment Date, the DOH Entities
          shall have no insurance coverage under the Subject Insurance Policies. The Entities’
          Release shall operate as though Interstate had never issued the Subject Insurance Policies.

          (iv) Each DOH Entity signing this Agreement, is, among other things, (a) releasing all
          Released Claims, including Claims that it does not know or suspect to exist in its favor,
          which, if known by such DOH Entity, might have materially affected its settlement with
          Interstate, and (b) expressly waiving all rights it might have under any federal, state, local,
          or other law or statute that would in any way limit, restrict, or prohibit such general release.

          (v) Except with respect to any material breach of any representation, warranty or
          covenant by Interstate set forth in this Agreement, each DOH Entity expressly assumes the
          risk that acts, omissions, matters, causes, or things may have occurred, which it does not
          know or does not suspect to exist. To the fullest extent permitted by applicable law, each
          DOH Entity hereby waives the terms and provisions of any statute, rule or doctrine of
          common law which either: (a) narrowly construes releases purporting by their terms to
          release Claims in whole or in part based upon, arising from, or related to such acts,
          omissions, matters, causes or things; or (b) which restricts or prohibits the releasing of such
          Claims.

          (vi) Nothing in the foregoing shall release Interstate from its obligations under this
          Agreement, including the obligation to pay the Settlement Amount.



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          b.        By Interstate

          (i)   At the same time the Entities’ Release becomes effective, Interstate shall be deemed
          to remise, release, covenant not to sue, and forever discharge each DOH Entity from and
          against all Claims relating to the Subject Insurance Policies, which Interstate ever had, now
          have or hereinafter may have, from the beginning of time to the Settlement Payment Date.

          (ii) Each Person released under the Entities’ Release shall reserve no rights or benefits
          whatsoever under or in connection with the Subject Insurance Policies.

          (iii) Except with respect to any material breach of any representation, warranty or
          covenant by any DOH Entity set forth in this Agreement, Interstate expressly assumes the
          risk that acts, omissions, matters, causes, or things may have occurred, which it does not
          know or does not suspect to exist. To the fullest extent permitted by applicable law,
          Interstate waives the terms and provisions of any statute, rule or doctrine of common law
          which either: (a) narrowly construes releases purporting by their terms to release Claims in
          whole or in part based upon, arising from, or related to such acts, omissions, matters, causes
          or things; or (b) which restricts or prohibits the releasing of such Claims.

 4.       Indemnification

         a.      This Section 4 is effective upon the Trust’s receipt of the Settlement Amount. The
 Trust shall indemnify and hold harmless Interstate from and against any and all Channeled Claims;
 and the Reorganized Debtor shall indemnify Interstate from and against all Enjoined Claims except
 for the Channeled Claims. These indemnifications include Claims made by Persons over whom
 the Trust and/or the Reorganized Debtor does not have control, including the DOH Entities, former
 subsidiaries, predecessors in interest, sellers or purchasers of assets, or any other Person who holds
 a Claim that the Trust and/or the Reorganized Debtor is indemnifying.

         b.     Interstate shall have the right to defend, with counsel of their choice, all Claims
 identified under Section 4.a. Interstate may begin the defense of any Claim upon receipt of such
 a Claim. Interstate agrees to notify the Trust and/or the Reorganized Debtor, as applicable,
 promptly of Claims identified under Section 4.a. and of its choice of counsel.

         c.    The Trust and/or Reorganized Debtor, as applicable, shall reimburse all reasonable
 and necessary attorneys’ fees, expenses, costs, and amounts incurred by Interstate in defending
 such Claims identified under section 4.a. Interstate shall defend any such Claim in good faith.
 The indemnity obligations set forth in Section 4.a, hereof, to indemnify Interstate shall not exceed
 the amount of the Settlement Amount actually paid by Interstate. In defense of any such Claim,
 Interstate may settle or otherwise resolve a Claim with the prior consent of the Trust and/or
 Reorganized Debtor, as applicable, which consent shall not be unreasonably withheld.

 5.       Bankruptcy Obligations

        a.     DOH shall provide to Interstate an initial draft of the proposed form of Approval
 Order, Settlement Approval Findings and Conclusions, and Bar Order at least fourteen (14) days
 before DOH submits the foregoing for approval of this Agreement to the Court, so that Interstate
 may provide comments and suggestions. In the event that DOH makes material revisions to any
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 of the foregoing documents, then, as soon as possible, DOH shall provide a copy of such material
 revisions to Interstate. Interstate reserves the right to object to, inter alia, (i) any proposed order
 that does not satisfy all of the requirements of the definition of Approval Order set forth in Section
 1.e, or (ii) any proposed findings and conclusions that do not satisfy all of the requirements of the
 definition of Settlement Approval Findings and Conclusions set forth in Section 1.yy, or the
 definition of Bar Order set forth in Section 1.k.

         b.      DOH shall provide to Interstate an initial draft of the proposed form of
 Confirmation Order, and Confirmation Findings and Conclusions, at least fourteen (14) days
 before DOH submits the foregoing to the Court, so that Interstate may provide comments and
 suggestions. In the event that DOH makes material revisions to any of the foregoing documents,
 then, as soon as possible, DOH shall provide a copy of such material revisions to Interstate.
 Interstate reserves the right to object to, inter alia, any proposed order that does not satisfy all of
 the requirements of the definition of Confirmation Order set forth in Section 1.s, or any proposed
 findings of fact and conclusions of law that do not satisfy all the requirements of the definition of
 Confirmation Findings and Conclusions in Section 1.r.

         c.      DOH provided to Interstate a copy of the Joint Chapter 11 Plan of Reorganization
 for the Diocese of Harrisburg (the “Joint Plan”) upon the filing of the Joint Plan. To the extent
 that the Joint Plan does not meet the requirements set forth in the definition of “Plan” set forth in
 Section 1.tt above, DOH shall modify such Joint Plan to assure that the filed plan of reorganization
 submitted to Court for confirmation comports with such definition, and Interstate shall have the
 right to approve all modifications that affect their rights or obligations under this Agreement. In
 the event that DOH makes material revisions to the filed plan of reorganization, then, as soon as
 possible, DOH shall provide a copy of such material revisions to Interstate. Interstate reserves the
 right to object to, inter alia, any proposed plan of reorganization that does not satisfy all of the
 requirements of the definition of Plan set forth in Section 1.tt. (a “Non-Compliant Plan”). If
 DOH proposes a Non-Compliant Plan, then Interstate may contest such plan, and DOH shall not
 request a hearing date on confirmation of a Non-Compliant Plan less than thirty (30) days after the
 date such plan is filed in the Court.

         d.     DOH will seek entry of the Confirmation Order, as set forth in Section 1.s., together
 with the Confirmation Findings and Conclusions, as set forth in Section 1.r., including any required
 findings and conclusions under the Bankruptcy Code.

         e.     DOH shall serve Bankruptcy Notice of the initial hearing to approve this
 Agreement and on confirmation of the Plan and the time for filing objections thereto. The
 proposed form of notice shall be submitted to Interstate for their review and comment no later than
 seven (7) days prior to the actual service of notice. If the initial hearing to approve this Agreement
 or to confirm the Plan is adjourned, DOH shall not be required to provide Bankruptcy Notice of
 such adjourned hearing and shall only be required to file a notice of such adjournment on the
 docket in the Bankruptcy Case and provide such other and further notice as the Court may direct.

         f.      In the event that any Person attempts to prosecute a Barred Claim, before the
 Effective Date, against Interstate, or any DOH Entity, then promptly following notice from
 Interstate or such DOH Entity, DOH shall file a motion and supporting papers to obtain an order
 from the Bankruptcy Court, pursuant to Bankruptcy Code §§ 105(a) and/or 362(b), as applicable,
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 staying such Claims until the date that the Approval Order and Confirmation Order have each
 become a Final Order, or, alternatively, this Agreement is terminated under Section 8. However,
 if DOH is unable to obtain a stay of such Claim then Interstate may, to the extent feasible, and
 subject to the terms, conditions, and any applicable limits and retentions of the Subject Insurance
 Policies, defend such Claims and either settle them or litigate them to judgment, and the applicable
 DOH Entities shall fully assist and cooperate with Interstate in such defense. If after such a Claim
 is brought, and if:

          (i)    the Effective Date occurs, then any payment by Interstate to resolve such Barred
          Claim, including defense costs paid to an insured’s counsel, shall be deducted from the
          Settlement Amount, and Interstate shall pay the balance of the Settlement Amount; if the
          payments by Interstate equals or exceeds the Settlement Amount, then Interstate, shall
          automatically, and without further action by any Person, be relieved of any further
          obligations under this Agreement and entitled to all the benefits hereunder, including the
          Entities Release; or, alternatively,

          (ii) the Effective Date does not occur, before this Agreement is terminated under Section
          8, then any amounts paid by Interstate shall be credited against its obligations, if any exist,
          under the Subject Insurance Policies.

 6.       Representations and Warranties

         a.      DOH represents and warrants that the notice required under the definition of
 Bankruptcy Notice includes all Claimants whose names and addresses are known to, or who are
 readily ascertainable by any Party.

       b.       Each DOH Entity represents and warrants that it has the authority to execute this
 Agreement as its binding and legal obligation, subject in the case of DOH, to receiving Court
 approval of this Agreement.

         c.       Interstate represents and warrants to DOH that (i) it has, and at all times prior to
 payment of the Settlement Amount will have, sufficient assets to pay the Settlement Amount in
 full; and (ii) it is not now, nor has it ever been, the subject of any bankruptcy or insolvency
 proceeding in any jurisdiction.

         d.     Each Party represents and warrants that the Persons signing this Agreement on its
 behalf are authorized to execute this Agreement.

         e.     Each individual signing this Agreement on behalf of a Party represents and warrants
 that he or she has the right, power, legal capacity, and authority to enter into this Agreement on
 behalf of such Party and bind such Party to perform each of the obligations specified herein.

 7.       Reduction Clause.

          The Confirmation Order shall provide include the following, verbatim:

       a.      Litigation/Settlement Between an Alleged Insured or Abuse Claimant and
 Non-Settling Insurers
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          (i)       The Channeling Injunction shall channel all Contribution Claims to the Trust.

          (ii)    If, for any reason any court does not recognize the channeling of the Contribution
          Claims of Non-Settling Insurers to the Trust, or such Claims are not channeled for any
          reason, then the following shall apply:

                    (A)    Interstate shall retain its Contribution Claims, subject to the following
                    provisions; provided, however, that:

                           (I)     Interstate shall not pursue any Contribution Claims against any Non-
                           Settling Insurer: (A) that asserts a Contribution Claim solely against the
                           Trust; (B) whose Contribution Claim is satisfied and extinguished entirely
                           by the application of this paragraph 7.a.(ii)(A), or (C) that does not assert a
                           Contribution Claim against them;

                           (II)    If a Non-Settling Insurer asserts its Contribution Claim only against
                           the Trust, then Interstate shall assign any Contribution Claims they may
                           hold against such Non-Settling Insurer to the Trust, and the Trust shall be
                           free to assert such Contribution Claims against such Non-Settling Insurer;

                           (III) If a Non-Settling Insurer releases its Contribution Claims, if any
                           such exist, that it may have against Interstate, then Interstate shall release
                           its Contribution Claims against such releasing Non-Settling Insurer.

                           (IV) If a Non-Settling Insurer asserts a Contribution Claim against
                           Interstate, and

                                   (1)     the Trust fully indemnifies Interstate, then Interstate shall
                                   assign its Contribution Claims to the Trust; or

                                   (2)     the Trust partially, but not fully, indemnifies Interstate for
                                   such Claim, then Interstate shall retain its Contribution Claims and
                                   may assert them against the Non-Settling Insurer asserting the
                                   Contribution Claim against Interstate. Any recovery by Interstate
                                   exceeding the amount necessary to satisfy the Trust's full indemnity
                                   obligation plus litigation costs shall be turned over to the Trust.

                    (B)     In any Action, including the Insurance Coverage Adversary Proceeding,
                    involving a DOH Entity, the Reorganized Debtor, or the Trust (collectively,
                    “Alleged Insured”) or an Abuse Claimant, as applicable, and one or more Non-
                    Settling Insurers, where a Non-Settling Insurer has asserted, asserts, or could assert
                    any Contribution Claim against Interstate, then any judgment or award obtained by
                    such Alleged Insured or Abuse Claimant against such Non-Settling Insurer shall be
                    automatically reduced by the amount, if any, that Interstate is liable to pay such
                    Non-Settling Insurer as a result of its Contribution Claim, so that the Contribution
                    Claim is thereby satisfied and extinguished entirely (“Reduction Amount”). In
                    any Action involving an Alleged Insured or Abuse Claimant against a Non-Settling
                    Insurer, where Interstate is not a party, such Alleged Insured or Abuse Claimant
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                    shall obtain a finding from that court or arbitrator(s), as applicable, of the Reduction
                    Amount before entry of judgment against such Non-Settling Insurer. In the event
                    that such a reduction is not made as described above, then any Contribution Claim
                    by any Non-Settling Insurer against Interstate shall be reduced by the Reduction
                    Amount, as determined by the court or arbitrator(s) in which such Contribution
                    Claim is filed. Interstate shall be required to cooperate in good faith with DOH
                    and/or the Trust to take commercially reasonable steps to defend against any
                    Contribution Claim. In the event that application of the Reduction Amount
                    eliminates the Non-Settling Insurer’s Contribution Claim, then such Non-Settling
                    Insurer shall fully reimburse Interstate its costs and expenses, including legal fees,
                    incurred in responding to the Contribution Claim Action, including all costs,
                    expenses and fees incurred in seeking relief from the Court.

                    (C)     If an Alleged Insured or Abuse Claimant and a Non-Settling Insurer enter
                    into an agreement settling one or more Claims relating to Abuse, such agreement
                    shall provide that such Non-Settling Insurer releases Contribution Claims against
                    Interstate so long as Interstate releases its Contribution Claims against such Non-
                    Settling Insurer. If such settlement agreement fails to include such a release
                    provision, and the Non-Settling Insurer has asserted, asserts, or could assert a
                    Contribution Claim against Interstate, then any settlement amount in such
                    settlement agreement shall be deemed automatically reduced by the Reduction
                    Amount. In such event, the settling parties shall obtain a finding from the
                    applicable court or arbitrator(s) of the Reduction Amount. If (a) the settlement
                    agreement was entered into without litigation or arbitration such that no judge or
                    arbitrator can determine the Reduction Amount, or (b) such a reduction is not
                    otherwise made as described above, then any Contribution Claim by any Non-
                    Settling Insurer against Interstate shall be reduced by the Reduction Amount, as
                    determined by the court or arbitrator(s) in which such Contribution Claim is filed.
                    Interstate shall be required to cooperate in good faith with DOH and/or the Trust to
                    take commercially reasonable steps to defend against any Contribution Claim by a
                    Non-Settling Insurer. In the event that the reduction eliminates the Non-Settling
                    Insurer’s Contribution Claim, then such Non-Settling Insurer shall fully reimburse
                    Interstate its costs and expenses, including legal fees, incurred in responding to the
                    Contribution Claim Action, including all costs, expenses and fees incurred in
                    seeking relief from the Court.

          b.        Application of the Reduction

          (i)      To ensure that the reduction contemplated in this Section 7 is accomplished,
          Interstate shall be entitled to: (i) notice, pursuant to Section 18, within a reasonable time of
          the initiation of any future Action against or future settlement negotiations with any Non-
          Settling Insurer that could give rise to the possibility of a Contribution Claim against
          Interstate, and periodic notices thereafter on at least an annual basis of the status of such
          Action or negotiations; (ii) the opportunity to participate in the Action or settlement
          negotiations without objection by any party thereto, but only to the extent necessary to
          accomplish the reduction contemplated in this Section 7; (iii) the cooperation of the
          applicable Alleged Insured so that Interstate can assert this Section as a defense in any
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          Action against any of them for any Contribution Claim; and (iv) have the court or
          appropriate tribunal issue such orders as are necessary to effectuate the judgment, award,
          or settlement reduction in order to protect Interstate from any Contribution Claim. The
          notice required above shall be given by (A) the Alleged Insured that is a party to such
          Action or settlement negotiations; or (B) if no Alleged Insured is such a party, the Non-
          Settling Insurer that is a party to such Action or settlement negotiations; or (C) if no Alleged
          Insured or Non-Settling Insurer is a party to such Action or settlement negotiations, the
          Survivor Claimant bound by the Plan.

          (ii)   The Trust shall use commercially reasonable efforts to obtain, from all Settling
          Insurers, agreements similar to those contained in Section 7(a)(ii)(A)(III).

 8.       Termination of Agreement

          a.        The Parties may terminate this Agreement in writing upon mutual assent.

         b.      Any Party may terminate this Agreement upon thirty (30) days’ notice to the other
 Parties if a Termination Event occurs.

         c.       In the event of termination pursuant to this Section 8, unless the Parties agree
 otherwise in writing, this Agreement shall be void ab initio and all Parties shall retain all of their
 Interests relating to the Subject Insurance Policies as if this Agreement never existed.

         d.      If Interstate does not pay the Settlement, DOH, at its option, may by written notice
 to other parties to this Agreement, terminate this Agreement in its entirety.

 9.       Treatment of Perpetrators

        Nothing in this Agreement overrides the treatment in the Plan of individuals who
 perpetrated an act of Abuse that forms the basis for a Survivor Claim.

 10.      Reasonably Equivalent Value

        a.      This Agreement was bargained for and entered into in good faith and as the result
 of arms-length negotiations;

        b.      Based on their respective independent assessments, with the assistance and advice
 of counsel, of the probability of success, the complexity, the delay in obtaining relief, and the
 expense of maintaining the Insurance Coverage Adversary Proceeding, the payments received by
 the DOH Entities pursuant to this Agreement constitute a fair and reasonable settlement of the
 Released Claims;

         c.      The payments and other benefits received under this Agreement by the DOH
 Entities constitute reasonably equivalent value for the Entities’ Release, indemnity, and other
 benefits received by Interstate under this Agreement; and

         d.       Subject to the Trust’s receipt of the Settlement Amount, this Agreement constitutes
 a full and final resolution of all issues in the Insurance Coverage Adversary Proceeding.
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 11.      Confidentiality

         a.      Except as necessary to obtain approval of this Agreement in the Court, the Parties
 agree that all matters relating to the negotiation of this Agreement shall be confidential and are not
 to be disclosed except by order of court, or written agreement of the Parties, except that, provided
 recipients agree to keep such information confidential, this Agreement may be disclosed to: (i)
 reinsurers of Interstate directly or through intermediaries; (ii) outside auditors or accountants of
 any Party; (iii) representatives of a non-party insurer subscribing or allegedly subscribing one or
 more of the Subject Insurance Policies, which insurer is, has been or may become insolvent in the
 future, including any liquidators, provisional liquidators, scheme administrators, trustees, or
 similarly empowered Persons acting for such insurer. This Agreement may also be disclosed, as
 required, to the Internal Revenue Service or other U.S. governmental authority that properly
 requires disclosure, or as otherwise required by law. The Parties acknowledge and agree that a
 copy of this Agreement will be publicly filed on the docket and provided to parties in interest in
 the Bankruptcy Case, without obligation of confidentiality or restrictions on further disclosure.

          b.    In the event a private litigant, by way of document request, interrogatory, subpoena,
 or questioning at deposition or trial, attempts to compel disclosure of anything protected by this
 section from a Party, such Party shall decline to provide the requested information on the ground
 that this Agreement restricts such disclosure. In the event such private litigant seeks an order from
 any court or governmental body to compel such disclosure, or in the event that a court, government
 official, or governmental body (other than the Internal Revenue Service) requests or requires
 disclosure of anything protected by this paragraph, the Party from whom disclosure is sought shall
 promptly give written notice to the other Parties, and shall promptly provide copies of all notice
 papers, orders, requests, or other documents in order to allow each Party to take such protective
 steps as may be appropriate. Notice shall be made under this paragraph to the persons identified
 in Section 18.

        c.      Material protected by this section shall be deemed to fall within the protection
 afforded compromises and offers to compromise by Rule 408 of the Federal Rules of Evidence
 and similar provisions of state law or state rules of court.

 12.      Third-Party Beneficiaries

          The Trust, and the Trustee are intended third-party beneficiaries of this Agreement. Except
 as set forth in the preceding sentence, there are no other third-party beneficiaries of this Agreement.

 13.      Co-operation

        The DOH Entities will undertake all reasonable actions to co-operate with Interstate in
 connection with its reinsurers, including responding to reasonable requests for information and
 meeting with representatives of reinsurers. Furthermore, the Parties shall use their commercially
 reasonable efforts and cooperate as necessary or appropriate to achieve the objectives of this
 Agreement.




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 14.      Non-Prejudice and Construction of Agreement

         a.      This Agreement is intended to be and is a compromise between the Parties and
 neither this Agreement nor any provision hereof shall be construed as (i) an admission of coverage
 under the Subject Insurance Policies; (ii) an admission concerning the amount of a reasonable
 settlement of any Claim; (iii) an admission concerning the liability of or damages caused by the
 DOH entities with respect to any Survivor Claim (including the reasonableness of any such
 damages); or (iv) a waiver, modification, or retraction of the positions of the Parties with respect
 to the interpretation and application of the Subject Insurance Policies.

         b.       This Agreement is the product of informed negotiations and involves compromises
 of the Parties’ previously stated legal positions. Accordingly, this Agreement does not reflect upon
 the Parties’ views as to rights and obligations with respect to matters or Persons outside the scope
 of this Agreement. This Agreement is without prejudice to positions taken by Interstate with
 regard to other insureds, and without prejudice with regard to positions taken by any DOH Entity
 with regard to other insurers. Except for the express references to the third-party beneficiaries in
 Section 12 of this Agreement, the Parties specifically disavow any intention to create rights in third
 parties under or in relation to this Agreement.

         c.     This Agreement is the jointly drafted product of arms’-length negotiations between
 the Parties with the benefit of advice from counsel, and the Parties agree that it shall be so
 construed. As such, no Party will assert that any ambiguity in this Agreement shall be construed
 against another Party.

         d.     If any provision of the Plan, the Trust Agreement, or trust distribution procedures
 proposed thereunder conflicts with or is inconsistent with this Agreement in any way whatsoever,
 then the provisions of this Agreement shall control and take precedence. Neither the Plan nor the
 Trust Agreement shall be construed or interpreted to modify or affect any rights or obligations of
 Interstate under this Agreement.

 15.      No Modification

         No change or modification of this Agreement shall be valid unless it is made in writing and
 signed by the Parties. Any change or modification of this Agreement that affects the rights of the
 Survivor Claimants or Trust shall require the consent of the Committee or Trustee, as applicable,
 which consent shall not be unreasonably withheld. Any attempted change or modification in
 violation of this Section shall be void ab initio.




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 16.      Waiver

         No waiver of any provision of this Agreement or of a breach of thereof shall be valid unless
 it is made in writing and signed by the Parties. The waiver by any Party of any of the provisions
 of this Agreement or of the breach thereof shall not operate or be construed as a waiver of any
 other provision or breach.

 17.      Non-Assignment

        Neither this Agreement nor the rights and obligations set forth in this Agreement shall be
 assigned without the prior written consent of the other Parties.

 18.      Execution

          There will be three signed originals of this Agreement.

 19.      Governing Law

        This Agreement shall be governed by and shall be construed in accordance with the laws
 of Pennsylvania.

 20.      Notices

         Unless another person is designated, in writing, for receipt of notices hereunder, notices to
 the respective Parties shall be sent in writing to the Persons listed on Attachment C.

 21.      Integration

         This Agreement, including the attachments, constitutes the entire Agreement between
 Interstate and the DOH Entities, with respect to the subject matter hereof, and supersedes all
 discussions, agreements and understandings, both written and oral, amongst the Parties with
 respect thereto. The Parties intend that this Agreement and the Plan shall be consistent in all
 respects, with no conflict or discrepancies between them.

        IN WITNESS WHEREOF, the Parties have executed this Agreement by their duly
 authorized representatives.

                                      [Signature Pages Follow]




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 Signed:

 The Roman Catholic Diocese of Harrisburg

 Name Printed:

 Title:

 Date:                                      2022




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 Signed:

 Interstate Fire & Casualty Company

 Name Printed: Adrea Tarver

 Title:             Claim Specialist III

 Date:                                         2023




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                         SCHEDULE OF ATTACHMENTS TO

                    SETTLEMENT AGREEMENT AND RELEASE


  Attachment A                         List of known Subject Insurance Policies

  Attachment B                         List of DOH Entities

  Attachment C                         Notice Names and Addresses




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                                       ATTACHMENT A

                               Known Subject Insurance Policies



      Policy No. /                Policy Period(s)
      183-152611                  July 25, 1978 to July 25, 1979
      183-152611                  July 25, 1979 to July 25, 1981
      183-152611                  July 25, 1980 to July 25, 1980
      183-152611                  July 25, 1981 to July 25, 1982
      183-0169210                 July 25, 1982 to July 25, 1983
      XX-XXXXXXX                  July 25, 1983 to July 25, 1984
      XX-XXXXXXX                  July 25, 1984 to July 25, 1985
      XX-XXXXXXX                  July 25, 1985 to July 25, 1986


         And all other Policies issued by Interstate to or on behalf of DOH and DOH Entities prior
 to July 25, 1987, including Excess Property Only, Drop-Down, and Other.




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                                ATTACHMENT B

                                List of DOH Entities




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                                      ATTACHMENT C

                            NOTICE NAMES AND ADDRESSES

          DOH:




          With copies to:



                                               -and-




          DOH Parishes:

          Interstate Fire & Casualty Company

                                               Adrea Tarver
                                               Claim Specialist III
                                               Allianz Resolution Management
                                               Alliance Reinsurance America, Inc. (ARZA)
                                               P.O. Box 750039
                                               Petaluma, CA 94975-0039

                                               On behalf of Interstate Fire & Casualty Company




          For Company Leader:




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           With copies to:                  Ralph M. Monico, Esquire
                                            Burns White LLC
                                            Burns White Center
                                            48 26th Street
                                            Pittsburgh, PA 15222

                                            Harris Winsburg, Esquire
                                            Parker, Hudson, Rainer & Dobbs, LLP
                                            303 Peachtree Street NE
                                            Atlanta, GA 30308




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                                   EXHIBIT E

                          ZURICH SETTLEMENT AGREEMENT




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                       SETTLEMENT AGREEMENT AND RELEASE

         This Settlement Agreement and Release (hereinafter the “Agreement”) is made this ____
 day of ____, _____, by and between the Diocese of Harrisburg (“DOH”)1 and the other “DOH
 Entities”, on the one hand, and Zurich American Insurance Company, successor by merger to
 Maryland Casualty Company (“Zurich”) on the other hand. (The aforementioned parties are
 referred to hereinafter collectively as the “Parties” or individually as a “Party”).

                                    WITNESSETH THAT:

 WHEREAS, certain Persons, alleging injuries from “Abuse”, asserted “Survivor Claims” against
 certain DOH Entities;

 WHEREAS, certain DOH Entities incurred, and may incur in the future, liabilities, expenses, and
 losses arising out of the Survivor Claims;

 WHEREAS, Zurich’s predecessor Maryland Casualty Company issued certain policies (the
 “Zurich Policies”), allegedly providing insurance to the DOH Entities;

 WHEREAS, the Zurich Policies listed on Attachment A, to the extent the existence and terms
 thereof are established, are property of DOH’s bankruptcy estate;

 WHEREAS, certain DOH Entities tendered “Coverage Claims” to Zurich to seek insurance
 coverage for the Survivor Claims;

 WHEREAS, Zurich disputes the Coverage Claims;

 WHEREAS, to address potential liabilities arising out of the Survivor Claims, on the “Petition
 Date,” DOH filed the “Bankruptcy Case” in the “Bankruptcy Court”;

 WHEREAS, on February 19, 2020, DOH filed the “Insurance Coverage Adversary
 Proceeding,” as an adversary proceeding in the Bankruptcy Court;

 WHEREAS, Zurich is a named defendant in the Insurance Coverage Adversary Proceeding, and
 disputes the substantive allegations and Coverage Claims asserted against it in the Insurance
 Coverage Adversary Proceeding;

 WHEREAS, on April 2, 2020, DOH filed the “Mediation Request”;

 WHEREAS, the Bankruptcy Court (i) entered the “Mediation Order” approving the Mediation
 Request, appointing the “Mediator”; and (ii) ordered the “Mediation Parties” to mediate the
 Survivor Claims and the Coverage Claims;

 WHEREAS, pursuant to the Bankruptcy Court’s order, no defendant filed an answer or otherwise
 responded in the Insurance Coverage Adversary Proceeding;

 1
        Terms in bold, inside quotation marks, are defined in Section 1, Definitions.

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 WHEREAS, whether or not they (i) were subject to the Survivor Claims; or (ii) asserted Coverage
 Claims against Zurich, the DOH Entities are settling with and releasing the “Zurich Entities”
 pursuant to this Agreement;

 WHEREAS, it is the intention of the Parties that the DOH Entities shall sell, assign, and transfer
 the Zurich Policies to Zurich, and Zurich shall buy back the Zurich Policies and pay the
 “Settlement Amount” to the “Trust” which shall be administered and distributed as provided in
 the “Plan”, the “Trust Agreement”, and the “Trust Distribution Plan”, including to make
 payments to the “Channeled Claimants”;

 WHEREAS, it is the intention of the Parties that any and all “Interests” in or to the Zurich Policies
 be extinguished, ended, and forever terminated;

 WHEREAS, it is the intention of the Parties that (i) the DOH Entities shall (a) not retain any right,
 title, or Interest in or to the “Zurich Policies”; and (b) release the Zurich Released Parties from all
 “Released Claims”; and (ii) none of the Zurich Entities shall have any remaining duty or
 obligation of any nature whatsoever to any DOH Entity;

 WHEREAS, DOH agrees to use commercially reasonable efforts to obtain the Supplemental
 Settling Insurer Injunction for the benefit of the “Settling Insurers,” pursuant to the “Plan”; and

 WHEREAS, subject to the Court entering the orders contemplated by this Agreement, upon the
 Trust’s receipt of the Zurich Settlement Amount, each of the Zurich Released Parties will be
 protected by the “Supplemental Settling Insurer Injunction” and the “Channeling Injunction”;

 WHEREAS, by this Agreement, the Parties intend to adopt, by way of compromise, and without
 prejudice to or waiver of their respective positions in other matters, without further trial or
 adjudication of any issues of fact or law, and without admission of liability or responsibility under
 the Zurich Policies, a full and final settlement that releases and terminates all Interests of the Zurich
 Entities, and the DOH Entities, with respect to the Zurich Policies, including all rights, obligations,
 and liabilities relating to the “Barred Claims” and the “Enjoined Claims,” without prejudice to
 their respective positions on policy wordings or any other issues relating to the Insurance Coverage
 Adversary Proceeding, the Coverage Claims, or otherwise.

                                           AGREEMENTS:

 NOW, THEREFORE, in full consideration of the foregoing and of the mutual agreements herein
 contained, and intending to be legally bound, the Parties agree as follows:

 1.      Definitions

         The following definitions and the definitions used above apply to this Agreement as well
 as any exhibits or attachments hereto. Where the listed terms are further defined in the body of
 this Agreement, the definitions listed here nonetheless apply and shall serve to further explain the
 meaning of those terms. Each defined term stated in a singular form shall include the plural form,
 each defined term stated in plural form shall include the singular form, and each defined term
 stated in the masculine form or in the feminine form shall include the other. The words “include,”
 “includes,” or “including” shall be deemed to be followed by the words “without limitation,” and
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 the phrase “relating to” means “with regard to, by reason of, based on, arising out of, relating to,
 or in any way connected with.” (The words “include,” “includes,” and “including,” and the phrase
 “relating to” are not capitalized herein.) This Agreement incorporates all attachments hereto to
 the same extent as if fully set forth herein. All references to “Sections” are references to sections
 of this Agreement unless otherwise specified.

        a.      Abuse

         The term “Abuse” means any (i) actual, alleged, or threatened sexual conduct,
 misbehavior, misconduct, abuse, or molestation, including “Sexual Abuse” as defined in 42
 Pa.C.S. § 5533(b)(2)(ii); (ii) any sexual offense as laid out in Chapter 31 of Title 18 of the
 Pennsylvania Statutes; (iii) any other sexually related act, contact, or interaction, indecent assault
 and/or battery, rape, indecent or lascivious behavior, undue familiarity, harassment, pedophilia, or
 ephebophilia; (iv) act that causes or allegedly causes sexually-related physical, psychological, or
 emotional harm, or any other contacts or interactions of a sexual nature, including any such
 contacts or interactions between a child and an adult, or a non-consenting adult and another adult;
 (v) contacts or interactions of a sexual nature; or (vi) assault, battery, corporal punishment, or any
 other act of physical, psychological, mental, or emotional abuse, humiliation, or intimidation.
 Abuse may occur whether or not this activity involves explicit force, whether or not it involves
 genital or other physical contact, and whether or not there is physical, psychological, or emotional
 harm to the person.

        b.      Action

         The term “Action” means any lawsuit, proceeding, or other action in a court, or any
 arbitration.

        c.      Affiliates

        The term “Affiliates” means all past, present, and future Persons that control, are controlled
 by, or are under control with, another Person, including parents, subsidiaries, merged Persons,
 holding Persons, and acquired Persons, or any predecessor to such Person.

        d.      Agents

        The term “Agents” means all past and present employees, officers, directors, managing
 agents or other agents, shareholders, principals, teachers, staff, members, board members,
 administrators, priests, deacons, brothers, sisters, nuns, other members of a religious order, clergy,
 Persons bound by monastic vows, volunteers, attorneys, claims handling administrators, and
 representatives of a Person, in each case in their capacities as such.

        e.      Approval Order

        The term “Approval Order” means an order entered by the Court, upon a hearing
 following Bankruptcy Notice, containing all of the following provisions but no provision that is
 contrary to or inconsistent with the following provisions. The wording of the Approval Order shall
 be mutually acceptable to DOH and Zurich. The Approval Order shall contain provisions:

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           (i)    finding that due and adequate notice of DOH’s request for approval of this
           Agreement has been provided to all creditors and parties in interest in the Bankruptcy Case,
           including by finding that the Bankruptcy Notice described in Section 1.i. of this Agreement
           is reasonable and provides due process to all potential known and unknown holders of
           Claims;

           (ii) approving this Agreement in its entirety, pursuant to Bankruptcy Code §§ 363(b),
           (f), and (m) and, if applicable, 105(a), and Bankruptcy Rules 6004 and 9019;

           (iii) authorizing, subject to the occurrence of the Settlement Payment Date, the sale of
           the Zurich Policies to Zurich, free and clear of all Interests of all Persons, with all Interests
           in and to, and Claims against, the Zurich Policies being fully extinguished without
           reservation as to the Settling Insurers;

           (iv) ordering that, as of the date the Trust receives the Settlement Amount, all Claims
           against, and Interests in and to, the Zurich Policies be fully extinguished without
           reservation as to the Zurich Entities and the DOH Entities;

           (v) ordering that, as of the date the Trust receives the Settlement Amount, all Barred
           Claims and other Interests that any Person, including CMS (as defined herein), might have
           in, or against, the Zurich Policies, attach to the Settlement Amount;

           (vi) authorizing and directing the Parties to perform their respective obligations under
           this Agreement; and

           (vii) issuing the Bar Order, subject to, and effective upon, the occurrence of the
           Settlement Payment Date.

        The Approval Order shall be accompanied by the separately entered Settlement Approval
 Findings and Conclusions.

           f.      Bankruptcy Case

        The term “Bankruptcy Case” means the bankruptcy case filed by DOH in the Bankruptcy
 Court, entitled In re Roman Catholic Diocese of Harrisburg, Case Number 20-00599-HWV.

           g.      Bankruptcy Code

           The term “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. § 101,
 et seq.

           h.      Bankruptcy Court

         The term “Bankruptcy Court” means the United States Bankruptcy Court for the Middle
 District of Pennsylvania or such other court of competent jurisdiction that properly exercises
 jurisdiction over part or all of the Bankruptcy Case, to the extent that the reference of part or all of
 the Bankruptcy Case is withdrawn.


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        i.      Bankruptcy Notice

          The term “Bankruptcy Notice” means notice as required under Bankruptcy Rules 2002,
 6004(a), and (c), and applicable local rules, sent to (i) all holders of Claims against the DOH
 Entities, including Survivor Claims, or their attorneys, if any, who are known to the DOH Entities;
 (ii) the Official Committee of Unsecured Creditors; (iii) the Unknown Claims Representative
 (once appointed by the Court); (iv) all insurers of the DOH Entities that provide coverage for or
 are alleged to provide coverage for Survivor Claims; (v) the Secretary of the Department of Health
 and Human Services; (vi) CMS; (vii) the United States Attorney for the Middle District of
 Pennsylvania; (viii) all Persons who, in the opinion of any Party to this Agreement, might
 reasonably be expected to be affected by the transactions contemplated herein; and (ix) all other
 Persons as directed by the Court. Notice shall also be given by publication (a) in the national
 editions of (i) USA Today; (ii) National Catholic Reporter; and (iii) The National Catholic
 Register; and (b) locally in (i) The Catholic Witness; (ii) Gettysburg Times; (iii) Press Enterprise;
 (iv) The Sentinel; (v) Patriot-News; (vi) Public Opinion; (vii) LNP-Lancaster Online; (viii)
 Lebanon Daily News; (ix) The Sentinel; (x) The Daily Item; (xi) Perry County Times; and (xiv)
 York Daily Record, or as the Court may otherwise direct.

        j.      Bankruptcy Rules

       The term “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as may
 be amended from time to time.

        k.      Bar Order

         The term “Bar Order” means an order, which shall automatically become effective on the
 Settlement Payment Date, barring, estopping, and permanently enjoining all Persons from
 asserting any Barred Claims against the Zurich Released Parties.

        l.      Business Day

         The term “Business Day” means any day that is not a Saturday, Sunday, or “legal holiday,”
 in the United States or the Commonwealth of Pennsylvania.

        m.      Channeling Injunction

        The term “Channeling Injunction” means an order of the Court, effective as of the date
 the Trust receives the Settlement Amount, requiring all Channeled Claimants to assert their
 Channeled Claims against the Trust which states, verbatim:

               Channeling Injunction Preventing Prosecution of Channeled Claims Against
        Protected Parties and Settling Insurers.

               In consideration of the undertakings of the Protected Parties and the Settling
        Insurers under the Plan, their contributions to the Trust, and other consideration,
        and pursuant to their respective settlements with the Debtor, and to further preserve
        and promote the agreements between and among the Protected Parties and Settling
        Insurers, and to supplement where necessary the injunctive effect of the discharge as
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        provided in sections 524 and 1141 of the Bankruptcy Code, and pursuant to sections
        105 and 363 of the Bankruptcy Code:

               a. any and all Channeled Claims are channeled into the Trust and shall be
        treated, administered, determined, and resolved under the procedures and protocols
        and in the amounts established under the Plan and the Trust Agreement as the sole
        and exclusive remedy for all holders of Channeled Claims;

               b. any and all Persons who have held or asserted, hold or assert, or may in the
        future hold or assert any Channeled Claims are hereby permanently stayed, enjoined,
        barred, and restrained from taking any action, directly or indirectly, for the purposes
        of asserting, enforcing, or attempting to assert or enforce any Channeled Claim
        against the Protected Parties or Settling Insurers, including:

                      (i). commencing or continuing in any manner any action or other
               proceeding of any kind with respect to any Channeled Claim against any of
               the Protected Parties or the Settling Insurers or against the property of any of
               the Protected Parties or Settling Insurers;

                      (ii). enforcing, attaching, collecting or recovering, or seeking to
               accomplish any of the preceding, by any manner or means, from any of the
               Protected Parties or Settling Insurers, or the property of any of the Protected
               Parties or Settling Insurers, any judgment, award, decree, or order with
               respect to any Channeled Claim against any of the Protected Parties or the
               Settling Insurers;

                      (iii). creating, perfecting, or enforcing, or seeking to accomplish any of
               the preceding, any lien of any kind relating to any Channeled Claim against
               any of the Protected Parties or Settling Insurers, or the property of the
               Protected Parties or Settling Insurers;

                      (iv). asserting, implementing, or effectuating, any Channeled Claim of
               any kind against: (A) any obligation due any of the Protected Parties or
               Settling Insurers; (B) any of the Protected Parties or Settling Insurers; or (C)
               the property of any of the Protected Parties or Settling Insurers;

                      (v). taking any act, in any manner, in any place whatsoever, that does
               not conform to, or comply with, the provisions of the Plan; or

                      (vi). asserting or accomplishing any setoff, right of indemnity,
               subrogation, contribution, or recoupment of any kind against an obligation
               due to any of the Protected Parties, the Settling Insurers, or the property of
               the Protected Parties or Settling Insurers.

               The Channeling Injunction is an integral part of the Plan and is essential to
        the Plan’s consummation and implementation. It is intended that the channeling of
        the Channeled Claims provided in this section shall inure to the benefit of the
        Protected Parties and Settling Insurers. The Channeling Injunction will become
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        effective with respect to each applicable Settling Insurer as of the date that the Trust
        receives the Settlement Amount pursuant to the terms of the applicable Insurance
        Settlement Agreement. In a successful Action to enforce the injunctive provisions of
        this Section 12.3 in response to a willful violation thereof, the moving party shall be
        entitled to recover all costs and expenses incurred, including reasonable attorneys’
        fees, from the non-moving party, and such other legal or equitable remedies as are
        just and proper, after notice and a hearing.

        n.      Claim

         The term “Claim” (a) has the meaning ascribed in § 101(5) of the Bankruptcy Code; and
 also means any past, present or (to the extent it arises prior to the Effective Date) future (b) claim,
 Action, Cause of Action, suit, debt, dues, sum of money, account, reckonings, bond, bill, specialty,
 assertion of right, complaint, cross-complaint, counterclaim, liability, obligation, right, request,
 allegation, mediation, litigation, direct action, administrative proceeding, lien, encumbrance,
 indemnity, equitable indemnity, right of subrogation, equitable subrogation, defense, injunctive
 relief, controversy, contribution, exoneration, covenant, agreement, promise, act, omission,
 trespass, variance, damages, judgment, compensation, set-off, reimbursement, restitution, cost,
 expense, loss, exposure, execution, attorneys’ fee, obligation, order, affirmative defense, writ,
 demand, inquiry, request, directive, obligation, proof of claim in a bankruptcy proceeding or
 submitted to a trust established pursuant to the Bankruptcy Code, government claim or Action,
 settlement, and/or any liability whatsoever, known or unknown, asserted or unasserted, foreseen
 or unforeseen, fixed or contingent, matured or unmatured, liquidated or unliquidated, direct,
 indirect, derivative or otherwise consequential, whether in law, equity, admiralty or otherwise,
 whether compromised, settled or reduced to a consent judgment, that may exist now or hereinafter
 for property damages, compensatory damages (such as loss of consortium, wrongful death,
 survivorship, proximate, consequential, general and special damages), punitive damages, bodily
 injury, personal injury, public and private claims, or any other right to relief whether sounding in
 tort, contract, extra-contractual or bad faith, statute, strict liability, equity, nuisance, trespass,
 statutory violation, wrongful entry or eviction or other eviction or other invasion of the right of
 private occupancy, and any amounts paid in respect of any judgment, order, decree, settlement,
 contract, or otherwise. A Person who alleges or alleged a Claim is a “Claimant”. The term
 “Claim” includes all of the following:

        (i)    Barred Claims

                The term “Barred Claims” means all Claims enjoined by the Bar Order, which
        shall include all Direct Action, Indirect, Medicare, Released, and Survivor Claims.

        (ii)   Channeled Claims

                The term “Channeled Claims” means any of the following Claims which shall be
        channeled to the Trust and have been or may be asserted against any of the DOH Entities
        or the Settling Insurers to the extent that such Claim, directly or indirectly, relates to the
        same injury, damages, facts or circumstances giving rise to a Survivor Claim, including
        each and every: (a) Survivor Claim; (b) Indirect Claim; (c) Direct Action Claim;
        (d) Contribution Claim; (e) Medicare Claims; and (f) Extra-Contractual Claims relating to

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        the Claims listed in subsection (a)–(e) of this sentence; provided, however, that
        “Channeled Claims” shall not include: (i) a Claim against an individual who perpetrated
        an act of Abuse; or (ii) a Claim against any religious order, diocese (other than the
        Reorganized Debtor), or archdiocese.

        (iii)   Contribution Claims

                The term “Contribution Claims” means all Claims, most commonly expressed in
        terms of contribution, indemnity, equitable indemnity, subrogation, or equitable
        subrogation, or reimbursement, or any other indirect or derivative recovery, by an Insurer
        against any Settling Insurer for the payment of money where such Insurer contends that it
        has paid more than its equitable or proportionate share of a Survivor Claim against a DOH
        Entity to the extent that such Claim, directly or indirectly, relates to the same injury,
        damages, facts or circumstances giving rise to a Survivor Claim (including an Unknown
        Survivor Claim); provided, however, “Contribution Claims” do not include any Claim
        for contribution, indemnity, equitable indemnity, subrogation, equitable subrogation, or
        reimbursement, or any other indirect or derivative recovery, that a Settling Insurer might
        have arising from the payment of any amounts under this Agreement.

        (iv)    Coverage Claims

                The term “Coverage Claims” means all Claims against any Zurich Entity under or
        relating to the Zurich Policies or the rights and obligations thereunder, or the breach
        thereof, including Claims seeking insurance coverage.

        (v)     Direct Action Claims

                The term “Direct Action Claims” means the same as Survivor Claims, except that
        they are asserted against any Zurich Entity, instead of any DOH Entity or the Trust, for the
        recovery of insurance proceeds.

        (vi)    Enjoined Claims

                The term “Enjoined Claims” means all Claims enjoined by the Supplemental
        Settling Insurer Injunction, which shall include all Direct Action, Indirect, Released,
        Survivor, Contribution, Extra-Contractual, and Medicare Claims.

        (vii) Extra-Contractual Claims

                The term “Extra-Contractual Claims” means all Claims against any of the Zurich
        Released Parties, in their capacity as Insurers, seeking any type of relief other than coverage
        or benefits under the Zurich Policies. “Extra-Contractual Claims” include Claims for
        compensatory, exemplary, or punitive damages, or attorneys’ fees, interest, costs, or any
        other type of relief, alleging, with respect to (i) any of the Zurich Policies; (ii) any Claim
        allegedly or actually covered under the Zurich Policies; or (iii) the conduct of the Zurich
        Released Parties with respect to (i) or (ii) any of the following: (a) bad faith; (b) failure to
        provide insurance coverage under any Zurich Policy; (c) failure or refusal to compromise
        and settle any Claim insured under any Zurich Policy; (d) failure to act in good faith;
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        (e) violation of any covenant or duty of good faith and fair dealing; (f) violation of any
        state insurance codes, state surplus lines statutes or similar codes or statutes; (g) violation
        of any unfair claims practices act or similar statute, regulation or code; (h) any type of
        misconduct; or (i) any other act or omission of any type for which the Claimant seeks relief
        other than coverage or benefits under a Zurich Policy. The term “Extra-Contractual
        Claims” includes all Claims relating to Zurich’s (i) handling of any Coverage Claim under
        the Zurich Policies; (ii) conduct relating to the negotiation of this Agreement and the Plan;
        or (iii) conduct relating to the settlement of any Coverage Claim.

        (viii) Indirect Claims

                The term “Indirect Claims” means Claims against a DOH Entity or a Settling
        Insurer, asserted by any Person that is not an Insurer (an “Indirect Claim Claimant”), for
        contribution, indemnity, equitable indemnity, subrogation, equitable subrogation,
        reimbursement, or any other indirect or derivative recovery, on account of, or with respect
        to, any DOH Entity’s actual or alleged liability, for any Claim against such Indirect Claim
        Claimant that relates to Abuse that took place in whole or in part prior to the Effective
        Date.

        (ix)   Medicare Claims

                The term “Medicare Claims” means any and all Claims against the Trust, any
        Settling Insurer, or any DOH Entity, brought or asserted by CMS, and/or any other agent
        or successor Person charged with responsibility for monitoring, assessing, or receiving
        reports made under MMSEA and pursuing Claims under MSP, relating to any payments in
        respect of any Survivor Claims, including Claims for reimbursement of payments made to
        Survivor Claimants who recover or receive any distribution from the Trust, and Claims
        relating to reporting obligations.

        (x)    Released Claims

               The term “Released Claims” means all Claims released by the DOH Entities
        pursuant to this Agreement.

        (xi)   Survivor Claims

                (A) The term “Survivor Claims” means all Claims, allowed or disallowed, for
        which any of the DOH Entities is or may be liable, relating to, in whole or in part, directly
        or indirectly, Abuse that took place in whole or in part prior to the Effective Date. For the
        avoidance of doubt, the term “Survivor Claims” includes any Known Survivor Claim,
        Unknown Survivor Claim and Late-Filed Survivor Claim, regardless of whether such
        Survivor Claim is barred by any applicable statute of limitations as of the Filing Date or
        Effective Date, but does not include Contribution Claims, Indirect Claims, or Medicare
        Claims.

               (B) The term “Unknown Survivor Claim” means any Survivor Claim relating to,
        in whole or in part, directly or indirectly, Abuse that took place in whole or in part prior to
        the Effective Date, but neither filed nor deemed filed, in the Bankruptcy Case, nor
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        otherwise allowed by the Court by the Effective Date, and is held by an individual who
        was at the time of the Filing Date under a disability or other condition recognized by
        Pennsylvania law, or other applicable law suspending the running of the statute of
        limitation period, that would toll the statute of limitations on such Survivor Claim.

        o.     Claims Filing Deadline

        The term “Claims Filing Deadline” means November 13, 2020, at 11:59 P.M. (prevailing
 Eastern Time).

        p.     CMS

         The term “CMS” means the Centers for Medicare and Medicaid Services of the United
 States Department of Health and Human Services, located at 7500 Security Boulevard, Baltimore,
 MD 21244-1850 and/or any other Agent or successor Person responsible for monitoring, assessing,
 or receiving reports made under MMSEA for reimbursement of Medicare Claims.

        q.     Committee

       The term “Committee” means the Official Committee of Tort Claimants appointed in the
 Bankruptcy Case, as such committee may be constituted from time to time.

        r.     Confirmation Findings and Conclusions

        The term “Confirmation Findings and Conclusions” means the findings of fact and
 conclusions of law required under §§ 1129(a), and, if applicable, 105(a) and 1129(b), of the
 Bankruptcy Code, which are to be contained within and entered as a part of the Confirmation
 Order, as necessary to confirm the Plan, including the following:

        (i)   This Agreement is the fruit of long-term negotiations amongst the Parties, which
        began in July 2020, following the Bankruptcy Court’s entry of the Mediation Order;

        (ii) The Settlement Amount provides good and valuable consideration to DOH’s
        bankruptcy estate, and enables distributions to the Channeled Claimants;

        (iii) Potential liability for the Survivor Claims precipitated the filing of the Bankruptcy
        Case;

        (iv) This Agreement is therefore necessary to the Plan because it provides significant
        funding for the Plan;

        (v) The Zurich Policies are property of DOH’s bankruptcy estate and are therefore
        subject to the in rem jurisdiction of the Court;

        (vi) The Channeled Claims are within the jurisdiction of the Court because they seek
        property of DOH’s bankruptcy estate;



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        (vii) Because it would be impractical to divide the Zurich Policies amongst DOH and the
        other DOH Entities, it was necessary for DOH to obtain the participation of the other DOH
        Entities in this Agreement;

        (viii) The DOH Entities, other than DOH, would not release their Interests in the Zurich
        Policies unless they obtained the benefits of the Channeling Injunction, because to do so
        would have left them exposed to Survivor Claims, whether or not such Claims be valid,
        and whether or not coverage exists under the Zurich Policies for such Claims;

        (ix)   Therefore, the Channeling Injunction is necessary to this Agreement;

        (x) The Channeling Injunction is narrowly tailored because it only requires Channeled
        Claims to be brought against the Trust;

        (xi) The Settlement Amount is reasonable and fair consideration for the injunction of the
        Enjoined Claims, and for Zurich’s alleged liability for Survivor Claims;

        (xii) The Settlement Amounts set forth in the Insurance Settlement Agreements provide
        good and valuable consideration to the Estate and its creditors that significantly increase
        funding under the Plan, enable enhanced distributions to Survivor Claimants that would
        not otherwise be available, and support the feasibility of the Plan. Such Settlement
        Amounts are fair consideration for the Supplemental Settling Insurer Injunction, the
        Channeling Injunction and the Bar Order and, therefore, are both fair to creditors and
        appropriate under 11 USC § 105(a);

        (xiii) The Coverage Claims are within the jurisdiction of the Bankruptcy Court because
        such Claims could enhance the estate;

        (xiv) Zurich required that DOH obtain the benefits of the Supplemental Settling Insurer
        Injunction, as a condition of entering into this Agreement and contributing the Settlement
        Amount;

        (xv) Therefore, the Supplemental Settling Insurer Injunction is necessary to this
        Agreement and the Plan; and

        (xvi) The Supplemental Settling Insurer Injunction is narrowly tailored because it only
        enjoins the Enjoined Claims against the Settling Insurers;

        s.     Confirmation Order

         The term “Confirmation Order” means an order entered by the Bankruptcy Court after a
 confirmation hearing upon Bankruptcy Notice confirming the Plan, in a form and substance as
 required by this Agreement, which order is a Final Order. The wording of the Confirmation Order
 shall be mutually acceptable to DOH and Zurich. The Confirmation Order shall contain all of the
 following provisions but no provision that is contrary to or inconsistent with this Agreement:

        (i)    confirming the Plan;


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        (ii) specifically, and individually, ordering all Persons, as set forth in the Plan, to act or
        refrain from acting as specified in the Plan;

        (iii) incorporating, as of the date the Trust receives the Settlement Amount, the terms and
        provisions of the Bar Order as though fully set forth therein;

        (iv) ordering the Trustee to perform the obligations, if any, imposed upon the Trustee by
        this Agreement;

        (v)    issuing the Channeling Injunction and the Settling Insurer Supplemental Injunction;

        (vi)   discharging DOH from all Claims, including all Channeled Claims; and

        (vii) ordering all Channeled Claimants with pending state court Actions against any DOH
        Entity to dismiss such Actions and assert them against the Trust for resolution pursuant to
        the Trust Agreement.

        The Confirmation Order shall also contain the Confirmation Findings and Conclusions.

        t.      Court

        The term “Court” means the Bankruptcy Court, or the District Court, as applicable.

        u.      District Court

        The term “District Court” means the United States District Court for the Middle District
 of Pennsylvania.

        v.      DOH

         The term “DOH” means The Diocese of Harrisburg, which is the diocesan corporation
 formed pursuant to 15 Pa. Stat. and Cons. Stat. Ann. § 5301, together with the public juridic person
 of the Roman Catholic Diocese of Harrisburg, as now constituted or as it may have been
 constituted. The term “DOH” also applies anywhere the term “Reorganized Debtor” is used, and
 “Reorganized Debtor” applies anywhere the term “DOH” is used, as is necessary to effectuate the
 terms of the Agreement. Furthermore, in the event of any Action naming any Affiliate or Agent
 of DOH, such Action shall be considered an Action against DOH, the insurance coverage for which
 is released pursuant to Section 4 hereof.

        w.      DOH Entities

        The term “DOH Entities” means, in their capacity as such, DOH and its Entities.

        The “DOH Entities” include each of the Persons set forth on Attachment B to this
 Agreement. An individual who perpetrated an act of Abuse that forms the basis for a Survivor
 Claim is not a DOH Entity with respect to that Survivor Claim.

      For the avoidance of doubt, notwithstanding any other provision of this Agreement, the
 DOH Entities include the DOH Parishes.
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        x.      DOH Entity Insurer Policy

         The term “DOH Entity Insurer Policy” means any known or unknown contract, binder,
 certificate, or policy of insurance, in effect on or before the Plan Effective Date, which actually,
 allegedly, or potentially, insures any DOH Entity, or any of their predecessors in interest,
 successors, or assigns, with respect to any Survivor Claim.

        y.      DOH Parishes

        The term “DOH Parishes” means all past and present parishes of or in DOH, in their
 capacity as public juridic persons, together with each corresponding parish corporation formed
 pursuant to 15 Pa. Stat. and Cons. Stat. Ann. § 5511.

        z.      Effective Date

         The term “Effective Date” means the day following the date on which all of the following
 have occurred: (i) all Parties have executed this Agreement; (ii) the Court has issued the Approval
 Order and the Settlement Approval Findings and Conclusions, and the Approval Order has become
 a Final Order; and (iv) the Court has issued the Confirmation Order and the Confirmation Findings
 and Conclusions, and the Confirmation Order has become a Final Order

        aa.     Entities

         The term “Entities” means with respect to a specified Person: (i) its Affiliates; (ii) each of
 the foregoing Person’s Agents; and (iii) each of the foregoing Persons’ respective predecessors,
 successors, assignors, and assigns, whether known or unknown, administrators, and all Persons
 acting on behalf of, by, through, or in concert with them, in their capacities as such.

        bb.     Entities’ Release

         The term “Entities’ Release” means the following: The remising, release, covenant not to
 sue, and permanent discharge by the DOH Entities and any subsequently appointed trustee or
 representative acting for any DOH Entity, without further act by any Person, from and against all
 Released Claims that any DOH Entity ever had, now has, or hereafter may have, from the
 beginning of time to the Effective Date, of: (1) the Zurich Released Parties; and (2) the respective
 heirs, executors, administrators, and reinsurers (as such) of any of the Persons identified in clause
 (1) hereof, in their capacities as such.

        cc.     Filing Date

        The term “Filing Date” means February 19, 2020.

        dd.     Final Order

          The term “Final Order” means an order or judgment of the Bankruptcy Court (or other
 court of competent jurisdiction) that has not been reversed, vacated or stayed and as to which
 (a) the time to appeal, petition for certiorari or move for a new trial, reargument or rehearing has
 expired and as to which no appeal, petition for certiorari or other proceedings for a new trial,

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 reargument or rehearing shall then be pending, or (b) if an appeal, writ of certiorari, new trial,
 reargument or rehearing thereof has been sought, such order or judgment of the Bankruptcy Court
 (or other court of competent jurisdiction) shall have been affirmed by the highest court to which
 such order was appealed, or certiorari shall have been denied or a new trial, reargument or
 rehearing shall have been denied or resulted in no modification of such order, and the time to take
 any further appeal, petition for certiorari or move for a new trial, reargument or rehearing shall
 have expired; provided, however, that the possibility that a motion pursuant to section 502(j) or
 1144 of the Bankruptcy Code or under Rule 59 or Rule 60 of the Federal Rules of Civil Procedure
 or any analogous rule under the Bankruptcy Rules, may be filed with respect to such order shall
 not cause such order not to be a Final Order. For the avoidance of doubt, if the Plan is substantially
 consummated as defined in § 1101(2) of the Bankruptcy Code (“Substantial Consummation”),
 and any appeal of the Confirmation Order becomes equitably moot due to Substantial
 Consummation, the Confirmation Order shall be considered a Final Order as of the date that the
 order determining such appeal to be moot has become a Final Order.

        ee.     Insurance Coverage Adversary Proceeding

        The term “Insurance Coverage Adversary Proceeding” means the case entitled The
 Roman Catholic Diocese of Harrisburg v. The Travelers Companies, et al., filed in the Bankruptcy
 Court, as Adversary Proceeding Number 20-00018.

        ff.     Insurer

          The term “Insurer” means a Person (including all of its predecessors in interest, successors,
 and assigns) that has, or is alleged to have, issued, subscribed any interest in, assumed any liability
 for, or underwritten any risk in, a DOH Entity Insurer Policy, whether or not a regulated insurance
 company.

        gg.     Interests

         The term “Interests” means all Claims, including any “interests” as that term is used in
 section 363 of the Bankruptcy Code, and other rights of any nature, whether at law or in equity,
 including all interests or other rights under Pennsylvania or other applicable law.

        hh.     Mediation

       The term “Mediation” means the mediation by the Mediation Parties, as ordered by the
 Bankruptcy Court.

        ii.     Mediation Parties

         The term “Mediation Parties” means, collectively: (a) DOH; (b) each insurer named as a
 Defendant in the Insurance Coverage Adversary Proceeding; (c) the Committee; (d) state court
 counsel for Survivor Claimants; and (e) the ad hoc committee of parishes and other parties-in-
 interest, including schools or other non-debtor Catholic entities located within the territorial area
 decreed by the Roman Catholic Church as the “Diocese of Harrisburg”, to the extent permitted or
 required by the Mediator.

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          jj.   Mediation Order

        The term “Mediation Order” means the Agreed Order Referring Adversary Proceeding
 to Mediation, entered by the Bankruptcy Court in the Insurance Coverage Adversary Proceeding,
 on July 10, 2020, Doc. No. 84.

          kk.   Mediation Request

        The term “Mediation Request” means the Request for Mediation filed by the DOH in the
 Insurance Coverage Adversary Proceeding.

          ll.   Mediator

          The term “Mediator” means the Honorable Gregg W. Zive, United States Bankruptcy
 Judge.

          mm.   Medicare

         The term “Medicare” means Title XVIII of the Social Security Act, 42 U.S.C. § 1395, et
 seq., enacted July 1, 1966, including all subsequent amendments thereto.

          nn.   Medicare Beneficiary

        The term “Medicare Beneficiary” means any individual who has received or is eligible to
 receive benefits under Medicare and is the holder of a Channeled Claim.

          oo.   Medicare Secondary Payor Act

        The term “Medicare Secondary Payor Act” or “MSP” means 42 U.S.C. § 1395y et seq.,
 or any other similar statute or regulation, and any related rules, regulations or guidance issued in
 connection therewith or amendments thereto.

          pp.   MMSEA

         The term “MMSEA” means § 111 of the Medicare, Medicaid, and SCHIP Extension Act
 of 2007 (P.L.110-173), which imposes reporting obligations on those Persons with payment
 obligations under the MSP.

          qq.   Person

          The term “Person” means any individual or entity, including any corporation, limited
 liability company, partnership, general partnership, limited partnership, limited liability
 partnership, limited liability limited partnership, proprietorship, association, joint stock company,
 joint venture, estate, trust, trustee, personal executor or personal representative, unincorporated
 association, or other entity, including any federal, international, foreign, state, or local
 governmental or quasi-governmental entity, body, or political subdivision or any agency or
 instrumentality thereof; and any other individual or entity within the definitions of (i) “person” in


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 Section 101(41) of the Bankruptcy Code or (ii) “entity” in Section 101(15) of the Bankruptcy
 Code.

        rr.     Petition Date

        The term “Petition Date” means February 19, 2020.

        ss.     Plan

         The term “Plan” means a plan of reorganization proposed by DOH, after good-faith
 consultation with the Zurich Entities, which (a) contains all of the following provisions, but no
 provision that is contrary to or inconsistent with this Agreement; (b) allows all of the acts and
 transactions under, and envisioned by, this Agreement to occur with binding legal effect; (c) does
 not materially and adversely affect the rights, duties, or interests of the DOH Entities or the Zurich
 Entities under this Agreement; (d) includes all papers, exhibits, attachments, appendices, or other
 documents filed with or in support of the Plan and necessary for its implementation, and any
 documents relating to the establishment and operation of the Trust; and (e) shall include the
 following provisions:

        (i)    specifying the terms of this Agreement shall control in the event of any conflict with
        the Plan or the Confirmation Order;

        (ii) prohibiting DOH from continuing to pursue the Insurance Coverage Adversary
        Proceeding against Zurich, requiring DOH to dismiss all Claims against Zurich, in the
        Insurance Coverage Adversary Proceeding, with prejudice, within fourteen (14) days after
        the Plan Effective Date, and prohibiting any DOH Entity from asserting any Coverage
        Claims against the Zurich Released Parties;

        (iii) specifying that, as of the date the Trust receives the Settlement Amount, the
        Channeling Injunction and the Supplemental Settling Insurer Injunction shall be effective;

        (iv) establishing the Trust, appointing the Trustee, and binding both of them to perform
        those requirements imposed upon them by this Agreement;

        (v) describing the role of the Unknown Claims Representative and seeking the
        continued appointment of the Unknown Claims Representative to continue in his duties;

        (vi) specifying that, as of the date the Trust receives the Settlement Amount, the
        Channeled Claims shall be channeled to the Trust;

        (vii) denominating, as of the date the Trust receives the Settlement Amount, each of the
        Zurich Entities as Settling Insurers;

        (viii) requiring, as of the date the Trust receives the Settlement Amount, each Channeled
        Claimant receiving a payment from the Trust to sign a release of all Claims against the
        Zurich Entities, the Zurich Released Parties and the DOH Entities;

        (ix)   and providing, verbatim:

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               (A)     It is the position of DOH that none of DOH Entities, the Trust, or the
               Settling Insurers will have any reporting obligations in respect of their contributions
               to the Trust, or in respect of any payments, settlements, resolutions, awards, or other
               Claim liquidations by the Trust, under the reporting provisions of MSP or MMSEA.
               Prior to making any payments to any claimants, the Trust shall seek a statement or
               ruling from the United States Department of Health and Human Services (“HHS”)
               that none of the Trust, DOH Entities, or Settling Insurers has any reporting
               obligations under MMSEA with respect to payments to the Trust by the DOH
               Entities or Settling Insurers or payments by the Trust to Claimants. Unless and
               until there is definitive regulatory, legislative, or judicial authority (as embodied in
               a final non-appealable decision from the United States Court of Appeals for the
               Third Circuit or the United States Supreme Court), or written confirmation from
               HHS that none of the DOH Entities or the Settling Insurers has any reporting
               obligations under MMSEA with respect to any settlements, payments, or other
               awards made by the Trust or with respect to the contributions the DOH Entities and
               the Settling Insurers have made or will make to the Trust, the Trust shall, at its sole
               expense, in connection with the implementation of the Plan, act as a reporting agent
               for the DOH Entities and Settling Insurers, and shall timely submit all reports that
               would be required to be made by any DOH Entity or Settling Insurer under
               MMSEA on account of any Claims settled, resolved, paid, or otherwise liquidated
               by the Trust or with respect to contributions to the Trust, including reports that
               would be required if the payments to the Trust by a DOH Entity or Settling Insurer
               were determined to be made pursuant to “applicable plans” for purposes of
               MMSEA, or any DOH Entity or Settling Insurer were otherwise found to have
               MMSEA reporting requirements. The Trust, in its role as reporting agent for the
               DOH Entities and Settling Insurers, shall follow all applicable guidance published
               by CMS to determine whether or not, and, if so, how, to report to CMS pursuant to
               MMSEA.

               (B)     If the Trust is required to act as a reporting agent for any DOH Entity or
               Settling Insurer pursuant to Section 1.ss.(ix)(A), the Trust shall provide a written
               certification to each DOH Entity and Settling Insurer within twenty-one (21) days
               following the end of each calendar quarter, confirming that all reports to CMS
               required by Section 1.ss.(ix)(A). have been submitted in a timely fashion, and
               identifying (a) any reports that were rejected or otherwise identified as
               noncompliant by CMS, along with the basis for such rejection or noncompliance;
               and (b) any payments to Medicare Beneficiaries that the Trust did not report to
               CMS.

               (C)    With respect to any reports rejected or otherwise identified as noncompliant
               by CMS, the Trust shall, upon request by any DOH Entity or Settling Insurer,
               promptly provide copies of the original reports submitted to CMS, as well as any
               response received from CMS with respect to such reports; provided, however, that
               the Trust may redact from such copies the Redacted Information. With respect to
               any such reports, the Trust shall reasonably undertake to remedy any issues of
               noncompliance identified by CMS, resubmit such reports to CMS, and, upon
               request by any DOH Entity or Settling Insurer, provide each DOH Entity and
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               Settling Insurer copies of such resubmissions; provided, however, that the Trust
               may redact the Redacted Information. If the Trust is unable to remedy its
               noncompliance, the provisions of Section 1.ss.(ix)(G) shall apply.

               (D)     If the Trust is required to act as a reporting agent for a DOH Entity or
               Settling Insurer pursuant to the provisions of Section 1.ss.(ix)(A), with respect to
               each Channeled Claim of a Medicare Beneficiary paid by the Trust and not
               disclosed to CMS, the Trust shall, upon request by any DOH Entity or Settling
               Insurer, promptly provide the last four digits of the claimant’s Social Security
               number, the year of the claimant’s birth and any other information in the possession
               or control of the Trust that may be necessary in the reasonable judgment of any
               DOH Entity or Settling Insurer to satisfy their obligations, if any, under MMSEA,
               as well as the basis for the Trust’s failure to report the payment. In the event any
               DOH Entity or Settling Insurer informs the Trust that it disagrees with the Trust’s
               decision not to report a Claim paid by the Trust, the Trust shall promptly report the
               payment to CMS. All documentation relied upon by the Trust in making a
               determination that a payment did not have to be reported to CMS shall be
               maintained for a minimum of six (6) years following such determination.

               (E)     If the Trust is required to act as a reporting agent for any DOH Entity, or
               Settling Insurer pursuant to the provisions of Section 1.ss.(ix)(A), the Trust shall
               make the reports and provide the certifications required by Sections 1.ss.(ix)(A)
               and (B) until such time as such DOH Entity or Settling Insurer determines, in its
               reasonable judgment, that it has no further legal obligation under MMSEA or
               otherwise to report any settlements, resolutions, payments, or liquidation
               determinations made by the Trust or contributions to the Trust. Furthermore,
               following any permitted cessation of reporting, or if reporting has not previously
               commenced due to the satisfaction of one or more of the conditions set forth in
               Section 1.ss.(ix)(A), and if any DOH Entity or Settling Insurer reasonably
               determines, based on subsequent legislative, administrative, regulatory, or judicial
               developments, that reporting is required, then the Trust shall promptly perform its
               obligations under Sections 1.ss.(ix)(A) and (B).

               (F)     Section 1.ss.(ix)(A) is intended to be purely prophylactic in nature, and does
               not imply, and shall not constitute an admission, that the DOH Entities and/or
               Settling Insurers have made payments pursuant to “applicable plans” within the
               meaning of MMSEA, or that they have any legal obligation to report any acts
               undertaken by the Trust or contributions to the Trust under MMSEA or any other
               statute or regulation.

               (G)     If CMS concludes that reporting done by the Trust in accordance with
               Section 1.ss.(ix)(A) is or may be deficient in any way, and has not been corrected
               to the satisfaction of CMS in a timely manner, or if CMS communicates to the
               Trust, any DOH Entity or Settling Insurer a concern with respect to the sufficiency
               or timeliness of such reporting, or there appears to any DOH Entity or Settling
               Insurer a reasonable basis for a concern with respect to the sufficiency or timeliness
               of such reporting or non-reporting based upon the information received pursuant to
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               Section 1.ss.(ix)(B), (C) or (D), or other credible information, then each DOH
               Entity and Settling Insurer shall have the right to submit its own reports to CMS
               under MMSEA, and the Trust shall provide to any Entity that elects to file its own
               reports such information in its possession or control as the electing party may
               reasonably require in order to comply with MMSEA, including the full reports filed
               by the Trust pursuant to Section 1.ss.(ix)(A), without any redactions. The DOH
               Entities and Settling Insurers shall keep any information they receive from the Trust
               pursuant to this Section 1.ss.(ix) confidential and shall not use such information for
               any purpose other than meeting obligations under MMSEA.

               (H)     Notwithstanding any other provisions hereof, the Trust shall not be required
               to report as required by this Section 1.ss.(ix) until the Person on whose behalf the
               Trust is required to report shall have provided its Medicare Reporting Number, if
               one exists. Moreover, the Trust shall have no indemnification obligation under this
               Section 1.ss.(ix) to such Person for any penalty, interest, or sanction with respect to
               a Claim that may arise on account of such Person’s failure timely to provide its
               Medicare Reporting Number, if one exists, to the Trust in response to a timely
               request by the Trust for such Medicare Reporting Number. However, nothing
               relieves the Trust from its reporting obligations with respect to each Person who
               provides the Trust with its Medicare Reporting Number. The Trust shall indemnify
               each DOH Entity and Settling Insurer for any failure to report payments to
               Medicare eligible Survivor Claimants on behalf of Persons who have timely
               supplied Medicare Reporting Numbers, if any exists.

               (I)     Prior to remittance of funds to any Channeled Claimant or counsel therefor,
               the Trustee shall obtain in respect of any Channeled Claim a certification from the
               Claimant that said Claimant has or will provide for the payment and/or resolution
               of any obligations owing or potentially owing under MSP relating to such
               Channeled Claim. If the Trust receives no such certification, the Trust may
               withhold payment from any Claimant the funds sufficient to assure that all
               obligations owing or potentially owing under MSP relating to such Survivor Claim
               are paid to CMS. The Trust shall provide a quarterly certification of its compliance
               with this Section 1.ss.(ix) to each DOH Entity and Settling Insurer, and permit
               reasonable audits by such Persons, no more often than annually, to confirm the
               Trust’s compliance with this Section 1.ss.(ix). For the avoidance of doubt, the Trust
               shall be obligated to comply with the requirements of this Section 1.ss.(ix)
               regardless of whether any DOH Entity or Settling Insurer elects to file its own
               reports under MMSEA pursuant to Section 1.ss.(ix)(G).

               (J)     Compliance with the provisions of this Section 1.ss.(ix) shall be a material
               obligation of the Trust under the Plan, in favor of the DOH Entities and Settling
               Insurers under the Plan.

               (K)     The Trust shall defend, indemnify, and hold harmless the DOH Entities and
               Settling Insurers from any Medicare Claims reporting and payment obligations
               relating to its payment of Channeled Claims, including any obligations owing or


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                potentially owing under MMSEA or MSP, and any Claims related to the Trust’s
                obligations under Section 1.ss.(ix).

        (x) The Social Security Administration may change (or may have already changed) its
        processes and/or procedures in a manner that is inconsistent with the foregoing. The
        Trustee shall make best efforts to comply meaningfully with the foregoing while adhering
        to the Social Security Administration's most recent processes, procedures, and
        requirements.

        tt.     Plan Effective Date

       The term “Plan Effective Date” means the effective date of the Plan, as noticed on the
 Bankruptcy Case docket.

        uu.     Redacted Information

         The term “Redacted Information” means names, Social Security numbers other than the
 last four digits, health insurance claim numbers, taxpayer identification numbers, employer
 identification numbers, mailing addresses, telephone numbers, and dates of birth of the Survivor
 Claimants, and the names of the guardians, conservators, and/or other personal representatives, as
 applicable.

        vv.     Reorganized Debtor

        The term “Reorganized Debtor” means DOH, on and after the Plan Effective Date.

        ww.     Settlement Amount.

         The term “Settlement Amount” means the sum of Two Million Four Hundred Fifty
 Thousand Dollars ($2,450,000.00), which Zurich shall pay pursuant to the terms of Section 2
 hereof.

        xx.     Settlement Approval Findings and Conclusions

        The term “Settlement Approval Findings and Conclusions” means findings of fact and
 conclusions of law pursuant to 11 U.S.C. §§ 363(b), (f), and (m) and Bankruptcy Rule 9019,
 entered concurrently with, the Approval Order, as necessary for the Court to approve this
 Agreement, including the following:

        (i)    DOH demonstrated sound business reasons for the settlement of its Claims against
        Zurich in the Insurance Coverage Adversary Proceeding and the implementation of such
        settlement through the sale of the Zurich Policies to Zurich;

        (ii) The Parties mediated their disputes over the Survivor Claims and the Coverage
        Claims pursuant to the Mediation Order, beginning in July 2020;




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        (iii) In the Mediation, the Parties negotiated extensively, at arms-length, and in good
        faith. Zurich is a purchaser in good faith of the Zurich Policies, within the meaning of
        Bankruptcy Code § 363(m), and is entitled to all of the protections of that statute;

        (iv)   Zurich is a bona fide good faith purchaser of the Zurich Policies, for value;

        (v) The terms of the transactions contemplated by this Agreement, as well as the genesis
        and background of this Agreement, have been adequately disclosed to the Court;

        (vi) The terms and conditions of this Agreement (including the consideration to be
        realized by DOH’s bankruptcy estate) are fair and reasonable;

        (vii) The transactions contemplated by this Agreement are in the best interests of the
        DOH’s bankruptcy estate, its creditors and other stakeholders;

        (viii) The only potential holders of Interests in or against the Zurich Policies are the DOH
        Entities and Persons who hold Claims against the DOH Entities, whose Claims might be
        covered by the Zurich Policies;

        (ix) The DOH Entities are parties to this Agreement, and hence are deemed to have
        consented to the sale within the meaning of Bankruptcy Code § 363(f)(2);

        (x) The Barred Claims are subject to bona fide dispute, hence the Zurich Policies may
        be sold free and clear of such Claims pursuant to § 363(f)(4);

        (xi) All holders of Claims against the Zurich Policies could be compelled, in a legal or
        equitable Action, to accept a money satisfaction of such Claims, therefore the Zurich
        Policies may be sold free and clear of such Claims pursuant to § 363(f)(5);

        (xii) The compromises and settlements embodied in the Agreement have been negotiated
        in good faith, and are reasonable, fair, and equitable;

        (xiii) In light of:

                (A)     the probability of success in litigation;

                (B)     the likely difficulties in collection;

                (C)     the complexity of the litigation involved, and the expense, inconvenience
                        and delay necessarily attending it; and

                (D)     the paramount interest of the creditors;

        this Agreement is fair and equitable and within the range of reasonable settlement terms;

        (xiv) The Settlement Amount is fair, adequate, and reasonable consideration for (a) the
        sale by the DOH Entities and the buy-back by Zurich of the Zurich Policies; (b) the Release
        of the Zurich Released Parties; and (c) the Supplemental Settling Insurer Injunction;

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        (xv) This Agreement is intended to be and is a compromise between the Parties and shall
        not be construed as an admission as to the existence or terms of any disputed policies, an
        admission of coverage under the Zurich Policies, an admission concerning the amount of
        a reasonable settlement of any claim, an admission concerning the liability or damages
        caused by the DOH entities with respect to any Survivor Claim (including the
        reasonableness of any such damages, nor shall this Agreement or any provision hereof be
        construed as a waiver, modification, or retraction of the positions with respect to the
        interpretation and application of the Zurich Policies. This Agreement does not, and is not
        intended to, set forth the Parties’ views as to rights and obligations with respect to matters
        or Persons outside the scope of this Agreement. This Agreement is without prejudice to the
        positions taken by Zurich with regard to other insureds, and without prejudice with regard
        to positions taken by any DOH Entity with regard to other insurers;

        (xvi) DOH provided due and adequate notice of the (a) sale of the Zurich Policies; (b)
        terms and conditions of this Agreement; and (c) the hearing before the Court to approve
        this Agreement and the sale of the Zurich Policies, in accordance with Bankruptcy Rules
        2002 and 6004 to all known and unknown Claimants, including by providing notice by
        publication to any Unknown Survivor Claimants;

        (xvii) It would be impractical to divide the Zurich Policies amongst the DOH Entities and
        the Survivor Claimants, therefore, to realize the value of the Zurich Policies for DOH’s
        bankruptcy estate and the Survivor Claimants requires the sale of the Zurich Policies;

        (xviii) The sale of the Zurich Policies outside the ordinary course of business satisfies the
        requirements of Bankruptcy Code § 363(b);

        (xix) The sale of the Zurich Policies free and clear of the Interests of all Persons satisfies
        the requirements of Bankruptcy Code § 363(f);

        (xx) Zurich is repurchasing the Zurich Policies, pursuant to this Agreement. Zurich is
        not purchasing any other assets of the DOH Entities and is not a continuation of the DOH
        Entities, nor engaging in a continuation of the DOH Entities’ businesses. Zurich shall not
        have any responsibility or liability with respect to any of the DOH Entities’ other assets;
        and

        (xxi) Zurich is not, and shall not be deemed to be, a successor to the DOH Entities, or any
        of them, by reason of any theory of law or equity or as a result of the consummation of the
        transactions contemplated in this Agreement, the Plan, or otherwise. Zurich shall not
        assume, or be deemed to have assumed, any liabilities or other obligations of the DOH
        Entities.

        (xxii) To the extent any Claimant may have any legal or equitable right to assert a Claim
        either directly against the Zurich Policies, which policies are being acquired by Zurich
        pursuant to this Agreement, or indirectly by asserting such Claim against any DOH Entity,
        such Claims are deemed to be (a) “interests” as that term is used in Bankruptcy Code §
        363(f); and (b) “Interests” herein; and

        (xxiii) The Agreement may be approved pursuant to Bankruptcy Rule 9019(a).
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        yy.    Settlement Payment Date

         The term “Settlement Payment Date” means the day that is the later of (a) the Plan
 Effective Date; and (b) sixty (60) days after the Confirmation Order becomes a Final Order,
 provided, however, that if such date is not a Business Day, the Settlement Payment Date shall be
 the next Business Day.

        zz.    Supplemental Settling Insurer Injunction

        The term “Supplemental Settling Insurer Injunction” means an order of the Bankruptcy
 Court, effective as of the date the Trust receives the Settlement Amount, which states, verbatim:

               Supplemental Settling Insurer Injunction.

                Pursuant to sections 105(a) and 363 of the Bankruptcy Code, and in
        consideration of the undertakings of the Settling Insurers pursuant to the Insurance
        Settlement Agreements, including certain Settling Insurers’ purchase of the
        applicable Settling Insurer Policies free and clear of all Claims and Interests pursuant
        to section 363(f) of the Bankruptcy Code, any and all Persons who have held, now
        hold, or who may in the future hold any Claims or Interests (including all debt
        holders, all equity holders, all Persons holding a Claim, governmental, tax and
        regulatory authorities, lenders, trade and other creditors, Survivor Claimants,
        perpetrators and all others holding Interests of any kind or nature whatsoever,
        including those Claims released or to be released pursuant to the Insurance
        Settlement Agreements) against any of the Settling Insurers, including (i) Claims
        relating to the Settling Insurer Policies, including Survivor Claims, Direct Action
        Claims, Indirect Claims, and Released Claims, (ii) the payment of any of the Claims
        identified in (i), including Contribution Claims and Medicare Claims, and (iii) Extra-
        Contractual Claims are hereby permanently stayed, enjoined, barred, and restrained
        from taking any action, directly or indirectly, to assert, enforce or attempt to assert
        or enforce any such Claim or Interest against the Settling Insurers or Settling Insurer
        Policies, including:

               a. commencing or continuing in any manner any action or other proceeding,
        whether legal, equitable or otherwise, against the Settling Insurers or the property of
        the Settling Insurers;

               b. enforcing, attaching, collecting, or recovering, or seeking to do any of the
        preceding, by any manner or means, any judgment, award, decree or order against
        the Settling Insurers or the property of the Settling Insurers;

                c. creating, perfecting, or enforcing, or seeking to do any of the preceding, any
        lien of any kind against the Settling Insurers or the property of the Settling Insurers;

               d. asserting or accomplishing any setoff, right of indemnity, subrogation,
        contribution, or recoupment of any kind against any obligation due to the Settling
        Insurers or the property of the Settling Insurers;

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              e. taking any act, in any manner, in any place whatsoever, that does not
        conform to, or comply with, the provisions of the Plan; and

               f. Any and all Persons holding Interests or Claims of any kind arising under
        or related to the Settling Insurer Policies shall be permanently enjoined from
        pursuing such Interests or Claims against the Settling Insurers.



                The Supplemental Settling Insurer Injunction will be effective with respect to
        a Settling Insurer only as of the date that the Trust receives the Insurance Settlement
        Amount pursuant to the terms of the applicable Insurance Settlement Agreement.
        The Supplemental Settling Insurer Injunction bars the above-referenced actions
        against the Settling Insurers and the Settling Insurer Policies, but against no other
        person or thing; provided, however, nothing in this Supplemental Settling Insurer
        Injunction shall limit, or be deemed or otherwise interpreted to limit, the scope of the
        discharge or Channeling Injunction in favor of the Protected Parties. The foregoing
        injunctive provisions are an integral part of this Plan and are essential to its
        implementation.

        aaa.    Settling Insurers

         The term “Settling Insurers” means, collectively, the Zurich Entities, the Zurich Released
 Parties, and all other insurers of the DOH Entities, which, after the Petition Date, settle Claims for
 insurance coverage brought against them by any DOH Entity, and which obtain the protection of
 the Supplemental Settling Insurer Injunction.

        bbb.    Termination Event

        The term “Termination Event” means

        (i)     the Court has not entered the Approval Order by March 31, 2023;

        (ii)    the Court has not entered the Confirmation Order by March 31, 2023;

        (iii)   the Court has not entered the Bar Order by March 31, 2023;

        (iv) the Approval Order, the Confirmation Order or the Bar Order fails to become a Final
        Order by May 1, 2023;

        (v)     the Court denies approval of this Agreement;

        (vi) the Court enters an order or grants such other relief that is inconsistent with this
        Agreement;

        (vii) the DOH files any plan of reorganization other than the Plan;



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        (viii) the appointment of a trustee under section 1104 of the Bankruptcy Code or an
        examiner with expanded powers in the Bankruptcy Case; or

        (ix)  the Plan is amended in any manner that is inconsistent with the terms of this
 Agreement; provided, however, the deadlines set forth in (i) through (iv) of the foregoing may be
 extended by mutual written consent of the Parties.

        ccc.    Trust

          The term “Trust” means the trust to be established under the Plan, which will assume
 liability for, and be established, pursuant to the Plan and, if applicable, Bankruptcy Code § 105, to
 make distributions pursuant to the Plan, the Trust Agreement, and the Trust Distribution Plan,
 including payments to Survivor Claimants.

        ddd.    Trust Agreement

        The term “Trust Agreement” means, collectively, any agreement establishing the Trust
 and the requirements for its administration.

        eee.    Trust Distribution Plan

        The term “Trust Distribution Plan” means the Trust Distribution Plan established under
 the Trust Agreement and which governs the payment of Trust Distributions.

        fff.    Trustee

        The term “Trustee” means the Person appointed as Trustee to administer the Trust, in
 accordance with the terms of the Plan, the Confirmation Order, and the Trust Agreement, or any
 successor appointed in accordance with the terms of the Plan, Confirmation Order, and the Trust
 Agreement.

        ggg.    Unknown Claims Representative

         The term “Unknown Claims Representative” means the Hon. Michael R. Hogan, the
 legal representative for holders of Unknown Survivor Claims, or any successor appointed by the
 Bankruptcy Court.

        hhh.    Zurich

       The term “Zurich” means Zurich American Insurance Company, successor by merger to
 Maryland Casualty Company.

        iii.    Zurich Bill of Sale

        The term “Zurich Bill of Sale” means a fully executed bill of sale evidencing the sale,
 assignment, and transfer of the Zurich Policies to Zurich free and clear of all Interests of all
 Persons, including the Survivor Claimants and the DOH Entities.


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        jjj.    Zurich Entities

        The term “Zurich Entities” means Zurich and its Entities.

        kkk.    Zurich Released Parties

        The term “Zurich Released Parties” means:

        (i)    Zurich;

        (ii)   The Zurich Entities, with respect to the subject matter of this Agreement;

        (iii) Any Person from time to time retained by or on behalf of Zurich to act as their claims
        handling agent and/or service provider, solely in such capacity;

        (iv) The past, present and future reinsurers, retrocessionaires and reinsurance
        intermediaries of Zurich, solely in such capacity; and

        (v) All past, present and future Affiliates and Agents of the Persons set forth in Sections
        1.jjj.(i) to (iv) (inclusive), if any, solely in such capacity; and

        (vi) The respective heirs, executors, successors and assigns (including any administrator,
        receiver, trustee, personal representative, liquidator (provisional or otherwise), or
        equivalent appointee/s under relevant insolvency law), of any of the Persons identified in
        Sections 1.kkk.(i) through (v) (inclusive) above, solely in such capacity.

        lll.    Zurich Policies

         The term “Zurich Policies” means (i) all alleged insurance policies listed in Attachment A
 hereto; and (ii) all known and unknown insurance policies to the extent issued by any Zurich Entity
 and providing insurance to any DOH Entity, provided, however, if a Zurich Policy that is not listed
 in Attachment A was not issued to a DOH Entity (or such Person’s Affiliates) but provides
 coverage to a DOH Entity, then it is a Zurich Policy only to the extent it insures or allegedly insures
 a DOH Entity.

 2.     Payment of the Settlement Amount

        a.     This Agreement is effective on the Effective Date. The occurrence of the
 Settlement Payment Date is a condition precedent to Zurich’s obligation to pay the Settlement
 Amount.

         b.      On the Settlement Payment Date, in full and final settlement of all obligations under
 and relating to the Zurich Policies, and in consideration of the sale of the Zurich Policies to Zurich,
 free and clear of all Interests of any Person, and the releases provided herein, Zurich shall pay the
 Settlement Amount in accordance with the payment instructions to be provided by the Trust (which
 instructions shall be dated, be on the recipient’s letterhead, and include direct contact information
 for a representative of the recipient who can confirm the instructions verbally via telephone), no
 less than twenty-one (21) days prior to the Settlement Payment Date.

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         c.      Upon the Trust’s receipt of the Settlement Amount from Zurich, the sale,
 assignment, and transfer of the Zurich Policies to Zurich shall be effective and binding, with the
 intent that no Person shall retain anything whatsoever with respect to the Zurich Policies.

         d.       If, before the occurrence of the Settlement Payment Date, a DOH Entity other than
 DOH becomes a debtor in a bankruptcy case or insolvency Action, under the Bankruptcy Code or
 otherwise, and Zurich has not satisfied its payment obligation arising hereunder, then Zurich shall
 be excused from performance under this Agreement until such time as either (i) such DOH Entity
 obtains, subject to the limitations imposed by the Bankruptcy Code, and subject to the equitable
 powers of the court in which such Action is pending, an order from such court approving this
 Agreement under Bankruptcy Code § 363(b), (f), and (m), and Bankruptcy Rule 9019, authorizing
 the assumption by such DOH Entity (or any successor thereto) of this Agreement under
 Bankruptcy Code § 365 (“Assumption”), or in the event the insolvency case is proceeding under
 other law, shall obtain a similar order from the court overseeing the insolvency case approving this
 Agreement and confirming the binding effect thereof; (ii) DOH obtains an order in the Action
 compelling the Assumption; or (iii) DOH obtains an order from the Court determining the
 equitable portion of the Settlement Amount allocable to any interest the DOH Entity subject to
 such bankruptcy case or insolvency Action may have in the Zurich Policies. Each DOH Entity
 agrees that in the event it files a bankruptcy or other insolvency Action, it will not present any
 Claim for payment under this Agreement or the Zurich Policies to Zurich until the Assumption has
 been approved by an order of the applicable court and such order has become a Final Order or until
 its equitable share in the Settlement Amount has been established by order of the Court pursuant
 to clause (iii) above, and such order has become a Final Order. Zurich agrees to cooperate fully
 and provide commercially reasonable assistance to DOH and any DOH Entity in obtaining any of
 the orders contemplated in this Section 2(d).

 3.     Several Liability

         The obligations of Zurich and of other Settling Insurers are several and not joint. The DOH
 Entities agree that Zurich shall not be liable for any settlement amount allocable to any other
 Person. Accordingly, Zurich agrees to pay only the Settlement Amount. No DOH Entity shall
 seek to recover from Zurich any amount in excess of the Settlement Amount. Upon the Trust’s
 receipt of the Settlement Amount from Zurich, each DOH Entity shall be deemed to have released
 each of the Zurich Released Parties pursuant to Section 4 of this Agreement without further action
 by any Person.

 4.     Mutual Releases

        a.      By DOH Entities

        (i)   Upon the Trust’s receipt of the Settlement Amount from Zurich, the Entities’
        Release in favor of the Zurich Released Parties shall become immediately effective for
        Zurich without further act by any Person.

        (ii) DOH’s Sale of Policies and Interests Pursuant to Section 363 of the Bankruptcy
        Code. From and after the first day on which the Bankruptcy Orders are Non-Appealable
        Orders, the Zurich hereby buys back the Zurich Policies that were issued or allegedly

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        issued to the DOH Entities and the DOH Entities’ Interests in the other Zurich Policies,
        free and clear of all Interests of all Persons, including all Interests of the DOH Entities or
        any other Person claiming coverage by, through, or on behalf of any of the Diocese Entities,
        any insurer and any Survivor Claimant. This sale is pursuant to sections 363(b), (f), and
        (m) of the Bankruptcy Code. The Parties acknowledge and agree, and the Approval Order
        shall find and conclude, that: (a) Zurich is a good faith purchaser of the Zurich Policies and
        Interests within the meaning of section 363(m) of the Bankruptcy Code; (b) the
        consideration exchanged constitutes a fair and reasonable settlement of the Parties’
        disputes and of their respective rights and obligations relating to the foregoing Zurich
        Policies and Interests and constitutes reasonably equivalent value; (c) the releases in this
        Agreement and the policy buyback comply with the Bankruptcy Code and applicable non-
        bankruptcy laws; (d) upon the Bankruptcy Orders becoming Non-Appealable Orders, the
        foregoing Zurich Policies and Interests shall be terminated and of no further force and
        effect; (e) Zurich’s payment of the Settlement Amounts in accordance with the Joint Plan
        as amended as required by this Agreement to Zurich’s satisfaction constitutes Zurich’s full
        and complete performance of any and all obligations under the foregoing Zurich Policies
        and with respect to the foregoing Interests, including any performance owed to the DOH
        Entities and exhausts all limits of liability of the foregoing Zurich Policies issued or
        allegedly issued to the DOH Entities and with respect to the foregoing Interests; (f) all
        Interests of the DOH Entities may have had, may presently have, or in the future may have
        in the Zurich Policies that were issued or allegedly issued to the DOH Entities and all
        Interests the DOH Entities have in the other Zurich Policies are released pursuant to the
        terms of this Agreement; (g) the DOH Entities meet the requirements to complete the sale
        of the Zurich Policies and Interests free and clear of any liens or other Interests; and (h) the
        DOH Entities accept the payment of the Settlement Amounts set forth in Section 1.ww. in
        accordance with the Joint Plan (as amended to Zurich’s satisfaction) in full and complete
        satisfaction of all Zurich’s past, present, and future obligations, including any obligations
        to any of the DOH Entities under such Zurich Policies or arising therefrom, as to any and
        all Claims for insurance coverage or policy benefits of any nature whatsoever arising out
        of or related in any way to such Zurich Policies, whether legal or equitable, known or
        unknown, suspected or unsuspected, fixed or contingent, and regardless of whether such
        claims arise from, relate to, or are in connection with the Channeled Claims or otherwise
        under the Zurich Policies.

        (iii) It is the intention of the DOH Entities to reserve no rights or benefits whatsoever
        under or in connection with the Zurich Policies and to assure the Zurich Released Parties
        their peace and freedom from such Interests and from all assertions of rights in connection
        with such Interests, provided, however, the Entities’ Release does not release, and nothing
        in this Agreement shall affect, the right of the DOH Entities, or the Trust, as applicable, to
        assert and pursue, Claims against and to collect from Insurers other than those released
        under the Entities Release, and no Claims are released with respect to such Persons.

        (iv) Upon the Trust’s receipt of the Settlement Amount, any and all rights, duties,
        responsibilities, and obligations of Zurich created by or in connection with the Zurich
        Policies, are terminated. As of the Settlement Payment Date, the DOH Entities shall have
        no insurance coverage under the Zurich Policies. The Entities’ Release shall operate as
        though Zurich had never issued the Zurich Policies.
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        (v) Each DOH Entity signing this Agreement, is, among other things, (a) releasing all
        Released Claims, including Claims that it does not know or suspect to exist in its favor,
        which, if known by such DOH Entity, might have materially affected its settlement with
        Zurich, and (b) expressly waiving all rights it might have under any federal, state, local, or
        other law or statute that would in any way limit, restrict, or prohibit such general release.

        (vi) Except with respect to any material breach of any representation, warranty or
        covenant by Zurich set forth in this Agreement, each DOH Entity expressly assumes the
        risk that acts, omissions, matters, causes, or things may have occurred, which it does not
        know or does not suspect to exist. To the fullest extent permitted by applicable law, each
        DOH Entity hereby waives the terms and provisions of any statute, rule or doctrine of
        common law which either: (a) narrowly construes releases purporting by their terms to
        release Claims in whole or in part based upon, arising from, or related to such acts,
        omissions, matters, causes or things; or (b) which restricts or prohibits the releasing of such
        Claims.

        (vii) Nothing in the foregoing shall release Zurich from its obligations under this
        Agreement including the obligation to pay the Settlement Amount.

        b.      By Zurich

        (i)   At the same time the Entities’ Release becomes effective, Zurich shall be deemed to
        remise, release, covenant not to sue, and forever discharge each DOH Entity from and
        against all Claims relating to the Zurich Policies, which Zurich ever had, now have or
        hereinafter may have, from the beginning of time to the Settlement Payment Date.

        (ii) Each Person released under the Entities’ Release shall reserve no rights or benefits
        whatsoever under or in connection with the Zurich Policies.

        (iii) Except with respect to any material breach of any representation, warranty or
        covenant by any DOH Entity set forth in this Agreement, Zurich expressly assumes the
        risk that acts, omissions, matters, causes, or things may have occurred, which it does not
        know or does not suspect to exist. To the fullest extent permitted by applicable law, Zurich
        hereby waives the terms and provisions of any statute, rule or doctrine of common law
        which either: (a) narrowly construes releases purporting by their terms to release Claims in
        whole or in part based upon, arising from, or related to such acts, omissions, matters, causes
        or things; or (b) which restricts or prohibits the releasing of such Claims.

 5.     Indemnification

         a.      This Section 5 is effective upon the Trust’s receipt of the Settlement Amount. The
 Trust shall indemnify and hold harmless the Zurich Released Parties from and against any and all
 Channeled Claims; and the Reorganized Debtor shall indemnify the Zurich Released Parties from
 and against all Enjoined Claims except for the Channeled Claims. These indemnifications include
 Claims made by Persons over whom the Trust and/or the Reorganized Debtor does not have
 control, including the DOH Entities, former subsidiaries, predecessors in interest, sellers or
 purchasers of assets, or any other Person who holds a Claim that the Trust and/or the Reorganized
 Debtor is indemnifying.
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         b.     Zurich shall have the right to defend, with counsel of its choice, all Claims
 identified under Section 5.a. Zurich may begin the defense of any Claim upon receipt of such a
 Claim. Zurich agrees to notify the Trust and/or the Reorganized Debtor, as applicable, promptly
 of Claims identified under Section 5.a. and of its choice of counsel.

        c.      The Trust, and/or Reorganized Debtor, as applicable, shall reimburse all reasonable
 and necessary attorneys’ fees, expenses, costs, and amounts incurred by Zurich in defending such
 Claims identified under section 5.a. Zurich shall defend any such Claim in good faith. The
 indemnity obligations set forth in Section 5.a, hereof, to indemnify Zurich shall not exceed the
 Settlement Amount actually paid by Zurich. In defense of any such Claim, Zurich may settle or
 otherwise resolve a Claim with the prior consent of the Trust and/or Reorganized Debtor, as
 applicable, which consent shall not be unreasonably withheld.

 6.     Bankruptcy Obligations

          a.     DOH shall provide to Zurich an initial draft of the proposed form of Approval
 Order, Settlement Approval Findings and Conclusions, and Bar Order at least fourteen (14) days
 before DOH submits the foregoing for approval of this Agreement to the Court, so that Zurich may
 provide comments and suggestions. In the event that DOH makes material revisions to any of the
 foregoing documents, then, as soon as possible, DOH shall provide a copy of such material
 revisions to Zurich. Zurich reserves the right to object to, inter alia, (i) any proposed order that
 does not satisfy all of the requirements of the definition of Approval Order set forth in Section 1.e,
 or (ii) any proposed findings and conclusions that do not satisfy all of the requirements of the
 definition of Settlement Approval Findings and Conclusions set forth in Section 1.xx, or the
 definition of Bar Order set forth in Section 1.k.

         b.      DOH shall provide to Zurich an initial draft of the proposed form of Confirmation
 Order, and Confirmation Findings and Conclusions, at least fourteen (14) days before DOH
 submits the foregoing to the Court, so that Zurich may provide comments and suggestions. In the
 event that DOH makes material revisions to any of the foregoing documents, then, as soon as
 possible, DOH shall provide a copy of such material revisions to Zurich. Zurich reserves the right
 to object to, inter alia, any proposed order that does not satisfy all of the requirements of the
 definition of Confirmation Order set forth in Section 1.s, or any proposed findings of fact and
 conclusions of law that do not satisfy all the requirements of the definition of Confirmation
 Findings and Conclusions in Section 1.r.

        c.      DOH provided to Zurich a copy of the Joint Chapter 11 Plan of Reorganization for
 the Diocese of Harrisburg (the “Joint Plan”) upon the filing of the Joint Plan. To the extent that
 the Joint Plan does not meet the requirements set forth in the definition of “Plan” set forth in
 Section 1.ss above, DOH shall modify such Joint Plan to assure that the filed plan of reorganization
 submitted to Court for confirmation comports with such definition, and Zurich shall have the right
 to approve all modifications that affect their rights or obligations under this Agreement. In the
 event that DOH makes material revisions to the filed plan of reorganization, then, as soon as
 possible, DOH shall provide a copy of such material revisions to Zurich. Zurich reserves the right
 to object to, inter alia, any proposed plan of reorganization that does not satisfy all of the
 requirements of the definition of Plan set forth in Section 1.ss. (a “Non-Compliant Plan”). If
 DOH proposes a Non-Compliant Plan, then Zurich may contest such plan, and DOH shall not

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 request a hearing date on confirmation of a Non-Compliant Plan less than thirty (30) days after the
 date such plan is filed in the Court.

         d.     DOH will seek entry of the Confirmation Order, as set forth in Section 1.s., together
 with the Confirmation Findings and Conclusions, as set forth in Section 1.r., including any required
 findings and conclusions under the Bankruptcy Code.

         e.     DOH shall serve Bankruptcy Notice of the initial hearing to approve this
 Agreement and on confirmation of the Plan and the time for filing objections thereto. The
 proposed form of notice shall be submitted to Zurich for their review and comment no later than
 seven (7) days prior to the actual service of notice. If the initial hearing to approve this Agreement
 or to confirm the Plan is adjourned, DOH shall not be required to provide Bankruptcy Notice of
 such adjourned hearing and shall only be required to file a notice of such adjournment on the
 docket in the Bankruptcy Case and provide such other and further notice as the Court may direct.

         f.      In the event that any Person attempts to prosecute a Barred Claim, before the
 Effective Date, against Zurich or any DOH Entity, then promptly following notice from such
 Zurich or DOH Entity, DOH shall file a motion and supporting papers to obtain an order from the
 Bankruptcy Court, pursuant to Bankruptcy Code §§ 105(a) and/or 362(b), as applicable, staying
 such Claims until the date that the Approval Order and Confirmation Order have each become a
 Final Order, or, alternatively, this Agreement is terminated under Section 9. However, if DOH is
 unable to obtain a stay of such Claim then Zurich may, to the extent feasible, and subject to the
 terms, conditions, and any applicable limits and retentions of the Zurich Policies, defend such
 Claims and either settle them or litigate them to judgment, and the applicable DOH Entities shall
 fully assist and cooperate with Zurich in such defense. If after such a Claim is brought, and if:

        (i)    the Effective Date occurs, then any payment by Zurich to resolve such Barred Claim,
        including defense costs paid to an insured’s counsel, shall be deducted from the Settlement
        Amount, and Zurich shall pay the balance of its Settlement Amount; if the payment by
        Zurich to resolve such Barred Claim equals or exceeds its Settlement Amount, then Zurich,
        shall automatically, and without further action by any Person, be relieved of any further
        obligations under this Agreement and entitled to all the benefits hereunder, including the
        Entities Release; or, alternatively,

        (ii) the Effective Date does not occur, before this Agreement is terminated under Section
        9, then any amounts paid by Zurich shall be credited against its obligations, if any exist,
        under the Zurich Policies.

 7.     Representations and Warranties

         a.     DOH represents and warrants that the notice required under the definition of
 Bankruptcy Notice includes all Claimants whose names and addresses are known to, or are readily
 ascertainable by any Party.

       b.       Each DOH Entity represents and warrants that it has the authority to execute this
 Agreement as its binding and legal obligation, subject in the case of DOH, to receiving Court
 approval of this Agreement.

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          c.      Zurich represents and warrants to DOH that (i) it has, and at all times prior to
 payment in full of the Settlement Amount will have, sufficient assets to pay the Settlement Amount
 in full; and (ii) it is not now, nor has it ever been, the subject of any bankruptcy or insolvency
 proceeding in any jurisdiction.

         d.     Each Party represents and warrants that the Persons signing this Agreement on its
 behalf are authorized to execute this Agreement.

         e.     Each individual signing this Agreement on behalf of a Party represents and warrants
 that he or she has the right, power, legal capacity, and authority to enter into this Agreement on
 behalf of such Party and bind such Party to perform each of the obligations specified herein.

 8.     Judgment Reduction.

         a.       In connection with any Claim arising out of or related to a Channeled Claim,
 Enjoined Claim, or Claim otherwise released under this Agreement or under the Plan as to Zurich,
 brought by a DOH Entity, the Reorganized Debtor, or the Trust against any Person other than
 Zurich, which results in an adjudication on the merits, whether in court or another tribunal with
 jurisdiction, or in a binding arbitration award, that such other Person is liable to a DOH Entity, the
 Reorganized Debtor, or the Trust, and that such judgment or binding arbitration award includes
 sums which are allocable to Zurich under any Zurich Policies, and solely to the extent that Zurich
 is not fully indemnified for such judgment or award pursuant to Section 5 of this Agreement, the
 DOH Entity, the Reorganized Debtor, and/or the Trust, as applicable, will agree to reduce the
 judgment or binding arbitration award against such other Person or take other steps as necessary
 in order to avoid such liability being imposed on Zurich. Such a reduction in a DOH Entity’s, the
 Reorganized Debtor’s, or the Trust’s judgment or binding arbitration award will be accomplished
 by subtracting from the judgment or binding arbitration award against any such Person the share
 of the judgment or binding arbitration award, if any, which is applicable to Zurich.

          b.      To ensure that such a reduction is accomplished and the Zurich is protected, Zurich
 will be entitled to assert this paragraph as a defense in any Claim against them for any such portion
 of the judgment or binding arbitration award, and will be entitled to have the court or appropriate
 tribunal issue such orders as are necessary to effectuate the reduction to protect Zurich from
 liability for the judgment or binding arbitration award solely to the extent such judgment or award
 relates to Claims released under this Agreement or under the Plan.

         c.      In the event a DOH Entity, the Reorganized Debtor, or the Trust settles any Claim
 related to or arising out of a Claim released under this Agreement or the Plan with any Person
 other than Zurich without Zurich’s consent, the DOH Entity, the Reorganized Debtor, or the Trust
 (as applicable) agrees that it will not seek from Zurich any sums allocated to Zurich by such
 settlement. The DOH Entities, the Reorganized Debtor, and the Trust further agree that they will
 use their reasonable efforts to obtain a release in favor of Zurich from any Person with which they
 settle any Claims relating to or arising out of Claims released under this Agreement.

         d.      DOH, the Reorganized Debtor, and the Trust specifically agree to mold any
 recovery that may be awarded, or verdict and/or judgment that may be entered, and to take any
 other action as may be necessary, in connection with any Claim subject to this Section 8, to ensure

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 that Zurich shall never be obligated to pay to DOH, the Reorganized Debtor, or the Trust anything
 more than the Settlement Amount identified herein.

         e.      To ensure that the reduction contemplated in this Section 8 is accomplished, the
 Zurich Entities shall be entitled to: (i) notice, pursuant to Section 19, within a reasonable time of
 the initiation of any future Action against or future settlement negotiations with any Person that
 could give rise to the possibility of a Claim against any Zurich Entity, or any allocation of liability
 or damages against any Zurich Entity, and periodic notices thereafter on at least an annual basis of
 the status of such Action or negotiations; (ii) the opportunity to participate in the Action or
 settlement negotiations without objection by any party thereto, but only to the extent necessary to
 accomplish the reduction contemplated in this Section 8.

 9.     Termination of Agreement

        a.      The Parties may terminate this Agreement in writing upon mutual assent.

         b.      Any Party may terminate this Agreement upon thirty (30) days’ notice to the other
 Parties if a Termination Event occurs.

         c.       In the event of termination pursuant to this Section 9, unless the Parties agree
 otherwise in writing, this Agreement shall be void ab initio and all Parties shall retain all of their
 Interests relating to the Zurich Policies as if this Agreement never existed.

          d.      If Zurich does not pay the Settlement Amount, DOH, at its option, may by written
 notice to other parties to this Agreement, terminate this Agreement in its entirety. In the event of
 a termination, (i) Zurich shall not be a Settling Insurer; (ii) Zurich shall not receive the benefit of
 the Entities’ Release, the Channeling Injunction, or the Supplemental Settling Insurer Injunction;
 (iii) this Agreement shall be void ab initio; and (v) the Parties shall retain all of their Interests
 relating to that portion of any insurance policies to the extent issued or subscribed by Zurich, as if
 this Agreement never existed.

 10.    Treatment of Perpetrators

        Nothing in this Agreement overrides the treatment in the Plan of individuals who
 perpetrated an act of Abuse that forms the basis for a Survivor Claim.

 11.    Reasonably Equivalent Value

        a.      This Agreement was bargained for and entered into in good faith and as the result
 of arms-length negotiations;

        b.      Based on their respective independent assessments, with the assistance and advice
 of counsel, of the probability of success, the complexity, the delay in obtaining relief, and the
 expense of maintaining the Insurance Coverage Adversary Proceeding, the payments received by
 the DOH Entities pursuant to this Agreement constitute a fair and reasonable settlement of the
 Released Claims;



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         c.      The payments and other benefits received under this Agreement by the DOH
 Entities constitute reasonably equivalent value for the Entities’ Release, indemnity, and other
 benefits received by the Zurich Released Parties under this Agreement; and

         d.       Subject to the Trust’s receipt of the Settlement Amount, this Agreement constitutes
 a full and final resolution of all issues in the Insurance Coverage Adversary Proceeding.

 12.    Confidentiality

         a.      Except as necessary to obtain approval of this Agreement in the Court, the Parties
 agree that all matters relating to the negotiation of this Agreement shall be confidential and are not
 to be disclosed except by order of court, or written agreement of the Parties, except that, provided
 recipients agree to keep such information confidential, this Agreement may be disclosed to: (i)
 reinsurers of Zurich, and their retrocessionaires, directly or through intermediaries; (ii) in-house
 and outside counsel for any Party; (iii) outside auditors or accountants of any Party; (iv)
 representatives and agents of the Parties, and (v) as required, to the United States Internal Revenue
 Service or other U.S. federal or state governmental authority that properly requires disclosure, or
 as otherwise required by law. The Parties acknowledge and agree that a copy of this Agreement
 will be publicly filed on the docket and provided to parties in interest in the Bankruptcy Case,
 without obligation of confidentiality or restrictions on further disclosure.

          b.     In the event a private litigant, by way of document request, interrogatory, subpoena,
 or questioning at deposition or trial, attempts to compel disclosure of anything protected by this
 section from a Party, such Party shall decline to provide the requested information on the ground
 that this Agreement restricts such disclosure. In the event such private litigant seeks an order from
 any court or governmental body to compel such disclosure, or in the event that a court, government
 official, or governmental body (other than the United States Internal Revenue Service) requests or
 requires disclosure of anything protected by this paragraph, the Party from whom disclosure is
 sought shall promptly give written notice to the other Parties, and shall promptly provide copies
 of all notice papers, orders, requests, or other documents in order to allow each Party to take such
 protective steps as may be appropriate. Notice shall be made under this paragraph to the persons
 identified in Section 20.

        c.      Material protected by this section shall be deemed to fall within the protection
 afforded compromises and offers to compromise by Rule 408 of the Federal Rules of Evidence
 and similar provisions of state law or state rules of court.

         d.      None of the Parties shall make any public statements or disclosures (i) regarding
 any other Party’s rationale or motivation for negotiating or entering into this Agreement, or (ii)
 asserting or implying in any way that the Parties acted improperly or in violation of any duty or
 obligation, express or implied, in connection with any matter arising out of, or relating to, or in
 connection with the Zurich Policies or any other binder, certificate, or policy of insurance issued
 or allegedly issued by Zurich, with respect to any Claims against Zurich.

 13.    Co-operation

        a.     The DOH Entities will undertake all reasonable actions to co-operate with Zurich
 in connection with their reinsurers, including responding to reasonable requests for information
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 and meeting with representatives of reinsurers. Furthermore, the Parties shall use their
 commercially reasonable efforts and cooperate as necessary or appropriate to effect the objectives
 of this Agreement.

         b.     If any action or proceeding of any type whatsoever is commenced or prosecuted by
 any person not a Party to this Agreement to invalidate, interpret, or prevent the validation or
 enforcement, or carrying out, of all or any of the provisions of this Agreement, the Parties mutually
 agree, represent, warrant, and covenant to cooperate fully in opposing such action or proceeding.

 14.    Non-Prejudice and Construction of Agreement

         a.     This Agreement is intended to be and is a compromise between the Parties and
 neither this Agreement nor any provision hereof shall be construed as (i) an admission of coverage
 under the Zurich Policies; (ii) an admission concerning the amount of a reasonable settlement of
 any Claim; (iii) an admission concerning the liability of or damages caused by the DOH entities
 with respect to any Survivor Claim (including the reasonableness of any such damages); or (iv) a
 waiver, modification, or retraction of the positions of the Parties with respect to the interpretation
 and application of the Zurich Policies.

         b.      This Agreement is the product of informed negotiations and involves compromises
 of the Parties’ previously stated legal positions. Accordingly, this Agreement does not, and is not
 intended to, set forth the Parties’ views as to rights and obligations with respect to matters or
 Persons outside the scope of this Agreement. This Agreement is without prejudice to positions
 taken by Zurich with regard to other insureds, and without prejudice with regard to positions taken
 by any DOH Entity with regard to other insurers.

         c.      By entering into this Agreement, none of the Parties has waived or shall be deemed
 to have waived any rights, obligations, or positions they have asserted or may in the future assert
 in connection with any matter outside the scope of this Agreement. No part of this Agreement, its
 negotiation, or its performance may be used in any manner in any action, suit, or proceeding as
 evidence of the rights, duties, or obligations of the Parties with respect to matters outside the scope
 of this Agreement. All actions taken and statements made by the Parties or by their representatives,
 relating to this Agreement or participation in this Agreement, including its development and
 implementation, shall be without prejudice or value as precedent and shall not be used as a standard
 by which other matters may be judged.

         d.     This Agreement is the jointly drafted product of arms’-length negotiations between
 the Parties with the benefit of advice from counsel, and the Parties agree that it shall be so
 construed. As such, no Party will assert that any ambiguity in this Agreement shall be construed
 against another Party.

         e.     If any provision of the Plan, the Trust Agreement, or trust distribution procedures
 proposed thereunder conflicts with or is inconsistent with this Agreement in any way whatsoever,
 then the provisions of this Agreement shall control and take precedence. Neither the Plan nor the
 Trust Agreement shall be construed or interpreted to modify or affect any rights or obligations of
 Zurich under this Agreement.


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        f.      Unless the context of this Agreement otherwise requires: (i) words of any gender
 include each other gender; (ii) words using the singular or plural number also include the plural or
 singular number, respectively; (iii) the terms “hereto,” “herein,” “hereby,” and derivative of
 similar words refer to this entire Agreement; and (iv) the words “include,” “includes,” or
 “including” shall be deemed to be followed by the words “without limitation.”

        g.      References to statutes shall include all regulations promulgated thereunder and
 references to statutes or regulations shall be construed as including all statutory and regulatory
 provisions regardless of whether specifically referenced in this Agreement.

         h.       The use of the terms “intend,” “intended,” or “intent,” when describing the intention
 of the Parties, as the case may be, shall not be construed to create a breach of this Agreement when
 the stated intent is not achieved.

 15.    No Modification

         No change or modification of this Agreement shall be valid unless it is made in writing and
 signed by the Parties. Any change or modification of this Agreement that affects the rights of the
 Survivor Claimants or Trust shall require the consent of the Committee or Trustee, as applicable,
 which consent shall not be unreasonably withheld. Any attempted change or modification in
 violation of this Section shall be void ab initio.

 16.    Waiver

         No waiver of any provision of this Agreement or of a breach thereof shall be valid unless
 it is made in writing and signed by the Parties. The waiver by any Party of any of the provisions
 of this Agreement or of the breach thereof shall not operate or be construed as a waiver of any
 other provision or breach.

 17.    Non-Assignment

        Neither this Agreement nor the rights and obligations set forth in this Agreement shall be
 assigned without the prior written consent of the other Parties.

 18.    Execution

        There will be two signed originals of this Agreement.

 19.    Governing Law

         This Agreement shall be governed by and shall be construed in accordance with the laws
 of Pennsylvania, except to the extent that the United States Bankruptcy Code applies and governs
 the rights and obligations of the Parties.

 20.    Notices

         Unless another person is designated, in writing, for receipt of notices hereunder, notices to
 the respective Parties shall be sent in writing to the Persons listed on Attachment C.

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 21.    Integration

        This Agreement, including the attachments, constitutes the entire Agreement between
 Zurich and the DOH Entities, with respect to the subject matter hereof, and supersedes all
 discussions, agreements and understandings, both written and oral, amongst the Parties with
 respect thereto. The Parties intend that this Agreement and the Plan shall be consistent in all
 respects, with no conflict or discrepancies between them.

        IN WITNESS WHEREOF, the Parties have executed this Agreement by their duly
 authorized representatives.

                                    [Signature Pages Follow]




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 Signed:

 The Roman Catholic Diocese of Harrisburg

 Name Printed:

 Title:

 Date:                                      2023




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 Signed:

 Zurich American Insurance Company, successor by merger
 to Maryland Casualty Company

 Name Printed:

 Title:

 Date:                                     2023



                          SCHEDULE OF ATTACHMENTS TO

                     SETTLEMENT AGREEMENT AND RELEASE


  Attachment A                               List of Zurich Policies

  Attachment B                               List of DOH Entities

  Attachment C                               Notice Names and Addresses




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                                ATTACHMENT A

                                  Zurich Policies




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                                ATTACHMENT B

                             LIST OF DOH ENTITIES




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                                  ATTACHMENT C




                           NOTICE NAMES AND ADDRESSES

         DOH:




         With copies to:



                                          -and-




         DOH Parishes:

         ZURICH:




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                                   EXHIBIT F

                           LMI SETTLEMENT AGREEMENT




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                          SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (hereinafter the “Agreement”) is made this ____
 day of ____, 2023, by and between the Diocese of Harrisburg (“DOH”)1 and the other “DOH
 Entities”, on the one hand, and certain Underwriters at Lloyd’s, London, and certain London
 Market Insurance Companies (collectively, “London Market Insurers”), on the other hand. (The
 aforementioned parties are referred to hereinafter collectively as the “Parties” or individually as
 a “Party”).

                                      WITNESSETH THAT:

 WHEREAS, certain “Persons”, alleging injuries from “Abuse”, asserted “Survivor Claims”
 against certain DOH Entities;

 WHEREAS, certain DOH Entities incurred, and may incur in the future, liabilities, expenses, and
 losses arising out of the Survivor Claims;

 WHEREAS, each London Market Insurer severally subscribed the “Subject Insurance Policies”,
 allegedly providing insurance to the DOH Entities;

 WHEREAS, the Subject Insurance Policies listed on Attachment A are property of DOH’s
 bankruptcy estate;

 WHEREAS, certain DOH Entities tendered “Coverage Claims” to the London Market Insurers
 to seek insurance coverage for the Survivor Claims;

 WHEREAS, the London Market Insurers dispute the Coverage Claims;

 WHEREAS, to address potential liabilities arising out of the Survivor Claims, on the “Petition
 Date,” DOH filed the “Bankruptcy Case” in the “Bankruptcy Court”;

 WHEREAS, on February 19, 2020, DOH filed the “Insurance Coverage Adversary
 Proceeding,” as an adversary proceeding in the Bankruptcy Court;

 WHEREAS, several London Market Insurers are named defendants in the Insurance Coverage
 Adversary Proceeding, and dispute the substantive allegations and Coverage Claims asserted
 against them in the Insurance Coverage Adversary Proceeding;

 WHEREAS, on April 2, 2020, DOH filed the “Mediation Request”;

 WHEREAS, the Bankruptcy Court (i) entered the “Mediation Order” approving the Mediation
 Request, appointing the “Mediator”; and (ii) ordered the “Mediation Parties” to mediate the
 Survivor Claims and the Coverage Claims;




 1
         Terms in bold, inside quotation marks, are defined in Section 1, Definitions.


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 WHEREAS, pursuant to the Bankruptcy Court’s order, no defendant filed an Answer or otherwise
 responded in the Insurance Coverage Adversary Proceeding;

 WHEREAS, whether or not they (i) were subject to the Survivor Claims; or (ii) asserted Coverage
 Claims against London Market Insurers, the DOH Entities are settling with and releasing the “LMI
 Entities” pursuant to this Agreement;

 WHEREAS, it is the intention of the Parties that the DOH Entities shall sell, assign, and transfer
 the Subject Insurance Policies to the London Market Insurers, and the London Market Insurers
 shall buy back the Subject Insurance Policies and pay the “Settlement Amount” to the “Trust”,
 which shall be administered and distributed as provided in the “Plan”, the “Trust Agreement”,
 and the “Trust Distribution Plan”, including to make payments to the “Channeled Claimants”;

 WHEREAS, it is the intention of the Parties that any and all “Interests” in or to the Subject
 Insurance Policies be extinguished, ended, and forever terminated;

 WHEREAS, it is the intention of the Parties that (i) the DOH Entities shall (a) not retain any right,
 title, or Interest in or to the “Subject Insurance Policies”; and (b) release the LMI Entities from
 all “Released Claims”; and (ii) none of the LMI Entities shall have any remaining duty or
 obligation of any nature whatsoever to any DOH Entity;

 WHEREAS, DOH agrees to use commercially reasonable efforts to obtain the Supplemental
 Settling Insurer Injunction for the benefit of the “Settling Insurers,” pursuant to the “Plan”; and

 WHEREAS, subject to the Court entering the orders contemplated by this Agreement, upon the
 Trust’s receipt of the Settlement Amount, each of the LMI Entities will be protected by the
 “Supplemental Settling Insurer Injunction” and the “Channeling Injunction”;

 WHEREAS, by this Agreement, the Parties intend to adopt, by way of compromise, and without
 prejudice to or waiver of their respective positions in other matters, without further trial or
 adjudication of any issues of fact or law, and without London Market Insurers admission of liability
 or responsibility under the Subject Insurance Policies, a full and final settlement that releases and
 terminates all Interests of the LM Entities, and the DOH Entities, with respect to the Subject
 Insurance Policies, including all rights, obligations, and liabilities relating to the “Barred Claims”
 and the “Enjoined Claims,” without prejudice to their respective positions on policy wordings or
 any other issues relating to the Insurance Coverage Adversary Proceeding, the Coverage Claims,
 or otherwise.

                                          AGREEMENTS:

 NOW, THEREFORE, in full consideration of the foregoing and of the mutual agreements herein
 contained, and intending to be legally bound, the Parties agree as follows:

 1.      Definitions

        The following definitions and the definitions used above apply to this Agreement as well
 as any exhibits or attachments hereto. Where the listed terms are further defined in the body of

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 this Agreement, the definitions listed here nonetheless apply and shall serve to further explain the
 meaning of those terms.

        a.      Each defined term stated in a singular form shall include the plural form, each
 defined term stated in plural form shall include the singular form, and each defined term stated in
 the masculine form or in the feminine form shall include the other.

        b.      The words “include,” “includes,” or “including” shall be deemed to be followed by
 the words “without limitation,” and the phrase “relating to” means “with regard to, by reason of,
 based on, arising out of, relating to, or in any way connected with.” (The words “include,”
 “includes,” and “including,” and the phrase “relating to” are not capitalized herein.)

         c.      This Agreement incorporates all attachments hereto to the same extent as if fully
 set forth herein.

        d.     All references to “Sections” are references to sections of this Agreement unless
 otherwise specified.

        e.      Unless the context of this Agreement otherwise requires: the terms “hereto,”
 “herein,” “hereby,” and derivatives of similar words refer to this entire Agreement.

        f.      References to statutes shall include all regulations promulgated thereunder and
 references to statutes or regulations shall be construed as including all statutory and regulatory
 provisions regardless of whether specifically referenced in this Agreement.

         g.       The use of the terms “intend,” “intended,” or “intent,” when describing the intention
 of the Parties, as the case may be, shall not be construed to create a breach of this Agreement when
 the stated intent is not achieved.

         h.       Abuse

         The term “Abuse” means any (i) actual, alleged, or threatened, sexual conduct,
 misbehavior, misconduct, abuse, or molestation, including “Sexual Abuse” as defined in 42
 Pa.C.S. § 5533(b)(2)(ii); (ii) any sexual offense as laid out in Chapter 31 of Title 18 of the
 Pennsylvania Statutes; (iii) any other sexually related act, contact, or interaction, indecent assault
 and/or battery, rape, indecent or lascivious behavior, undue familiarity, harassment, pedophilia, or
 ephebophilia; (iv) act that causes or allegedly causes sexually-related physical, psychological, or
 emotional harm, or any other contacts or interactions of a sexual nature, including any such
 contacts or interactions between a child and an adult, or a non-consenting adult and another adult;
 (v) contacts or interactions of a sexual nature; or (vi) assault, battery, corporal punishment, or any
 other act of physical, psychological, mental, or emotional abuse, humiliation, or intimidation.
 Abuse may occur whether or not this activity involves explicit force, whether or not it involves
 genital or other physical contact, and whether or not there is physical, psychological, or emotional
 harm to the person.




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         i.       Action

         The term “Action” means any lawsuit, proceeding, or other action in a court, or any
 arbitration.

         j.       Affiliates

        The term “Affiliates” means all past, present, and future Persons that control, are controlled
 by, or are under control with, another Person, including parents, subsidiaries, merged Persons,
 holding Persons, and acquired Persons, or any predecessor to such Person.

         k.       Agents

         The term “Agents” means all past and present employees, officers, directors, managing
 agents or other agents, shareholders, principals, teachers, staff, members, board members,
 administrators, priests, deacons, brothers, sisters, nuns, or other members of a religious order,
 clergy, Persons bound by monastic vows, volunteers, attorneys, claims handling administrators,
 and representatives of a Person, in each case in their capacities as such.

         l.       Approval Order

        The term “Approval Order” means an order entered by the Court, upon a hearing
 following Bankruptcy Notice, containing all of the following provisions but no provision that is
 contrary to or inconsistent with the following provisions. The wording of the Approval Order shall
 be mutually acceptable to DOH and the London Market Insurers. The Approval Order shall
 contain provisions:

         (i)    finding that due and adequate notice of DOH’s request for approval of this
         Agreement has been provided to all creditors and parties in interest in the Bankruptcy Case,
         including by finding that the Bankruptcy Notice described in Section 1.i. of this Agreement
         is reasonable and provides due process to all potential known and unknown holders of
         Claims;

         (ii) approving this Agreement in its entirety, pursuant to Bankruptcy Code §§ 363(b),
         (f), and (m) and, if applicable, 105(a), and Bankruptcy Rules 6004 and 9019;

         (iii) authorizing, subject to the occurrence of the Settlement Payment Date, the sale of
         the Subject Insurance Policies to London Market Insurers, free and clear of all Interests of
         all Persons, with all Interests in and to, and Claims against, the Subject Insurance Policies
         being fully extinguished without reservation as to the Settling Insurers;

         (iv) ordering that, as of the date the Trust receives the Settlement Amount, all Claims
         against, and Interests in and to, the Subject Insurance Policies be fully extinguished without
         reservation as to the LMI Entities and the DOH Entities;

         (v) ordering that, as of the date the Trust receives the Settlement Amount, all Barred
         Claims and other Interests that any Person, including CMS (as defined herein), might have
         in, or against, the Subject Insurance Policies, attach to the Settlement Amount;
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           (vi) authorizing and directing the Parties to perform their respective obligations under
           this Agreement; and

           (vii) issuing the Bar Order, subject to, and effective upon, the occurrence of the
           Settlement Payment Date.

        The Approval Order shall be accompanied by the separately entered Settlement Approval
 Findings and Conclusions.

           m.     Bankruptcy Case

        The term “Bankruptcy Case” means the bankruptcy case filed by DOH in the Bankruptcy
 Court, entitled In re Roman Catholic Diocese of Harrisburg, Case Number 20-00599-HWV.

           n.     Bankruptcy Code

           The term “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. § 101,
 et seq.

           o.     Bankruptcy Court

         The term “Bankruptcy Court” means the United States Bankruptcy Court for the Middle
 District of Pennsylvania or such other court of competent jurisdiction that properly exercises
 jurisdiction over part or all of the Bankruptcy Case, to the extent that the reference of part or all of
 the Bankruptcy Case is withdrawn.

           p.     Bankruptcy Notice

          The term “Bankruptcy Notice” means notice as required under Bankruptcy Rules 2002,
 6004(a), and (c), and applicable local rules, sent to (i) all holders of Claims against the DOH
 Entities, including Survivor Claims, or their attorneys, if any, who are known to the DOH Entities;
 (ii) the Official Committee of Unsecured Creditors; (iii) the “Unknown Claims Representative”
 (once appointed by the Court); (iv) all insurers of the DOH Entities that provide coverage for or
 are alleged to provide coverage for Survivor Claims; (v) the Secretary of the Department of Health
 and Human Services; (vi) CMS; (vii) the United States Attorney for the Middle District of
 Pennsylvania; (viii) all Persons who, in the opinion of any Party to this Agreement, might
 reasonably be expected to be affected by the transactions contemplated herein; and (ix) all other
 Persons as directed by the Court. Notice shall also be given by publication (a) in the national
 editions of (i) USA Today; (ii) National Catholic Reporter; and (iii) The National Catholic
 Register; and (b) locally in (i) The Catholic Witness; (ii) Gettysburg Times; (iii) Press Enterprise;
 (iv) The Sentinel; (v) Patriot-News; (vi) Public Opinion; (vii) LNP-Lancaster Online; (viii)
 Lebanon Daily News; (ix) The Sentinel; (x) The Daily Item; (xi) Perry County Times; and (xiv)
 York Daily Record, or as the Court may otherwise direct.

           q.     Bankruptcy Rules

       The term “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as may
 be amended from time to time.
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         r.       Bar Order

         The term “Bar Order” means an order, which shall automatically become effective on the
 Settlement Payment Date, barring, estopping, and permanently enjoining all Persons from
 asserting any Barred Claims against the London Market Insurers.

         s.       Business Day

         The term “Business Day” means any day that is not a Saturday, Sunday, or legal holiday
 in the State of Pennsylvania or the United Kingdom.

         t.       Channeling Injunction

        The term “Channeling Injunction” means an order of the Court, effective as of the date
 the Trust receives the Settlement Amount, requiring all Channeled Claimants to assert their
 Channeled Claims against the Trust, which states, verbatim:

                Channeling Injunction Preventing Prosecution of Channeled Claims Against
         Protected Parties and Settling Insurers.

                In consideration of the undertakings of the Protected Parties and the Settling
         Insurers under the Plan, their contributions to the Trust, and other consideration,
         and pursuant to their respective settlements with the Debtor, and to further preserve
         and promote the agreements between and among the Protected Parties and Settling
         Insurers, and to supplement where necessary the injunctive effect of the discharge as
         provided in sections 524 and 1141 of the Bankruptcy Code, and pursuant to sections
         105 and 363 of the Bankruptcy Code:

                a. any and all Channeled Claims are channeled into the Trust and shall be
         treated, administered, determined, and resolved under the procedures and protocols
         and in the amounts established under the Plan and the Trust Agreement as the sole
         and exclusive remedy for all holders of Channeled Claims;

                b. any and all Persons who have held or asserted, hold or assert, or may in the
         future hold or assert any Channeled Claims are hereby permanently stayed, enjoined,
         barred, and restrained from taking any action, directly or indirectly, for the purposes
         of asserting, enforcing, or attempting to assert or enforce any Channeled Claim
         against the Protected Parties or Settling Insurers, including:

                         (i). commencing or continuing in any manner any action or other
                  proceeding of any kind with respect to any Channeled Claim against any of
                  the Protected Parties or the Settling Insurers or against the property of any of
                  the Protected Parties or Settling Insurers;

                         (ii). enforcing, attaching, collecting or recovering, or seeking to
                  accomplish any of the preceding, by any manner or means, from any of the
                  Protected Parties or Settling Insurers, or the property of any of the Protected
                  Parties or Settling Insurers, any judgment, award, decree, or order with
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                  respect to any Channeled Claim against any of the Protected Parties or the
                  Settling Insurers;

                         (iii). creating, perfecting, or enforcing, or seeking to accomplish any of
                  the preceding, any lien of any kind relating to any Channeled Claim against
                  any of the Protected Parties or Settling Insurers, or the property of the
                  Protected Parties or Settling Insurers;

                         (iv). asserting, implementing, or effectuating, any Channeled Claim of
                  any kind against: (A) any obligation due any of the Protected Parties or
                  Settling Insurers; (B) any of the Protected Parties or Settling Insurers; or (C)
                  the property of any of the Protected Parties or Settling Insurers;

                         (v). taking any act, in any manner, in any place whatsoever, that does
                  not conform to, or comply with, the provisions of the Plan; or

                         (vi). asserting or accomplishing any setoff, right of indemnity,
                  subrogation, contribution, or recoupment of any kind against an obligation
                  due to any of the Protected Parties, the Settling Insurers, or the property of
                  the Protected Parties or Settling Insurers.

                 The Channeling Injunction is an integral part of the Plan and is essential to
         the Plan’s consummation and implementation. It is intended that the channeling of
         the Channeled Claims provided in this section shall inure to the benefit of the
         Protected Parties and Settling Insurers. The Channeling Injunction will become
         effective with respect to each applicable Settling Insurer as of the date that the Trust
         receives the Settlement Amount pursuant to the terms of the applicable Insurance
         Settlement Agreement. In a successful Action to enforce the injunctive provisions of
         this Section 12.3 in response to a willful violation thereof, the moving party shall be
         entitled to recover all costs and expenses incurred, including reasonable attorneys’
         fees, from the non-moving party, and such other legal or equitable remedies as are
         just and proper, after notice and a hearing.

         u.       Claim

         The term “Claim” (a) has the meaning ascribed in § 101(5) of the Bankruptcy Code; and
 also means any past, present or future (b) claim, Action, Cause of Action, suit, debt, dues, sum of
 money, account, reckonings, bond, bill, specialty, assertion of right, complaint, cross-complaint,
 counterclaim, liability, obligation, right, request, allegation, mediation, litigation, direct action,
 administrative proceeding, lien, encumbrance, indemnity, equitable indemnity, right of
 subrogation, equitable subrogation, defense, injunctive relief, controversy, contribution,
 exoneration, covenant, agreement, promise, act, omission, trespass, variance, damages, judgment,
 compensation, set-off, reimbursement, restitution, cost, expense, loss, exposure, execution,
 attorneys’ fee, obligation, order, affirmative defense, writ, demand, inquiry, request, directive,
 obligation, proof of claim in a bankruptcy proceeding or submitted to a trust established pursuant
 to the Bankruptcy Code, government claim or Action, settlement, and/or any liability whatsoever,
 known or unknown, asserted or unasserted, foreseen or unforeseen, fixed or contingent, matured
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 or unmatured, liquidated or unliquidated, direct, indirect, derivative or otherwise consequential,
 whether in law, equity, admiralty or otherwise, whether compromised, settled or reduced to a
 consent judgment, that may exist now or hereinafter for property damages, compensatory damages
 (such as loss of consortium, wrongful death, survivorship, proximate, consequential, general and
 special damages), punitive damages, bodily injury, personal injury, public and private claims, or
 any other right to relief whether sounding in tort, contract, extra-contractual or bad faith, statute,
 strict liability, equity, nuisance, trespass, statutory violation, wrongful entry or eviction or other
 eviction or other invasion of the right of private occupancy, and any amounts paid in respect of
 any judgment, order, decree, settlement, contract, or otherwise. A Person who alleges or alleged
 a Claim is a “Claimant”. The term “Claim” includes all of the following:

         (i)     Barred Claims

                 The term “Barred Claims” means all Claims enjoined by the Bar Order, which
         shall include all Direct Action, Indirect, Medicare, Released, and Survivor Claims.

         (ii)    Channeled Claims

                The term “Channeled Claims” means all of the Claims that shall be channeled to
         the Trust, including: (a) Survivor Claims; (b) Indirect Claims; (c) Direct Action Claims;
         (d) Contribution Claims; (e) Medicare Claims; and (f) Extra-Contractual Claims relating
         to the Claims listed in subsection (a)–(e) of this sentence; provided, however, that
         “Channeled Claims” shall not include: (i) a Claim against an individual who perpetrated
         an act of Abuse; or (ii) a Claim against any religious order, diocese (other than the
         Reorganized Debtor), or archdiocese.

         (iii)   Contribution Claims

                 The term “Contribution Claims” means all Claims, most commonly expressed in
         terms of contribution, indemnity, equitable indemnity, subrogation, or equitable
         subrogation, or reimbursement, or any other indirect or derivative recovery, by an Insurer
         against any Settling Insurer for the payment of money, where such Insurer contends that it
         has paid more than its equitable or proportionate share of a Survivor Claim.

         (iv)    Coverage Claims

                The term “Coverage Claims” means all Claims against the London Market
         Insurers (or any of them) under or relating to the Subject Insurance Policies or the rights
         and obligations thereunder, or the breach thereof, including Claims seeking insurance
         coverage.

         (v)     Direct Action Claims

                 The term “Direct Action Claims” means the same as Survivor Claims, except that
         they are asserted against any Settling Insurer, instead of any DOH Entity or the Trust, for
         the recovery of insurance proceeds.

         (vi)    Enjoined Claims
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                 The term “Enjoined Claims” means all Claims enjoined by the Supplemental
         Settling Insurer Injunction, which shall include all Direct Action, Indirect, Released,
         Survivor, Contribution Claims, and Extra-Contractual Claims that are not Channeled
         Claims.

         (vii) Extra-Contractual Claims

                 The term “Extra-Contractual Claims” means all Claims against the London
         Market Insurers (or any of them), in their capacity as Insurers, seeking any type of relief
         other than coverage or benefits under the Subject Insurance Policies. “Extra-Contractual
         Claims” include Claims for compensatory, exemplary, or punitive damages, or attorneys’
         fees, interest, costs, or any other type of relief, alleging, with respect to (i) any of the
         Subject Insurance Policies; (ii) any Claim allegedly or actually covered under the Subject
         Insurance Policies; or (iii) the conduct of the London Market Insurers with respect (i)
         and/or (ii), any of the following: (a) bad faith; (b) failure to provide insurance coverage
         under any Subject Insurance Policy; (c) failure or refusal to compromise and settle any
         Claim insured under any Subject Insurance Policy; (d) failure to act in good faith; (e)
         violation of any covenant or duty of good faith and fair dealing; (f) violation of any state
         insurance codes, state surplus lines statutes or similar codes or statutes; (g) violation of any
         unfair claims practices act or similar statute, regulation or code; (h) any type of misconduct;
         or (i) any other act or omission of any type for which the Claimant seeks relief other than
         coverage or benefits under a Subject Insurance Policy. The term “Extra-Contractual
         Claims” includes all Claims relating to the London Market Insurers’ (i) handling of any
         Coverage Claim under the Subject Insurance Policies; (ii) conduct relating to the
         negotiation of this Agreement and the Plan; or (iii) conduct relating to the settlement of
         any Coverage Claim.

         (viii) Indirect Claims

                 The term “Indirect Claims” means Claims against a DOH Entity or a Settling
         Insurer, asserted by any Person that is not an Insurer (an “Indirect Claim Claimant”), for
         contribution, indemnity, equitable indemnity, subrogation, equitable subrogation,
         reimbursement, or any other indirect or derivative recovery, on account of, or with respect
         to, any actual or alleged liability for any Claim relating to Abuse that took place in whole
         or in part prior to the Plan Effective Date that a DOH Entity would have had, but for the
         entry of the bankruptcy discharge, the Channeling Injunction or the Supplemental Settling
         Insurer Injunction.

         (ix)   Medicare Claims

                 The term “Medicare Claims” means any and all Claims against the Trust, any
         Settling Insurer, or any DOH Entity, brought or asserted by CMS, and/or any other agent
         or successor Person charged with responsibility for monitoring, assessing, or receiving
         reports made under MMSEA and pursuing Claims under MSP, relating to any payments in
         respect of any Survivor Claims, including Claims for reimbursement of payments made to
         Survivor Claimants, who recover or receive any distribution from the Trust, and Claims
         relating to reporting obligations.
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         (x)    Released Claims

                The term “Released Claims” means any and all of the DOH Entities’ Coverage
         Claims and Extra-Contractual Claims.

         (xi)   Survivor Claims

                 (A) The term “Survivor Claims” means all Claims, allowed or disallowed, for
         which any of the DOH Entities is or may be liable, relating to, in whole or in part, directly
         or indirectly, Abuse that took place in whole or in part prior to the Plan Effective Date. For
         the avoidance of doubt, the term “Survivor Claims” includes any Known Survivor Claim,
         Unknown Survivor Claim, and Late-Filed Survivor Claim, regardless of whether such
         Survivor Claim is barred by any applicable statute of limitations as of the Filing Date or
         Plan Effective Date, but does not include Contribution Claims, Indirect Claims, or
         Medicare Claims.

                 (B) The term “Unknown Survivor Claim” means any Survivor Claim relating to,
         in whole or in part, directly or indirectly, Abuse that took place in whole or in part prior to
         the Plan Effective Date, but neither filed nor deemed filed in the Bankruptcy Case, nor
         otherwise allowed by the Court by the Plan Effective Date, and is held by an individual
         who was at the time of the Filing Date under a disability or other condition recognized by
         Pennsylvania law, or other applicable law suspending the running of the statute of
         limitation period, that would toll the statute of limitations on such Survivor Claim.

         v.       CMS

         The term “CMS” means the Centers for Medicare and Medicaid Services of the United
 States Department of Health and Human Services, located at 7500 Security Boulevard, Baltimore,
 MD 21244-1850 and/or any other Agent or successor Person responsible for monitoring, assessing,
 or receiving reports made under MMSEA for reimbursement of Medicare Claims.

         w.       Committee

       The term “Committee” means the Official Committee of Tort Claimants appointed in the
 Bankruptcy Case, as such committee may be constituted from time to time.

         x.       Confirmation Findings and Conclusions

         The term “Confirmation Findings and Conclusions” means the findings of fact and
 conclusions of law required under §§ 1129(a), and, if applicable, 105(a) and 1129(b), of the
 Bankruptcy Code, which are to be entered concurrently with the Confirmation Order, as necessary
 to confirm the Plan, including the following:

         (i)   This Agreement is the fruit of long-term negotiations amongst the Parties, which
         began in July 2020, following the Bankruptcy Court’s entry of the Mediation Order;

         (ii) The Settlement Amount provides good and valuable consideration to DOH’s
         bankruptcy estate, and enables distributions to the Channeled Claimants;
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         (iii) Potential liability for the Survivor Claims precipitated the filing of the Bankruptcy
         Case;

         (iv) This Agreement is therefore necessary to the Plan because it provides significant
         funding for the Plan;

         (v) The Subject Insurance Policies are property of DOH’s bankruptcy estate and are
         therefore subject to the in rem jurisdiction of the Court;

         (vi) The Channeled Claims are within the jurisdiction of the Court because they seek
         property of DOH’s bankruptcy estate;

         (vii) Because it would be impractical to divide the Subject Insurance Policies amongst
         DOH and the other DOH Entities, it was necessary for DOH to obtain the participation of
         the other DOH Entities in this Agreement;

         (viii) The DOH Entities, other than DOH, would not release their Interests in the Subject
         Insurance Policies unless they obtained the benefits of the Channeling Injunction, because
         to do so would have left them exposed to Survivor Claims, whether or not such Claims be
         valid, and whether or not coverage exists under the Subject Insurance Policies for such
         Claims;

         (ix)   Therefore, the Channeling Injunction is necessary to this Agreement;

         (x) The Channeling Injunction is narrowly tailored because it only requires Channeled
         Claims to be brought against the Trust;

         (xi) The Settlement Amount is reasonable and fair consideration for the injunction of the
         Enjoined Claims, and for the London Market Insurers’ liability for Survivor Claims;

         (xii) The Coverage Claims are within the jurisdiction of the Bankruptcy Court because
         such Claims could enhance the estate;

         (xiii) The London Market Insurers required that DOH obtain the benefits of the
         Supplemental Settling Insurer Injunction, as a condition of entering into this Agreement
         and contributing the Settlement Amount;

         (xiv) Therefore, the Supplemental Settling Insurer Injunction is necessary to this
         Agreement and the Plan; and

         (xv) The Supplemental Settling Insurer Injunction is narrowly tailored because it only
         enjoins the Enjoined Claims against the Settling Insurers;

         y.       Confirmation Order

        The term “Confirmation Order” means an order entered by the Bankruptcy Court after a
 confirmation hearing upon Bankruptcy Notice confirming the Plan, in a form and substance as
 required by this Agreement, which order is a Final Order. The wording of the Confirmation Order
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 shall be mutually acceptable to DOH and the London Market Insurers. The Confirmation Order
 shall contain all of the following provisions but no provision that is contrary to or inconsistent with
 this Agreement:

         (i)    confirming the Plan;

         (ii) specifically, and individually, ordering all Persons, as set forth in the Plan, to act or
         refrain from acting as specified in the Plan;

         (iii) incorporating, as of the date the Trust receives the Settlement Amount, the terms and
         provisions of the Bar Order as though fully set forth therein;

         (iv) ordering the Trustee to perform the obligations, if any, imposed upon the Trustee by
         this Agreement;

         (v)    issuing the Channeling Injunction and the Supplemental Settling Insurer Injunction;

         (vi)   discharging DOH from all Claims, including all Channeled Claims; and

         (vii) ordering all Channeled Claimants with pending state court Actions against any
         DOH Entity to dismiss such Actions and assert them against the Trust for resolution
         pursuant to the Trust Agreement;

         (viii) including the Reduction Clause set forth in Section 8, below.

        The Confirmation Order shall be accompanied by the separately entered Confirmation
 Findings and Conclusions.

         z.       DOH

         The term “DOH” means The Diocese of Harrisburg, which is the diocesan corporation
 formed pursuant to 15 Pa. Stat. and Cons. Stat. Ann. § 5301, together with the public juridic person
 of the Roman Catholic Diocese of Harrisburg, as now constituted or as it may have been
 constituted. The term “DOH” also applies anywhere the term “Reorganized Debtor” is used, and
 “Reorganized Debtor” applies anywhere the term “DOH” is used, as is necessary to effectuate the
 terms of the Agreement. Furthermore, in the event of any Action naming any Affiliate or Agent
 of DOH, such Action shall be considered an Action against DOH, the insurance coverage for which
 is released pursuant to Section 4 hereof.

         aa.      DOH Entities

         The term “DOH Entities” means, in their capacity as such, DOH and its Entities.

        The “DOH Entities” include each of the Persons set forth on Attachment E to this
 Agreement. An individual who perpetrated an act of Abuse that forms the basis for a Survivor
 Claim is not a DOH Entity with respect to that Survivor Claim.


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         bb.      DOH Entity Insurer Policy

         The term “DOH Entity Insurer Policy” means any known or unknown contract, binder,
 certificate, or policy of insurance, in effect on or before the Plan Effective Date, which actually,
 allegedly, or potentially, insures any DOH Entity, or any of their predecessors in interest,
 successors, or assigns, with respect to any Survivor Claim.

         cc.      DOH Parishes

        The term “DOH Parishes” means all past and present parishes of or in DOH, in their
 capacity as public juridic persons, together with each corresponding parish corporation formed
 pursuant to 15 Pa. Stat. and Cons. Stat. Ann. § 5511.

         dd.      Effective Date

         The term “Effective Date” means the day following the date on which all of the following
 have occurred: (i) all Parties have executed this Agreement; (ii) the Court has issued the Approval
 Order and the Settlement Approval Findings and Conclusions, and the Approval Order has become
 a Final Order; and (iv) the Court has issued the Confirmation Order and the Confirmation Findings
 and Conclusions, and the Confirmation Order has become a Final Order

         ee.      Entities

         The term “Entities” means with respect to a specified Person: (i) its Affiliates; (ii) each of
 the foregoing Person’s Agents; and (iii) each of the foregoing Persons’ respective predecessors,
 successors, assignors, and assigns, whether known or unknown, administrators, and all Persons
 acting on behalf of, by, through, or in concert with them, in their capacities as such.

         ff.      Entities’ Release

         The term “Entities’ Release” means the following: The remising, release, covenant not to
 sue, and permanent discharge by the DOH Entities and any subsequently appointed trustee or
 representative acting for any DOH Entity, without further act by any Person, from and against all
 Released Claims that any DOH Entity ever had, now has, or hereafter may have, from the
 beginning of time to the Effective Date, of: (1) the LMI Entities; and (2) the respective heirs,
 executors, administrators, and reinsurers (as such) of any of the Persons identified in clause (1)
 hereof, in their capacities as such.

         gg.      Equitas Entities

         The term “Equitas Entities” means Equitas Limited, Equitas Reinsurance Limited,
 Equitas Holdings Limited, Equitas Policyholders Trustee Limited, and any other Person from time
 to time in the Equitas Group.




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         hh.      Filing Date

         The term “Filing Date” means February 19, 2020.

         ii.      Final Order

          The term “Final Order” means an order or judgment of the Bankruptcy Court that has not
 been reversed, vacated or stayed and as to which (a) the time to appeal, petition for certiorari or
 move for a new trial, reargument or rehearing has expired and as to which no appeal, petition for
 certiorari or other proceedings for a new trial, reargument or rehearing shall then be pending, or
 as to which any right to appeal, petition for certiorari, review, reargue, or rehear shall have been
 waived in writing in form and substance satisfactory to DOH and the London Market Insurers, and
 their counsel or, (b) in the event that an appeal, writ of certiorari, new trial, or reargument or
 rehearing thereof has been sought, such order or judgment of the Bankruptcy Court shall have been
 affirmed by the highest court to which such order was appealed, or certiorari shall have been
 denied or a new trial, reargument or rehearing shall have been denied or resulted in no modification
 of such order, and the time to take any further appeal, petition for certiorari or move for a new
 trial, reargument or rehearing shall have expired; provided, however, that the possibility that a
 motion pursuant to section 502(j) or 1144 of the Bankruptcy Code or under Rule 59 or Rule 60 of
 the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be
 filed with respect to such order shall not cause such order not to be a Final Order. For the avoidance
 of doubt, if the Plan is substantially consummated as defined in § 1101(2) of the Bankruptcy Code
 (“Substantial Consummation”), and any appeal of the Confirmation Order becomes equitably
 moot due to Substantial Consummation, the Confirmation Order shall be considered a Final Order
 as of the date that the order determining such appeal to be moot has become a Final Order.

         jj.      Insurance Coverage Adversary Proceeding

        The term “Insurance Coverage Adversary Proceeding” means the case entitled The
 Roman Catholic Diocese of Harrisburg v. The Travelers Companies, et al., filed in the Bankruptcy
 Court, as Adversary Proceeding Number 20-00018.

         kk.      Insurer

          The term “Insurer” means a Person (including all of its predecessors in interest, successors,
 and assigns) that has, or is alleged to have, issued, subscribed any interest in, assumed any liability
 for, or underwritten any risk in, a DOH Entity Insurer Policy, whether or not a regulated insurance
 company.

         ll.      Interests

         The term “Interests” means all Claims, including any “interests” as that term is used in 11
 U.S.C. § 363 and other rights of any nature, whether at law or in equity, including all interests or
 other rights under Pennsylvania or other applicable law.

         mm.      Lloyd’s Underwriters

         The term “Lloyd’s Underwriters” means:
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         (i)    All underwriters, members, or Names at Lloyds, London (including former
         underwriters, members, or Names) who through their participation in syndicates (including
         those identified on Attachment B) severally subscribed, each in his or her own
         proportionate share, one or more of the Subject Insurance Policies. Lloyd’s Underwriters
         shall also include all Underwriters, members, or Names at Lloyd’s, London (including
         former underwriters, members, and Names), whether or not they participated in the
         syndicates identified in Attachment B, who, through their participation in syndicates
         (including those identified on Attachment B) severally subscribed any of the Subject
         Insurance Policies in favor of any DOH Entity: (a) the existence of which has not presently
         been established; or (b) the existence of which has been established but as to which
         identities of Names, members, or syndicates are presently unknown;

         (ii) All of the Agents of the Persons set forth in Section 1.hh.(i), and their respective
         predecessors and successors, if any, solely in such capacity; and

         (iii) All the respective heirs, executors, successors (including Equitas Insurance Limited
         (“EIL”) to the extent EIL is a successor to any of the Persons identified in Section 1.hh.(i)
         with respect to the subject matter of this Agreement), assigns (including any administrator,
         receiver, trustee, personal representative, or equivalent appointee(s) under relevant
         insolvency law), reinsurers, and retrocessionaires (as such), of any of the Persons identified
         in Section 1.hh.(i), if any, solely in their capacity as such.

         (iv) For the avoidance of doubt, the Underwriter Third-Party Beneficiaries, who receive
         certain specified benefits under this Agreement, are not Lloyd’s Underwriters for the
         purpose of this definition.

         nn.      LMI Entities

         The term “LMI Entities” means the London Market Insurers and their Entities.

         oo.      London Market Companies

         The term “London Market Companies” means the companies doing business in the
 London insurance market, which severally subscribed, each in its own proportionate share, to one
 or more of the Subject Insurance Policies (such insurers are identified in Attachment B to this
 Agreement). “London Market Companies” shall also include those companies doing business in
 the London insurance market who subscribed any Subject Insurance Policies (a) the existence of
 which has not presently been established but which provided insurance to any DOH Entity; or (b)
 the existence of which has been established but the identity of such company as a subscribing
 insurer is not presently known. As used herein, “London Market Companies” shall mean, in their
 capacities as such, the named corporate entity and all predecessors, successors, Affiliates, assigns,
 and pool companies as such.

         pp.      London Market Insurers

       The term “London Market Insurers” means Lloyd’s Underwriters and the London
 Market Companies.

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          qq.     Mediation

       The term “Mediation” means the mediation by the Mediation Parties, as ordered by the
 Bankruptcy Court.

          rr.     Mediation Parties

         The term “Mediation Parties” means, collectively: (a) DOH; (b) each insurer named as a
 Defendant in the Insurance Coverage Adversary Proceeding; (c) the Committee; (d) state court
 counsel for Survivor Claimants; and (e) the ad hoc committee of parishes and other parties-in-
 interest, including schools or other non-debtor Catholic entities located within the territorial area
 decreed by the Roman Catholic Church as the “Diocese of Harrisburg”, to the extent permitted or
 required by the Mediator.

          ss.     Mediation Order

        The term “Mediation Order” means the Agreed Order Referring Adversary Proceeding
 to Mediation, entered by the Bankruptcy Court in the Insurance Coverage Adversary Proceeding,
 on July 10, 2020, Doc. No. 84.

          tt.     Mediation Request

        The term “Mediation Request” means the Request for Mediation filed by the DOH in the
 Insurance Coverage Adversary Proceeding.

          uu.     Mediator

          The term “Mediator” means the Honorable Gregg W. Zive, United States Bankruptcy
 Judge.

          vv.     Medicare

         The term “Medicare” means Title XVIII of the Social Security Act, 42 U.S.C. § 1395, et
 seq., enacted July 1, 1966, including all subsequent amendments thereto.

          ww.     Medicare Beneficiary

        The term “Medicare Beneficiary” means any individual who has received or is eligible to
 receive benefits under Medicare and is the holder of a Channeled Claim.

          xx.     Medicare Secondary Payor Act

        The term “Medicare Secondary Payor Act” or “MSP” means 42 U.S.C. § 1395y et seq.,
 or any other similar statute or regulation, and any related rules, regulations or guidance issued in
 connection therewith or amendments thereto.




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         yy.      MMSEA

         The term “MMSEA” means § 111 of the Medicare, Medicaid, and SCHIP Extension Act
 of 2007 (P.L.110-173), which imposes reporting obligations on those Persons with payment
 obligations under the MSP.

         zz.      Non-Settling Insurer

        The term “Non-Settling Insurer” means any Insurer that is not a Settling Insurer by the
 Plan Effective Date.

         aaa.     Person

          The term “Person” means any individual or entity, including any corporation, limited
 liability company, partnership, general partnership, limited partnership, limited liability
 partnership, limited liability limited partnership, proprietorship, association, joint stock company,
 joint venture, estate, trust, trustee, personal executor or personal representative, unincorporated
 association, or other entity, including any federal, international, foreign, state, or local
 governmental or quasi-governmental entity, body, or political subdivision or any agency or
 instrumentality thereof; and any other individual or entity within the definitions of (i) “person” in
 Section 101(41) of the Bankruptcy Code or (ii) “entity” in Section 101(15) of the Bankruptcy
 Code.

         bbb.     Petition Date

         The term “Petition Date” means February 19, 2020.

         ccc.     Plan

         The term “Plan” means a plan of reorganization proposed by DOH, after good-faith
 consultation with the LMI Entities, which (a) contains all of the following provisions, but no
 provision that is contrary to or inconsistent with this Agreement; (b) allows all of the acts and
 transactions under, and envisioned by, this Agreement to occur with binding legal effect; (c) does
 not materially and adversely affect the rights, duties, or interests of the DOH Entities or the LMI
 Entities under this Agreement; (d) includes all papers, exhibits, attachments, appendices, or other
 documents filed with or in support of the Plan and necessary for its implementation, and any
 documents relating to the establishment and operation of the Trust; and (e) shall include the
 following provisions:

         (i)    specifying the terms of this Agreement shall control in the event of any conflict with
         the Plan or the Confirmation Order;

         (ii) prohibiting DOH or the Trust from continuing to pursue the Insurance Coverage
         Adversary Proceeding against the London Market Insurers, requiring DOH and the Trust
         to dismiss all Claims against London Market Insurers in the Insurance Coverage Adversary
         Proceeding, with prejudice, within fourteen (14) days after the Plan Effective Date, and
         prohibiting any DOH Entity from asserting any Coverage Claims against LMI Entities;

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         (iii) specifying that, as of the date the Trust receives the Settlement Amount, the
         Channeling Injunction and the Supplemental Settling Insurer Injunction shall be effective;

         (iv) establishing the Trust, appointing the Trustee, and binding both of them to perform
         those requirements imposed upon them by this Agreement;

         (v) describing the role of the Unknown Claims Representative and seeking the
         continued appointment of the Unknown Claims Representative to continue in his duties;

         (vi) specifying that, as of the date the Trust receives the Settlement Amount, the
         Channeled Claims shall be channeled to the Trust;

         (vii) denominating, as of the date the Trust receives the Settlement Amount, each of the
         LMI Entities as Settling Insurers;

         (viii) requiring, as of the date the Trust receives the Settlement Amount, each Channeled
         Claimant receiving a payment from the Trust to sign a release of all Claims against the
         LMI Entities and the DOH Entities;

         (ix)   and providing, verbatim:

                  (A)     It is the position of DOH that none of DOH Entities, the Trust, or the
                  Settling Insurers will have any reporting obligations in respect of their contributions
                  to the Trust, or in respect of any payments, settlements, resolutions, awards, or other
                  Claim liquidations by the Trust, under the reporting provisions of MSP or MMSEA.
                  Prior to making any payments to any claimants, the Trust shall seek a statement or
                  ruling from the United States Department of Health and Human Services (“HHS”)
                  that none of the Trust, DOH Entities, or Settling Insurers has any reporting
                  obligations under MMSEA with respect to payments to the Trust by the DOH
                  Entities or Settling Insurers or payments by the Trust to Claimants. Unless and
                  until there is definitive regulatory, legislative, or judicial authority (as embodied in
                  a final non-appealable decision from the United States Court of Appeals for the
                  Third Circuit or the United States Supreme Court), or written confirmation from
                  HHS that none of the DOH Entities or the Settling Insurers has any reporting
                  obligations under MMSEA with respect to any settlements, payments, or other
                  awards made by the Trust or with respect to the contributions the DOH Entities and
                  the Settling Insurers have made or will make to the Trust, the Trust shall, at its sole
                  expense, in connection with the implementation of the Plan, act as a reporting agent
                  for the DOH Entities and Settling Insurers, and shall timely submit all reports that
                  would be required to be made by any DOH Entity or Settling Insurer under
                  MMSEA on account of any Claims settled, resolved, paid, or otherwise liquidated
                  by the Trust or with respect to contributions to the Trust, including reports that
                  would be required if the payments to the Trust by a DOH Entity or Settling Insurer
                  were determined to be made pursuant to “applicable plans” for purposes of
                  MMSEA, or any DOH Entity or Settling Insurer were otherwise found to have
                  MMSEA reporting requirements. The Trust, in its role as reporting agent for the
                  DOH Entities and Settling Insurers, shall follow all applicable guidance published
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                  by CMS to determine whether or not, and, if so, how, to report to CMS pursuant to
                  MMSEA.

                  (B)     If the Trust is required to act as a reporting agent for any DOH Entity or
                  Settling Insurer pursuant to Section 1.xx.(ix)(A), the Trust shall provide a written
                  certification to each DOH Entity and Settling Insurer within twenty-one (21) days
                  following the end of each calendar quarter, confirming that all reports to CMS
                  required by Section 1.xx.(ix)(A). have been submitted in a timely fashion, and
                  identifying (a) any reports that were rejected or otherwise identified as
                  noncompliant by CMS, along with the basis for such rejection or noncompliance;
                  and (b) any payments to Medicare Beneficiaries that the Trust did not report to
                  CMS.

                  (C)     With respect to any reports rejected or otherwise identified as noncompliant
                  by CMS, the Trust shall, upon request by any DOH Entity or Settling Insurer,
                  promptly provide copies of the original reports submitted to CMS, as well as any
                  response received from CMS with respect to such reports; provided, however, that
                  the Trust may redact from such copies the Redacted Information. With respect to
                  any such reports, the Trust shall reasonably undertake to remedy any issues of
                  noncompliance identified by CMS, resubmit such reports to CMS, and, upon
                  request by any DOH Entity or Settling Insurer, provide each DOH Entity and
                  Settling Insurer copies of such resubmissions; provided, however, that the Trust
                  may redact the Redacted Information. If the Trust is unable to remedy its
                  noncompliance, the provisions of Section 1.xx.(ix)(G) shall apply.

                  (D)     If the Trust is required to act as a reporting agent for a DOH Entity or
                  Settling Insurer pursuant to the provisions of Section 1xx.(ix)(A), with respect to
                  each Channeled Claim of a Medicare Beneficiary paid by the Trust and not
                  disclosed to CMS, the Trust shall, upon request by any DOH Entity or Settling
                  Insurer, promptly provide the last four digits of the claimant’s Social Security
                  number, the year of the claimant’s birth and any other information in the possession
                  or control of the Trust that may be necessary in the reasonable judgment of any
                  DOH Entity or Settling Insurer to satisfy their obligations, if any, under MMSEA,
                  as well as the basis for the Trust’s failure to report the payment. In the event any
                  DOH Entity or Settling Insurer informs the Trust that it disagrees with the Trust’s
                  decision not to report a Claim paid by the Trust, the Trust shall promptly report the
                  payment to CMS. All documentation relied upon by the Trust in making a
                  determination that a payment did not have to be reported to CMS shall be
                  maintained for a minimum of six (6) years following such determination.

                  (E)     If the Trust is required to act as a reporting agent for any DOH Entity, or
                  Settling Insurer pursuant to the provisions of Section 1.xx.(ix)(A), the Trust shall
                  make the reports and provide the certifications required by Sections 1.xx.(ix)(A)
                  and (B) until such time as such DOH Entity or Settling Insurer determines, in its
                  reasonable judgment, that it has no further legal obligation under MMSEA or
                  otherwise to report any settlements, resolutions, payments, or liquidation
                  determinations made by the Trust or contributions to the Trust. Furthermore,
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                  following any permitted cessation of reporting, or if reporting has not previously
                  commenced due to the satisfaction of one or more of the conditions set forth in
                  Section 1.xx.(ix)(A), and if any DOH Entity or Settling Insurer reasonably
                  determines, based on subsequent legislative, administrative, regulatory, or judicial
                  developments, that reporting is required, then the Trust shall promptly perform its
                  obligations under Sections 1.xx.(ix)(A) and (B).

                  (F)     Section 1.xx.(ix)(A) is intended to be purely prophylactic in nature, and
                  does not imply, and shall not constitute an admission, that the DOH Entities and/or
                  Settling Insurers have made payments pursuant to “applicable plans” within the
                  meaning of MMSEA, or that they have any legal obligation to report any acts
                  undertaken by the Trust or contributions to the Trust under MMSEA or any other
                  statute or regulation.

                  (G)     If CMS concludes that reporting done by the Trust in accordance with
                  Section 1.xx.(ix)(A) is or may be deficient in any way, and has not been corrected
                  to the satisfaction of CMS in a timely manner, or if CMS communicates to the
                  Trust, any DOH Entity or Settling Insurer a concern with respect to the sufficiency
                  or timeliness of such reporting, or there appears to any DOH Entity or Settling
                  Insurer a reasonable basis for a concern with respect to the sufficiency or timeliness
                  of such reporting or non-reporting based upon the information received pursuant to
                  Section 1.xx.(ix)(B), (C) or (D), or other credible information, then each DOH
                  Entity and Settling Insurer shall have the right to submit its own reports to CMS
                  under MMSEA, and the Trust shall provide to any Entity that elects to file its own
                  reports such information in its possession or control as the electing party may
                  reasonably require in order to comply with MMSEA, including the full reports filed
                  by the Trust pursuant to Section 1.xx.(ix)(A), without any redactions. The DOH
                  Entities and Settling Insurers shall keep any information they receive from the Trust
                  pursuant to this Section 1.xx.(ix) confidential and shall not use such information
                  for any purpose other than meeting obligations under MMSEA.

                  (H)     Notwithstanding any other provisions hereof, the Trust shall not be required
                  to report as required by this Section 1.xx.(ix) until the Person on whose behalf the
                  Trust is required to report shall have provided its Medicare Reporting Number, if
                  one exists. Moreover, the Trust shall have no indemnification obligation under this
                  Section 1.xx.(ix) to such Person for any penalty, interest, or sanction with respect
                  to a Claim that may arise on account of such Person’s failure timely to provide its
                  Medicare Reporting Number, if one exists, to the Trust in response to a timely
                  request by the Trust for such Medicare Reporting Number. However, nothing
                  relieves the Trust from its reporting obligations with respect to each Person who
                  provides the Trust with its Medicare Reporting Number. The Trust shall indemnify
                  each DOH Entity and Settling Insurer for any failure to report payments to
                  Medicare eligible Survivor Claimants on behalf of Persons who have timely
                  supplied Medicare Reporting Numbers, if any exists.

                  (I)    Prior to remittance of funds to any Channeled Claimant or counsel therefor,
                  the Trustee shall obtain in respect of any Channeled Claim a certification from the
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                  Claimant that said Claimant has or will provide for the payment and/or resolution
                  of any obligations owing or potentially owing under MSP relating to such
                  Channeled Claim. If the Trust receives no such certification, the Trust may
                  withhold payment from any Claimant the funds sufficient to assure that all
                  obligations owing or potentially owing under MSP relating to such Survivor Claim
                  are paid to CMS. The Trust shall provide a quarterly certification of its compliance
                  with this Section 1.xx.(ix) to each DOH Entity and Settling Insurer, and permit
                  reasonable audits by such Persons, no more often than annually, to confirm the
                  Trust’s compliance with this Section 1.xx.(ix). For the avoidance of doubt, the
                  Trust shall be obligated to comply with the requirements of this Section 1.xx.(ix)
                  regardless of whether any DOH Entity or Settling Insurer elects to file its own
                  reports under MMSEA pursuant to Section 1.xx.(ix)(G).

                  (J)     Compliance with the provisions of this Section 1.xx.(ix) shall be a material
                  obligation of the Trust under the Plan, in favor of the DOH Entities and Settling
                  Insurers under the Plan.

                  (K)     The Trust shall defend, indemnify, and hold harmless the DOH Entities and
                  Settling Insurers from any Medicare Claims reporting and payment obligations
                  relating to its payment of Channeled Claims, including any obligations owing or
                  potentially owing under MMSEA or MSP, and any Claims related to the Trust’s
                  obligations under Section 1.xx.(ix).

         (x) The Social Security Administration may change (or may have already changed) its
         processes and/or procedures in a manner that is inconsistent with the foregoing. The
         Trustee shall make best efforts to comply meaningfully with the foregoing while adhering
         to the Social Security Administration’s most recent processes, procedures, and
         requirements.

         ddd.     Plan Effective Date

       The term “Plan Effective Date” means the effective date of the Plan, as noticed on the
 Bankruptcy Case docket.

         eee.     Redacted Information

         The term “Redacted Information” means names, Social Security numbers other than the
 last four digits, health insurance claim numbers, taxpayer identification numbers, employer
 identification numbers, mailing addresses, telephone numbers, and dates of birth of the Survivor
 Claimants, and the names of the guardians, conservators, and/or other personal representatives, as
 applicable.

         fff.     Reorganized Debtor

         The term “Reorganized Debtor” means DOH, on and after the Plan Effective Date.



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         ggg.     Resolute

        The term “Resolute” means Resolute Management Services Ltd. (formerly known as
 Equitas Management Services Limited).

         hhh.     Settlement Amount

         The term “Settlement Amount” means the net sum of Two Million Five Hundred
 Thousand Dollars ($2,500,000.00). Each London Market Insurer shall pay its several, respective,
 allocated share of the Settlement Amount pursuant to the terms of Section 2. Each London Market
 Insurer’s respective, allocated, several share of the Settlement Amount is set forth on Attachment
 D.

         iii.     Settlement Approval Findings and Conclusions

        The term “Settlement Approval Findings and Conclusions” means findings of fact and
 conclusions of law pursuant to 11 U.S.C. §§ 363(b), (f), and (m) and Bankruptcy Rule 9019,
 entered concurrently with, the Approval Order, as necessary for the Court to approve this
 Agreement, including the following:

         (i)    DOH demonstrated sound business reasons for the settlement of its Claims against
         LMI in the Insurance Coverage Adversary Proceeding and the implementation of such
         settlement through the sale of the Subject Insurance Policies to the London Market
         Insurers;

         (ii) The Parties mediated their disputes over the Survivor Claims and the Coverage
         Claims pursuant to the Mediation Order, beginning in July 2020;

         (iii) In the Mediation, the Parties negotiated extensively, at arms-length, and in good
         faith. London Market Insurers are purchasers in good faith of the Subject Insurance
         Policies, within the meaning of Bankruptcy Code § 363(m), and are entitled to all of the
         protections of that statute;

         (iv)   LMI are bona fide good faith purchasers of the Subject Insurance Policies, for value;

         (v) The terms of the transactions contemplated by this Agreement, as well as the genesis
         and background of this Agreement, have been adequately disclosed to the Court;

         (vi) The terms and conditions of this Agreement (including the consideration to be
         realized by DOH’s bankruptcy estate) are fair and reasonable;

         (vii) The transactions contemplated by this Agreement are in the best interests of the
         DOH’s bankruptcy estate, its creditors and other stakeholders;

         (viii) The only potential holders of Interests in or against the Subject Insurance Policies
         are the DOH Entities and Persons who hold Claims against the DOH Entities, whose
         Claims might be covered by the Subject Insurance Policies;

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         (ix) The DOH Entities are parties to this Agreement, and hence are deemed to have
         consented to the sale within the meaning of Bankruptcy Code § 363(f)(2);

         (x) The Barred Claims are subject to bona fide dispute, hence the Subject Insurance
         Policies may be sold free and clear of such Claims pursuant to § 363(f)(4);

         (xi) All holders of Claims against the Subject Insurance Policies could be compelled, in
         a legal or equitable Action, to accept a money satisfaction of such Claims, therefore the
         Subject Insurance Policies may be sold free and clear of such Claims pursuant to §
         363(f)(5);

         (xii) The compromises and settlements embodied in the Agreement have been negotiated
         in good faith, and are reasonable, fair, and equitable;

         (xiii) In light of:

                  (A)     the probability of success in litigation;

                  (B)     the likely difficulties in collection;

                  (C)     the complexity of the litigation involved, and the expense, inconvenience
                          and delay necessarily attending it; and

                  (D)     the paramount interest of the creditors;

         this Agreement is fair and equitable and within the range of reasonable settlement terms;

         (xiv) The Settlement Amount is fair, adequate, and reasonable consideration for (a) the
         sale by the DOH Entities and the buy-back by the London Market Insurers of the Subject
         Insurance Policies; (b) the Entities’ Release; and (c) the Supplemental Settling Insurer
         Injunction;

         (xv) This Agreement is intended to be and is a compromise between the Parties and shall
         not be construed as an admission of coverage under the Subject Insurance Policies, an
         admission concerning the amount of a reasonable settlement of any claim, an admission
         concerning the liability or damages caused by the DOH entities with respect to any
         Survivor Claim (including the reasonableness of any such damages, nor shall this
         Agreement or any provision hereof be construed as a waiver, modification, or retraction of
         the positions with respect to the interpretation and application of the Subject Insurance
         Policies. This Agreement does not reflect to upon the Parties’ views as to rights and
         obligations with respect to matters or Persons outside the scope of this Agreement. This
         Agreement is without prejudice to the positions taken by the London Market Insurers with
         regard to other insureds, and without prejudice with regard to positions taken by any DOH
         Entity with regard to other insurers;

         (xvi) DOH provided due and adequate notice of the (a) sale of the Subject Insurance
         Policies; (b) terms and conditions of this Agreement; and (c) the hearing before the Court
         to approve this Agreement and the sale of the Subject Insurance Policies, in accordance
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         with Bankruptcy Rules 2002 and 6004 to all known and unknown Claimants, including by
         providing notice by publication to any Unknown Survivor Claimants;

         (xvii) It would be impractical to divide the Subject Insurance Policies amongst the DOH
         Entities and the Survivor Claimants, therefore, to realize the value of the Subject Insurance
         Policies for DOH’s bankruptcy estate and the Survivor Claimants requires the sale of the
         Subject Insurance Policies;

         (xviii) The sale of the Subject Insurance Policies outside the ordinary course of business
         satisfies the requirements of Bankruptcy Code § 363(b);

         (xix) The sale of the Subject Insurance Policies free and clear of the Interests of all Persons
         satisfies the requirements of Bankruptcy Code § 363(f);

         (xx) The London Market Insurers are repurchasing the Subject Insurance Policies,
         pursuant to this Agreement. The London Market Insurers are not purchasing any other
         assets of the DOH Entities and are not a continuation of the DOH Entities, nor engaging in
         a continuation of the DOH Entities’ businesses. The London Market Insurers shall not
         have any responsibility or liability with respect to any of the DOH Entities’ other assets;

         (xxi) The London Market Insurers are not, and shall not be deemed to be, successors to
         the DOH Entities, or any of them, by reason of any theory of law or equity or as a result of
         the consummation of the transactions contemplated in this Agreement, the Plan, or
         otherwise. The London Market Insurers shall not assume, or be deemed to have assumed,
         any liabilities or other obligations of the DOH Entities.

         (xxii) To the extent any Claimant may have any legal or equitable right to assert a Claim
         either directly against the Subject Insurance Policies, which policies are being acquired by
         the London Market Insurers pursuant to this Agreement, or indirectly by asserting such
         Claim against any DOH Entity, such Claims are deemed to be (a) “interests” as that term
         is used in Bankruptcy Code § 363(f); and (b) “Interests” herein; and

         (xxiii) The Agreement may be approved pursuant to Bankruptcy Rule 9019(a).

         jjj.     Settlement Payment Date

         The term “Settlement Payment Date” means the day that is the later of (a) the Plan
 Effective Date; and (b) sixty (60) days after the Confirmation Order becomes a Final Order,
 provided, however, that if such date is not a Business Day, the Settlement Payment Date shall be
 the next Business Day.

         kkk.     Supplemental Settling Insurer Injunction

        The term “Supplemental Settling Insurer Injunction” means an order of the Bankruptcy
 Court, effective as of the date the Trust receives the Settlement Amount, which states, verbatim:

                  Supplemental Settling Insurer Injunction.

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                 Pursuant to sections 105(a) and 363 of the Bankruptcy Code, and in
         consideration of the undertakings of the Settling Insurers pursuant to the Insurance
         Settlement Agreements, including certain Settling Insurers’ purchase of the
         applicable Settling Insurer Policies free and clear of all Claims and Interests pursuant
         to section 363(f) of the Bankruptcy Code, any and all Persons who have held, now
         hold, or who may in the future hold any Claims or Interests (including all debt
         holders, all equity holders, all Persons holding a Claim, governmental, tax and
         regulatory authorities, lenders, trade and other creditors, Survivor Claimants,
         perpetrators and all others holding Interests of any kind or nature whatsoever,
         including those Claims released or to be released pursuant to the Insurance
         Settlement Agreements) against any of the Settling Insurers, including (i) Claims
         relating to the Settling Insurer Policies, including Survivor Claims, Direct Action
         Claims, Indirect Claims, and Released Claims, (ii) the payment of any of the Claims
         identified in (i), including Contribution Claims and Medicare Claims, and (iii) Extra-
         Contractual Claims are hereby permanently stayed, enjoined, barred, and restrained
         from taking any action, directly or indirectly, to assert, enforce or attempt to assert
         or enforce any such Claim or Interest against the Settling Insurers or Settling Insurer
         Policies, including:

                a. commencing or continuing in any manner any action or other proceeding,
         whether legal, equitable or otherwise, against the Settling Insurers or the property of
         the Settling Insurers;

                b. enforcing, attaching, collecting, or recovering, or seeking to do any of the
         preceding, by any manner or means, any judgment, award, decree or order against
         the Settling Insurers or the property of the Settling Insurers;

                 c. creating, perfecting, or enforcing, or seeking to do any of the preceding, any
         lien of any kind against the Settling Insurers or the property of the Settling Insurers;

                d. asserting or accomplishing any setoff, right of indemnity, subrogation,
         contribution, or recoupment of any kind against any obligation due to the Settling
         Insurers or the property of the Settling Insurers; and

               e. taking any act, in any manner, in any place whatsoever, that does not
         conform to, or comply with, the provisions of the Plan.

                 The Supplemental Settling Insurer Injunction will be effective with respect to
         a Settling Insurer only as of the date that the Trust receives the Insurance Settlement
         Amount pursuant to the terms of the applicable Insurance Settlement Agreement.
         The Supplemental Settling Insurer Injunction bars the above-referenced actions
         against the Settling Insurers and the Settling Insurer Policies, but against no other
         person or thing; provided, however, nothing in this Supplemental Settling Insurer
         Injunction shall limit, or be deemed or otherwise interpreted to limit, the scope of the
         discharge or Channeling Injunction in favor of the Protected Parties. The foregoing
         injunctive provisions are an integral part of this Plan and are essential to its
         implementation.
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         lll.     Settling Insurers

         The term “Settling Insurers” means, collectively, the LMI Entities, and all other insurers
 of the DOH Entities, which, after the Petition Date, settled Claims for insurance coverage brought
 against them by DOH, and which obtain the protection of the Supplemental Settling Insurer
 Injunction.

         mmm. Subject Insurance Policies

         The term “Subject Insurance Policies” means, collectively (i) all insurance policies listed
 in Attachment A hereto; and (ii) all known and unknown insurance policies to the extent
 subscribed by one or more of the London Market Insurers in their capacity as London Market
 Insurers on or before July 1, 1993, and providing insurance to any DOH Entity; provided, however,
 if a Subject Insurance Policy that is not listed in Attachment A was not subscribed on behalf of a
 DOH Entity (or such Person’s Affiliates) but provides coverage to a DOH Entity, then it is a
 Subject Insurance Policy only to the extent it insures the DOH Entity.

         nnn.     Termination Event

         The term “Termination Event” means

         (i)     the Court has not entered the Approval Order by [DATE];

         (ii)    the Court has not entered the Confirmation Order by [DATE];

         (iii)   the Court has not entered the Bar Order by [DATE];

         (iv) the Approval Order, the Confirmation Order or the Bar Order fails to become a Final
         Order by [DATE];

         (v)     the Court denies approval of this Agreement;

         (vi) the Court enters an order or grants such other relief that is inconsistent with this
         Agreement;

         (vii) the DOH files any plan of reorganization other than the Plan;

         (viii) the appointment of a trustee under section 1104 of the Bankruptcy Code or an
         examiner with expanded powers in the Bankruptcy Case; or

        (ix)  the Plan is amended in any manner that is inconsistent with the terms of this
 Agreement; provided, however, the deadlines set forth in (i) through (iv) of the foregoing may be
 extended by mutual written consent of the Parties.

         ooo.     Trust

          The term “Trust” means the trust to be established under the Plan, which will assume
 liability for, and be established, pursuant to the Plan and, if applicable, Bankruptcy Code § 105, to
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 make distributions pursuant to the Plan, the Trust Agreement, and the Trust Distribution Plan,
 including payments to Survivor Claimants.

         ppp.     Trust Agreement

        The term “Trust Agreement” means any agreement establishing the Trust and the
 requirements for its administration.

         qqq.     Trust Distribution Plan

        The term “Trust Distribution Plan” means the Trust Distribution Plan established under
 the Trust Agreement and attached to the Plan, which governs the payment of Trust Distributions.

         rrr.     Trustee

        The term “Trustee” means the Person appointed as Trustee to administer the Trust, in
 accordance with the terms of the Plan, the Confirmation Order, and the Trust Agreement, or any
 successor appointed in accordance with the terms of the Plan, Confirmation Order, and the Trust
 Agreement.

         sss.     Underwriter Third-Party Beneficiaries

         The term “Underwriter Third-Party Beneficiaries” means:

         (i)    Resolute and the Equitas Entities;

         (ii) Equitas Insurance Limited to the extent it is not a successor to the Persons identified
         in Section 1.ooo.(i) with respect to the subject matter of this Agreement;

         (iii) Any Person from time to time retained by or on behalf of Lloyd’s Underwriters to
         act as their claims handling agent and/or service provider, solely in such capacity;

         (iv) The past, present and future reinsurers and retrocessionaires of the Equitas Entities
         or any of them, including National Indemnity Company and any other Person from time to
         time controlled (whether directly or indirectly), by Berkshire Hathaway, Inc., that provides
         retrocessional reinsurance to any one or more of the Equitas Entities, solely in such
         capacity; and

         (v) All past, present and future Affiliates and Agents of the Persons set forth in Sections
         1.ooo.(i) to (iv) (inclusive), if any, solely in such capacity; and

         (vi) The respective heirs, executors, successors and assigns (including any administrator,
         receiver, trustee, personal representative, liquidator (provisional or otherwise), or
         equivalent appointee/s under relevant insolvency law), of any of the Persons identified in
         Sections 1.ooo.(i) through (v) (inclusive) above, solely in such capacity.




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         ttt.     Unknown Claims Representative

        The term “Unknown Claims Representative” means Michael R. Hogan, who has been
 appointed by the Court to represent the interests of Unknown Survivor Claimants.

 2.      Payment of the Settlement Amount

         a.     This Agreement is effective on the Effective Date. The occurrence of the
 Settlement Payment Date is a condition precedent to each London Market Insurer’s several,
 respective obligation to pay its share of the Settlement Amount.

         b.      On the Settlement Payment Date, in full and final settlement of all obligations under
 and relating to the Subject Insurance Policies, and in consideration of the sale of the Subject
 Insurance Policies to the London Market Insurers free and clear of all Interests of any Person, and
 the releases provided herein, the London Market Insurers shall pay their respective, several, shares
 of the Settlement Amount in accordance with the payment instructions provided by the Trust.

         c.     Upon the Trust’s receipt of each London Market Insurer’s several, respective share
 of the Settlement Amount, the sale, assignment, and transfer of the Subject Insurance Policies to
 the London Market Insurers, shall be effective and binding, with the intent that no Person shall
 retain anything whatsoever with respect to the Subject Insurance Policies.

         d.       If, before the occurrence of the Settlement Payment Date, a DOH Entity other than
 DOH becomes a debtor in a bankruptcy case or insolvency Action, under the Bankruptcy Code or
 otherwise, and any London Market Insurer has not satisfied its respective several payment
 obligation arising hereunder, then such London Market Insurer shall be excused from performance
 under this Agreement until such time as either (i) such DOH Entity obtains, subject to the
 limitations imposed by the Bankruptcy Code, and subject to the equitable powers of the court in
 which such Action is pending, an order from such court approving this Agreement under
 Bankruptcy Code § 363(b), (f), and (m), and Bankruptcy Rule 9019, authorizing the assumption
 by such DOH Entity (or any successor thereto) of this Agreement under Bankruptcy Code § 365
 (“Assumption”), or in the event the insolvency case is proceeding under other law, shall obtain a
 similar order from the court overseeing the insolvency case approving this Agreement and
 confirming the binding effect thereof; (ii) DOH obtains an order in the Action compelling the
 Assumption; or (iii) DOH obtains an order from the Court determining the equitable portion of the
 Settlement Amount allocable to any interest the DOH Entity subject to such bankruptcy case or
 insolvency Action may have in the Subject Insurance Policies. Each DOH Entity agrees that in
 the event it files a bankruptcy or other insolvency Action, it will not present any Claim for payment
 under this Agreement or the Subject Insurance Policies to any London Market Insurer, until the
 Assumption has been approved by an order of the applicable court and such order has become a
 Final Order or until its equitable share in the Settlement Amount has been established by order of
 the Court pursuant to clause (iii) above, and such order has become a Final Order. The London
 Market Insurers agree to cooperate fully and provide commercially reasonable assistance to DOH
 and any DOH Entity in obtaining any of the orders contemplated in this Section 2(d).




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 3.      Several Liability

         The obligations of each London Market Insurer are several and not joint. The DOH Entities
 agree that no London Market Insurer shall be liable for any settlement amount allocable to any
 other Person. Accordingly, each identified London Market Insurer listed in Attachment B agrees
 to pay only its several, respective, allocated, share of the Settlement Amount, which amount is set
 forth in Attachment D, as applicable. No DOH Entity shall seek to recover from any individual
 London Market Insurer an amount in excess of its stated, several, respective, allocated share of the
 Settlement Amount, as set forth in Attachment D. Upon the Trust’s receipt of the Settlement
 Amount, each DOH Entity shall be deemed to have released each of the LMI Entities pursuant to
 Section 4 of this Agreement without further action by any Person.

 4.      Mutual Releases

         a.       By DOH Entities

         (i)     Upon the Trust’s receipt of the Settlement Amount, the Entities’ Release shall
         become immediately effective. Those London Market Insurers entitled to the Entities’
         Release but not identified on Attachment B to this Agreement, namely, those London
         Market Insurers that subscribed a Subject Insurance Policy either not presently known, or
         known but to which the identity of the subscribers is not presently known, shall be entitled
         to all of the terms of the Entities’ Release and to the Indemnity set forth in Section 5 upon
         the Trust’s receipt of the Settlement Amount.

         (ii) It is the intention of the DOH Entities to reserve no rights or benefits whatsoever
         under or in connection with the Subject Insurance Policies and to assure the LMI Entities
         their peace and freedom from such Interests and from all assertions of rights in connection
         with such Interests, provided, however, the Entities’ Release does not release, and nothing
         in this Agreement shall affect, the right of the DOH Entities, or the Trust, as applicable, to
         assert and pursue Claims against and to collect from Insurers other than those released
         under the Entities Release, and no Claims are released with respect to such Persons.

         (iii) Upon the Trust’s receipt of the Settlement Amount, any and all rights, duties,
         responsibilities, and obligations of the London Market Insurers created by or in connection
         with the Subject Insurance Policies, are terminated. As of the Settlement Payment Date,
         the DOH Entities shall have no insurance coverage under the Subject Insurance Policies.
         The Entities’ Release shall operate as though the London Market Insurers had never
         subscribed the Subject Insurance Policies.

         (iv) The Entities’ Release extends to all those (a) London Market Insurers that subscribed
         any of the Subject Insurance Policies; and (b) the Underwriter Third-Party Beneficiaries,
         all of which are third-party beneficiaries of the Entities’ Release.

         (v) Each DOH Entity signing this Agreement, is, among other things, (a) releasing all
         Released Claims, including Claims that it does not know or suspect to exist in its favor,
         which, if known by such DOH Entity, might have materially affected its settlement with
         the London Market Insurers, and (b) expressly waiving all rights it might have under any
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         federal, state, local, or other law or statute that would in any way limit, restrict, or prohibit
         such general release.

         (vi) Except with respect to any material breach of any representation, warranty or
         covenant by the London Market Insurers set forth in this Agreement, each DOH Entity
         expressly assumes the risk that acts, omissions, matters, causes, or things may have
         occurred, which it does not know or does not suspect to exist. To the fullest extent
         permitted by applicable law, each DOH Entity hereby waives the terms and provisions of
         any statute, rule or doctrine of common law which either: (a) narrowly construes releases
         purporting by their terms to release Claims in whole or in part based upon, arising from, or
         related to such acts, omissions, matters, causes or things; or (b) which restricts or prohibits
         the releasing of such Claims.

         (vii) Nothing in the foregoing shall release the London Market Insurers from their
         obligations under this Agreement, including the obligation to pay the Settlement Amount.

         b.       By the London Market Insurers

         (i)    At the same time the Entities’ Release becomes effective, each London Market
         Insurer, and any subsequently appointed trustee or representative acting for such London
         Market Insurer shall be deemed to remise, release, covenant not to sue, and forever
         discharge each DOH Entity from and against all Claims relating to the Subject Insurance
         Policies, which each such London Market Insurer ever had, now have or hereinafter may
         have, from the beginning of time to the Settlement Payment Date.

         (ii) Each Person released under the Entities’ Release shall reserve no rights or benefits
         whatsoever under or in connection with the Subject Insurance Policies.

         (iii) Except with respect to any material breach of any representation, warranty or
         covenant by any DOH Entity set forth in this Agreement, each London Market Insurer
         expressly assumes the risk that acts, omissions, matters, causes, or things may have
         occurred, which it does not know or does not suspect to exist. To the fullest extent
         permitted by applicable law, each London Market Insurer hereby waives the terms and
         provisions of any statute, rule or doctrine of common law which either: (a) narrowly
         construes releases purporting by their terms to release Claims in whole or in part based
         upon, arising from, or related to such acts, omissions, matters, causes or things; or
         (b) which restricts or prohibits the releasing of such Claims.

 5.      Indemnification

         a.      This Section 5 is effective upon the Trust’s receipt of the Settlement Amount. The
 Trust shall indemnify and hold harmless each of the London Market Insurers from and against any
 and all Channeled Claims; and the Reorganized Debtor shall indemnify the London Market
 Insurers from and against all Enjoined Claims except for the Channeled Claims. These
 indemnifications include Claims made by Persons over whom the Trust and/or the Reorganized
 Debtor does not have control, including the DOH Entities, former subsidiaries, predecessors in


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 interest, sellers or purchasers of assets, or any other Person who holds a Claim that the Trust and/or
 the Reorganized Debtor is indemnifying.

        b.      The London Market Insurers shall have the right to defend, with counsel of their
 choice, all Claims identified under Section 5.a. The London Market Insurers may begin the
 defense of any Claim upon receipt of such a Claim. The London Market Insurers agree to notify
 the Trust and/or the Reorganized Debtor, as applicable, promptly of Claims identified under
 Section 5.a. and of its choice of counsel.

        c.       The Trust and/or Reorganized Debtor, as applicable, shall reimburse all reasonable
 and necessary attorneys’ fees, expenses, costs, and amounts incurred by the London Market
 Insurers in defending such Claims identified under section 5.a. The London Market Insurers shall
 defend any such Claim in good faith. The indemnity obligations set forth in Section 5.a, hereof,
 to indemnify each London Market Insurer shall not exceed the respective portion of the Settlement
 Amount actually paid by each respective London Market Insurer. In defense of any such Claim,
 The London Market Insurers may settle or otherwise resolve a Claim with the prior consent of the
 Trust and/or Reorganized Debtor, as applicable, which consent shall not be unreasonably withheld.

        d.      This indemnification and hold harmless undertaking (Sections 5.a., b., and c.) also
 extends to the benefit of the Underwriter Third-Party Beneficiaries, in their capacity as such, all
 of which are third-party beneficiaries of the terms of this indemnification and hold harmless
 undertaking.

 6.      Bankruptcy Obligations

         a.      DOH shall provide to the London Market Insurers an initial draft of the proposed
 form of Approval Order, Settlement Approval Findings and Conclusions, and Bar Order at least
 fourteen (14) days before DOH submits the foregoing for approval of this Agreement to the Court,
 so that the London Market Insurers may provide comments and suggestions. In the event that
 DOH makes material revisions to any of the foregoing documents, then, as soon as possible, DOH
 shall provide a copy of such material revisions to the London Market Insurers. The London Market
 Insurers reserve the right to object to, inter alia, (i) any proposed order that does not satisfy all of
 the requirements of the definition of Approval Order set forth in Section 1.e, or (ii) any proposed
 findings and conclusions that do not satisfy all of the requirements of the definition of Settlement
 Approval Findings and Conclusions set forth in Section 1.eee, or the definition of Bar Order set
 forth in Section 1.k.

         b.      DOH shall provide to each of the London Market Insurers an initial draft of the
 proposed form of Confirmation Order, and Confirmation Findings and Conclusions, at least
 fourteen (14) days before DOH submits the foregoing to the Court, so that the London Market
 Insurers may provide comments and suggestions. In the event that DOH makes material revisions
 to any of the foregoing documents, then, as soon as possible, DOH shall provide a copy of such
 material revisions to the London Market Insurers. The London Market Insurers reserve the right
 to object to, inter alia, any proposed order that does not satisfy all of the requirements of the
 definition of Confirmation Order set forth in Section 1.s, or any proposed findings of fact and
 conclusions of law that do not satisfy all the requirements of the definition of Confirmation
 Findings and Conclusions in Section 1.r.
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         c.      DOH provided to London Market Insurers a copy of the Joint Chapter 11 Plan of
 Reorganization for the Diocese of Harrisburg (the “Joint Plan”) upon the filing of the Joint Plan.
 To the extent that the Joint Plan does not meet the requirements set forth in the definition of “Plan”
 set forth in Section 1.xx above, DOH shall modify such Joint Plan to assure that the filed plan of
 reorganization submitted to Court for confirmation comports with such definition, and London
 Market Insurers shall have the right to approve all modifications that affect their rights or
 obligations under this Agreement. In the event that DOH makes material revisions to the filed plan
 of reorganization, then, as soon as possible, DOH shall provide a copy of such material revisions
 to the London Market Insurers. The London Market Insurers reserve the right to object to, inter
 alia, any proposed plan of reorganization that does not satisfy all of the requirements of the
 definition of Plan set forth in Section 1.xx. (a “Non-Compliant Plan”). If DOH proposes a Non-
 Compliant Plan, then any London Market Insurers may contest such plan, and DOH shall not
 request a hearing date on confirmation of a Non-Compliant Plan less than thirty (30) days after the
 date such plan is filed in the Court.

         d.     DOH will seek entry of the Confirmation Order, as set forth in Section 1.s., together
 with the Confirmation Findings and Conclusions, as set forth in Section 1.r., including any required
 findings and conclusions under the Bankruptcy Code.

        e.     DOH shall serve Bankruptcy Notice of the initial hearing to approve this
 Agreement and on confirmation of the Plan and the time for filing objections thereto. The
 proposed form of notice shall be submitted to the London Market Insurers for their review and
 comment no later than seven (7) days prior to the actual service of notice. If the initial hearing to
 approve this Agreement or to confirm the Plan is adjourned, DOH shall not be required to provide
 Bankruptcy Notice of such adjourned hearing and shall only be required to file a notice of such
 adjournment on the docket in the Bankruptcy Case and provide such other and further notice as
 the Court may direct.

          f.    In the event that any Person attempts to prosecute a Barred Claim, before the
 Effective Date, against any London Market Insurer, or any DOH Entity, then promptly following
 notice from such London Market Insurers or DOH Entity, DOH shall file a motion and supporting
 papers to obtain an order from the Bankruptcy Court, pursuant to Bankruptcy Code §§ 105(a)
 and/or 362(b), as applicable, staying such Claims until the date that the Approval Order and
 Confirmation Order have each become a Final Order, or, alternatively, this Agreement is
 terminated under Section 8. However, if DOH is unable to obtain a stay of such Claim then the
 London Market Insurers may, to the extent feasible, and subject to the terms, conditions, and any
 applicable limits and retentions of the Subject Insurance Policies, defend such Claims and either
 settle them or litigate them to judgment, and the applicable DOH Entities shall fully assist and
 cooperate with London Market Insurers in such defense. If after such a Claim is brought, and if:

         (i)   the Effective Date occurs, then any payment by any London Market Insurers to
         resolve such Barred Claim, including defense costs paid to an insured’s counsel, shall be
         deducted from the Settlement Amount, and such London Market Insurers shall pay the
         balance of their respective, several, shares of the Settlement Amount; if the payments by a
         London Market Insurer to resolve such Barred Claim equals or exceeds its respective,
         several, allocated share of the Settlement Amount, then such London Market Insurer, shall
         automatically, and without further action by any Person, be relieved of any further
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         obligations under this Agreement and entitled to all the benefits hereunder, including the
         Entities Release; or, alternatively,

         (ii) the Effective Date does not occur, before this Agreement is terminated under Section
         9, then any amounts paid by the London Market Insurers shall be credited against their
         obligations, if any exist, under the Subject Insurance Policies.

 7.      Representations and Warranties

         a.     DOH represents and warrants that the notice required under the definition of
 Bankruptcy Notice includes all Claimants whose names and addresses are known to, or are readily
 ascertainable by any Party.

       b.       Each DOH Entity represents and warrants that it has the authority to execute this
 Agreement as its binding and legal obligation, subject in the case of DOH, to receiving Court
 approval of this Agreement.

         c.       Each London Market Insurer represents and warrants to DOH that (i) it has, and at
 all times prior to payment in full of its allocated portion of the Settlement Amount as reflected on
 Attachment D will have, sufficient assets to pay its allocated portion of the Settlement Amount in
 full; and (ii) it is not now, nor has it ever been, the subject of any bankruptcy or insolvency
 proceeding in any jurisdiction.

         d.     Each Party represents and warrants that the Persons signing this Agreement on its
 behalf are authorized to execute this Agreement.

         e.     Each individual signing this Agreement on behalf of a Party represents and warrants
 that he or she has the right, power, legal capacity, and authority to enter into this Agreement on
 behalf of such Party and bind such Party to perform each of the obligations specified herein.

 8.      Reduction Clause.

         The Confirmation Order shall provide include the following, verbatim:

       a.      Litigation/Settlement Between an Alleged Insured or Abuse Claimant and
 Non-Settling Insurers

         (i)      The Channeling Injunction shall channel all Contribution Claims to the Trust.

         (ii)    If, for any reason any court does not recognize the channeling of the Contribution
         Claims of Non-Settling Insurers to the Trust, or such Claims are not channeled for any
         reason, then the following shall apply:

                  (A)     The London Market Insurers shall retain their Contribution Claims, subject
                  to the following provisions; provided, however, that:

                          (I)   The London Market Insurers shall not pursue any Contribution
                          Claims against any Non-Settling Insurer: (A) that asserts a Contribution
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                          Claim solely against the Trust; (B) whose Contribution Claim is satisfied
                          and extinguished entirely by the application of this paragraph 8.a.(ii)(A), or
                          (C) that does not assert a Contribution Claim against them;

                          (II)    If a Non-Settling Insurer asserts its Contribution Claim only against
                          the Trust, then the London Market Insurers shall assign any Contribution
                          Claims they may hold against such Non-Settling Insurer to the Trust, and
                          the Trust shall be free to assert such Contribution Claims against such Non-
                          Settling Insurer;

                          (III) If a Non-Settling Insurer releases its Contribution Claims, if any
                          such exist, that it may have against a London Market Insurers, then such
                          released London Market Insurers shall release its Contribution Claims
                          against such releasing Non-Settling Insurer.

                          (IV) If a Non-Settling Insurer asserts a Contribution Claim against any
                          London Market Insurer, and

                                     (1)     the Trust fully indemnifies the London Market Insurers, then
                                     the London Market Insurers shall assign their Contribution Claims
                                     to the Trust; or

                                     (2)     the Trust partially, but not fully, indemnifies the London
                                     Market Insurers for such Claim, then the London Market Insurers
                                     shall retain their Contribution Claims and may assert them against
                                     the Non-Settling Insurer asserting the Contribution Claim against
                                     the London Market Insurers. Any recovery by the London Market
                                     Insurers exceeding the amount necessary to satisfy the Trust's full
                                     indemnity obligation plus litigation costs shall be turned over to the
                                     Trust.

                  (B)      In any Action, including the Insurance Coverage Adversary Proceeding,
                  involving a DOH Entity, the Reorganized Debtor, or the Trust (collectively,
                  “Alleged Insured”) or an Abuse Claimant, as applicable, and one or more Non-
                  Settling Insurers, where a Non-Settling Insurer has asserted, asserts, or could assert
                  any Contribution Claim against an LMI Entity, then any judgment or award
                  obtained by such Alleged Insured or Abuse Claimant against such Non-Settling
                  Insurer shall be automatically reduced by the amount, if any, that such LMI Entity
                  is liable to pay such Non-Settling Insurer as a result of its Contribution Claim, so
                  that the Contribution Claim is thereby satisfied and extinguished entirely
                  (“Reduction Amount”). In any Action involving an Alleged Insured or Abuse
                  Claimant against a Non-Settling Insurer, where such LMI Entity is not a party, such
                  Alleged Insured or Abuse Claimant shall obtain a finding from that court or
                  arbitrator(s), as applicable, of the Reduction Amount before entry of judgment
                  against such Non-Settling Insurer. In the event that such a reduction is not made
                  as described above, then any Contribution Claim by any Non-Settling Insurer
                  against any LMI Entity shall be reduced by the Reduction Amount, as determined
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                  by the court or arbitrator(s) in which such Contribution Claim is filed. The London
                  Market Insurers shall be required to cooperate in good faith with DOH and/or the
                  Trust to take commercially reasonable steps to defend against any Contribution
                  Claim. In the event that application of the Reduction Amount eliminates the Non-
                  Settling Insurer’s Contribution Claim, then such Non-Settling Insurer shall fully
                  reimburse the LMI Entities their costs and expenses, including legal fees, incurred
                  in responding to the Contribution Claim Action, including all costs, expenses and
                  fees incurred in seeking relief from the Court.

                  (C)     If an Alleged Insured or Abuse Claimant and a Non-Settling Insurer enter
                  into an agreement settling one or more Claims relating to Abuse, such agreement
                  shall provide that such Non-Settling Insurer releases Contribution Claims against
                  the London Market Insurers so long as the London Market Insurers release their
                  Contribution Claims against such Non-Settling Insurer. If such settlement
                  agreement fails to include such a release provision, and the Non-Settling Insurer
                  has asserted, asserts, or could assert a Contribution Claim against an LMI Entity,
                  then any settlement amount in such settlement agreement shall be deemed
                  automatically reduced by the Reduction Amount. In such event, the settling parties
                  shall obtain a finding from the applicable court or arbitrator(s) of the Reduction
                  Amount. If (a) the settlement agreement was entered into without litigation or
                  arbitration such that no judge or arbitrator can determine the Reduction Amount, or
                  (b) such a reduction is not otherwise made as described above, then any
                  Contribution Claim by any Non-Settling Insurer against any LMI Entity shall be
                  reduced by the Reduction Amount, as determined by the court or arbitrator(s) in
                  which such Contribution Claim is filed. The London Market Insurers shall be
                  required to cooperate in good faith with DOH and/or the Trust to take commercially
                  reasonable steps to defend against any Contribution Claim by a Non-Settling
                  Insurer. In the event that the reduction eliminates the Non-Settling Insurer’s
                  Contribution Claim, then such Non-Settling Insurer shall fully reimburse the LMI
                  Entities their costs and expenses, including legal fees, incurred in responding to the
                  Contribution Claim Action, including all costs, expenses and fees incurred in
                  seeking relief from the Court.

         b.       Application of the Reduction

         (i)     To ensure that the reduction contemplated in this Section 8 is accomplished, the
         LMI Entities shall be entitled to: (i) notice, pursuant to Section 19, within a reasonable time
         of the initiation of any future Action against or future settlement negotiations with any
         Non-Settling Insurer that could give rise to the possibility of a Contribution Claim against
         any LMI Entity, and periodic notices thereafter on at least an annual basis of the status of
         such Action or negotiations; (ii) the opportunity to participate in the Action or settlement
         negotiations without objection by any party thereto, but only to the extent necessary to
         accomplish the reduction contemplated in this Section 8; (iii) the cooperation of the
         applicable Alleged Insured so that the LMI Entities can assert this Section as a defense in
         any Action against any of them for any Contribution Claim; and (iv) have the court or
         appropriate tribunal issue such orders as are necessary to effectuate the judgment, award,

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         or settlement reduction in order to protect the LMI Entities from any Contribution Claim.
         The notice required above shall be given by (A) the Alleged Insured that is a party to such
         Action or settlement negotiations; or (B) if no Alleged Insured is such a party, the Non-
         Settling Insurer that is a party to such Action or settlement negotiations; or (C) if no Alleged
         Insured or Non-Settling Insurer is a party to such Action or settlement negotiations, the
         Survivor Claimant bound by the Plan.

         (ii)   The Trust shall use commercially reasonable efforts to obtain, from all Settling
         Insurers, agreements similar to those contained in Section 8(a)(ii)(A)(III).

 9.      Termination of Agreement

         a.       The Parties may terminate this Agreement in writing upon mutual assent.

        b.     Any Party may terminate this Agreement upon thirty (30) days’ notice, pursuant to
 Section 21 hereof, to the other Parties if a Termination Event occurs.

         c.      In the event of termination pursuant to this Section 9, unless the Parties agree
 otherwise in writing, this Agreement shall be void ab initio and all Parties shall retain all of their
 Interests relating to the Subject Insurance Policies as if this Agreement never existed; provided,
 however, that any amounts expended by the London Market Insurers pursuant to Section 6.f of
 this Agreement shall be credited against their obligations, if any, under the Subject Insurance
 Policies pursuant to their terms.

         d.     If any London Market Insurers do not pay their allocated share of the Settlement
 Amount (each a “Non-Paying Insurer”), DOH, at its option, may by written notice, in accordance
 with Section 21 hereof, to other parties to this Agreement, either terminate this Agreement in its
 entirety or terminate this Agreement solely as it relates to such Non-Paying Insurer (“Partial
 Termination”). In the event of a Partial Termination, (i) such Non-Paying Insurer shall not be a
 Settling Insurer; (ii) such Non-Paying Insurer shall not receive the benefit of the Entities’ Release,
 the Channeling Injunction, or the Supplemental Settling Insurer Injunction; (iii) the Subject
 Insurance Policies shall not include that portion of any insurance policies to the extent issued or
 subscribed by such Non-Paying Insurer; (iv) this Agreement shall be void ab initio solely as it
 relates to such Non-Paying Insurer; (v) the Settlement Amount shall be reduced by such non-
 paying London Market Insurer’s allocated, several share of the Settlement Amount, as set forth on
 Attachment C; and (vi) the Parties shall retain all of their Interests relating to that portion of any
 insurance policies to the extent issued or subscribed by such Non-Paying Insurer, as if this
 Agreement never existed.

 10.     Treatment of Perpetrators

        Nothing in this Agreement overrides the treatment in the Plan of individuals who
 perpetrated an act of Abuse that forms the basis for a Survivor Claim.




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 11.     Reasonably Equivalent Value

        a.      This Agreement was bargained for and entered into in good faith and as the result
 of arms-length negotiations;

        b.      Based on their respective independent assessments, with the assistance and advice
 of counsel, of the probability of success, the complexity, the delay in obtaining relief, and the
 expense of maintaining the Insurance Coverage Adversary Proceeding, the payments received by
 the DOH Entities pursuant to this Agreement constitute a fair and reasonable settlement of the
 Released Claims;

         c.      The payments and other benefits received under this Agreement by the DOH
 Entities constitute reasonably equivalent value for the Entities’ Release, indemnity, and other
 benefits received by the LMI Entities under this Agreement; and

         d.       Subject to the Trust’s receipt of the Settlement Amount, this Agreement constitutes
 a full and final resolution of all issues in the Insurance Coverage Adversary Proceeding.

 12.     Confidentiality

         a.      Except as necessary to obtain approval of this Agreement in the Court, the Parties
 agree that all matters relating to the negotiation of this Agreement shall be confidential and are not
 to be disclosed except by order of court, or written agreement of the Parties, except that, provided
 recipients agree to keep such information confidential, this Agreement may be disclosed to: (i)
 reinsurers of the London Market Insurers directly or through intermediaries; (ii) outside auditors
 or accountants of any Party; (iii) representatives of a non-party insurer subscribing or allegedly
 subscribing one or more of the Subject Insurance Policies, which insurer is, has been or may
 become insolvent in the future, including any liquidators, provisional liquidators, scheme
 administrators, trustees, or similarly empowered Persons acting for such insurer. This Agreement
 may also be disclosed, as required, to the Inland Revenue, the Internal Revenue Service or other
 U.S. or U.K. governmental authority that properly requires disclosure, or as otherwise required by
 law. The Parties acknowledge and agree that a copy of this Agreement will be publicly filed on
 the docket and provided to parties in interest in the Bankruptcy Case, without obligation of
 confidentiality or restrictions on further disclosure.

          b.    In the event a private litigant, by way of document request, interrogatory, subpoena,
 or questioning at deposition or trial, attempts to compel disclosure of anything protected by this
 section from a Party, such Party shall decline to provide the requested information on the ground
 that this Agreement restricts such disclosure. In the event such private litigant seeks an order from
 any court or governmental body to compel such disclosure, or in the event that a court, government
 official, or governmental body (other than the Inland Revenue or Internal Revenue Service)
 requests or requires disclosure of anything protected by this paragraph, the Party from whom
 disclosure is sought shall promptly give written notice to the other Parties, and shall promptly
 provide copies of all notice papers, orders, requests, or other documents in order to allow each
 Party to take such protective steps as may be appropriate. Notice shall be made under this
 paragraph to the persons identified in Section 21.

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        c.      Material protected by this section shall be deemed to fall within the protection
 afforded compromises and offers to compromise by Rule 408 of the Federal Rules of Evidence
 and similar provisions of state law or state rules of court.

 13.     Third-Party Beneficiaries

         The Underwriter Third-Party Beneficiaries, the Trust, and the Trustee are intended third-
 party beneficiaries of this Agreement. Except as set forth in the preceding sentence, there are no
 other third-party beneficiaries of this Agreement.

 14.     Co-operation

        a.      The DOH Entities will undertake all reasonable actions to co-operate with the
 London Market Insurers in connection with their respective reinsurers, including responding to
 reasonable requests for information and meeting with representatives of reinsurers. Furthermore,
 the Parties shall use their commercially reasonable efforts and cooperate as necessary or
 appropriate to effect the objectives of this Agreement.

         b.     If any action or proceeding of any type whatsoever is commenced or prosecuted by
 any person not a Party to this Agreement to invalidate, interpret, or prevent the validation or
 enforcement, or carrying out, of all or any of the provisions of this Agreement, the Parties mutually
 agree, represent, warrant, and covenant to cooperate fully in opposing such action or proceeding.

 15.     Non-Prejudice and Construction of Agreement

         a.      This Agreement is intended to be and is a compromise between the Parties and
 neither this Agreement nor any provision hereof shall be construed as (i) an admission of coverage
 under the Subject Insurance Policies; (ii) an admission concerning the amount of a reasonable
 settlement of any Claim; (iii) an admission concerning the liability of or damages caused by the
 DOH entities with respect to any Survivor Claim (including the reasonableness of any such
 damages); or (iv) a waiver, modification, or retraction of the positions of the Parties with respect
 to the interpretation and application of the Subject Insurance Policies.

         b.       This Agreement is the product of informed negotiations and involves compromises
 of the Parties’ previously stated legal positions. Accordingly, this Agreement does not reflect upon
 the Parties’ views as to rights and obligations with respect to matters or Persons outside the scope
 of this Agreement. This Agreement is without prejudice to positions taken by London Market
 Insurers with regard to other insureds, and without prejudice with regard to positions taken by any
 DOH Entity with regard to other insurers. Except for the express references to the third-party
 beneficiaries in Section 13 of this Agreement, the Parties specifically disavow any intention to
 create rights in third parties under or in relation to this Agreement.

         c.     This Agreement is the jointly drafted product of arms’-length negotiations between
 the Parties with the benefit of advice from counsel, and the Parties agree that it shall be so
 construed. As such, no Party will assert that any ambiguity in this Agreement shall be construed
 against another Party.


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         d.     If any provision of the Plan, the Trust Agreement, or trust distribution procedures
 proposed thereunder conflicts with or is inconsistent with this Agreement in any way whatsoever,
 then the provisions of this Agreement shall control and take precedence. Neither the Plan nor the
 Trust Agreement shall be construed or interpreted to modify or affect any rights or obligations of
 the London Market Insurers under this Agreement.

 16.     No Modification

         No change or modification of this Agreement shall be valid unless it is made in writing and
 signed by the Parties. Any change or modification of this Agreement that affects the rights of the
 Survivor Claimants or Trust shall require the consent of the Committee or Trustee, as applicable,
 which consent shall not be unreasonably withheld. Any attempted change or modification in
 violation of this Section shall be void ab initio.

 17.     Waiver

         No waiver of any provision of this Agreement or of a breach thereof shall be valid unless
 it is made in writing and signed by the Parties. The waiver by any Party of any of the provisions
 of this Agreement or of the breach thereof shall not operate or be construed as a waiver of any
 other provision or breach.

 18.     Non-Assignment

        Neither this Agreement nor the rights and obligations set forth in this Agreement shall be
 assigned without the prior written consent of the other Parties.

 19.     Execution

         There will be three signed originals of this Agreement.

 20.     Governing Law

        This Agreement shall be governed by and shall be construed in accordance with the laws
 of Pennsylvania.

 21.     Notices

         Unless another person is designated, in writing, for receipt of notices hereunder, notices to
 the respective Parties shall be sent in writing to the Persons listed on Attachment F.

 22.     Integration

          This Agreement, including the attachments, constitutes the entire Agreement amongst the
 London Market Insurers and the DOH Entities, with respect to the subject matter hereof, and
 supersedes all discussions, agreements and understandings, both written and oral, amongst the
 Parties with respect thereto. The Parties intend that this Agreement and the Plan shall be consistent
 in all respects, with no conflict or discrepancies between them.

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        IN WITNESS WHEREOF, the Parties have executed this Agreement by their duly
 authorized representatives.

         The London Market Insurers identified in Attachment B have respectively designated
 Clyde & Co US LLP, as their attorneys-in-fact for the limited purpose of executing this Agreement
 on their behalf with express authority to do so.

                                      [Signature Pages Follow]




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 Signed:

 The Roman Catholic Diocese of Harrisburg

 Name Printed:

 Title:

 Date:                                        2022




 Signed:

 On Behalf of Other DOH Entities Listed on Exhibit D

 Name Printed:

 Title:

 Date:                                        2022




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 Signed:

 London Market Insurers

 Name Printed:

 Title:

 Date:                                        2022



 Signed:

 London Market Insurers

 Name Printed:

 Title:

 Date:                                        2022




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                                SCHEDULE OF ATTACHMENTS TO

                          SETTLEMENT AGREEMENT AND RELEASE


  Attachment A                                   List of known Subject Insurance Policies

  Attachment B                                   List of London Market Insurers


  Attachment C                                   List of Solvent London Market Insurers allocated
                                                 shares of the Settlement Amount

  Attachment D                                   List of DOH Entities
  Attachment E                                   Notice Names and Addresses




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                                           ATTACHMENT A

                                     Known Subject Insurance Policies

         Package Policies:

      Policy No. / Security            Policy Period(s)
      74/16553/1 PNB10455V             July 25, 1974 to July 25, 1975
      SL 3042/SLC 5048                 July 25, 1975 to July 25, 1977
      SL 3235/SLC 5249                 July 25, 1977 to July 25, 1980
      SL 3711/SLC 5732                 July 25, 1980 to July 25, 1983
      ISL 3108/ICO 4066                July 25, 1983 to July 25, 1986
      ISL 3580/ICO 5410                July 25, 1986 to July 25, 1987 (claims-made)
      ISL 3869/ICO 5535                July 25, 1987 to July 25, 1988 (claims-made)

         Excess All Risks Casualty and Crime Coverage Policies:

      Policy No. / Security            Policy Period(s)
      74-16553-2                       July 25, 1974 to July 25, 1975
      SL 3238                          July 25, 1977 to July 25, 1980
      ISL 3109/ ICO 4067               July 25, 1983 to July 25, 1986

         Excess Broadform Liability Policies:

      Policy No. / Security            Policy Period(s)
      SL 3439                          July 25, 1978 to July 25, 1981
      SL 3873/SLC 5881                 July 25, 1981 to July 25, 1983
      ISL 3110/ICO 4068                July 25, 1983 to July 25, 1986
      ISL 3582 / ICO 5412              July 25, 1986 to July 25, 1987 (claims-made)


      And all other Policies subscribed by London Market Insurers on behalf of DOH and
 DOH Entities prior to July 25, 1993, including Excess Property Only, Drop-Down, and Other.




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                                        ATTACHMENT B

                                   List of London Market Insurers

     1. Certain Underwriters at Lloyd’s, London subscribing to Policy Nos. 74/16553; SL 3042;
        SL 3235; SL 3711; ISL 3108; ISL 3580; ISL 3869; 74-16553-2; SL 3238; ISL 3109; SL
        3439; SL 3873; ISL 3110; ISL 3582; and all others issued prior to July 25, 1993.

     2. Catalina Worthing Insurance Ltd f/k/a HFPI (as Part VII transferee of Excess Insurance Co
        Ltd.)
     3. RiverStone Insurance (UK) Limited (successor in interest to Terra Nova Insurance
        Company Limited)
     4. Sompo Japan Nipponkoa Insurance Company of Europe Limited (formerly known as the
        Yasuda Fire & Marine Insurance Company (U.K.) Ltd.)
     5. Dominion Ins. Co. Ltd.
     6. St. Katherine Insurance Co
     7. Assicurazioni Generali T.S.
     8. Taisho Marine & Fire Insurance Co.
     9. Allianz International Insurance Co.




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                                        ATTACHMENT C

                Solvent London Market Insurer Shares of the Settlement Amount


  London Market Insurer                                                          Amount
  Certain Underwriters at Lloyd’s, London                                   $2,268,338.40
  Excess Insurance Company, Ltd.                                             $129,396.51
  Terra Nova Insurance Company, Ltd.                                           $67,590.05
  The Yasuda Fire & Marine Insurance Company                                   $34,670.04
  Dominion Insurance Company                                                        $1.00
  St. Katherine Insurance Company PLC                                               $1.00
  Assicurazioni Generali, T.S.                                                      $1.00
  Taisho Marine & Fire Insurance Co. (U.K.) Ltd.                                    $1.00
  Allianz International Insurance Co. (U.K Ltd.)                                    $1.00

  Net to Solvent London Market Insurer                                          $2,500,000




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                                        ATTACHMENT D

                                     LIST OF DOH ENTITIES




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                                        ATTACHMENT E

                                 NOTICE NAMES AND ADDRESSES

          DOH:




          With copies to:



                                                -and-




          DOH Parishes:

          LONDON MARKET INSURERS

          For Resolute Management Services      Martin Futter, Esq. LLB (Hons) PGDip (LPC)
          Limited:
                                                Account Manager
                                                Resolute Management Services Ltd.
                                                London Underwriting Centre
                                                4th Floor, 8 Fenchurch Place
                                                London EC3M 4AJ
                                                England
                                                Tel: +44 (0) 207 342 2455

          For Company Leader:                   Mr. Steve Dodson
                                                Head of Claims
                                                Catalina Worthing Insurance Ltd f/k/a HFPI (as
                                                Part VII transferee of Excess Insurance Company
                                                Ltd and/or London & Edinburgh Insurance
                                                Company Ltd (as successor to London &
                                                Edinburgh General Insurance Company Ltd))
                                                1 Alie St.
                                                London E1 8DE
                                                England
                                                Tel: +44 (0) 207 265 5031

          With copies to:                       Catalina J. Sugayan, Esq.
                                                Clyde & Co US LLP

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                                                55 West Monroe Street
                                                Suite 3000
                                                Chicago, IL 60603
                                                Tel: 312.635.6917

                                                Russell W. Roten, Esq.
                                                Duane Morris LLP
                                                865 South Figueroa Street
                                                Suite 3100
                                                Los Angeles, CA 90017-5450
                                                Tel: 213.689.7439




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                                   EXHIBIT G

                                 PROPOSED ORDER




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                             UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                   HARRISBURG DIVISION

     In re:

     ROMAN CATHOLIC DIOCESE OF                               Chapter 11
     HARRISBURG,
                                                             Case No. 1:20-bk-00599 (HWV)
                                 Debtor.1


       ORDER APPROVING SETTLEMENT AGREEMENTS BY AND BETWEEN THE
       ROMAN CATHOLIC DIOCESE OF HARRISBURG AND SETTLING INSURERS

              Upon consideration of the Motion for an Order Approving Settlement Agreements with the

 Roman Catholic Diocese of Harrisburg’s Insurer’s (Dkt. No. [_]) (the “Motion”);2 and upon

 consideration of the Settlement Agreements; and upon consideration of all pleadings related to the

 Motion; and based upon the record in this bankruptcy proceeding; and this Court having

 determined that the legal and factual bases set forth in the Motion establish just cause for the relief

 granted in this order;

              THE COURT HEREBY FINDS AS FOLLOWS:

              A.     This Court has jurisdiction to consider the Motion and relief sought in the Motion

 in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

 from the United States District Court for the Middle District of Pennsylvania.

              B.     This is a core proceeding pursuant to 28 U.S.C. § 157(b).

              C.     Venue is appropriate in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.




 1
   The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
 business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.
 2
   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion or
 the Plan (as applicable).

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          D.        Due and sufficient notice of the Motion and relief sought in the Motion has been

 given in accordance with the Bankruptcy Code, Bankruptcy Rules, and Local Rules, and no other

 or further notice is necessary or required.

          E.        A reasonable opportunity to object or be heard regarding the relief requested in the

 Motion has been afforded to all creditors and parties in interest.

          F.        The relief requested in the Motion and granted in this order is warranted under the

 circumstances and is in the best interests of the Debtor, the Debtor’s estate, creditors, and all other

 parties in interest.

          G.        The terms of the Settlements Agreements, as well as the genesis and background of

 the Settlement Agreements, have been adequately disclosed to the Court.

          H.        Each of the Settlement Agreements reflects a compromise of the various claims and

 disputes among the Debtor, on the one hand, and each respective Settling Insurer, on the other

 hand, that is fair and in the best interests of the Debtor and the Debtor’s estate and in no way is

 deemed to be an admission by the Settling Insurers of coverage, reasonable settlement, or liability

 under the respective Settling Insurer Policies.

          I.        Each of the Settlement Agreements is the result of multiple years of mediation and

 arm’s length negotiations, done in accordance with the Mediation Order, and permits the global

 resolution of myriad factually intense disputes and claims relating to Survivor Claims, the Settling

 Insurers, and the Settling Insurer Policies.

          J.        The Settlement Agreements will permit the Debtor to avoid the uncertainty, delay,

 and cost involved in further litigation regarding Survivor Claims and applicability of coverage

 under the various Settling Insurer Policies and preserve the value of the Debtor’s estate and

 maximize the amounts available to Survivors and other parties in interest.



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          K.        It is a reasonable exercise of the Debtor’s business judgment to enter into, perform

 under, and consummate the Settlement Agreements, including the sale, conveyance, transfer and

 assignment of any and all interests the Debtor holds in the Settling Insurer Policies relating to each

 of Travelers, Zurich, Interstate, and LMI (collectively, the “Sold Policies”), pursuant to 11 U.S.C.

 § 363(b)(1) free and clear of liens, Claims (including, but not limited to, Survivor Claims), and

 Interests pursuant to 11 U.S.C. § 363(f), as and to the extent provided for in each respective

 Settlement Agreement.

          L.        The Settlement Agreements were negotiated and proposed without collusion and in

 good faith, from arms’ length bargaining positions by the Debtor, Parishes, Schools, Related Non-

 Debtor Entities, and the Settling Insurers.

          M.        Each of the Settling Insurers has conducted itself in good faith, including in

 connection with the sale, conveyance, transfer and assignment of any and all interests the Debtor

 holds in the Sold Policies, pursuant to 11 U.S.C. § 363(b)(1) free and clear of liens, Claims

 (including, but not limited to, Survivor Claims), and Interests pursuant to 11 U.S.C. § 363(f), as

 and to the extent provided for in each respective Settlement Agreement.

          N.        The consideration exchanged, including the settlement amount to be paid by each

 Settling Insurer, constitutes a fair and reasonable settlement of the parties’ disputes and of their

 respective rights and obligations relating to the Settling Insurer Policies.

          O.        The Settling Insurers are not successors to the Debtor, Parishes, Schools, or Related

 Non-Debtor Entities, by reason of any theory or law or equity, as a result of the consummation of

 the transactions contemplated within the Settlement Agreements.

          P.        The Debtor has good and sufficient business justifications supporting entry into the

 Settlement Agreements, which are attached as Exhibit A through Exhibit F to the Motion.



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          NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

          1.        The relief requested in the Motion is GRANTED as set forth in this order, pursuant

 to sections 363(b), (f), (m), 105(a) of the Bankruptcy Code and Bankruptcy Rules 6004 and 9019.

          2.        Each of the Settlement Agreements is approved in its entirety, and the omission in

 this order of specific reference to any provision of any of the Settlement Agreements shall not

 impair or diminish the efficacy, propriety, or approval of the provision.

          3.        Any and all objections to the Motion or to the relief requested therein that have not

 been withdrawn, waived, or settled, and all reservations of rights included in such objections, are

 hereby overruled and denied.

          4.        The Parishes, Schools, and Related Non-Debtor Entities, to the extent they hold an

 interest in the Settling Insurer Policies, are deemed to have consented to the sale of the Sold

 Policies within the meaning of section 363(f)(2) of the Bankruptcy Code.

          5.        Without further order of this Court, the Debtor is authorized to: (a) enter into and

 perform the covenants, terms and conditions of each Settlement Agreement and grant the releases

 contained therein; and (b) undertake any remaining transactions contemplated or required by the

 Settlement Agreements.

          6.        With respect to Travelers, Zurich, Interstate, and LMI, the sale, conveyance,

 transfer and assignment of any and all interests of the Debtor in the respective Sold Policies is

 authorized and shall be free and clear of all Liens, Claims (including, but not limited to, Survivor

 Claims) and Interests of all Persons, pursuant to section 363 of the Bankruptcy Code. Upon the

 effective date of the applicable Settlement Agreement, without any further action being required,

 the applicable Settling Insurer shall be deemed to have purchased from the Debtor its Sold Policy

 or Sold Policies free and clear of all Liens, Claims (including, but not limited to, Survivor Claims)



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 and Interests of all Persons, pursuant to section 363(f) of the Bankruptcy Code, including Interests

 of the Debtor, Parishes, Schools, and Related Non-Debtor Entities, and other Persons claiming

 coverage by, through, or on behalf of the Debtor, Parishes, Schools, Related Non-Debtor Entities,

 any other insurer, and any entity holding a Claim (including, but not limited to, Survivor Claims)

 against any of the Debtor, Parishes, Schools, or Related Non-Debtor Entities.

          7.        Each of Travelers, Zurich, Interstate, and LMI are entitled to the protections

 afforded by section 363(m) of the Bankruptcy Code, each having conducted themselves in good

 faith in connection with the Settlement Agreements and purchase of their respective Sold Policies.

          8.        Upon the occurrence of the conditions contained in each Settlement Agreement and

 payment of the settlement amount by the respective Settling Insurer, all Interests the Debtor,

 Parishes, Schools, or Related Non-Debtor Entities may have had, may presently have, or in the

 future may have in the Settling Insurer Policies are released pursuant to the terms of the respective

 Settlement Agreement.

          9.        This order shall not limit or preclude the entry or effectiveness of any injunctions

 and other protections that may be granted to protect the Settling Insurers in connection with or as

 a part of the Plan or any other chapter 11 plan in this chapter 11 proceeding and the order

 confirming the Plan. The Settling Insurers shall be entitled to the benefit of any Channeling

 Injunction, Supplemental Settling Insurer Injunction, and any similar injunctions contained in the

 Plan.

          10.       The Settlement Agreements and this order are binding upon the parties to each

 respective Settlement Agreement, the Debtor, any trust or trustee for the Debtor, its assets, or its

 liabilities, and shall survive the confirmation of any plan of reorganization of the Debtor.




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          11.       The Court shall retain jurisdiction to enforce the provisions of this order and the

 Settlement Agreements and to resolve any issue or dispute concerning the interpretation,

 implementation or enforcement of this Order and the Settlement Agreements, or the rights and

 duties of the parties hereunder or thereunder, including without limitation, (a) interpretation of the

 terms, conditions and provisions thereof, and (b) all issues and disputes arising in connection with

 the relief authorized herein.



 Dated:                                   , 2023


                                                         __________________________________
                                                         Hon. Henry W. Van Eck
                                                         Chief United States Bankruptcy Judge




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